EXHIBIT 1
              IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
                       SHERMAN DIVISION


MOBILITY WORKX, LLC,

                   Plaintiff,

         v.
                                   Civil Action No.: 4:17-CV-00872-ALM
CELLCO PARTNERSHIP D/B/A
VERIZON WIRELESS,
                                   JURY TRIAL DEMANDED
                   Defendant.



         EXPERT REPORT OF JAMES A. PROCTOR, JR, M.S.E.E.
         REGARDING INVALIDITY OF THE ASSERTED CLAIMS
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I.     INTRODUCTION

       1.      I have been retained by counsel for Cellco Partnership d/b/a Verizon Wireless

(“Verizon” or “Defendant”) to serve as an independent expert in this litigation and to provide

opinions and testimony about United States Patent Nos. 8,213,417 (“the ʼ417 Patent”) and

7,231,330 (“the ’330 Patent”) (collectively, “the Asserted Patents” or “Patents-in-Suit”). It is my

understanding that United States Patent No. 7,697,508 (“the ʼ508 Patent”) is no longer in the case

because Plaintiff has represented that it is no longer asserting the ’508 Patent.

       2.      I understand that Verizon is the Defendant in Civil Action No. 4:17-cv-00872-

ALM. I understand that Mobility Workx, LLC (“Mobility Workx”) is the Plaintiff. I also

understand that Mobility Workx alleges that Verizon infringe claims 1, 4, and 7 of the ’417 Patent

and claims 1, 3, and 4 of the ’330 Patent (collectively “the Asserted Claims”).

       3.      This Report is based on information currently available to me. I reserve the right to

further supplement my analysis in this Report in response to any reports prepared on behalf of

Mobility Workx. I also reserve the right to amend or supplement my opinions based on further

discovery and information provided in this case.

       4.      All of the opinions stated herein are based on my own personal knowledge and

professional judgment and my analysis of the materials and information I considered in preparing

this Report, which are mentioned herein. If called as an expert witness in this case, I anticipate that

my testimony will concern my opinions regarding invalidity discussed herein, as well as a tutorial

on technology relevant to the issues in this case. I reserve the right to create any additional

summaries, tutorials, demonstrations, charts, drawings, tables, and/or animations that may be

appropriate to supplement and demonstrate my opinions at trial.

       5.      I am being compensated for my time at the rate of $400/hour. I am being separately

reimbursed for any out-of-pocket expenses. My compensation does not depend in any way on the


                                                  1
outcome of this litigation or the particular testimony or opinions that I express, and I have no other

interest in this litigation or the parties thereto.

II.     QUALIFICATIONS AND PROFESSIONAL EXPERIENCE

        6.      I am qualified by education and experience to testify as an expert in the field of

telecommunications. Attached as Exhibit 1 to this declaration is a copy of my curriculum vitae

detailing my education and experience. Additionally, the following overview of my background

pertains to my qualifications for providing expert testimony in this matter.

        7.      I have worked as an engineer and entrepreneur in the field of wireless

communications for over 25 years, and have been involved with various aspects of wireless

communications for the duration of my career.

        8.      I currently am named inventor or co-inventor on more than 270 issued U.S. patents,

and more than 700 international patent publications in total. A number of these patents and patent

applications are related to the subject matter of the ’417 and ’330 Patents. As will be discussed in

further detail below, the subject of the ’417 Patent relates to aspects of maintaining network layer

communications with a mobile node as it moves from one network access point or base station

coverage area to another, referred to as a handoff. The subject of the ’330 Patent relates to

emulating mobile networks with RF and network impairments.

        9.      As an initial example of my relevant qualifications, a selection of my issued patents

pertaining to aspects of cellular networks, handoff, registration, network routing, and/or resource

allocation in a wireless network (and to the ’417 and ’330 Patents) are listed in the following table.

The listed patents are either prior art, or are contemporaneous to the claimed priority date of the

’417 and/or ’330 Patents.




                                                      2
  U.S. Pat. Num.                                Title                             Priority Date
    6,542,481         Dynamic bandwidth allocation for multiple access              1/6/1998
                      communication using session queues
     6,973,140        Maximizing data rate by adjusting codes and code rates         3/5/1999
                      in CDMA system
     8,321,542        Wireless channel allocation in a base station processor        5/5/2000

     6,937,562        Application specific traffic optimization in a wireless        2/5/2001
                      link
     6,941,152        Wireless subscriber network registration system for           4/24/2001
                      configurable services
     9,867,101        Method and apparatus for allowing soft handoff of a           7/19/2000
                      CDMA reverse link utilizing an orthogonal channel
                      structure
     6,545,990        Method and apparatus for a spectrally compliant cellular      12/20/1999
                      communication system
     7,113,786        Antenna adaptation to manage the active set to                 3/8/2002
                      manipulate soft hand-off regions
     8,498,234        Wireless local area network repeater                          6/21/2002

     6,888,807        Applying session services based on packet flows               6/10/2002

     9,456,376        Subscriber-controlled registration technique in a CDMA        4/28/1999
                      system

       10.      For these reasons, and because of my technical experience and training as outlined

below, I am qualified to offer technical opinions regarding the validity/invalidity of the ’417 and

’330 Patents.

       11.      A substantial portion of my work has been focused on wireless communication

systems and products. For example, my educational background includes a BSEE from the

University of Florida (1991) and MSEE from the Georgia Institute of Technology (1992) focusing

on digital signal processing.

       12.      From 1986 to 1991, while at the University of Florida, I interned with Harris

Corporation in various roles including mechanical design, software development, and digital

design. From 1991 to 1992, while at Georgia Institute of Technology, I worked at the Georgia



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Tech Research Institute (GTRI) as a graduate research assistant, performing software development

on classified government programs.

        13.    From 1993 to 1995, while working for Harris Corporation, I designed various

cellular communications systems for voice, data, and tracking/location. Many of the systems I

designed utilized advanced communications technologies, such as those utilized in the then-

developing and future telecommunication standards (such as IS-95, W-CDMA, and aspects of

LTE).

        14.    From 1995 to 1998, I worked at Spectrian in advanced development and technical

marketing. At Spectrian, I interfaced with Nortel’s and Qualcomm’s product management and

performed advanced technology development and systems analysis. In this role, I designed IS-95

CDMA and GSM base station power amplifiers and control electronics, and received several

patents associated with advanced linearization techniques for the reduction of transmitted

distortion.

        15.    From 1998 to 2002, I served as the Director of Strategic and Technical Marketing

at Tantivy Communications, a venture capital-funded 3G cellular data and chip set company. At

Tantivy, I helped to architect and standardize the I-CDMA Spread Spectrum Systems Air Interface

Standard (T1P1.4). I also developed both subscriber units and base stations that complied with the

standard. The base stations utilized various IP protocols, and interfaced with the wire line network

utilizing IP over Ethernet. Additionally, I participated in and provided technical contributions to

3GPP/3GPP2 standardization efforts related to the development of CDMA2000 and 1xEV-DO.

This work resulted in my being named as a co-inventor on more than 150 pending or issued U.S.

patents or applications.




                                                 4
       16.     From 2002 to 2007, as co-founder of WiDeFi, Inc., I served in various roles

including President, CEO, CTO, and board member. As the CEO, my responsibilities included

advanced development of platform technologies. I was co-inventor of wireless technology

components, including a frequency translating TDD repeater, a same frequency repeater

architecture for TDD/FDD-based systems, and physical layer multi-stream MIMO repeater

technology. WiDeFi invented and provided wireless home networking products based on WiFi

and cellular technologies. While at WiDeFi, I was a named inventor on over 25 issued U.S. patents

or patent applications.

       17.     From 2007 to 2009, I consulted as a principal engineer for Qualcomm Inc. as part

of the acquisition of WiDeFi’s technology. While at Qualcomm, I worked with its corporate R&D

division and developed consumer 3G and 4G cellular coverage enhancement systems utilizing

WiDeFi’s baseband interference cancellation technologies. My responsibilities included working

with international cellular operators on product requirements, detailed W-CDMA simulations,

Long Term Evolution (“LTE”) systems analysis, and participation in prototype product realization.

I am currently a named inventor on roughly 45 issued U.S. patents or patent applications assigned

to Qualcomm.

       18.     From 2010 to the present, I have served as managing director and co-founder of

Proxicom Wireless, LLC, which has developed and continues to develop cloud-based, mobile

social networking and mobile payments technology based upon the proximity and location of

mobile devices. Proxicom currently holds twelve issued U.S. patents and multiple pending patent

applications, of which I am a co-inventor. Significant aspects of Proxicom’s technology involve a

mobile device’s use of short range wireless technologies (802.11, near field communications,




                                               5
Bluetooth) in combination with cellular data links (3G/WCDMA or 4G/LTE, for example) to

facilitate frictionless interactions via a wireless networked central cloud server.

       19.     Since 2007, I also have been the principal of Proctor Consulting, LLC. In this role,

I have been a consultant relating to wired, wireless, and cellular communication and technologies,

start-up companies and intellectual property. I also have been involved with numerous patent

infringement, patent validity, and patent analysis assignments for public and private companies in

the wired, wireless, and cellular networking industries.

       20.     Additionally, I have worked and consulted for both cellular infrastructure and

device focused companies (Spectrian, Qualcomm, Fastback Networks), and defense contractors

(Harris Corporation), where I developed covert-tracking and location technologies involving

CDMA and smart-antenna technologies.

       21.     In various of the above-detailed roles, I have been responsible for the development

of business plans, product development plans, product development budgets, and product bill of

materials estimations. I have been responsible for numerous product development teams, including

schedule and costs of the development process at various stages of my career. For example, at

Tantivy Communications, I ran a joint development of I-CDMA cellular base stations in Seoul,

Korea that were used in a field trial in that country. Additionally, as founder and CEO of WiDeFi,

Inc., I was responsible for similar such activities, as required to raise venture capital funding and

reporting to the board of directors.

III.   MATERIALS CONSIDERED

       22.     In connection with my analysis in this case thus far, I reviewed and considered a

large number of documents, including the Asserted Patents, the prosecution histories of the

Asserted Patents (including the file history of the ’508 Patent) and the references cited therein,

along with publicly available information, technical and industry documents, and other documents


                                                  6
identified herein. This information, where my consideration of it relates to opinions expressed in

this report, is identified through citation and serves as my identification of the facts and documents

I considered in forming my opinions. A complete listing of the materials that I have considered in

reaching my opinions is attached as Exhibit 2 to this report.

           23.      I expect that I may refer to the materials specifically mentioned in this report, as

well as representative photographs, charts, graphs, schematics, layouts, animations, and/or models

at trial and deposition that I may create to support and explain my testimony set forth herein. I may

also refer to the parties’ technology tutorials dated February 7, 2019. I may also refer to my

declaration in support of T-Mobile’s Responsive Claim Construction Brief in 4:17-cv-00567-ALM

(the “T-Mobile case”),1 which I incorporate by reference herein. I may also refer to the pending

inter partes review of the ’417 Patent filed by Unified Patents Inc. See Petition for Inter Partes

Review of U.S. Patent No. 8,213,417, Unified Patents Inc. v. Mobility Workx, LLC, IPR2018-

01150 (filed June 1, 2018). I may also use such materials to explain the alleged inventions, the

Asserted Patent or any related Patent, prior art references, relevant technology areas, and/or other

matters that may assist the Court and jury in understanding the technology and patents.

           24.      I reserve the right to rely upon any additional information or materials that may be

provided to me or that are relied upon by any of the experts in this case, if called to testify or to

give additional opinions regarding this matter.

IV.        RELEVANT LEGAL PRINCIPLES

           25.      In forming my opinions, I have relied upon certain legal principles that counsel for

Verizon or counsel in prior matters explained to me. My understanding of these concepts is

summarized below.


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    Mobility asserted the ’508 and ’417 Patents against T-Mobile in the T-Mobile case.



                                                           7
       26.     A party asserting invalidity of a U.S. Patent bears the burden of proving invalidity

by clear and convincing evidence. Clear and convincing evidence is an evidentiary standard that

is higher than a preponderance of the evidence but lower than beyond a reasonable doubt.

       A.      Anticipation

       27.     Evaluation of whether a patent claim is “anticipated” is a two-step process. In the

first step, the language of the claim is construed as it would be understood by one of ordinary skill

in the art at the time of the filing of the patent application. The claim is construed by referring to

intrinsic evidence, which includes the claim language, the patent specification, and the prosecution

history, as well as extrinsic evidence. The words of patent claims are to be given their ordinary or

customary meaning unless the inventor has defined them (acted as their own lexicographer) or

used them differently (i.e., in a manner inconsistent with the ordinary and customary meaning).

The prosecution history of a patent, and related patents and applications, may limit the

interpretation of the claim, especially if the patentee disavowed or disclaimed any claim scope in

order to obtain allowance of the claim. I understand that the Court has issued an Order in which it

has construed a number of claim terms, and if there are any remaining disputed claim terms, the

Court may construe those as well. My testimony is based upon a review of, and application of, the

Court’s claim constructions. In the absence of a guiding claim construction, I have applied my

understanding of how one of ordinary skill in the art would interpret the term at the time of

invention at the time of invention.

       28.     In the second step of the anticipation evaluation, after the language of the patent

claims has been construed, comes a comparison of the properly construed claim language to the

prior art on a limitation-by-limitation basis.

       29.     A claimed invention is “anticipated” if each and every limitation of the claim, as

properly construed, has been disclosed in a single prior art reference, or has been embodied in a


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single prior art device, system, or practice, either explicitly or inherently (i.e., necessarily present

or implied), and the claimed arrangement or combination of those limitations was also disclosed

either expressly or inherently, in the same prior art reference.

        30.     I have been informed by counsel that anticipation cannot be established by

combining references unless they are expressly incorporated by reference. However, I understand

that other references may be used to interpret an anticipating reference by, for example, indicating

how one of ordinary skill in the art would understand the anticipating reference, or to demonstrate

the inherency of certain disclosure within the reference.

        31.     In addition, the description provided in the anticipatory prior art must enable a

person of ordinary skill in the art in the field of invention to practice the invention without undue

experimentation. Prior art patents are presumed to be enabled unless the holder of the asserted

patent, who bears the burden of showing prior art is not enabled, shows otherwise. Any showing

by the patent holder regarding the enablement of any prior art can be rebutted.

        32.     I understand that the pre-AIA patent statute applies to the ’417 Patent because of

its priority date. I further understand that pre-AIA 35 U.S.C. § 102 provides various ways for a

reference to qualify as a prior art reference and that the portions of 35 U.S.C. § 102 relevant in this

investigation are (a), (b), (e)(2), and (g)(2), which provide:

                A person shall be entitled to a patent unless –

                (a) the invention was known or used by others in this country, or
                patented or described in a printed publication in this or a foreign
                country, before the invention thereof by the applicant for patent, or

                (b) the invention was patented or described in a printed publication
                in this or a foreign country or in public use or on sale in this country,
                more than one year prior to the date of the application for patent in
                the United States, or

                                                 ***



                                                   9
               (e) the invention was described in - . . . . (2) a patent granted on an
               application for patent by another filed in the United States before the
               invention by the applicant for patent

               (g) . . . (2) before such person’s invention thereof, the invention was
               made in this country by another inventor who had not abandoned,
               suppressed, or concealed it. In determining priority of invention
               under this subsection, there shall be considered not only the
               respective dates of conception and reduction to practice of the
               invention, but also the reasonable diligence of one who was first to
               conceive and last to reduce to practice, from a time prior to
               conception by the other.

       33.     I understand that in the case of printed publications, such a reference can be prior

art only if the reference is proven to be a publication. That is, the reference must have been

disseminated or otherwise made available to the extent that a person interested and ordinarily

skilled in the art, exercising reasonable diligence, can locate the reference.

       34.     I understand that in the case of a prior invention, the filing of a patent application

is a constructive reduction to practice.

       B.      Obviousness

       35.     A patent claim is rendered obvious if the claimed invention would have been

obvious to a person of ordinary skill in the art as of the date of invention. A determination of

obviousness is made after weighing the following factors: (1) level of ordinary skill in the pertinent

art; (2) the scope and content of the prior art; (3) the differences between the prior art as a whole

and the claim at issue; and (4) as appropriate, secondary considerations of non-obviousness.

       36.     In evaluating obviousness, both the prior art and claimed invention should be

viewed through the knowledge and understanding of a person of ordinary skill in the art at the time

of the invention—one should not use his or her own insight or hindsight in deciding whether a

claim is obvious. A claim may be rendered obvious if a person of ordinary skill in the art would

understand the claimed invention as a predictable variation of a known reference.



                                                 10
        37.     An obviousness evaluation can be made on a single reference or a combination of

several prior art references. An obviousness analysis involving two or more references generally

requires a reason why a person of ordinary skill in the relevant field would have combined aspects

of those references in the way the asserted patent claims do. I understand that the prior art

references themselves may provide a suggestion, motivation, or reason to combine, but other times

the link may be simple common sense. An obviousness analysis can recognize that market demand,

rather than scientific literature, often drives innovation, and that is sufficient motivation to combine

references.

        38.     A particular combination of prior art references may be made by merely showing

that it was obvious to try the combination. For example, common sense is a good reason for a

person of ordinary skill to pursue known options when there is a design need or market pressure

to solve a problem and there are a finite number of identified, predictable solutions.

        39.     A proper obviousness analysis focuses on what was known or obvious to a person

of ordinary skill in the art, not just the patentee. For example, any need or known problem in the

field at the time of invention that is supposedly addressed by the patent can provide a reason for

combining the limitations in the manner claimed if the combination of prior art would address the

same.

        40.     I understand that at least the following rationales may support a finding of

obviousness: (1) combining prior art elements according to known methods to yield predictable

results; (2) simple substitution of one known element for another to obtain predictable results; (3)

use of a known technique to improve similar devices (methods or products) in the same way; (4)

applying a known technique to a known device (method or product) ready for improvement to

yield predictable results; (5) “obvious to try”—choosing from a finite number of identified,




                                                  11
predictable solutions, with a reasonable expectation of success; (6) a predictable variation of work

in the same or a different field of endeavor if a person of ordinary skill would be able to implement

the variation; (7) there existed a known problem for which there was an obvious solution

encompassed by the patent’s claims at the time of the claimed invention; (8) known work in one

field may prompt variations of it for use in either the same field or a different one based on design

incentives or other market forces if the variations would have been predictable to one of ordinary

skill in the art; and (9) some teaching, suggestion, or motivation in the prior art that would have

led one of ordinary skill to modify the prior art reference or to combine prior art reference teachings

to arrive at the claimed invention.

       41.     I have been informed that one or more so-called “secondary considerations of non-

obviousness” may impact the obviousness analysis if they are present. I have been informed that

secondary considerations may include: (1) whether the invention proceeded in a direction contrary

to accepted wisdom in the field; (2) whether there was a long felt but unresolved need in the art

that was satisfied by the invention; (3) whether others had tried but failed to make the invention;

(4) whether others copied the invention; (5) whether the invention achieved unexpected results;

(6) whether the invention was praised by others; (7) whether others have taken licenses to use the

invention; (8) whether experts or those skilled in the art at the making of the invention expressed

surprise or disbelief regarding the invention; and (9) whether products incorporating the invention

have achieved commercial success that is attributable to the invention.

       42.     I also understand that another indication of obviousness may be that others having

ordinary skill in the field independently made the claimed invention at about the same time the

inventor made the invention.




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        43.    I also understand that for any such secondary consideration to be relevant, there

must be a connection or “nexus” between the secondary consideration and the claimed invention.

For example, commercial success of a product is relevant to obviousness only if the success of the

product is attributable to the patented features of the claimed invention. If, on the other hand,

commercial success is due to features of the product not claimed in the patent, due to claimed

features that existed in the prior art, and/or due to advertising, promotion, salesmanship or the like,

then any commercial success should not be considered an indication of non-obviousness.

        C.     Person of Ordinary Skill in the Art

        44.    I understand that claims are construed from the perspective of one of ordinary skill

in the art to which the patented subject matter pertains at the time of the invention. Furthermore, I

understand that a determination of the level of ordinary skill in the art includes as relevant factors

(1) the educational level of the inventor; (2) the type of problems encountered in the art; (3) the

prior solutions to those problems; (4) the rapidity with which innovations are made in the art; (5)

the sophistication of the technology in the art; and (6) the educational level of active workers in

the field.

        D.     Written Description and Enablement

        45.    I understand that 35 U.S.C. § 112, ¶ 1 imposes certain requirements on the form of

a patent’s disclosure: the specification must meet both the “written description” and “enablement”

requirements. I understand that these requirements can be summarized as follows:

        46.    I understand that to have an adequate written description, the patent must convey

with reasonable clarity to one skilled in the art that, as of the filing date sought, the patentee was

in possession of the invention.

        47.    I understand that to demonstrate possession of the invention, the specification must

permit a person with ordinary skill in the art to visualize or recognize the identity of the subject


                                                  13
matter purportedly described. Although the specification need not describe the claimed subject

matter verbatim to demonstrate possession of the invention, generalized language will not suffice

if it does not convey the detailed identity of an invention.

        48.     I understand that to have an adequate written description, each element of the

claimed invention must be actually or inherently disclosed in the specification, and it is not

sufficient that the missing claim element may be obvious from the specification. I understand that

material added by amendment is not inherent to the original specification for the purposes of 35

U.S.C. § 112 if that amendment would broaden the scope of the invention beyond that which is

supported in the initial disclosure.

        49.     I understand that to be an enabling disclosure, the specification must adequately

disclose to one skilled in the art how to make or carry out the claimed invention without undue

experimentation.

V.      PERSON OF ORDINARY SKILL IN THE ART FOR THE ASSERTED PATENTS

        50.     In my opinion the person of ordinary skill in the art needed to have the capability

of understanding the scientific and engineering principles applicable to the ’417 and ’330 Patents

and would typically have a Master’s degree in electrical engineering or related field with emphasis

in digital communications and at least one year of industry experience with wireless

communication design, or a Bachelor’s degree in electrical engineering or related field with

emphasis in digital communication and at least two years of industry experience with wireless

communication design. As of the priority dates for the Asserted Patents, I would have qualified as

a person of ordinary skill in the art.




                                                 14
VI.    CLAIM CONSTRUCTION

       51.     I have reviewed the Court’s Claim Construction Memorandum Opinion and Order

dated March 15, 2019. In my analysis, I have applied the Court’s constructions as well as the

parties’ agreed-upon constructions.

       52.     For the remaining claim terms, I have interpreted the terms as they would have been

understood by a person of ordinary skill at the time of the invention considering the context of the

claims themselves, the specifications, the figures, the prior art, and the prosecution histories.

Consistent with these constructions and interpretations, I have considered the claims in light of the

ordinary meaning of the claims based on the perspective of one of skill in the art and consistent

with my experience in the field.

       53.     A summary of those terms of the ’417 Patent for which a construction was agreed

upon by the parties is provided below:

        Term or Phrase                               Court’s Construction
 “the ghost mobile node”        “a node, or a virtual node, that can operate on behalf of the
                                mobile node and that is capable of registering with a foreign
                                agent and allocating resources for the mobile node before the
                                mobile node arrives in the physical area covered by the
                                foreign agent.”
 “the ghost foreign agent”      “a virtual node corresponding to a foreign agent that can
                                make a mobile node aware of the corresponding foreign
                                agent’s presence in a communication network proximate to
                                the predicted future location of the mobile node.”
 “a ghost-mobile node that      “a ghost-mobile node that copies IP messages on behalf of a
 creates replica IP messages on mobile node”
 behalf of a mobile node”

       54.     A summary of those terms of the ’330 Patent for which a construction was agreed

upon by the parties is provided below:

        Term or Phrase                                 Court’s Construction
 “wireless”                        “without wires or cables, and only through air or vacuum”
 “mobile node configured to        “a device that sends and receives signals wirelessly”
 wirelessly communicate”


                                                 15
        Term or Phrase                                Court’s Construction
 “wireless network nodes”       “an element of a network that sends and receives signals
                                wirelessly”
 “a packet-based wired          “a communications network in which packets of data are
 communications network”        transmitted through wires or cables”
 “fixedly-located”              “set at a particular location”
       55.     A summary of those terms of the ’417 Patent for which a construction was provided

by the Court is provided below:

        Term or Phrase                                Court’s Construction
 “foreign agent”                  “a network node on a visited network that assists the mobile
                                  node in receiving communications”
 “when the mobile node is         “when the mobile node is located outside of the region
 located in a geographical area   covered by the foreign agent”
 where the foreign agent is not
 physically present”
 “updating, in a mobile node, a   “updating the ghost mobile node with a location of the mobile
 location in a ghost mobile       node”
 node”

       56.    A summary of those terms of the ’330 Patent for which a construction was provided

by the Court is provided below:

        Term or Phrase                                 Court’s Construction
 “configured to variably adjust   “configured such that the controller can cause the wireless
 wireless communication           network nodes to adjust wireless communication
 characteristics”                 characteristics of the wireless network nodes”
 “communicatively linked”         “capable of transmitting and receiving signals via an
                                  interface”

VII.   SUMMARY OF OPINIONS

       57.    My analysis below lists specific examples of where prior art references disclose,

either expressly or inherently, each limitation of the Asserted Claims and/or examples of

disclosures in view of which a person of ordinary skill in the art would have considered each

limitation obvious. I have tried to identify the most relevant portions of the references. The

references, however, may contain additional support for particular claim limitations. Other un-

cited portions of the prior art references may provide context or aid in understanding the cited



                                               16
portions of the references. Where I have cited to a particular figure in a reference, the citation

should be understood to encompass the caption and description of the figure and any text relating

to the figure. Conversely, where I have cited to particular text referring to a figure, the citation

should be understood to include the figure as well.

       58.     I have primarily focused my analysis and discussion on the following prior art.

Based upon my review and analysis, as discussed below, it is my opinion that the Asserted Claims

of the ’417 Patent are anticipated and/or rendered obvious by the following prior art references,

alone or in combination:

      Liu et al., “A Virtual Distributed System Architecture for Supporting Global-distributed
       Mobile Computing” (“Liu paper”)

      U.S. Patent No. 5,825,759 (“Liu patent”)

      U.S. Patent No. 6,385,454 (“Bahl”)

      US Patent Publication No. 2002/0131386 (“Gwon I”)

      U.S. Patent Publication No. 2003/0016655 (“Gwon II”)

      U.S. Patent Publication No. 2002/0045450 (“Shimizu”)

      3GPP UMTS Standard (Releases 99 to Release 5)

       59.     Based upon my review and analysis, as discussed below, it is my opinion that the

Asserted Claims of the ’330 Patent are anticipated and/or rendered obvious by the following prior

art references, alone or in combination:

      U.S. Patent No. 6,272,337 (“Mount”)

      AirAccess C2K CDMA Network Emulator Operations Manual (“AirAccess”)

      U.S. Patent Publication No. 2002/0183054 (“Rimoni”)

      Korean Patent Application Publication No. KR2001-0048715 (“Cho”)

      NIST Net – A Linux-based Network Emulation Tool (“NIST”)



                                                17
      ONE: The Ohio Network Emulator (“ONE”)

VIII. BACKGROUND OF THE TECHNOLOGY AND STATE OF THE ART

       A.      The ’417 Patent

               1.      General Architecture of Communications Networks

       60.     Engineers, including those skilled in both wired and cellular systems, commonly

describe communications between communications networking entities by the Open Systems

Interconnection (OSI) 7-layer model. The top-most layer is called the “Application Layer” (layer

7), which is the point at which the communicating entity (such as a person) interfaces with the

communications channel in a manner specific to a given application. An example protocol at the

Application Layer is the “HyperText Transfer Protocol” (or “HTTP” or “http”), which is used to

access websites over the Internet. Applications are intended to be independent of the details of the

actual communications channel involved. In contrast, the two lowest layers of the OSI model are

the “Physical Layer” (or “PHY,” layer 1) and the “Data Link Control Layer” (or “DLC,” layer 2),

which are very specific to the physical media over which communications occurs.




Taylor et al., “Internetworking Mobility: The CDPD Approach” (1996) (“Taylor”) at 10.

       61.     In all communications networks, the PHY layer defines many critical attributes of

the media transfer path including at least the channel encoding, modulation format, channel access

multiplexing, carrier frequency, and transmitted signal level, as well as explicitly or implicitly



                                                18
defining the reverse procedures necessary for the receive path. The PHY layer transmits and

receives “bits” converted into “signals.” Examples of different physical media include acoustic

vibrations, electric fields, magnetic fields, radio transmissions, infrared emissions, electrical

conductions, and optical fiber propagations.

       62.     The “middle” layers of the communications stack are, in theory, both application

and media independent and include layer 3 (the “network layer”), layer 4 (the “transport layer”),

layer 5 (the “session layer”), and layer 6 (the “presentation layer”). The term “network” is

understandable to a layperson and is often used even by engineers in the context of “a series of

points interconnected by communications channels.” However, for purposes of analyzing the

details of communications systems involving a “network layer,” it is important to understand that

the purpose of the “network layer,” which is a defining characteristic of any communications

“network,” is to perform routing and relaying services necessary to support data transmission over

interconnected networks. Examples of the network layer 3 include the Internet Protocol (or “IP”),

which is used to exchange data within the Internet and many private packet data networks (or

“PDNs”). Notably, the network layer is the only layer in which it is technically correct to describe

discrete groups of data bits being exchanged as “packets” (or “datagrams”), as opposed to “frames”

at the DLC layer, “segments” at the transport layer, or “messages” at the session layer and above.

                       (a)    The Internet and the Internet Protocol (IP)

       63.     The Internet is a global “network of networks” that interconnects “hosts” across all

such networks. The Internet is effectively defined by a collection of protocols known as the

“Internet Protocol Suite” that operate across multiple layers of the OSI model but the core

protocols of most general interest to all Internet-based applications are expressed in terms of a

“Transport Layer,” an “Internet Layer,” and a “Link Layer.” The Internet is a transport mechanism

for messages that are exchanged between peer entities that operate at layer 5 and above.


                                                19
       64.     The Internet Layer (which corresponds to layer 3, the network layer, of the OSI

model) uses IP packets of data wherein each packet carries a “source IP address” and a “destination

IP address.” Each IP address (based on IPv4, which was prevalent at the time of filing of the ’417

Patent) is 32 bits long and comprises a network address portion and host address portion as defined

by the address “class” and determined by a “subnet mask.” Sending and receiving packets amongst

a set of hosts within a given network address is accomplished via a “router” which stores IP packets

received at one physical “port” or interface and then based on the addresses and certain local rules

forwards (or “routes”) these IP packets to an appropriate one of its available ports or interfaces.

This process is also sometimes referred to as “packet switching,” and thus routers are sometimes

referred to as “packet switches” (or occasionally “IP switches”).

       65.     The Transport Layer of the Internet Protocol Suite (which corresponds to layer 4,

the transport layer, of the OSI model) sends and receives “messages” from higher layers from one

to another via logical “source” and “destination” “ports” (these are not physical ports on a network

equipment device). A 16 bit “port number” wherein some port numbers correspond to specific

message types and others are dynamically assignable identifies each port at each host. The best

known Transport Layer protocol (and the original one in the Internet Protocol Suite) is the

Transmission Control Protocol (“TCP”). At the source host, TCP divides messages into

appropriate lengths and appends a TCP header with the source and destination port numbers, a

sequence number, and an acknowledgement (and optionally a timestamp), and then passes the

“segment” to the Internet Layer for delivery to the destination host. Applications communicating

by TCP/IP can uniquely identify segment delivery by the combination of port numbers, sequence

number, host addresses, and network addresses. Failure to receive a TCP acknowledgement leads

to repeated transmission of any given TCP segment. Thus, TCP is intended for relatively reliable




                                                20
delivery, not low latency. Another well-known transport layer protocol is the “User Datagram

Protocol” (or “UDP”). With UDP, segments are still directed to specific source and destination

port numbers but without any sequence information or repeated attempts at delivery.

        66.     The Link Layer of the Internet Protocol Suite (which effectively corresponds to the

combination of layer 2, the data link layer; and layer 1, the physical layer, of the OSI model) is a

logical construct that in practice depends on the physical media in which the frames of data are

being transported. For example, one common Link Layer protocol used with IP networking in

conjunction with many layer 2 protocols is the “Address Resolution Protocol” (or “ARP”). ARP

resolves ambiguities between IP network addresses at the Internet Layer and “physical” addresses

(most commonly “MAC” addresses) at the Link Layer by broadcasting ARP probes within the

Link Layer.

        67.     Notably, ARP itself is not part of the IP protocols (as defined by the IETF as RFC

791), but is used by communications nodes to communicate with other nodes to convert known

layer 3 protocol addresses (IP addresses for example) to layer 2 addresses (Ethernet MAC

addresses for example). See, e.g., IETF RFC 791, “Internet Protocol, DARPA Internet Program

Protocol Specification” (1981), https://tools.ietf.org/pdf/rfc791.pdf. ARP was defined by IETF

RFC 826 in 1982. IETF RFC 826, “An Ethernet Address Resolution Protocol” (1982),

https://tools.ietf.org/pdf/rfc826.pdf.

        68.     IP communications between nodes at the network layer are carried by the lower

layers, including link layer networks such as Ethernet or cellular packet data radio access networks.

Whereas IP communications require IP addresses to route data properly from source to destination,

the link and physical layer protocols of the OSI reference model do not. Additional examples of




                                                 21
protocols which may be used to carry IP packets, or be carried within IP packets as payload, are

provided in the following figure.




Wisely, “IP for 3G – Networking Technologies for Mobile Communications” (2002) (“IP for 3G”),

at 7.

               2.      A Brief History of Cellular Mobile Communications

                       (a)     Early Cellular Development

        69.    I understand that Mobility Workx contends that the ʼ417 Patent applies to wireless

cellular communications, particularly Long Term Evolution (LTE). Therefore, it is useful to

provide a background of the state of the art in wireless communications and cellular mobile

technologies at the time of the filing, and before the alleged inventions claimed by the ʼ417 Patent.

        70.    The first mobile telephone system was deployed in St. Louis in 1946, having a 50

mile coverage range. This service was deployed in 25 states within the following year. See IBM,

“An Introduction to Wireless Communications (1995) (“IBM 1995”), at 6. This system used a


                                                 22
number of base stations, each having a frequency modulated transmitter, and was connected to the

wired telephone network using a controller.




IBM 1995 at Fig. 1.

       71.     This system was replaced in the 1960s with a system called the “Improved Mobile

Telephone Systems” (IMTS), and was a precursor to the so-called cellular service. It used a larger

number of smaller cells operating at lower power to increase the capacity of the system.

Additionally, the system provided for a number of channels per base station.

       72.     Every cellular system must apportion some amount of over-the-air resources for

user terminals, like cell phones, for some period of time to transmit communications to a base

station. This communications link from user terminal to base station is referred to as the “uplink,”

or “reverse link” (while the communications link from base station to user terminal is referred to

as the “downlink,” or “Forward link”):




                                                23
Taylor at 20.

        73.     Cellular mobile voice and/or data devices additionally must perform control

operations with the cellular networks. These control operation may be grouped into some general

categories: Radio Resource Management, Mobility Management, and Service (or Session)

Management.




Id. at 28.

        74.     Radio Resource Management is typically concerned with assuring proper (effective

and efficient) use of the RF medium and is part of accessing the mobile network. Id. at 43. In many

standards Radio Resource Management involves the mobile device exchanging messages and



                                                24
transmissions directly with the base station, or the controller of the base station. The radio resource

control functions may include aspects of handover.

               Radio resource management functions Allocation and
               maintenance of radio communication channels are provided by these
               functions. The GSM radio resources are dynamically shared
               between the circuit mode and GPRS. The GPRS radio resource
               management is concerned with the allocation and release of
               timeslots for a GPRS channel; monitoring GPRS channel utilization;
               congestion control; and the distribution of GPRS channel
               configuration information that is broadcast on the common control
               channels.

Steele, “GSM, cdmaOne and 3G Systems” (2001) (“Steele”), at 418.

       75.     Mobility Management provides for the ability to send and receive communication

wherever a mobile device is located. This category sometimes is referred to as, or otherwise

includes, location management. Furthermore, Mobility Management involves the handover of a

mobile device between cells (to be discuss in more detail below), depending upon the system. At

the least, it includes the location management aspects related to changing the point of attachment

within one or more radio access networks.

       76.     Service or Session Management provides for access to services within the radio

access network. For example, in prior art cellular systems such as GSM (Global System for Mobile

communications), GPRS (General Packet Radio Services), and UMTS (Universal Mobile

Telecommunications System), services or sessions are invoked that are distinct from Mobility

Management registration and authentication, and are related to a user device connecting and

disconnecting from services within the network. For example, in GSM, connection management

involves circuit-switched call control, so-called supplemental services, and SMS (short messaging

services). The services connection management functions generally must determine which services

the user (e.g., based on the user’s subscriber identification module (SIM)) is authorized to receive,

and perform accounting and charging of the user related to use of those services. In GPRS and


                                                  25
UMTS, access to circuit-switched voice connections and access to packet data services are invoked

separately.

                       (b)     Cellular Network Planning

       77.     To avoid interference between the signals of adjacent base stations and wireless

phones within the coverage areas of those base stations, the reuse of the same channels within the

adjacent coverage areas was not allowed. Rather, the system required skipping at least one base

station’s use of a given channel, prior to the reuse of that same channel. (IBM 1995 at 6.) This

approach become known as a “frequency reuse pattern” and will be discussed in more detail below.

       78.     The first cellular systems were developed by Bell Laboratories in the 1970s and

deployed in Chicago, beginning in 1979. This system was referred to as the “Advance Mobile

Telephone System” (AMPS). There were similar variants deployed in other countries shortly

following the development of AMPS.

       79.     An example of an early frequency reuse pattern is depicted in the following figure.




IBM 1995 at 7 (Fig. 2).

       80.     Referring to the above figure, the letters in each “cell” represent a different subset

of the available channels of operation of a cellular system. One can readily see that no two adjacent



                                                 26
cells have the same sets of assigned operating frequency channels, thus reducing the interference

between the cells. The AMPs system included a “mobile switching center” or MSC to allow for

the transfer of a call form one cell to the next as a mobile phone traverses the cells. This is referred

to as a handoff or handover. AMPS was referred to as a first generation system (1G).




IBM 1995 at 42 (Fig. 14).

        81.     The borders of coverage depend upon the wireless propagation characteristics of

the signals between the mobile devices and the respective base stations, and can vary based upon

a number of factors including changes in physical obstructions (called shadow fading or blocking),

changes in reflections of the signals themselves (called flat fading and frequency selective fading),

the number of other devices operating in the same cell (cell loading and same cell interference),

and the number of other cells operating in the same area at the same frequencies (other cell


                                                  27
interference) as several examples. At some frequencies of operation, even environmental factors

such as rain may reduce the range a cell may cover. As a result, borders of cells are not regular as

many diagrams depict for simplicity sake (such as the one referred to above), but are variable and

irregular (see figure below); often including “islands” of coverage by other cells within a

physically closer cell. As a result, physical location was (and is not) generally used to determine

coverage regions of cells in real systems. See Rappaport, Wireless Communications: Principles

and Practice (1996) (“Rappaport”) at § 3 (including Table 3.2, and § 3.10), Table 3.3 and § 4; see

also Fujimoto, Network Simulation (2007) (“Fujimoto”) at § 4.2 (“This signal strength is a

function of many variables, including the transmitter power, transmitter antenna gain factor,

receiver antenna gain factor, antenna orientations, terrain obstructions, weather, and ambient

electromagnetic interference, just to name a few.”).




Steele at 7 (Fig. 1.3).

                The dimensions of a cell are limited by the transmitter and receiver
                performances, the path loss, shadow fading and other factors
                described in the previous section. If we are going to cover wide areas
                we will need to tessellate cells, and switch a MS between BSs as it
                roams throughout the network. If hundreds or thousands of cells are
                required, then some cells must operate with the same carrier
                frequencies. This phenomenon is called frequency reuse.

Id. at 7.




                                                 28
        82.     Furthermore, the coverage areas of cells are not bounded by the depicted lines in

the forgoing figures, but rather cells overlap on their coverage areas to provide for the continuity

of service.

                The SIR can be increased by replacing the omnidirectional BS
                antennas with directional ones. Typically, directional antenna
                radiation patterns span 120 in the horizontal plane with the direction
                                           �




                of the maximum radiation of each antenna spaced by 120 as shown
                                                                            �




                in Figure 1.10. Each antenna radiation pattern is slightly in excess
                of 120, creating overlap- ping regions where each antenna is able to
                communicate with an MS. These regions are important as they
                facilitate an MS travelling between sectors to be switched from one
                cell site sectorised antenna to another, a process called intrasector
                handover or hand off. In Figure 1.10 we also show small back lobes
                in the antenna pattern. These cannot be avoided with practical
                antennas, and in general they do not create significant interference
                between sectors.

Steele at 13.




Id. at 14 (Fig. 1.10), 42 (Fig. 1.28).

        83.     In the following, an example of overlapping coverage area is provided. While a

“soft” handover zone is depicted, a similar or even larger overlap would be present in relation to

“hard” handovers (such as depicted below), particularly when an inter-frequency handover is

performed. A soft handover is one in which connections with both cells at the same frequency are

maintained simultaneously, generally combining these signals for performance benefits


                                                 29
(sometimes called “make before break”). A hard handover is one in which the connection to one

base station is terminated prior to the connection to another is made (sometimes called “break

before make”). This will be discussed in more detail below.

       84.     Referring to the figure below, as a mobile station moves from the coverage area of

base station 1 (BS1) to that of base station 2 (BS2), the signal level from base station 1 drops below

the “handoff threshold.” If additionally, the signal level received from BS2 is above the “minimum

acceptable level,” handoff is performed. It should be noted that the actual coverage area of BS1

can extend beyond even this level to “point B” where the minimum level to communicate with

BS1 ends. Such an arrangement is typical in that the coverage areas of adjacent cells overlap.

Further, the points where the signal power thresholds are reached while a mobile is moving from

BS1 to BS2, in contrast to moving from BS2 to BS1, will typically be different. It should be noted

that in any event, the handoff only occurs after the mobile is receiving signals from the next base

station above a minimum acceptable level. Said differently, the mobile is already within the

coverage area of the base station to which it will hand over when the decision to handover is made,

resulting in a reactive process based upon having measured the signal rather than predicting it.

Such a reactive process was known to those of skill in the art starting at least in the early 1990s.




                                                 30
Rappaport at 31.

       85.     In the above cells, an idealized path loss was used, similar to the following figure

including significant cell coverage areas between the cells. As discussed above there is not an

“ideal cell boundary” in practice, as hysteresis and offsets are used in the cells handover algorithms

to reduce the handover occurrences and to minimize “ping-pong” effects where a mobile switches

back and forth between cells repeatedly, particularly in light of real cell coverage patterns.




                                                 31
Taylor at 162 (Fig. 5.20).

        86.     However, the ideal propagation model cannot be assumed as this is not the case in

the real world, each base station will have different path loss rate versus distance. For example,

the following figure shows the overlap region of Cell 2 covering all the way to Cell 1, but the

coverage of cell 1 ending prior to the distance of cell 2 (for a -100 dB signal strength level). Further

the constant signal strength rings are irregular and not reliable for distance estimation.




Id. at 164 (Fig. 5.23).




                                                  32
        87.     Furthermore, the following illustrates a hysteresis approach being used in the

cellular handover process:




Id. at 165 (Fig. 5.24).

        88.     In the above, the point of handover will differ depending upon various factors that

affect signal strength, as well as the RSSI (received signal strength indication) bias the operator

configures for their network-initiated handover decisions. Such a bias would result in a process

such as that in the handover diagram above providing for “proper” and “improper” handover

examples.

        89.     As mentioned above, wireless fading and blockage based upon the environment

will affect the coverage area of a cell and the signal level received at a particular location, as

illustrated in the figure below.




                                                33
Rappaport at 121 (Fig. 3.25).

       90.     For example, the following figure depicts the effect multipath signals can have

when combining at different frequencies, at the same location. The result being that in a narrow

frequency band, the signal level may be measured at significantly different values. In my

experience this can vary as much as 25 or 30 Decibels (dB) in received signal strength (or more),

at the same location.




Dahlman, “4G: LTE/LTE-Advanced for Mobile Broadband” (2014) (“Dahlman”), at 25 (Fig. 2.4).

       91.     The combination of the multipath signals at one location is frequency dependent,

based upon the relative phases of those signals. Therefore, movement of a mobile can have a

similar effect to that of frequency. The following figure depicts the received signal level over time,

as a mobile receiver moves at 120 km/hr. It can be seen that the signal fades over short periods of


                                                 34
time (analogous to over ranges in frequency while stationary), which is consistent with my

experience stated above. In some instances the signal fades in excess of 45 dB of signal unrelated

to appreciable signal loss dues to being further from the transmitter).




Rappaport at 173 (Fig. 4.15).

                       (c)      Early Cellular Systems

         92.   Some examples of early (prior art) cellular system are provided in the following

table.




                                                 35
Rappaport at 7 (Table 1.1).

       93.    Similarly, the following wireless standards were developed for deployment in

Europe:




                                           36
Id. at 8 (Table 1.2).

        94.     The above systems are all early first generation (1G) or second generation (2G)

networks standards. A discussion of cellular network standards follows, including subsequent

generations of standards.

                        (d)    Cellular Standards and Standards Development Organizations

        95.     A standards setting organization (or standards development organization (“SDO”))

is any organization whose primary activity is producing technical standards to address the needs

of companies that want to implement that technology. In particular, telecommunication SDOs

promote cooperative standards for telecommunications equipment and systems through standards

development, which provide manufacturers and vendors with a universal approach to develop

products and compete in the marketplace. The existence of standards enhances the business

environment by lowering development costs and by allowing diverse networks to communicate.

        96.     As discussed above, various voice and data standards were developed, standardized

and deployed at the time of the alleged invention of the patent-in-suit. The prior art voice and data



                                                 37
standards included AMPS (IS-41), TDMA (IS-54 and IS-136), CDPD, Mobitex, ARDIS, CDMA

(IS-95), UMTS Release 99, UMTS Release 4, and UMTS Release 5 and others.

        97.        I understand that Mobility Workx is accusing Verizon’s LTE network based on the

LTE standard, which was developed by, or are currently controlled by, an organization called the

3rd Generation Partnership Project (“3GPP”). The prior art cellular standards GSM, GSM/GPRS,

EDGE, and UMTS up to at least Release 5 (published in mid-2002), were prior art to the Asserted

Patent, and were developed by, or are currently controlled by the 3GPP. Each predecessor standard

provided the foundation from which each subsequent standard evolved, ultimately resulting in the

Long Term Evolution (LTE) standard.




Sesia et al., “LTE: The UMTS Long Term Evolution, From Theory to Practice” (2011) (“Sesia”)

at 5 (Fig. 1.2).

        98.        The 3rd Generation Partnership Project (“3GPP”) is a widespread SDO that is

responsible for creating specifications that define 3GPP technologies that span from the first

generation (1G) to the fourth generation (4G) as shown in the figure below:




                                                  38
Dahlman at 2 (Fig. 1.1).

       99.     Over the years, the 3GPP organization has gained widespread confidence among

GSM and UMTS (WCDMA) users, vendors, and service providers. The figure below shows how

one family of cellular standards has evolved, beginning with the GSM standard that was initially

introduced in the early 1990s. The right-hand side of the arrow in the figure below represents that

the 3GPP is now working on the creation of specifications for future releases of LTE-Advanced

network standards, as well as 5G standards. In general, 3GPP is responsible for coordinating the

creation and publication of the specifications for each new release and preserving the specifications

associated with the previous releases for each type of network. The 3GPP Family Technology

Evolution is depicted below:




3GPP, About 3GPP, http://www.3gpp.org/About-3GPP (last visited Oct. 3, 2018).


                                                 39
       100.     Below is a summary of relevant new features and release dates. See 3GPP,

Releases, http://www.3gpp.org/specifications/releases (last visited Oct. 3, 2018). I provide a more

detailed explanation of these releases below.

 Release         Publication (Stable)    Highlighted Features
                 Date
 Release 97      4/15/1996               GSM/GPRS (IP packet data network)
 Release 99      12/17/1999              UMTS including GPRS
 Release 4       6/21/2001               IP interface for Iu-CS (Voice calls over IP interface
                                         from RNC to MSC Server (control) and to Media
                                         Gateway (MGW) for call media
 Release 5       9/12/2002 (versions     IP transport network from NodeBs to RNC (Iub) and
                 available earlier)      between RNCs (Iur) interfaces.

                                         High Speed Downlink packet Access (HSDPA)

                                         Addition of the IP Multimedia Subsystem (IMS) for
                                         VoIP services (See 23.228v5.1 6/2002 "IP Multimedia
                                         Subsystem (IMS), stage 2".)

       101.     All the above releases up to and including release 5 were prior art the ’417 Patent.

Each release performed “reactive” handovers based upon the mobile device performing the

measurements of its current cell and neighboring cells—where the mobile must be within the

coverage area of those particular cells to perform such measurements—and reporting these

measurements to the network. Handovers in cellular systems in which the network determines if

and when a handover is required are called “Network-Initiated” handovers, and require

measurements from the mobile device (and the base stations in some cases) to assist in the mobility

management decisions. Such networks are also referred to as utilizing “mobile-assisted” handoffs

or handovers.

                3.     Overview of the 3G UMTS Cellular Network Architecture

       102.     The Universal Mobile Telecommunications System (UMTS) is a 3G cellular

communications system for networks evolved from the 2G Global System for Mobile



                                                 40
Communications (GSM) standard. The following citations provide a general overview of the

UMTS network architecture, including the various network nodes and the interfaces by which they

are interconnected.




Steele at 425 (Fig. 6.5).

               The RNCs and base stations are collectively known as the UTRAN
               (UMTS Terrestrial Radio Access Network). From the UTRAN to
               the Core, the network is divided into packet and circuit-switched
               parts, the Interface between the radio access and core network (Iu)
               being really two interfaces: Iu (PS - Packet switched) and Iu (CS -
               circuit-switched). Packet traffic is concentrated in a new switching
               element - the SGSN (Serving GPRS Support Node). The boundary
               of the UMTS core network for packets is the GGSN (Gateway
               GPRS Support Node), which is very much like a normal IP gateway
               and connects to corporate Intranets or the Internet.



                                               41
Below is a quick guide to some of the functionality of each of these
elements and interfaces:

3G Base Station (Node B) - The base station is mainly responsible
for the conversion and transmission/reception of data on the air
interface (Uu) (Figure 2.5) to the mobile. It performs error
correction, rate adaptation, modulation, and spreading on the air
interface. Each Node B may have a number of radio transmitters and
cover a number of cells. (The Node B can achieve soft handover
between its own transmitters (this is called softer handover), the
Node B also sends measurement reports to the RNC.

RNC - The RNC is an ATM switch that can multiplex/demultiplex
user packet and circuit data together. Unlike in GSM, RNCs are
connected together (through the Iur interface) and so can handle all
radio resourcing issues autonomously. Each RNC controls a number
of Node Bs - the whole lot being known as an RNS - Radio Network
System. The RNC controls congestion and soft handover (involving
different Node Bs) as well as being responsible for operation and
maintenance (monitoring, performance data, alarms, and so forth)
within the RNS.

SGSN - The SGSN is responsible for session management,
producing charging information, and lawful interception. It also
routes packets to the correct RNC. Functions such as attach/detach,
setting up of sessions and establishing QoS paths for them are
handled by the SGSN.

GGSN - A GGSN is rather like an IP gateway and border router - it
contains a firewall, has methods of allocating IP addresses, and can
forward requests for service to corporate Intranets (as in dial-up
Internet/Intranet connections today). GGSNs also produce charging
records.

MSC - The Mobile Switching Centre/Visitor Location Register
handles connection- orientated circuit switching responsibilities
including connection management (setting up the circuits) and
mobility management tasks (e.g. location registration and paging).
It is also responsible for some security functions and Call Detail
Record (CDR) generation for billing purposes.

GMSC - The Gateway MSC deals with incoming and outgoing
connections to external networks (such as the public fixed telephony
network) for circuit-switched traffic. For incoming calls, it looks up
the serving MSC by querying the HLR and sets up the connection
the MSC.



                                 42
               HLR - The home location register, familiar from GSM, is just a
               large database with information about users, their services (e.g.
               whether they are pre- or post-pay, whether they have roaming
               activated, and the QoS classes to which they have subscribed).
               Clearly, new fields have been added for UMTS - especially relating
               to data services.

Wisely at 33-34.

       103.    Similar network elements in GSM were renamed in UMTS. The network elements

of GSM related to those of UMTS as follows:




Steele at 424 (Table 6.4).

                       (a)   The Packet Data Architecture of Release 5 GPRS UMTS

       104.    The following citations provide a description of the packet data architecture of

Release 5 GPRS and UMTS.




3GPP TS 23.060 v5.1.0 at § 5.1 (Fig. 1).




                                              43
3GPP TS 23.060 v5.1.0 at § 5.4 (Fig. 2).

              A GPRS Support Node (GSN) contains functionality required to
              support GPRS functionality for GERAN and/or UTRAN. In one
              PLMN, there may be more than one GSN.

              The Gateway GPRS Support Node (GGSN) is the node that is
              accessed by the packet data network due to evaluation of the PDP
              address. It contains routeing information for PS-attached users. The
              routeing information is used to tunnel N-PDUs to the MS's current
              point of attachment, i.e. the Serving GPRS Support Node. The
              GGSN may request location information from the HLR via the
              optional Gc interface. The GGSN is the first point of PDN
              interconnection with a PLMN supporting GPRS (i.e. the Gi
              reference point is supported by the GGSN). GGSN functionality is
              common for all types of RANs.

              The Serving GPRS Support Node (SGSN) is the node that is
              serving the MS. The SGSN supports GPRS for A/Gb mode (i.e. the
              Gb interface is supported by the SGSN) and/or Iu-mode (i.e. the Iu
              interface is supported by the SGSN). At PS attach, the SGSN


                                              44
               establishes a mobility management context containing information
               pertaining to e.g. mobility and security for the MS. At PDP Context
               Activation, the SGSN establishes a PDP context, to be used for
               routeing purposes, with the GGSN that the subscriber will be using.

               The SGSN and GGSN functionalities may be combined in the same
               physical node, or they may reside in different physical nodes. The
               SGSN and the GGSN contain IP or other (operator's selection, e.g.
               ATM-SVC) routeing functionality, and they may be interconnected
               with IP routers. In Iu mode, the SGSN and RNC may be
               interconnected with one or more IP routers. When the SGSN and the
               GGSN are in different PLMNs, they are interconnected via the Gp
               interface. The Gp interface provides the functionality of the Gn
               interface, plus security functionality required for inter- PLMN
               communication. The security functionality is based on mutual
               agreements between operators.

               The SGSN may send location information to the MSC/VLR via the
               optional Gs interface. The SGSN may receive paging requests from
               the MSC/VLR via the Gs interface.

               The SGSN interfaces with the GSM-SCF for optional CAMEL
               control using Ge reference point. Depending on the result from the
               CAMEL interaction, the session and packet data transfer may
               proceed normally. Otherwise, interaction with the GSM-SCF
               continues as described in 3GPP TS 23.078 [8b]. Only the GSM-SCF
               interworking points are indicated in the signalling procedures in this
               specification.

3GPP TS 23.060 v5.1.0 at § 5.4.1.

                      (b)     IP Transport in UMTS

       105.    Prior art 3G UMTS systems provided reliable Internet connectivity over a cellular

connection. “3G can certainly cope with IP multimedia—at one level, it can be simply viewed as

a non-IP access technology like PSTN dial-IP access or GSM circuit-switched data. For example,

UMTS can be easily viewed as a Layer 2 network, since user IP packets are always encapsulated,

and the headers are not used until the Internet gateway is reached.” IP for 3G at 56-57.

       106.    Infrastructure-wise, UMTS allowed network elements implementing Universal

Terrestrial Radio Access Network (UTRAN) functions (e.g., Node B, RNC, and Management




                                                45
Platform) to communicate over IP. This IP transport network is responsible for transporting user,

control plane, data, and O&M (operations and maintenance) data between the network elements.

See, e.g., 3GPP TR 25.933 v.5.1.0 (6/2002) at 70. The following figure provides an example

architecture for IP transport in UMTS.




Id. at 71 (Fig. 6-29).

        107.    The following figure illustrates the transport protocol stack for the user plane for

UMTS and GPRS.




                                                 46
3GPP 23.060 v.5.1.0 (3/2003) at 26 (Fig. 6). The “air interface” Uu provides IP connectivity

between the mobile device (or UE) and the 3G-GGSN (gateway). The IP user traffic is

encapsulated in the GTP-U tunnels and carried as IP packets within the IP transport between the

UTRAN (from the RNC within the UTRAN) and the SGSN over the IU-PS interface. Similarly

the Gn interface carries the user’s IP packets from the SGSN to the GGSN, also encapsulated

within the GTP tunneling protocol, and transported via IP packets. This prior art arrangement is

similar to the GTP protocol use between the eNodeB to the SGW, and the GTP protocol between

the SGW and PGW of LTE, which directly evolved from the prior art UMTS systems discussed

herein. Additional details are provided in the following citations:

               From the terminal to the RNC IP packets are carried in PDCP
               packets. PDCP is Packet Data Convergence Protocol and provides
               either an acknowledged/ unacknowledged or transparent transfer
               service. This choice is related to the (backward) error correction that
               the underlying RLC (Radio Link Control) layer applies - more
               details of the functions of RLC can be found in the UTRAN section
               below Transparent means that no error correction is applied at Layer
               2. The unacknowledged mode detects duplicate and erroneous
               packets but simply discards them, whereas in acknowledged mode,
               the RLC operates and resends missing frames (at Layer 2, packets
               are usually called frames, e.g. Ethernet frames). The choice of mode
               is based on the required QoS, resending lost or errored frames causes
               delay, and so the acknowledged mode is only used for applications
               that are delay sensitive. PDCP also performs a
               compression/decompression function - such as compressing TCP/IP
               headers.

               From the RNC to the SGSN IP packets are tunnelled using a
               tunnelling protocol called GTP - GPRS tunnelling protocol. Another
               GTP tunnel then runs from the SGSN to the GGSN, allowing a
               hierarchical mobility (SGSN changes will not happen often) and
               allowing lawful interception (phone tapping) at the SGSN. (IP for
               3G at 42)

               A tunnelling protocol consists of a piece of software that take
               packets and wraps them within new packets such that the entire
               original packet - including the header - becomes the new payload:
               the original header is not used for routing/switching and is not read
               whilst encapsulated. A very good analogy is that if a person sends a


                                                 47
               friend a letter to their home address, their mum puts it in a new
               envelope, addressed to their college address, and pops it back in the
               post. GTP in UMTS is more analogous to allowing several
               languages to be used to address the inner envelopes. Only the main
               post offices understand Chinese, so letters must be enclosed within
               a new envelope addressed in English to pass through the UK postal
               system. Using GPRS tunnelling protocol, UMTS can carry a number
               of different packets (such as IPv4, IPv6, PPP, and X25) over a
               common infrastructure. GTP packets are formed by adding a header
               to the underlying PDP packet - the format of this header is shown in
               Figure 2.11. After forming a GTP packet, it is sent using UDP over
               IP using the IP address of the tunnel end point, e.g. the GGSN for
               traffic sent from the SGGN to a external network. The most
               important header field is the tunnel id that identifies the GTP packets
               as belonging to a particular PDP context of a particular user (and
               therefore can be given the appropriate QoS). The Tunnel id is
               formed from combination of the IMSI and NSAPI - the IMSI
               uniquely identifying a terminal and the NSAPI being a number from
               0 to 15 that identifies the PDP context or the secondary PDP context
               within a primary PDP context (Figure 2.12).

IP for 3G at 41-42.




                                                 48
Id. at 42-43 (Figs. 2.11 and 2.12).

       108.    The following diagram depicts the control plane protocols associated with

UMTS/GPRS.




3GPP TS 23.060 v.5.1.0 (3/2002) at § 5.6.3.2 (Fig. 8). Additional details regarding these protocols

are provided in the following:




                                                49
               The RLC (Radio Link Control) layer is responsible for setting up
               and tearing down RLC connections - each represents a different
               radio bearer (meaning that there is one radio bearer per PDP context
               or circuit). The RLC layer segments and reassembles data packets
               as well as providing backward error correction.

               The RLC is also responsible for ciphering and can perform flow
               control, i.e. the receiving end can request the transmitting end to
               slow down transmission to prevent, for example, buffer overflow.
               For data, the RLC terminates at the RNC - so RLC frames are carried
               to the node B over the radio interface and MAC layers and then on
               to the RNC on AAL2/ATM switched circuits (see below).

               The MAC layer is responsible for mapping logical channels
               (including data flows) into the transport channels provided by the
               physical layer…

               The MAC layer is also responsible for multiplexing/demultiplexing
               flows from the user on to transport channels (that are similar, but
               fewer in number to the logical channels, e.g. a BCH (Broadcast
               Channel carries the contents of the BCCH). The MAC also handles
               priority handling of flows from one user, i.e. allowing flows with
               higher priority QoS to have higher priority access to physical
               channels.

               The physical layer is responsible for transmission of data blocks:
               multiplexing of different transport channels (e.g. the P-CCPCH -
               Primary Common Control Physical CHannel carries the BCH),
               forward error correction (error coding) and error detection,
               spreading (with the CDMA code), and RF modulation.

IP for 3G at 46-47.

       109.    The following figures depicts how the IP transport operates for the Iub interface

(between NodeB and RNC).




                                               50
3GPP TR 25.933 v.5.1.0 (6/2002) at § 6.2.4.4 (Fig. 6-11).

       110.   The following citations describe the Iu interface between the RNC and SGSN.

              The signalling across the Iu interface (from SGSN to RNC) is
              provided by RANAP - Radio Access Network Application Part.
              RANAP is responsible for:

                     Radio Access Bearer set-up, modification, and release.
                     Control of the UTRAN security mode.
                     Management of RNC relocation procedures.
                     Exchanging user information between the RNC and the Core
                      Network.
                     Transport of mobility management and communication
                      control information between the core network and the
                      mobile [the so-called Non-Access Stratum (NAS)
                      information - such as PDP context management - that does
                      not concern the UTRAN].
                     Set-up of GTP tunnels between the SGSN and the RNC.

              From the RNC to the terminal, the Radio Resource Controller
              (RRC) (see Figure 2.14) sets up a signalling connection from the
              user's equipment (UE) to the RNC. This covers the assignment, re-


                                              51
               configuration and release of radio resources. The RRC also handles
               handover, cell re-selection, paging updates, and notifications.

IP for 3G at 52.




3GPP TS 25.412 v.5.0.0 (3/2002) at §5.3.1. Additionally, the Iu-PS interface in UMTS taught the

use of IP transport on top of the AAL5/ATM physical layer, as prior art to the ’417 Patent. See Id.

Additional details regarding the Iu-PS, Iu-CS, Iub and Iur IP transport interfaces can be found in

3GPP TS 25.401 v.5.3.0 (6/2002) and in 3GPP TS 25.214 v.5.1.0 (6/2002).

       111.    Furthermore, it should be noted that, as in LTE, the Uu over-the-air interface in

UMTS is not IP-based for the control plane. To the extent Mobility Workx accuses the LTE control

plane relating to the LTE Uu interface as infringing, the Uu interface of the prior art UMTS Release

5 system teaches this same functionality for the control plane.

                       (c)    Quality of Service Architecture

       112.    The following figure describes the UMTS quality of service (QoS) architecture,

with “bearers” being terminated within different nodes of the network. A “bearer” is a term for a



                                                52
QoS guaranteed circuit or QoS treatment of packets. See IP for 3G at 39. For example the “end to

end service” is from the mobile device’s Terminal Equipment (TE) to the TE of an external

network.




3GPP TS 23.107 v. 5.5.0 (6/2002) at 10 (Fig. 1).

       113.    In UMTS, there are classes to define of quality of services treatment:

               Conversational and streaming classes are intended for time-sensitive
               flows - conversational for delay-sensitive traffic such as VoIP (voice
               over IP). In the case of streaming traffic - such as watching a video
               broadcast, say - much larger buffering is possible, and so delays can
               be relaxed and greater error protection provided by error correction
               techniques that repeat lost packet fragments but add to delays.
               Interactive and background classes are for bursty, Internet-style,
               traffic.

IP for 3G at 40.




                                                53
3GPP TS 23.107 (6/2002) v.5.5.0 at § 6.3.4 (Table 1).

               4.     Overview of Handover Procedures in Prior Art Cellular Networks

       114.    By July of 2003, numerous 2G, 2.5G and 3G cellular networks had been

standardized and implemented throughout the world, including GSM (2G), GPRS (2.5G), CDMA

(2G and 3G), and UMTS (3G) cellular networks. In particular, the link layer handover procedures

had been standardized to permit network-initiated and mobile-assisted handovers to occur

automatically. The coverage of a typical base station in the conventional cellular networks was

relatively large (approximately 1.5 kilometers in diameter or more) compared to the diameter of a

typical Wi-Fi network access point’s coverage area (on the order of 100 meters outdoors and 20

meters indoors). Moreover, the time to complete a link layer hard handover (interference handover

for example) from one UMTS base station (eNodeB) to another in the same cellular network was

generally around 100 milliseconds. See Sauter, “From GSM to LTE-Advanced” (“Sauter”) at 184

(“The interruption of the data stream during this operation is usually quite short and takes about

100 milliseconds on average, as the network is already prepared for the new connection.”). The

3GPP requirements for UMTS hard handover are defined in §5.2.2.1 (Hard handover delay) and

§5.2.2 (Interruption time) in 3GPP TS 25.133, with specific examples of test cases provided in

Section A.5.2 (requiring less than 110 ms for an intra-frequency hard handover (see A.5.2.1.2) and



                                               54
less than 140 ms for an inter-frequency hard handover (see A.5.2.2.2)). Thus, within a particular

cellular network, the setting up time (or handover time) was much smaller than the typical dwell

time in a cell, even for fast moving vehicles. For example, at 200 km/h, the dwell time in a 1.5 km

cell would be 27 seconds. When handovers occurred within these conventional cellular networks,

the mobile node did not need to change its IP address using any mobile internet protocol.

        115.    In conventional cellular systems, as a mobile node moved from one coverage area

towards another, the mobile node would measure the strengths of signals received from the base

station in its current cell, as well as the strength of signals received from base station(s) in adjacent

cell(s). A comparison of signal strength from different base stations was made such that, if it was

determined that the signal strength of an adjacent cell reached an acceptable level (while the signal

strength of the current base station is below a threshold) and that the adjacent cell had the capacity

to take over the communication, the system would begin the handover registration process to

transfer the connection to the adjacent base station.

        116.    The following table provides examples of several prior art wireless communication

systems and identifies whether handovers in those systems were initiated by the mobile device or

by the network.

         Technology               Wireless Category      type of handoff / handover
         Wi-Fi (IEEE 802.11)      Wireless LAN           Mobile Initiated
         GSM                      2.5G (3GPP)            Network Initiated /Mobile Assisted
         CDMA (IS-95)             2.5G                   Network Initiated /Mobile Assisted
         CDMA2000                 3G                     Network Initiated /Mobile Assisted
         W-CDMA                   3G (3GPP)              Network Initiated /Mobile Assisted

        117.    The prior art 3GPP evolution path of standards (leading to LTE) were all network-

initiated handovers with mobile assistance (that is, the network determines when a handover

should occur), just like the accused LTE system. Thus, each network “reacted” to the conditions

the mobile devices reported to the networks while within the coverage areas of both the current


                                                   55
and target base stations, in contrast to the “preemptive” handovers described in the ’417 Patent

that would be initiated before the mobile node arrived in the coverage area of the next base station.

                       (a)     Handover in GSM / GPRS

       118.    Like the handover processes in UMTS and LTE, the GSM handover process is

based upon (at least in part) measurements made in the mobile station that are reported to the

network (i.e., mobile assisted). The network would then make the handover decision (i.e., network-

initiated / network-controlled). Also like the UMTS and LTE handover processes, the GSM

handover process is composed of two phases called “handover preparation” and “handover

execution.”

               “A handover is the process by which an MS relinquishes its
               connection with one BTS while establishing a new connection with
               another BTS while ensuring that an existing call is maintained.
               Handovers are also performed to decrease interference, or to relieve
               traffic congestion. Although the GSM specifications provide an
               example handover decision algorithm based on radio criteria, these
               solutions are not mandatory and the equipment manufacturer is free
               to implement its own algorithms. The complete handover process
               may be sub-divided into two distinct phases, preparation and
               execution.”

               2.4.4.1 Handover preparation

               The decision to perform a handover and the identification of the
               most suitable new BTS is based on several different measurements,
               performed both at the MS and at the BTS. It is also based on a
               number of static parameters and the distribution of the traffic load
               within the network…

               2.4.4.2 Handover execution

               Once the decision has been taken to initiate a handover and the most
               suitable new cell has been identified, the MS and network enter the
               handover execution phase whereby the connection with the old BTS
               is relinquished and the connection with the new BTS is
               established…

               An MS is completely unaware of the impending handover until it
               receives the handover command message.


                                                 56
Steel at 135-40.

        119.   There are different types of handovers in GSM/GRPS. The following figure depicts

several examples, including: handovers between base transceiver stations (BTS) under the same

base station controller (BSC) (called intra-BSC handover); handovers between BSCs under the

same mobile switching center (MSC) (called inter-BSC / intra-MSC handover); and handovers

between MSCs (inter-MSC handover).




Id. at 141.



                                              57
       120.      Additionally, within 2G GSM/GPRS, there are also inter/intra-SGSN handovers

that occur in conjunction with inter-BSC handovers for packet switched services. The following

provides details related to the GSM/GPRS protocols, and network elements.

                 GPRS transmission plane

                 This is a layered protocol structure enabling user information
                 transfer and associated control procedures such as flow control,
                 error detection, error correction and error recovery. The GPRS
                 transmission plane is shown in Figure 6.3 [18, 19]. We observe in
                 Figures 6.2 and 6.3 the entities MS, BSS (namely BTS connected
                 via the Abis to the BSC), SGSN and the GGSN; together with the
                 interfaces Um, Gb, Gn and Gi. From the transmission plane we
                 observe that at the highest level the application is leaving the
                 network via Gi. The GPRS tunnelling protocol (GTP) tunnels user
                 data and signalling between GPRS support nodes, SGSN and
                 GGSN, in the backbone network. The transport control protocol
                 (TCP) carries the GPRS tunnelling protocol (GTP) data units
                 (PDUs) in the GPRS backbone network for protocols that need a
                 reliable data link, such as X.25. The user datagram protocol (UDP)
                 conveys GTP PDUs for protocols, such as Internet protocol (IP) that
                 do not require reliable links. The TCP provides flow control and
                 protection against lost and corrupted GTP PDUs. The GPRS
                 backbone network protocol is IP, and is used for routing user data
                 and signalling.

Id. at 414-15.




                                                 58
Id. at 416 (Fig. 6.3).

                Radio resource management functions Allocation and
                maintenance of radio communication channels are provided by these
                functions. The GSM radio resources are dynamically shared
                between the circuit mode and GPRS. The GPRS radio resource
                management is concerned with the allocation and release of
                timeslots for a GPRS channel; monitoring GPRS channel utilisation;
                congestion control; and the distribution of GPRS channel
                configuration information that is broadcast on the common control
                channels…

                Packet data logical channels Although circuit switched and GPRS
                services use the same physical channels, they have different logical
                channels. The physical channel dedicated to packet data is called a
                packet data channel (PDCH). The logical channels for common
                control signalling for packet data are carried by the packet common
                control channel (PCCCH), and there is also the packet random
                access channel (PRACH), an up-link-only channel used by MSs to
                initiate data or signalling packet transmission.

Id. at 418.




                                                59
                      (b)     Handover in UMTS (Release 99-Release 5)

       121.   Like the BSC in GSM, the radio network controller (RNC) in UMTS configures

measurements in the user equipment (UEs) used in the handover process.




Kreher et al., “UMTS Signaling: UMTS Interfaces, Protocols, Message Flows and Procedures

Analyzed and Explained” (2007) (“Kreher”) at 240 (Table 3.2).

              3.7.3 Measurement Initiation for Intrafrequency Measurement

              There are two different ways to initiate RRC measurement (Figure
              3.39). The first is that UE reads SIB 11 and/or 12 from the Broadcast
              Channel of the current cell identified by a primary scrambling code
              that is also visible in the RRC Connection Setup message. The
              second way is that the SRNC sends an RRC Measurement Control
              message to the UE after successful establishment of the RRC
              connection.

              It is possible that several RRC Measurement Control messages are
              sent according to the different types of RRC measurement task. Also
              cell information lists (neighbor cell lists) and event criteria lists may
              be sent in separate messages. For instance, the first RRC
              Measurement Control message contains the Intrafrequency Cell Info
              List, and the second one the Event Criteria List with activated trigger
              conditions. In such a case, both messages may have different
              Measurement ID values and different RRC Transaction IDs.


                                                 60
                 The RRC Measurement Control messages are sent on a DCCH in
                 downlink direction. A measurement identity is used as the setting
                 identifier and will be used later in measurement reports related to
                 these settings.

                 In the case of intrafrequency measurement, an intrafrequency cell
                 information list (neighbor cell list) is sent to the UE. It contains the
                 primary scrambling code (PScrCd) of cells to be measured and
                 assigns an appropriate Intrafrequency Cell ID to each cell of the list.
                 Then the measurement quantity is defined – in the example, the
                 Ec/No relation value of the primary CPICH signal of the listed FDD
                 cells.

Kreher at 240.




Id. at 244.

        122.     The following figure provides the configuration of measurements of a UE by the

RNC.




                                                   61
Id. at 241.

        123.   In UMTS handover can occur between:

       Between NodeBs of the same RNC (intra-RNC handover);

       Between NodeBs of different RNCs (inter-RNC handover, as a hard handover); and

       Between RNCs of different SGSNs (inter-RNC hard handover with SGSN relocation).

        124.   UMTS supports both soft handover (in which the UE makes RRC connections to

more than one NodeB at the same time) and hard handovers (in which a mobile must disconnect

from the source NodeB before connecting to a target NodeB).

        125.   Like LTE, the UMTS network makes the decision to initiate a handover based, at

least in part, upon UE’s receiver signal level measurements of adjacent cells, which the UE reports

to the RNC (within the RNS). Prior to commanding the UE to execute the handover, the network

directs the target RNC to reserve resources if RNC relocation is to be performed. Likewise, if a

SGSN relocation is to be performed, a similar process is followed. In UMTS, each NodeB can


                                                62
broadcast neighbor lists to inform the UEs of the presence of neighboring NodeBs. Furthermore,

the serving RNC will configure the UE to perform signal level measurements of the neighboring

NodeBs.

                                 (i)    NodeBs of the Same RNC (Intra-RNC Handover)

        126.       As illustrated below, intra-RNC handovers involve handing over from one NodeB

to another, where both NodeBs belong to the same RNC. The UE is currently moving in an area

covered by both the serving NodeB and the target NodeB, where the signal level of the serving

NodeB is deteriorating while the signal level of the target NodeB becomes better. “Based on the

measurement reports sent by the UE the SRNC will decide in the first step to activate inter-

frequency measurements using compressed mode. In the second step the handover decision will

be made and the handover is executed.” Kreher at 291.




Id. (Fig. 3.88).



                                                 63
       127.   The RRC message flow for the above hard handover is depicted in the following

figures:




                                            64
                              (ii)   NodeBs of Different RNCs (Inter-RNC Handover as a Hard
                                     Handover)

       128.    Inter-RNC handover, also called SRNS relocation, is used to relocate the serving

RNS functionality from one RNS to another. The diagram below shows the procedure involved

for an intra-MSC SRNS relocation, where the 3G_MSC supports the Iu interface and controls the

call, the mobility management and the radio resources before, during, and after an Intra-MSC

handover. See 3GPP TS 23.009 v.5.1.0 at §§ 3.1, 4.1.1, 6.2.3 (Fig. 11).




                                               65
                 If the UE is involved in the relocation procedure it always means
                 that a (backward) hard handover controlled by the old SRNC (RNC
                 1) is performed. As shown in Figure 5.54 this relocation procedure
                 may once again have impact on all ongoing signaling and user traffic
                 exchanged between the UE and the CS/PS core network domains.
                 When RNC 1 decides to perform hard handover and change of the
                 SRNC in one step (1) , a RANAP Relocation Required message will
                 be sent to participating core network elements MSC and/or SGSN
                 (2) , which then will set up new Iu signaling connections and Iu
                 bearers toward RNC 2 (3) . After the handover has been performed
                 successfully signaling connections and user plane transport bearers
                 on Iu interfaces between core network elements and RNC 1 can be
                 released (4).

Kreher at 426.




                                                 66
Id. at 427-28.




                 67
                               (iii)   Inter-RNC Hard Handover with SGSN Relocation

       129.    “If a user moves within the coverage area of a base station (and RNC) served by a

different SGSN, this requires the highest level of mobility management—the Inter-SGSN/MSC

SRNS relocation.” IP for 3G at 49. A UE-involved inter-RNC hard handover with SGSN

relocation procedure is used to move the RAN-to-CN connection point at the RAN side from the

source SRNC to the target RNC, while performing a hard handover decided by the RAN. In the

procedure, the Iu links are relocated. 3GPP TS 23.060 v.5.1.0 (3/2002) at § 6.9.2.2.2. The

procedure is illustrated in the figures below.




                                                 68
69
Id. at § 6.9.2.2.2 (Figs. 40-42).

        130.    The following citation provides more details regarding the initial steps of the

combined hard handover and SRNS relocation procedure:

                1)     Based on measurement results and knowledge of the RAN
                topology, the source SRNC decides to initiate a combined hard
                handover and SRNS relocation. At this point both uplink and


                                               70
downlink user data flows via the following tunnel(s): Radio Bearer
between the MS and the source SRNC (no drift RNC available);
GTP-U tunnel(s) between the source SRNC and the old SGSN;
GTP-U tunnel(s) between the old SGSN and the GGSN.

2)     The source SRNC sends a Relocation Required message
(Relocation Type, Cause, Source ID, Target ID, Source RNC To
Target RNC Transparent Container) to the old SGSN. The source
SRNC shall set Relocation Type to "UE Involved". Source RNC To
Target RNC Transparent Container includes the necessary
information for relocation co-ordination, security functionality and
RRC protocol context information (including MS Capabilities).

3)       The old SGSN determines from the Target ID if the SRNS
relocation is intra-SGSN SRNS relocation or inter-SGSN SRNS
relocation. In case of inter-SGSN SRNS relocation the old SGSN
initiates the relocation resource allocation procedure by sending a
Forward Relocation Request message (IMSI, Tunnel Endpoint
Identifier Signalling, MM Context, PDP Context, Target
Identification, RAN Transparent Container, RANAP Cause) to the
new SGSN. For relocation to an area where Intra Domain
Connection of RAN Nodes to Multiple CN Nodes is used, the old
SGSN may – if it provides Intra Domain Connection of RAN Nodes
to Multiple CN Nodes -have multiple target SGSNs for each
relocation target in a pool area, in which case the old SGSN will
select one of them to become the new SGSN, as specified in 3GPP
TS 23.236 [73]. PDP context contains GGSN Address for User
Plane and Uplink TEID for Data (to this GGSN Address and Uplink
TEID for Data, the old SGSN and the new SGSN send uplink
packets). At the same time a timer is started on the MM and PDP
contexts in the old SGSN (see Routeing Area Update procedure in
subclause "Location Management Procedures (Iu mode)"). The
Forward Relocation Request message is applicable only in case of
inter-SGSN SRNS relocation.

4)      The new SGSN sends a Relocation Request message
(Permanent NAS UE Identity, Cause, CN Domain Indicator, Source
RNC To Target RNC Transparent Container, RAB To Be Setup) to
the target RNC. For each RAB requested to be established, RABs
To Be Setup shall contain information such as RAB ID, RAB
parameters, Transport Layer Address, and Iu Transport Association.
The RAB ID information element contains the NSAPI value, and
the RAB parameters information element gives the QoS profile. The
Transport Layer Address is the SGSN Address for user data, and the
Iu Transport Association corresponds to the uplink Tunnel Endpoint
Identifier Data.



                                71
Id. at § 6.9.2.2.2.

                5.      Overview of IP Mobility

        131.    IP mobility was already a broadly researched topic at the time of the filing of the

’417 Patent. This section provides some discussion related to what one of ordinary skill in the art

would have known at that time regarding IP mobility.

        132.    “The challenge of ‘IP mobility’ is to deliver IP-based applications to mobile

terminals/users, even though, traditionally, IP-protocols have been designed with the assumption

that they are stationary.” IP for 3G at 116. In broad terms, IP mobility was viewed as being

addressable at different layers of the protocol stack: (i) at layer 2, hidden from the IP layer; (ii) at

the application layer, above the IP layer; or (iii) at the IP layer itself. See id. at 117-19.

        133.    As discussed previously, IP mobility was addressed in GSM/GPRS and UMTS

using layer 2 tunnels (i.e., option 1 above). This approach addressed IP “micro-mobility,” which

is mobility within the same access network (e.g., UTRAN). Additionally, UMTS Release 5

standardized the IP Multimedia Subsystem (IMS) to support Voice over IP (VoIP), among other

multimedia applications, and addressed IP mobility at the application layer using the SIP protocol

(i.e., option 3 above). As I will discuss in more detail below, UMTS also addressed IP “macro

mobility,” which refers to mobility across different access networks, using Mobile IP integrated

with the GGSN as a foreign agent and a home agent residing within a home access network.

                Another example is where a GSM user dials into their ISP, with PPP
                used to give an application level connectivity to their e-mail or the
                Internet. Mobility is handled entirely by the GSM protocol suite and
                IP stops at the ISP - so as far as IP is concerned, the GSM network
                looks like a Layer 2. Clearly, this solution does work and indeed
                has been very successful.

IP for 3G at 118.




                                                   72
       134.      As for addressing IP mobility at the IP layer, the following table provides a list of

different IP mobility solutions that were available at least as of 2002:




Id. at 119-20.




                                                  73
                       (a)     Macro-Mobility vs. Micro-Mobility

       135.    This section discusses then prior art concepts of micro and macro mobility, and

generally defines them as the change of access points within a given access network (micro-

mobility), versus changing access points between two different access networks (macro-mobility).




IP for 3G at 123.

       136.    As shown below, the IETF Mobile IP standard (RFC 2002) used similar

terminology, and even states that a link layer (layer 2) solution may be preferable for micro-

mobility between wireless transceivers covering small areas. RFC 2002 was published in October

1996, while GPRS (an example of such link layer solution) was first standardized and published

in the same time frame as GSM 03.60 by ETSI.

               Mobile IP is intended to enable nodes to move from one IP subnet
               to another. It is just as suitable for mobility across media as it is for
               mobility across heterogeneous media. That is, Mobile IP facilitates
               node movement from one Ethernet segment to another as well as it
               accommodates node movement from an Ethernet segment to a
               wireless LAN, as long as the mobile node's IP address remains the
               same after such a movement.

               One can think of Mobile IP as solving the “macro” mobility
               management problem. It is less well suited for more “micro”
               mobility management applications -- for example, handoff amongst
               wireless transceivers, each of which covers only a very small


                                                  74
                  geographic area. As long as node movement does not occur between
                  points of attachment on different IP subnets, link-layer mechanisms
                  for mobility (i.e., link-layer handoff) may offer faster convergence
                  and far less overhead than Mobile IP.

IETF RFC 2002 at § 1.4 (Oct. 1996) (emphasis added).

                           (b)      Overview of Mobile IP

         137.     Many, if not all, of the exemplary embodiments of the ’417 Patent focus on the

Mobile Internet Protocol (Mobile IP). Mobile IP refers generally to various Internet Engineering

Task Force (IETF) communications protocols that were developed to allow mobile device users to

move from one network to another while maintaining a permanent IP address.

         138.     During the prosecution of the patent application for the ’508 Patent,2 the applicants

disclosed to the patent office Mobile IPv4 (defined in IETF RFC 2002, published in 1996, available

at https://tools.ietf.org/pdf/rfc2002.pdf). The figure below summarizes the datagram delivery

mechanism used in the Mobile IPv4 protocol:




2
  The ’417 Patent is a continuation of the ’508 Patent. Thus, it is my understanding that the prosecution history of
the ’508 Patent is equally relevant to the ’417 Patent.



                                                          75
See Kivisaari, “A Comparison Between Mobile IPv4 and Mobile IPv6”, May 5, 2000,

http://www.cse.tkk.fi/fi/opinnot/T-110.5190/2000/comparison_IPv4_IPv6/

internetworking_seminar.html (“Kivisaari”).

           139.     As depicted in the figure, Mobile IPv4 operates by setting up the equivalent of a

forwarding system (for example, similar to the mail forwarding service offered by the U.S. Postal

Service and used when someone moves residences, changing addresses, and desires their mail to

be delivered to their new address). In more detail, a router on a mobile node’s home network (Net

A in the figure) serves as the mobile device’s home agent, and one on its current network (Net C)

acts as the foreign agent. The home agent receives datagrams destined for the mobile’s normal IP

address and forwards them to the mobile node’s current location by sending them to the foreign

agent using a “care-of address.”3 The home agent and foreign agent are also responsible for various

communication and setup activities that are required for Mobile IP to work.

           140.     As the ’417 Patent acknowledges, the Mobile IPv4 architecture had its

disadvantages, and assorted proposals had been made to enhance its capabilities. Specifically,



3
    As discussed in column 1, lines 37-57 of the ’417 Patent, in Mobile IP the mobile node uses two IP addresses:
Home Address: The “normal,” permanent IP address assigned to the mobile node. This is the address used by the
device on its home network, and the one to which datagrams intended for the mobile node are always sent.
Care-Of Address: A secondary, temporary address used by a mobile node while it is “traveling” away from its home
network, i.e., in a foreign network. It is used only by Mobile IP for forwarding IP datagrams and for administrative
functions.
There are two different types of care-of addresses, which correspond to two distinctly different methods of
forwarding datagrams from the home agent router:
Foreign Agent Care-Of Address: This is a care-of address provided by a foreign agent in its Agent Advertisement
message. It is, in fact, the IP address of the foreign agent itself. When this type of care-of address is used, all
datagrams captured by the home agent are not relayed directly to the mobile node, but indirectly to the foreign agent,
which is responsible for final delivery. Since in this arrangement the mobile node has no distinct IP address valid on
the foreign network, this is typically done using a layer two technology.
Co-Located Care-Of Address: This is a care-of address assigned directly to the mobile node using some means
external to Mobile IP. For example, it may be assigned on the foreign network manually, or automatically using
DHCP. In this situation, the care-of address is used to forward traffic from the home agent directly to the mobile
node.



                                                           76
Mobile IP was designed to handle mobility of devices, but only relatively infrequent mobility. The

impact of Mobile IP is discussed in RFC 2002 as solving the “macro mobility” problem in which

nodes move from one IP subnet to another (requiring the nodes to be assigned a new IP address at

each new location). RFC 2002 goes on the state that that Mobile IPv4 is less suited for addressing

“micro mobility” (“for example, handoff amongst wireless transceivers, each of which covers only

a very small geographic area.”). RFC 2002 at § 1.4. The Patent-in-Suit acknowledges the same

limitation with Mobile IPv4. See ’417 Patent at 1:57-2:38. This is due to the work involved with

connecting to a new network, and the overhead in setting up the new mobile IPv4 connections. Id.

at 2:20-38. This may be acceptable when moving a computer once a week, a day or even an hour,

but it can be an issue for “real-time” mobility such as roaming from one wireless network to

another while in a fast moving vehicle.

       141.    In addition, examination of the Mobile IPv4 protocol in RFC 2002 reveals a serious

drawback concerning the performance of the protocol, namely, that all packets sent by the

correspondent node are always routed first to the mobile node’s home network where they are

intercepted by the mobile node’s home agent and subsequently tunneled to the foreign agent on

the foreign network in which the mobile node currently resides. This mechanism is sometimes

called “triangle routing.” Triangle routing generally introduces increased delay for the packets sent

by the correspondent node and also places a heavy load on the home agent, which has to forward

all packets sent by a correspondent node to the corresponding mobile node via the foreign agent.

Kivisaari at § 3.1.

       142.    In 2004, the IETF developed Mobile IPv6, as specified in RFC 3775, in part to

address some of the disadvantages of Mobile IPv4. The figure below summarizes the datagram

delivery mechanism used in the Mobile IPv6 protocol:




                                                 77
Id. at § 5.1.

        143.     As depicted in the figure above, Mobile IPv6 allows a correspondent node to send

a datagram directly to a mobile node via the mobile node’s care-of-address when the correspondent

node has a binding cache entry for the mobile node.4 If the correspondent node does not have a

binding cache entry, the home agent tunnels the packets to the mobile node without having to use

a foreign agent between the home agent and mobile node.

        144.     As a network layer protocol, Mobile IP is directed to the routing of IP messages in

the network layer, rather than routing in lower protocol layers such as the physical or link layers.

Mobile IP is a protocol that can be used with different link layer systems, such as Wi-Fi (802.11)

systems and cellular (2G, 3G and 4G) radio links. As of the July 2003 alleged priority date of the

’417 Patent, there was no support in the IEEE 802.11 standard for link-layer handover between

Wi-Fi access points, other than a mobile station simply disconnecting from one access point and



4
 A binding cache entry is an entry in the cache memory defined as comprising the home address, the care-of
address, and a lifetime of the care-of address. Such a binding holds an association between the permanent local
home address and a temporary foreign address and is valid only for a given period of time. See RFC 3775 at §9.1.



                                                        78
connecting to another. Initial steps toward such a standard were first published in the IEEE

802.11r-2008 standard on July 15, 2008, allowing for the sharing of authentication information

between Wi-Fi access points to facilitate the transition between the attachment points. In parallel

with 802.11r, two other amendments were published addressing other aspects of link layer

transitions between access points, IEEE 802.11k-2008 (allowing “assisted roaming” through

neighbor lists from the AP), and IEEE 802.11v-2008 (Access Points can send messages to a

wireless client with better APs with which to connect).5

        145.     As one can recognize, in 2003, IEEE 802.11 Wi-Fi was far from being optimized

for roaming from one access point to another. The setup time not only includes the time it takes to

perform a Mobile IP registration process at the network layer, but also the time to change the

physical and data link layer connections as well.

        146.     In conventional Mobile IP systems, as described in the preferred embodiments of

the ’417 Patent, each foreign agent broadcasted its presence to mobile nodes. They did this, for

example, using network layer messages, often referred to as agent advertisement messages. These

network layer messages cannot be received until the mobile node is within the coverage area of

the IP network associated with a foreign agent.

                          (c)     Fast Handovers for Mobile IP

        147.     Also in the prior art were adaptations of Mobile IPv4 and Mobile IPv6 using so-

called “Fast Handovers,” wherein wireless access networks addressed micro-mobility based upon

detecting signal levels from neighboring base stations or by predicting the mobile node’s likely




5
 See Cisco.com, Enterprise Mobility Design Guide, https://www.cisco.com/c/en/us/td/docs/wireless/controller/8-
1/Enterprise-Mobility-8-1-Design-Guide/Enterprise_Mobility_8-1_Deployment_Guide/Chapter-11.html.



                                                       79
movements, and configuring resources proactively prior to the handing over the mobile node to a

new access router (or foreign agent in the IPv4 context). The details of each are provided below.

               Fast Handovers for Mobile IPv6

               The main idea of this protocol is that it is often known what the next
               Access Router is likely to be before the mobile actually hands over
               on to it. This ‘hint’ could, for example, come from power or signal-
               to-noise ratio measurements, or from knowledge of a mobile’s
               likely movements (e.g. if it is on a train). Hence, some proactive
               action can be taken in advance of the actual handover - if desired,
               the handover can be initiated before the MN has connectivity with
               the new AR. Overall, this should mean that from the point of view
               of ongoing communications between the mobile and its
               correspondents, the handover is apparently smoother and faster.
               This type of approach is familiar from current cellular networks,
               where the mobile reports on the signal strength from nearby base
               stations, thus allowing the network to plan for handovers.

               The basic ideas are to:

                     Enable the mobile node to configure a new CoA before it
                      moves on to the new AR, so that it can use the new CoA as
                      soon as it connects with the new AR. This eliminates the
                      delay seen in mobile IP from the registration process, which
                      can only begin after the Layer 2 handover to the new AR is
                      complete. There is an implicit assumption that the mobile is
                      only capable of connecting with one AR at a time, i.e. break
                      before make, otherwise the mobile IP feature above (two
                      CoAs) can be used.

                     Ensure that no packets are lost during the handover by
                      establishing a temporary tunnel from the old to the new AR.
                      The technique is basically an extension of the MIP feature
                      above (point 3) to the case of a planned handover.

IP for 3G at 135-36 (emphasis added).

               Fast Handovers for Mobile IPv4

               Fast handovers (or ‘low latency handoffs’ in their terminology) have
               also been considered for mobile IPv4. At present, there are several
               differences from fast mobile IPv6, and in fact, fast mobile IPv4
               currently includes two different techniques called pre- and post-
               registration. Fast mobile IPv4 and v6 might be expected to converge
               on the same basic approach.


                                                80
                The ‘pre-registration’ method has the same idea as fast mobile
                IPv6 above, in that a proxy router advertisement from the old
                foreign agent is used to inform the mobile node about the
                prospective new foreign agent. There are several slight differences,
                which mainly stem from using a normal registration request/reply
                (i.e. there are not special ‘fast’ messages).

Id. at 136-37 (emphasis added).

         148.   Fast Handovers for Mobile IPv4 and Mobile IPv6 demonstrate that the general

concept of using proxies and location prediction to speed up the handover process were already

known.

                       (d)     UMTS and Mobile IP

         149.   Even as early as 2002, UMTS Release 5 taught the use of Mobile IP (RFC 2002)

for use in macro-mobility (between different access networks), but choose to utilize link layer

handoffs (layer 2) for micro-mobility (within the UTRAN and GERAN radio access networks).

See, e.g., 3GPP 23.060 v.5.1.0 (3/2002) at 31, see also 3GPP 23.121 V3.6.0 (6/2002) at § 4.10.




3GPP TS 23.060 v.5.1.0 (3/2002) at § 5.7; see also 3GPP TS 23.121 v3.6.0 (6/2002) at § 4.10

(Mobile IP for UMTS/GPRS End Users).

         150.   The UMTS standard provides additional detail relating to the use of Mobile IP

(RFC 2002) integrated with the GGSN functionality in 3GPP TS 23.121 v.3.6.0, as referenced in

3GPP TS 23.060 v.5.1.0. These references are prior art to the ’417 Patent.




                                                81
82
3GPP TS 23.121 v.3.6.0 at § 4.10.1 (Figs. 4.46 & 4.47).

               6.     “All-IP” Access Networks and the Evolution from 3G to 4G

       151.    In Release 5 of the 3GPP UMTS standard, each link between the core network

nodes were transportable by IP. However, there was discussion at the time relating to a generalized

IP network being used to interconnect the RAN and the core networks. The following are examples

of some of those state of the art concepts that led to the development of the 4G LTE standard.

       152.    The following figure shows a first attempt at an all-IP architecture, where instead

of Node Bs there are Access Routers, and instead of GGSNs there are Gateways. IP for 3G at 207.

Access routers are connected to an IP access network, which is connected to the general Internet.

RNCs or other intermediary network nodes are not apparent.




       153.    The following figure depicts another example of an all-IP wireless network having

a number of different access networks, including ADSL, IP-based micro-mobility IntServ over

DiffServ a SIP Proxy Service (generally part of an IMS VoIP system), Hyperlan/802.11, and an



                                                83
“Evolved UMTS” which appears to be the next generation of systems after UMTS. These radio

access networks are interconnected using a macro-mobility system based on IP.




Id. at 211-12.

       154.      In 2002, the two main concepts that were in development for improving 3G UMTS

was Voice over IP (VoIP) and IP call/session signaling for multimedia services Id. at 214. UMTS

Release 4 was only concerned with the Core network part of the circuit-switched domain (CS-

Domain)—the UTRAN and packet switched (PS) domain remain the same. Release 4 took the Iu-

CS interface and allows it to be connected to a media gateway so that the voice traffic can be

carried in IP packets—a form of voice over IP (VoIP).” Id. Furthermore:

                 Operators might also have a core IP backbone that can then be used
                 for all fixed and mobile traffic. In R4, it is also possible to dimension
                 the user plane and control plane functions separately - Media


                                                    84
                Gateways (MG) or Media Gateway Controllers (MGC) can be
                added independently …. Finally, R4 represents an evolutionary step
                towards a full VoIP solution - where voice is packetised in the
                terminal. It was considered too large a step for operators,
                manufacturers, and standards bodies to achieve this in a single
                development.

Id. at 215.

        155.    UMTS Release 5 changed the packet switched (PS) core network (among other

enhancements). However, the circuit-switched part of the core could be the MSC/GMSC of

Release 3 or the MSC-server/MG architecture of Release 4. Release 5 introduced two major

elements to the PS core network: (i) a new core network domain called “Internet Multimedia core

network subsystem” (IMS); and (ii) an upgrade to the GSNs to support real-time voice and other

delay-sensitive services. Id. The UTRAN was also upgraded to support real-time handover of PS

traffic but was otherwise unchanged, with the interface between the core network and UTRAN

being via the normal AAL5 Iu(PS) interface.” Id. The overall Release 5 architecture is shown in

the figure below:




Id. at 215 (Fig. 7.5).




                                               85
        156.    The following figure provides a timeline for the deployment of the various

generations and release of wireless radio access networks, and core networks. As shown, the 4G

LTE standard was the next step in the 3GPP evolution from UMTS.




Sesia at 45 (Fig. 1.1).

        157.    As discussed above, “evolved” UMTS systems were being considered prior to the

filing date of the ’417 Patent, an example of which is shown in the figure below.




                                               86
IP for 3G at 212 (Fig. 7.3).

       158.    The above figure additionally includes the Call State Control Function (CSCF),

which is portion of the IMS network for supporting VoIP, which was first standardized in UMTS

Release 5.

       159.    The following table provides a mapping of UMTS (3GPP Release 99 +) to LTE

(3GPP Release 8+) elements having similar functionality.

 UMTS                                           LTE/EPC
 User Equipment (UE)                            User Equipment (UE)
 Radio network substem (RNS)                    evolved NodeB (eNodeB)
 - Radio Network Controller (RNC)               The combination of RNC functionality with
 - NodeB                                        one or more cells
 Universal subscriber identity (USIM)           Universal subscriber identity (USIM)
 Serving GPRS Support Node (SGSN)               Mobility Management Entity (MME)
 Control Plane (Signaling, Authentication) &    Control Plane (Signaling, Authentication)
 User Plane                                     Serving Gateway (SGW)
                                                User Plane
 Gateway GPRS Support Node (GGSN)               Packet Gateway (PGW)


                                               87
 Mobile Switching Center (MSC)                   IP Multimedia Subsystem (IMS)
                                                 including the P-CSCF as an interface to the
                                                 3G (GGSN) and LTE ( PGW).

The following figures also demonstrate the correlation of network elements:




Holma et al., “LTE for UMTS: OFDMA and SC-FDMA Based Radio Access” (2009) (“Holma”)

at 6 (Fig. 1.8).




                                              88
Id. at 24 (Fig. 3.1).

        B.      The ’330 Patent

                1.       Background of Compliance Testing

        160.    As discussed above, wireless systems, both cellular and home networking

(WiFi/802.11) had been available on the market for some time by the priority date of the ’330

Patent of July 31, 2003. As one of ordinary skill in the art would understand, all wireless systems

required testing prior to their deployment. This included both Wi-Fi (802.11) and cellular systems.

The following figure depicts the wireless cellular systems that had been standardized and deployed

as documented by the International Telecommunications Union (ITU) in 2002.6




6
 CDMA2000 Benefits and Market Status, available at https://www.itu.int/ITU-
D/tech/events/2002_2000/Abidjan2002/documents/2-3_Gorham.pdf at 7 (last visited May 16, 2019).



                                                     89
        161.     In fact, Verizon had deployed some of the above cellular systems for some time

prior to the priority date of the ’330 Patent. For example, Verizon had deployed IS-95 and

CDMA2000-based systems at the time of the priority date of the ’330 Patent, as shown in the

below figure.7




7
 CDMA2000 Benefits and Market Status, available at https://www.itu.int/ITU-
D/tech/events/2002_2000/Abidjan2002/documents/2-3_Gorham.pdf at 13 (last visited May 16, 2019).



                                                    90
       162.    Part of the process of vendors’ development of mobile devices is the verification

that the devices are going to interoperate with other network nodes (such as base stations) and the

core network owned by the various operators supporting the standard. This process is generally

referred to as “compliance testing.” Each of the standards listed above include provisions for

compliance tests to verify manufacturers’ devices. Additionally, organizations were set up to

certify third-party test labs and perform reviews of the results to provide official certification of

compliance to particular interoperability and minimum performance requirements. Generally,

these same laboratories were also able to certify compliance to regulatory requirements imposed

by the Federal Communications Commissions (FCC), or Underwriters Laboratories (UL).




                                                 91
                 2.       Compliance Testing Oversight

        163.     One organization which provided (and continues to provide) compliance testing

oversight was Global Certification Forum (“GCF”), which was founded in 1999. This organization

is responsible for the compliance certification of mobile devices ranging from GSM, WCDMA,

and now LTE. The GCF’s activities range from: conformance tests (to the 3GPP specifications,

and in the lab); interoperability tests and field trials (to ensure a mobile devices works with

different base station manufacturers’ equipment); over-the-air tests; and performance testing (GCF

PC & GCF AC). The GCF certification process is generally applicable to Europe.8




        164.     In the United States, there is a similar organization called the PTCRB, which was

founded by the U.S.-based wireless operators in 1997, and is managed by the Cellular Telephone

Infrastructure Association (CTIA). This certification process is illustrated in the below figure.9




8
 GCF Certification, “Test once, use anywhere” certification for mobile devices, available at
https://www.globalcertificationforum.org/news/whitepapers.html at 6 (last visited May 16, 2019).
9
 Introduction of Typical global certification system, available at https://www.itu.int/en/ITU-D/Regional-
Presence/AsiaPacific/Documents/Session%208-
1%20Introduction%20of%20Typical%20global%20certification%20system%20(GCF,PTCRB,CTIA)演示版
150906.pdf at 26 (last visited May 16, 2019).



                                                       92
                 3.       Operator Acceptance Testing

        165.     Following compliance and regulatory certification, the wireless network operators

(like Verizon) typically performed (including prior to the priority date of the ’330 Patent) “operator

acceptance testing” to ensure the devices work correctly within their own networks. The flow of

this testing process is illustrated in the below figure.10




        166.     As part of the above certifications, various tests must be performed on the mobile

device. These tests include verifying the performance of handovers between network nodes, as

well as confirming performance the mobile device applications on the operators’ networks.




10
  Introduction of Typical global certification system, available at https://www.itu.int/en/ITU-D/Regional-
Presence/AsiaPacific/Documents/Session%208-
1%20Introduction%20of%20Typical%20global%20certification%20system%20(GCF,PTCRB,CTIA)演示版
150906.pdf at 24 (last visited May 16, 2019).



                                                       93
               4.     Minimum Performance Standards Set by Industry Organizations

       167.    As part of such operator acceptance testing, carriers ensured that certain “minimum

performance requirements” for handover were met. As one example, for the CDMA2000 prior art

3G systems, several test configurations were typically required. The CDMA Development Group

(“CDG”) was the industry organization in the US which developed CDMA2000, as well as IS-95-

based CDMA interoperability documents and tests.

       168.    One of the CDG documents describes testing of IS-95B handoffs for performance

and delay in a number of emulated conditions. Such conditions and scenarios are listed as follows:




                                               94
CDG Stage 2 Interoperability Tests (TIA/EIA-95-B), Revision 2.0, CDG 53 (June 20, 2000) at 3-
1, VZ_MW_Prior Art_013509-013798 (“CDG 53”).

       169.    From the same document (CDG 53), Figure 3.8.2-1 depicts the functional setup for

testing soft handoff in wireless fading conditions. In this figure below, one can see multiple base

stations interfacing with a mobile device via respective attenuators and channel simulators to verify

the handover performance.




CDG 53 at 3-10 (Figure 3.8.2-1).




                                                 95
        170.     In a similar figure from CDG 53, once can see the test configuration for a hard

handoff verification, as required at the time by the prior art IS-95B (CDMA2000) devices deployed

on Verizon’s network.




CDG 53 at 6-10 (Figure 6.10.2-1).

        171.     The CDMA2000 standards themselves included specific interoperability tests as

well as minimum performance tests. In association with the CDMA2000 network, the following

diagram depicts the overall reference model associated with various (hard, soft, softer) handoffs.11




11
  3GPP2 A.S0011-0, Version 1.0, Interoperability Specification (IOS) for CDMA 2000 Access Network Interfaces
– Part 1 Overview (Nov. 16, 2001), available at https://www.3gpp2.org/Public_html/Specs/A.S0011-0_v1.0.pdf, at
Figure 3.2.1 (last visited May 16, 2019).



                                                      96
        172.     It should be noted that various concepts related to mobility are discussed in this

same prior art document relating to micro and macro mobility within a CDMA2000 3G system, as

well as using mobile IP including both home agents and foreign agents associated with macro

mobility.

        173.     The mobile IP protocol “stack” for IS-2000 is depicted in the following figure from

a different document of the same standard, in 2001.12




12
   3GPP2 P.S0001-A, Version 3.0, Wireless IP Network Standard (July 16, 2001), available at
https://www.3gpp2.org/Public_html/Specs/P.S0001-A_v3.0.pdf, at 6, Fig. 2 (“P.S0001-A”).



                                                      97
         174.   The following depicts the CDMA2000 network using Mobile IP as a reference

model.




                                            98
P.S0001-A at 16 (Fig. 5).

       175.   Using mobile IP within the CDMA2000 network is similarly discussed in the

following:




                                          99
P.S0001-A at 24.




P.S0001-A at 34.

       176.    Hard handover times in CDMA2000 were quite fast to support real time voice

communications, as well as packet data services. For example, the IS-2000 requirements mandated

a maximum duration of 500 ms – 362 ms = 138 ms (see 3GPP2 C.S0033 at 6.1.1.2.4.3 Minimum

standard) associated with an inter-frequency hard handoff. This is in direct contradiction to the

’417 Patent’s background asserting that the current mobile IP handover interruption times are

problematic. ’417 Patent at 2:20-30. It should be noted that at the time of the filing of the patent

applications leading to the ’417 and the ’330 Patents, the CDMA2000 system had been deployed

by Verizon and had almost certainly been conforming to the requirements for acceptable intra-

frequency and inter-frequency hand-offs for both voice and packet data systems. Further, such

systems were undoubtedly being verified according to the simulation/emulation systems required

by the standards and industry organizations as discussed herein.

       177.    Other emulated test setups were further specified for use in the various minimum

performance testing requirements. One example is a test setup for positioning. As one can see from




                                                100
the below figure, the following block diagram includes a GPS simulator with multiple base

stations, a network node emulator (PDE Simulator), and a mobile station. 13




13C.S0036-0 v1.0 - 3GPP2, Recommended Minimum Performance Specification for C.S0022-0 Spread Spectrum
Mobile Stations, March 11, 2002, at 5-18, available at https://www.3gpp2.org/Public_html/Specs/C.S0036-
0_v1.0.pdf (last visited May 16, 2019).


                                                   101
                5.       Commercial Test Equipment

        178.    Vendors developed commercial equipment in association with the conformance

specifications for use by equipment manufacturers and wireless operators for performance and

conformance verification. Examples of such systems are depicted in the following figures. 14




14
  Olaf Bergengruen, UMTS Terminal Testing: A Practical Perspective, D. Hogrefe and A. Wiles (Eds.): TestCom
2003, LNCS 2644, pp. 10-19 (2003), available at https://link.springer.com/content/pdf/10.1007/3-540-44830-
6_2.pdf, at Figs. 2-3 (last visited May 16, 2019).



                                                    102
        179.    For example, Rohde & Schwarz offered a test system for WCDMA in 2003 called

the TS8950W, as can be seen in the figure below.15




15
  WCDMA Test System R&S TS8950W (2003), available at https://cdn.rohde-
schwarz.com/pws/dl_downloads/dl_common_library/dl_news_from_rs/178/n178_TS8950W.pdf at 2 (last visited
May 16, 2019).



                                                  103
        180.    Referring to the above figure, one can observe a “DUT” or device under test, which

is the mobile unit. One can also observe the “baseband fading simulator” which would act as a

channel simulation for fading (providing an adaptation of a channel characteristic including

attenuation), and a protocol tester / emulator. Additional details for Rohde-Schwarz compliance

test equipment can be found associated with the TS7100 and CMU200, as shown in the below

figure.16




16
  News from Rohde & Schwarz (2000) available at https://scdn.rohde-
schwarz.com/ur/pws/dl_downloads/dl_common_library/dl_news_from_rs/magazin/News169_englisch_72dpi.pdf, at
Fig. 2 (last visited May 16, 2019) (“News from Rohde & Schwarz”).



                                                  104
        181.     By 2003, Rohde & Schwarz had deployed over 1000 manufacturing tests systems

worldwide to support compliance testing and manufacture testing. News from Rohde & Schwarz

at 4 (“Rohde & Schwarz can look back on wide-ranging, international experience in project

handling, having supplied more than 1000 production test systems for mobile phones.”).

        182.     Other test-equipment vendors were active in the space as well at the time of the

priority date of the ’330 Patent. For example, Hewlett Packard had many variants of mobile test

equipment for conformance testing of mobile phones in 1995, as shown below.17



17
   RF Test Sets for Wireless Communications, Hewlett Packard (1995) available at
https://literature.cdn.keysight.com/litweb/pdf/5966-0046E.pdf?id=1000031836:epsg:dow, at 3 (last visited May 16,
2019).



                                                      105
        183.     Another vendor, Anritsu, provided a significant number of mobile test devices as

well by 2003. A history of Anritsu’s activity is depicted below.18 This history also suggests that

the vendors had close interaction with the standards development process so as to aid in the design

of the test equipment.




18
   Product Information, MT8820A Radio Communication Analyzer, Anritsu (2003) available at https://dl.cdn-
anritsu.com/en-us/test-measurement/files/Product-Introductions/Product-Introduction/MT8820A_EI1500.pdf, at 4-5
(last visited May 16, 2019).



                                                     106
       184.    As can be seen from the above figures, the MT8820A supports many wireless

standards including CDMA2000, W-CDMA, and GSM/GPRS. It also includes a “GPIB” port,

which a POSITA would have known is for interfacing with a controller to automate the testing

arrangement. To perform the WCDMA and CDMA2000 handover tests, the MT8820A would

require including multiple base stations or sectors, and perform attenuation of the signals of each

to adjust the relative power levels for the required tests, within a single integrated enclosure.


                                                 107
         185.    Another such system for testing a mobile unit within a mobile communications

system is described in Spirent AirAccess C2K CDMA Network Emulator Operations Manual

(“AirAccess”), published in 2001. This manual is also cited as a grounds for invalidity below. See

infra Section XI.B. Another later, but substantially similar, version of this emulator is cited in

Mobility’s infringement theories, despite largely having been prior art. See, e.g., ’330 Patent

Infringement Contentions at 5, 13, 16, 19-22, 25-29, 31, 33-34.

                 6.       Academic and Industry Research for Wireless using Network Emulators

         186.    As disclosed in the ’330 Patent, the NIST Net Emulator provides for the emulation

of wireline network impairments including delay and jitter. ’330 Patent at 5:60-6:2; NIST Net at

Abstract. The inventors of the ’330 Patent did not conceive or contribute to NIST Net development,

but were apparently aware of its use based upon their general industry awareness at the time of the

alleged invention of the ’330 Patent. As discussed in detail below, see, e.g., Section XI.A.4 below,

a paper describing the development of NIST Net was published as “NIST Net – A Linux-based

Network Emulation Tool,” by Mark Carson and Darrin Santay published July 2003, and explicitly

discloses the use of their emulator with wireless systems and its widespread use in the industry.

NIST Net at 125. In fact, by 2003, NIST Net had been obtained by nearly 20,000 people and had

been used extensively in industry and academic research. NIST Net at 112, 125.

         187.    I performed a brief search for academic papers referencing wireless systems and

NIST Net, and determined there were many tens or more. An example of some of these state of

the art papers include:

        Shelley Zhuang et al., Host Mobility Using an Internet Indirection Infrastructure,
         Berkeley, June 2002.19


19
   Shelley Zhuang et al., Host Mobility Using an Internet Indirection Infrastructure, Report No. UCB/CSD-2-1186,
Computer Science Division (EECS), University of California, Berkeley (June 2002), available at
https://www2.eecs.berkeley.edu/Pubs/TechRpts/2002/CSD-02-1186.pdf (last visited May 16, 2019).



                                                      108
            o This paper includes Mobile IP protocols, mobile hosts in the form of GPRS, 3G,
              802.11, for handoffs, and using NIST Net as part of its test system.

        Markku Kojo et al., Seawind: a Wireless Network Emulator, Proceedings of 11th GI/ITG
         Conference on Measuring, Modelling and Evaluation of Computer and Communication
         Systems (2001).20

            o This paper discusses emulating wireless networks such as GPRS and 802.11 and
              discusses handovers. This paper also discusses using the NIST Net and ONE
              emulators, see, e.g., Sections XI.A.3 and XI.A.4 below, for implementation of
              their emulator.

        Yongguang Zhang et al., An Integrated Environment for Testing Mobile Ad-Hoc
         Networks, Proceedings of the 3rd ACM international symposium on Mobile ad hoc
         networking & computing (2002).21

            o This paper discuses using the NIST Net and ONE emulators for implementation
              of its research system. Additionally, this paper describers using RF attenuators to
              simulate path loss between the wireless nodes.

         188.    Based upon the disclosures of NIST Net and the derivative works mentioned above,

as well as the numerous other examples of the use of NIST Net in academic and industry papers

determined during my search for publications at the time, it is my opinion that it was a commonly

known approach by one of ordinary skill in the industry to use a wireline network emulator (such

as NIST Net or ONE) in combination with radio frequency network simulators to investigate

overall protocol performance such as that of TCP/IP in a cellular or other wireless system.




20
   Markku Kojo et al., Seawind: a Wireless Network Emulator, Proceedings of 11th GI/ITG Conference on
Measuring, Modelling and Evaluation of Computer and Communication Systems (2001), available at
http://citeseerx.ist.psu.edu/viewdoc/download;jsessionid=9B90D4454FEFFF55A4F12147F6E12B8B?doi=10.1.1.2.
5403&rep=rep1&type=pdf (last visited May 16, 2019).
21
   Yongguang Zhang et al., An Integrated Environment for Testing Mobile Ad-Hoc Networks, Proceedings of the 3rd
ACM international symposium on Mobile ad hoc networking & computing, p. 104-111 (2002), available at
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.464.31&rep=rep1&type=pdf (last visited May 16, 2019).



                                                     109
IX.    SUMMARY OF THE ASSERTED PATENTS

       A.         The ’417 Patent

       189.       The ’417 Patent provides that for a mobile system architecture to function

adequately the mobile node, or host, needs “some way … to let other nodes know where the mobile

node can be reached while the host is moving or located away from home. In accordance with a

typical mobile networking protocol, a mobile node registers with a home agent so that the home

agent can remain a contact point for other nodes that wish to exchange messages or otherwise

communicate with the mobile node as it moves from one location to another.” ’417 Patent at 1:37-

44. “According to this architecture, a mobile node remains in contact with a communication

network by repeatedly tearing down old connections and establishing new connections with a new

base station as the host moves from one cell to another.” Id. at 1:31-35.

       190.       The ’417 Patent indicates that registration delays and associated information losses

are a problem. Specifically, they provide:

                  registration delays and associated information losses can still
                  represent significant obstacles for wireless communications
                  involving a mobile node. This stems mainly from the inevitable
                  delay associated with the setting up of a new communication link
                  each time the mobile node is handed off from one foreign agent to
                  another. The setup requires time for the network to negotiate
                  protocol details, establish communication rates, and decide the
                  applicable error-handling approaches to be employed. These should
                  each be resolved as a prelude to establishing the actual connection
                  for the exchange of data.

Id. at 2:20-30.

       191.       In particular, the ’417 Patent states that in “conventional systems and devices, the

setting up [of a new communication link] typically must await the arrival of the mobile node in

the predefined region of coverage for the foreign agent to which the mobile node is to be handed

off.” Id. at 2:30-33. It further states that “[d]epending upon the mobile network configuration, the



                                                  110
time required for registration can rival the time in which the mobile node dwells within a given

cell coverage area. Moreover, data packets may be lost if they arrive for the mobile node during

the time in which the setup is being worked out.” Id. at 2:33-38.

        192.    The conventional systems, which include various versions of the standardized

Institute of Electrical and Electronics Engineers (“IEEE”) 802.11 (“Wi-Fi”) standard, as well as

various versions of the 2G, 2.5G and 3G cellular radio link systems standardized by the 3rd

Generation Partnership Project (“3GPP”) worldwide standards setting organization, used access

points or base stations to communicate with mobile nodes within a region of coverage area, or

region served by the access point of base station. To permit a mobile node to move from one cell’s

coverage area to an adjacent cell’s coverage area, the access points or base stations were positioned

so that their coverage areas overlapped.

                1.      The Alleged Invention of the ’417 Patent

        193.    The ’417 Patent characterizes “the present invention” as providing a preemptive

and predictive solution in which ghost entities cause communication network resources to be

allocated proactively rather than reactively. Specifically, it states:

                The present invention provides a preemptive and predictive solution
                for communications in wireless communications networks. More
                particularly, the present invention provides two different types of
                ghost-entities that can be used individually or jointly in setting up a
                wireless connection between a mobile node and a foreign agent. The
                ghost entities can act on behalf of a wireless node and a foreign
                agent. They can determine and use predicted information to improve
                the performance of wireless communications, especially those
                involving a mobile node moving at moderate or high speeds. As
                explained herein, the ghost entities cause communication network
                resources to be allocated proactively rather than reactively.

’417 Patent at 2:42-54.

        194.    The conventional cellular systems caused resources to be allocated “reactively”

because they measure signal strengths at the mobile node’s current location and allocate resources


                                                  111
only after the mobile node has physically arrived in the coverage area of the next cell. Likewise,

the existing Mobile IP systems caused resources to be allocated “reactively” because they could

only register with the next foreign agent and allocate resources to the mobile node after an IP link

was created, which required the mobile node to be physically present in the coverage area of the

next foreign agent.

       195.    In contrast, the “ghost-mobile node” of the ’417 Patent is described in the

specification as follows:

      “ghost-mobile node can be configured to register the mobile node and allocate resources
       for communicating with the mobile node according to a predicted future state of the
       mobile node” (id. at 2:58-61);

      “the ghost-mobile node can be instantiated in at least one additional wireless network
       node proximate to the predicted future location of the mobile node” (id. at 2:61-63);

      “the ghost-mobile node can be configured to predict the future location of the mobile
       node” (id. at 2:64-65);

      “the ghost-mobile node also can buffer data packets intended for the mobile node and
       sent by a correspondent node” (id. at 2:65-67);

      “the ghost mobile node can serve as a virtual repeater capable of registering and
       allocating communication resources by predicting where the mobile node's next handoff
       will occur as the mobile node moves relative to the communication network’s nodes” (id.
       at 3:61-65);

      “the ghost mobile node signals the foreign agent before the mobile node arrives in the
       predefined region based upon the prediction of the mobile node’s future state” (id. at
       6:35-38);

      “the ghost mobile node can perform the function of determining the closest foreign
       agent” (id. at 6:55-56);

      “the ghost mobile node can extrapolate from the current location and predicted future
       locations of the mobile node [e.g., using GPS and a Kalman filter]” (id. at 7:7-22); and

      “the ghost mobile node forges registration packets on behalf of the mobile node” / “the
       ghost mobile node can replicate the registration request, handle the creation of tunnels,
       and replicate authentication and authorization information from the mobile node, thus
       acting on behalf of the mobile node is in range of a next foreign agent” (id. at 9:45-50,
       10:1-6).



                                                112
       196.    Furthermore, the “ghost foreign agent” of the ’417 Patent is described in the

specification as follows:

      “the ghost foreign agent can be configured to provide an advance notification to the
       mobile node of a presence of a next wireless network node proximate to the predicted
       future location of the mobile node” (id. at 3:3-6);

      “the ghost foreign agent advertises the foreign agent's presence in the communication
       network using a neighboring foreign agent. The ghost-foreign agent can thus make a
       mobile node aware of a corresponding foreign agent's presence in a communication
       network before the mobile node actually arrives in the physical region covered by the
       foreign agent” (id. at 4:1-7);

      “the ghost foreign agent transmits an advertisement notifying the mobile node of the
       existence of a next foreign agent, transmitting the advertisement from a foreign
       agent currently connected with the mobile node” (id. at 10:17-21);

      “Each foreign agent creates ghost-foreign agent instances at the vicinity of other foreign
       agents. A ghost-foreign agent results in a virtual augmentation of the signal strength of a
       certain foreign agent, so that the signal strength appears to have increased and the
       coverage area appears to have been augmented by a certain factor. Indeed, a ghost-
       foreign agent appears to increase the amount of resources available for facilitating
       communication among interconnected communication networks” (id. at 11:6-14); and

      “the ghost foreign agent can thus function as passive repeaters of the operations of the
       corresponding foreign agent.” (id. at 11:25-27).

               2.      Prosecution of the ’508 Patent

       197.    It is my understanding that, because the ’417 Patent is a continuation of the ’508

Patent, the prosecution history of the ’508 Patent is equally relevant to the ’417 Patent. During the

prosecution of the ’508 Patent, the patent applicants distinguished the “ghost mobile node” from

traditional mobile nodes by stating the following:

               Applicants emphasize the distinction between ghost mobile nodes
               and mobile nodes of the present invention. The Examiner rejected
               the ghost mobile node, regardless of its physical embodiment, since
               it is “a virtual node or a set of software instructions running on the
               mobile node itself.” The fact that the ghost mobile node could be a
               virtual node is not relevant to the operative role of the ghost mobile
               node as opposed to the mobile node. An estimated location of the
               mobile node based on GPS data can be utilized along with trajectory
               and speed information of the mobile node to predict the future


                                                113
                geographical state. Based on a predicted future state, one or more
                ghost mobile nodes can be created that are capable of representing
                the mobile node, and fulfilling actions traditionally requiring the
                physical presence of the mobile node, namely registering and
                allocating communication resources. The ghost mobile node is
                capable of registering and allocating communication resources
                before the mobile node physically arrives in a geographical state.

’508 Patent File History, Response to Office Action dated Apr. 6, 2009, at 12 (emphasis

in the original).

        198.    The use of a “ghost mobile node” to first predict a future location of the mobile

node and then to register and allocate resources to the mobile node before the mobile node

physically arrives in the predicted future geographical location was the inventive concept set forth

in the ’508 and ’417 Patents. Said differently, rather than using the conventional approaches in

which the mobile node reacts by handing-off the connection after the mobile arrives in the next

geographical state (i.e., the coverage area of the next foreign agent), the alleged invention predicts

where the mobile node will be at some time in the future and registers and allocates resources

before the mobile node arrives in the next geographical state. By using a “ghost mobile node” to

proactively and preemptively pre-register the mobile node based on a future location prediction,

the alleged invention addresses the problem of the time required for registration rivalling the time

the mobile node dwells within a given cell coverage area and packets being lost during the

registration setup time.

                3.     Predictive Mobility Prior Art

        199.    In the mid-1990s, with the rise of the internet, cellular communications, and

wireless networking, a number of engineers and scientists were developing improved mobile

systems to allow users to access data efficiently. In this regard, a number of proposals were made

to improve upon the Mobile IP standard using predictive mobility management schemes to support

service pre-connection connection and resource pre-arrangement.


                                                 114
       200.    One such scheme was proposed by George Liu of Ericsson and the KTH Royal

Institute of Technology in the 1990s. Dr. Liu published a paper titled “A Virtual Distributed

System Architecture for Supporting Global-distributed Mobile Computing” (“the Liu paper”), and

he was issued U.S. Patent No. 5,825,759 (“the Liu patent”) on a network architecture for

supporting data mobility for users of mobile networks. The Liu paper and Liu patent are discussed

in more detail below.

       201.    Another such scheme was proposed Youngjune Gwon in US Patent Publication No.

2002/0131386 (“Gwon I”) and U.S. Patent Publication No. 2003/0016655 (“Gwon II”). Gwon II

incorporates Gwon I by reference. See Gwon II at ¶¶ 1, 61. Both Gwon I and Gwon II disclosed

methods for predicting the mobility of mobile nodes in wireless networks to enable fast route pre-

establishment and reduced packet latency. The Abstract of Gwon I provides:

               Disclosed are methods for predicting the mobility of mobile nodes
               in third generation and beyond wireless, mobile access Internet
               protocol-based data networks embodying IETF Mobile IP support,
               as well as in wireless LANs. Conventional Mobile IP mobility
               detection is replaced with deterministic, stochastic, and/or adaptive
               methods to predict the mobility of a mobile node in the network
               employing network logic layer (L3) packet latency characteristics.
               The method is useful for providing pre-notification that a
               communication hand-off condition is imminent to enable fast route
               pre-establishment and reduced packet latency, and for optimizing
               quality of service by facilitating selection of best base station
               transceiver in overlapping cell environments, among other
               applications.”

Gwon I at Abstract.

       202.    Yet another predictive mobility management scheme is described in U.S. Patent

No. 6,385,454 naming Paramvir Bahl and Tong Liu as Inventors and Microsoft Corporation as the

Assignee (“Bahl”). Bahl discloses a system and method for managing resources in a wireless

cellular communications system wherein both intra-cell and inter-cell trajectory of the mobile unit

are monitored and subsequently used to predict the path it will take for the purposes of reserving


                                               115
bandwidth and setting up routes ahead of time, reducing hand-off latencies, and relieving

congestion in the cells along this predicted path. The Abstract of Bahl provides:

               Wireless networks require efficient mobility management to cope
               with frequent mobile handoff and rerouting of connections. The
               invention treats this problem by developing a hierarchical prediction
               engine that employs approximate pattern matching and Kalman
               filtering techniques to yield an accurate prediction of both the
               immediate next cell to be entered by the mobile and the overall or
               global route of the mobile unit in the wireless cellular network. The
               prediction of the mobile's future movement is used by the network
               to reserve resources, relieve congestion, reduce latency, and
               optimize the establishment of routes in the wireless cellular network.

Bahl at Abstract.

       203.    A further mobility prediction scheme is described in an article by Ming-Hsing Chiu

& Mostafa A. Bassiouni, titled “Predictive Schemes for handoff Prioritization in Cellular

Networks Based on Mobile Positioning,” (“Chiu”) published in March 2000. The predictive

mobility scheme disclosed in Chiu, called predictive channel reservation (PCR), works by sending

reservation requests to neighboring cells based on extrapolating the motion of mobile stations

(MS’s). For example, Chiu at provides:

               In the PCR scheme, channel allocation decisions are based on the
               prediction (extrapolation) of the motion of MS’s. Each MS
               periodically measures its position and orientation. The position
               measurement is made by using GPS, GSM, or any other technology,
               and the orientation can be easily obtained from the vector of two
               consecutive position measurements taken over a short time … Based
               on the projected path, the next cell (one of the neighboring cells of
               the current cell) that the mobile is heading to is determined. When
               the MS is within a certain distance from the next cell, the current BS
               sends a reservation request to the new BS in order to pre-allocate a
               channel for the expected handoff event.

Chiu at 512.

       204.    A further mobility prediction scheme is described in U.S. Patent Publication No.

2002/0045450 naming Keiichi Shimizu, Shuji Ito, and Koichi Ishibashi as Inventors and



                                                116
Mitsubishi Denki Kabushiki Kaisha as the Assignee (“Shimizu”). The Abstract of the Shimizu

patent application provides:

               In accordance with a handoff method, when a handoff of mobile
               terminal equipment from a previous foreign agent to a new foreign
               agent is detected, the mobile terminal equipment is doubly
               registered with either a home agent or a gateway foreign agent so
               that the mobile terminal equipment is associated with both the
               previous foreign agent and the new foreign agent. During the
               handoff, either the home agent or the gateway foreign agent
               determines whether or not an IP packet destined for the mobile
               terminal equipment is of real-time traffic, and then bicasts the IP
               packet to both the previous foreign agent and the new foreign agent
               if the IP packet is of real-time traffic, and buffers the IP packet
               otherwise. When the handoff is completed, the regional registration
               with either the home agent or the gateway foreign agent is updated
               so that the mobile terminal equipment is associated only with the
               new foreign agent. Either the home agent or the gateway foreign
               agent then transfers IP packets of non-real-time traffic buffered
               therein to the new foreign agent.

Shimizu at Abstract.

       205.    I understand that Verizon provided Invalidity Charts to Plaintiff relating to these

predictive mobility references. I incorporate these charts by reference into this Report.

               4.      Priority Date of the ’417 Patent

       206.    I am informed that the ’417 Patent claims a priority date of July 31, 2003,

corresponding to the filing date of Provisional Application No. 60/491,436.

               5.      The Asserted Claims of the ’417 Patent

       207.    Below I have reproduced Claims 1, 4, and 7 of the ’417 Patent.

                                           ‘417 Claim 1
 [‘417, 1(a)] A system for communicating between a mobile node and a communication
 network; the network having at least one communications network node that is interconnected
 using a proxy mobile internet protocol (IP), comprising:
 [‘417, 1(b)] at least one mobile node;
 [‘417, 1(c)] at least one home agent;
 [‘417, 1(d)] at least one foreign agent;
 [‘417, 1(e)] a ghost-foreign agent that advertises messages to one of the mobile nodes
 indicating presence of the ghost-foreign agent on behalf of one of the foreign agents when the


                                                117
 mobile node is located in a geographical area where the foreign agent is not physically present;
 and
 [‘417, 1(f)] a ghost-mobile node that creates replica IP messages on behalf of a mobile node,
 the ghost-mobile node handling signaling required to allocate resources and initiate mobility
 on behalf of the mobile node, the ghost-mobile node triggering signals based on a predicted
 physical location of such mobile node or distance with relation to the at least one foreign
 agent.
                                           ‘417 Claim 4
 [‘417, 4(a)] The system of claim 1, wherein the at least one ghost-mobile node is a proxy
 element for the at least one foreign agent and the at least one mobile node,
 [‘417, 4(b)] the at least one ghost-mobile node triggering registration based on a distance to a
 foreign agent by relaying security and shared secrets from a mobile node, and at least one
 advertisement message from a foreign agent in a vicinity of the ghost-mobile node.
                                           ‘417 Claim 7
 [‘417, 7(a)] A method, in a mobile node, for speeding handover, comprising the steps of:
 [‘417, 7(b)] updating, in a mobile node, a location in a ghost mobile node;
 [‘417, 7(c)] determining a distance, in the ghost mobile node in communication with the
 mobile node, to a closest foreign agent with which the mobile node can complete a handover;
 [‘417, 7(d)] submitting on behalf of the mobile node, from the ghost mobile node, a
 registration to the foreign agent to which the mobile node is going to complete the handover;
 and
 [‘417, 7(e)] upon completing the handover, updating a registration in the mobile node.

       208.    I have been informed that Claim 7 of the ’417 Patent was issued by mistake by the

U.S. Patent and Trademark Office. The prosecution history of the ’417 Patent demonstrates that

Claim was withdrawn from consideration in a Response to a Restriction Requirement dated May

13, 2011, was never examined by the Examiner in any subsequent office actions, and was

mistakenly included in the list of allowed claims in the Notice of Allowance. I am informed that

the circumstances render Claim 7 unenforceable in this action. However, because Mobility Workx

maintains its assertion of Claim 7 of the ’417 Patent, I provide my analysis regarding the invalidity

of Claim 7 of the ’417 Patent herein out of an abundance of caution.

       B.      The ’330 Patent

       209.    According to the ’330 Patent, conventional wire-line emulators were, at the time of

the ’330 Patent, not able to “account for characteristics of rapid mobility networks or complex

signal propagation models” and “[a]s such, [they] [we]re not available or unable to model mobile


                                                118
networks.” ’330 Patent at 2:10-14. The ’330 Patent purports to “provide a method and system for

modeling mobile networks . . . to model and test various mobile network configurations and

scenarios.” ’330 Patent at 2:18-22. In the system of the ’330 Patent, a mobile node is “configured

to wirelessly communicate with” wireless network nodes, or emulated base stations. ’330 Patent

at Claim 1. The controller of the ’330 Patent simulates motion of the mobile node “by dynamically

adjusting the signal reception sensitivity and signal transmission strength of each wireless node.”

’330 Patent at 2:25-28. When modeling motion of the mobile node, “[c]ommunications exchanged

between the application and the mobile node can be monitored and tracked to study the behavior

of the mobile network, including the effects of motion of the mobile node upon overall network

performance.” ’330 Patent at 2:28-32. More specifically, one purpose of the ’330 Patent is to

“analyze[] and compare[]” “the strength of the signal received at the mobile node 125 . . . with the

data throughput of each wireless node 105 over time” because “[s]uch an analysis can reveal hand-

off rates between the wireless nodes 105.” ’330 Patent at 7:22-26. Similarly, the ’330 Patent

explains further that “by analyzing the data throughput of each wireless node, the handoff rate, or

the rate at which the mobile node leaves the coverage area of one network node and enters the

coverage area of another, can be determined. The signal strength as measured at the mobile node

also can be monitored and compared with the attenuation function applied to the wireless nodes.”

’330 Patent at 9:22-28.

       210.    In other words, the ’330 Patent is directed to a testing system for simulating a

mobile node’s movement from one coverage area to another to wirelessly test the hand-off rate

and hand-off performance of emulated base stations. Movement of the mobile node through the

coverage areas is simulated through attenuation of the wirelessly transmitted signals.




                                                119
               1.     Emulator Prior Art

       211.    In the mid-1990s, with the rise of the internet, cellular communications, and

wireless networking, a number of engineers and scientists were developing improved mobile

systems to allow users to access data efficiently as well as emulators and simulators to test those

systems. A number of systems for emulating wireless communications using rapid mobility

characteristics and complex signal propagation models were available at the time.

       212.    One such system was proposed by H. Brent Mount in 1999. Mr. Mount was issued

U.S. Patent No. 6,272,337 (“Mount”) on a system for testing a mobile communications system,

including simulated movement of mobile nodes. The Abstract of Mount provides:

               A method and apparatus testing a mobile communications system
               includes a test control system, real mobile units, and an attenuator
               matrix controllable by the test control system to vary strengths of
               signals transmitted by the mobile units for receipt by the mobile
               communications system. By varying the attenuation of the signals
               communicated between the mobile units and the mobile
               communications system, the mobile units may be made to appear to
               be moving to the mobile communications system. Movement
               patterns of the mobile units may be stored in the test control system
               to control attenuation in the attenuator matrix.

Mount is discussed in more detail below.

       213.    Another such system for testing a mobile unit within a mobile communications

system is described in Spirent AirAccess C2K CDMA Network Emulator Operations Manual

(“AirAccess”), published in 2001. AirAccess emulates a mobile network and allows the operator

to test communications between the mobile unit under test and the emulated base stations,

including handoff. The overview of AirAccess provides:

               The AirAccess C2K CDMA Network Emulator is a scaleable
               performance analysis solution for CDMA terminal manufacturers
               and service providers. AirAccess combines powerful application
               software with a high-speed protocol processing engine to provide
               complete emulation of a multicell CDMA network.



                                               120
AirAccess at 1.1.

       214.    Yet another such system was proposed by Yoram Rimoni in US Patent Publication

No. 2002/0183054 (“Rimoni”). Rimoni disclosed a system and method of emulating a mobile

communications system for testing mobile units. Rimoni is discussed in more detail below.

       215.    Yet another such system for emulating movement of the mobile node and testing

handoff between the mobile unit and emulated base stations was proposed by HoShin Cho in

Korean Patent Application Publication No. KR2001-0048715 (“Cho”), published on June 15,

2001. Cho is discussed in more detail below.

       216.    The ’330 Patent explains that the preferred emulator of its system is the NIST Net

emulator. The NIST Net emulator is described in “NIST Net – A Linux-based Network Emulation

Tool,” by Mark Carson and Darrin Santay, published in ACM SIGCOMM Computer

Communications Review in July 2003. For example, the ’330 Patent states,

               The emulator 110 can be a hardware or a software network
               emulator. According to one embodiment of the present invention,
               the emulator 110 can be implemented as a software-based network
               emulator configured to emulate various performance scenarios such
               as tunable packet delay distributions, congestion and background
               loss, bandwidth limitation, and packet reordering and duplication.
               For example, the emulator 110can be implemented using a computer
               system executing the National Institute of Standards and
               Technology (NIST) emulator.

’330 Patent at 5:60-6:2.

       217.    The Abstract of NIST Net provides that it is “a tool to facilitate testing and

experimentation with network code through emulation. NIST Net enables experimenters to model

and effect arbitrary performance dynamics (packet delay, jitter, bandwidth limitations, congestion,

packet loss and duplication) on live IP packets passing through a commodity Linux-based PC

router.” NIST Net at Abstract.




                                               121
       218.    Moreover, NIST Net explains that it was easily and widely accessible as

“[t]housands of people throughout the world ha[d] successfully installed and used the emulator for

a wide variety of projects, even those with no prior experience with Linux. It has proven

particularly useful in academic settings for class laboratories and student research projects.” NIST

Net at 112. In particular, NIST Net explains that in 2003, “[s]ince its initial release, NIST Net

ha[d] been obtained by nearly twenty thousand people around the world, and has been used for a

wide variety of testing purposes, including for voice over IP, mobile network emulation, adaptive

video transmissions, satellite and underseas radio link emulation, and interactive network gaming.”

NIST Net at 125. Further, NIST Net explains that its code, documentation, and calibration results

“are all public domain and are available through its web site.” NIST Net at 125. NIST Net is

described in further detail below.

       219.    Finally, another such system for emulating attributes of a packet-based wired

communications network was proposed by Mark Allman, Adam Caldwell, and Shawn Ostermann

in “ONE: The Ohio Network Emulator,” published August 18, 1997. ONE explains that it “models

the routers and intervening network by delaying packets arriving on one network interface before

forwarding them to the other network. ONE also provides congestion loss according to its

configuration. The delay a packet experiences is based on the packet size and the configuration

parameters given by the user.” ONE at 2. As explained above in Section VIII.B.6., ONE was

commonly used in academic and industry research before the priority date of the ’330 Patent. ONE

is discussed in more detail below.

       220.    I understand that Verizon provided Invalidity Charts to Plaintiff relating to these

wireless network emulation references. I incorporate these charts by reference into this Report.




                                                122
               2.      Priority Date of the ’330 Patent

       221.    I am informed that the ’330 Patent claims a priority date of July 31, 2003,

corresponding to the filing date of Provisional Application No. 60/491,637.

               3.      The Asserted Claims of the ’330 Patent

       222.    Below I have reproduced Claims 1, 3, and 4 of the ’330 Patent.

                                            ‘330 Claim 1
 [‘330, 1(a)] A system for emulating mobile network communications comprising:
 [‘330, 1(b)] a plurality of fixedly-located wireless network nodes configured to variably adjust
 wireless communication characteristics;
 [‘330, 1(c)] at least one mobile node configured to wirelessly communicate with selected ones
 of said plurality of wireless network nodes;
 [‘330, 1(d)] a network emulator communicatively linked to each of said plurality of wireless
 network nodes, said network emulator configured to emulate attributes of a packet-based
 wired communications network for simulating network conditions experienced by said at least
 one mobile node in communicating with other nodes through the wired communications
 network, the emulated attributes comprising at least one of tunable packet-delay distribution,
 network congestion, bandwidth limitation, and packet re-ordering and duplication; and
 [‘330, 1(e)] a controller communicatively linked to each of said plurality of wireless network
 nodes, said controller configured to control the wireless communication characteristics of each
 of said plurality of wireless network nodes to simulate, without changing operating parameters
 of said at least one mobile node, different wireless communication conditions experienced by
 said at least one mobile node in actual operation.
                                            ‘330 Claim 3
 [‘330, 3(a)] The system of claim 1, wherein said wireless communication characteristics
 include a signal reception sensitivity.
                                            ‘330 Claim 4
 [‘330, 4(a)] The system of claim 1, wherein said wireless communication characteristic
 includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and bit error
 rate (BER).

X.     CLAIMS 1, 4, AND 7 OF THE ’417 PATENT ARE INVALIDATED BY THE
       PRIOR ART

       A.      The Liu Paper and Liu Patent Each Anticipate the Asserted Claims or
               Render Them Obvious in View of Gwon

               1.      The Liu Paper

       223.    The Liu paper is dated December 28, 1994, and was published in 1995. Therefore,

it qualifies as prior art under 35 U.S.C. § 102(b) (pre-AIA). It was deposited in the National Library



                                                 123
of Sweden in 1995. See http://libris.kb.se/bib/1991819?vw=full. It is my understanding that the

publications of the National Library of Sweden can be searched electronically by going to the

following website: https://libris.kb.se/bib/.

       224.    I am informed that records on the site are stored in the MARC21 format and can be

searched by author, subject, and/or title.

       225.    The Liu paper was not cited or considered during the prosecution of either the ’508

Patent or the ’417 Patent, but I am informed that Dr. Hernandez had a copy of this paper in his

files and did not disclose it to the U.S. Patent and Trademark Office.

       226.    The Abstract of the Liu paper provides:

               This paper describes a Mobile-distributed System Architecture for
               supporting wireless data accessing. The concept of a Mobile-
               Floating Agent (or Mobility Agent) with it’s notions of
               service/resource mobility and service pre-assignment is proposed.
               This Agent utilizes a mobility prediction algorithm to enable a
               mobile computer to be aware of its current location and potential
               locations (available links). When the mobile computer moves, it
               predicts the links and data services offered at the new location,
               prefetches and caches its critical data with hierarchical caching
               strategies. As the computer is moving to the new location, it
               dynamically adapts to the changing computing environments and
               makes data accessible with virtually the same efficiency as at the
               previous location (subject to link capacity).

Liu at Abstract (emphasis in original).

       227.    The Liu paper further provides:

               In this paper, we present a virtual-distributed network mobility
               architecture with a notion of Mobile Floating Agent (or Mobility
               Agent) to support data and service mobility. The principal
               contribution of our paper is to combine the Mobile Floating Agent
               functions with a novel predictive mobility management scheme to
               support service pre-connection and resource pre-arrangement.

Id. at 5 (emphasis in original).




                                                 124
          228.   The Liu paper discloses a home agent, foreign agent, mobile node, ghost foreign

agent, and ghost mobile node, as shown in Figure 7 reproduced below (which I have annotated in

color):




Liu paper at 19.

                 2.     The Liu Patent

          229.   The Liu patent, U.S. Patent No. 5,825,759, issued on October 20, 1998, from an

application filed on July 24, 1995. It therefore qualifies as prior art under 35 U.S.C. § 102(b) (pre-

AIA). The Liu patent was not cited or considered during the prosecution of the ’417 Patent.

          230.   The Abstract of the Liu patent provides:

                 A full mobility data network architecture and method supports
                 global wireless mobile data accessing. A Mobile Distributed System
                 Platform, a mobility agent and a mobile-floating agent are provided
                 for supporting service and resource mobility, and for distributing
                 network services and resources closer to mobile users. In one aspect
                 of the invention, a predictive mobility management algorithm


                                                 125
               determines where a mobile user or terminal is likely to be. Mobile-
               floating agents are then established at these locations to permit pre-
               connection and pre-arrangement of network services and resources
               for use by the user upon arrival. This allows mobile networks to
               more intelligently and dynamically provide services to mobile users.
               The Mobile-Floating Agent scheme can be used, for example, to
               build a mobile virtual distributed home location register (HLR) and
               visitor location register (VLR) in personal communication networks
               (PCNs), in order to reduce the call set up time. It can also be used
               for “soft data structure handover” for mobile computing.

Liu patent at Abstract.

       231.    The Liu patent and the ’417 Patent similarly seek to address the problem of delays

in mobile networks:

                      It is therefore an object of this invention to dynamically
               provide service and resource mobility in mobile wireless Local Area
               Networks (LANs) and cellular networks. It is another object to
               improve mobile data access and performance while reducing user
               latency.

                                           SUMMARY

                       The foregoing and other objects are accomplished through
               use of a mobile floating (MF)-agent protocol in a mobile database
               system. The invention provides methods and apparatus for
               accommodating the “mobile nature” of mobile users by offering
               service and resource mobility. This is accomplished through
               intelligent service pre-connection, resource pre-allocation, and data-
               structure pre-arrangement. By deploying MF-Agents to decouple
               network services (such as user authentication data, registration data,
               etc.) and resources from the underlying network and moving them
               to follow their mobile users, the database becomes virtually
               distributed and aware of the location of the users.

                      By combining the Mobile-Floating agent functions with a
               method of predictive mobility management, the service and user
               data can be pre-connected and pre-assigned at the locations or cells
               to which the user is moving. This allows the users to immediately
               receive service and maintain their data structures with virtually the
               same efficiency as they could have at the previous location. It also
               provides "soft data structure handoff" capability.

Id. at 1:51-2:10; see also ’417 Patent at 2:20-38, 3:49-55.




                                                126
       232.    The Liu patent discloses a home agent, foreign agent, mobile node, ghost-foreign

agent, and ghost mobile node, as shown in Figure 6 reproduced below from the inter partes review

petition filed by Unified Patents Inc. See Petition for Inter Partes Review of U.S. Patent No.

8,213,417, Unified Patents Inc. v. Mobility Workx, LLC, IPR2018-01150 (filed June 1, 2018).




Liu patent at Fig. 6.

               3.       Gwon I

       233.    U.S. Patent Publication No. US 2002/0131386 A1 (“Gwon I”), was published on

September 19, 2002, from an application filed on January 26, 2001. It therefore qualifies as prior

art under 35 U.S.C. §§ 102(a) and (e) (pre-AIA). Gwon I was not cited or considered during the

prosecution of the ’417 Patent. Gwon I discloses that:

               The mobile node 135 may identify available local routers using the
               Neighbor Discovery methodology described in RFC 2461 and the
               IETF Mobile IP version 6 draft document (section 10.4). Thus, the
               mobile node 135 may broadcast Router Solicitation messages to
               determine if any local routers are available, or may wait to receive
               unsolicited multicast Router Advertisement messages from
               available routers. . . . In either event, the mobile node will have




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               identified new local router R2 with which to establish its new
               network connection.

Gwon I at ¶ 53.

               4.      Analysis—Claim 1

[‘417, 1(a)] A system for communicating between a mobile node and a communication
network; the network having at least one communications network node that is
interconnected using a proxy mobile internet protocol (IP), comprising:

       234.    Both the Liu paper and Liu patent each disclose a system for communicating

between a mobile node and a communication network.

       235.    For example, the Liu paper describes a mobile virtual-distributed system for

wireless data access to network services and resources when a mobile terminal moves. In

particular, the Liu paper describes how connectivity from a home agent at a current location of the

mobile terminal is transitioned to a remote host or router located at a new location in a wireless

local area network or a cellular system as the mobile terminal changes location. See, e.g., Liu paper

at Abstract, 5-6, 17-20 & Fig. 7.

       236.    Likewise, the Liu patent describes the use of a mobile floating (MF)-agent protocol

in a mobile database system that accommodates the “mobile nature” of mobile users by offering

network service and resource mobility. This is accomplished through intelligent service pre-

connection, resource pre-allocation, and data-structure pre-arrangement. By deploying MF-Agents

to decouple network services (such as user authentication data, registration data, etc.) and

resources from the underlying network and moving them to follow their mobile users, the database

becomes virtually distributed and aware of the location of the users. See, e.g., Liu patent at

Abstract, 1:55-2:2, 5:55-61, 7:14-8:6, 16:44-16:61 & Figs. 6, 19, 21.

       237.    Both the Liu paper and Liu patent further disclose a network having at least one

communications network node that is interconnected using a proxy mobile internet protocol.



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       238.    For example, the Liu paper provides network services and resource distribution to

a mobile device by employing proxy entities—the P-Agent and MF-Agent—to interconnect the

mobile device to the network using Mobile IP (a mobile internet protocol). See Liu paper at

Abstract, 17-20 & Fig. 7.

       239.    Similarly, the Liu patent provides network services and resource distribution to a

mobile device by employing proxy entities—the M-Agent and MF-Agent—to interconnect the

mobile device to the network using Mobile IP (a mobile internet protocol). See Liu patent at 2:11-

34, 7:15-17 & Figs. 6, 7.

[‘417, 1(b)] at least one mobile node;

       240.    The Liu paper discloses at least one mobile node as mobile terminal. See Liu paper

at 17-20 & Figs. 6, 7 (as annotated above).

       241.    The Liu patent discloses at least one mobile node as mobile terminal. See Liu patent

at 6:4-7 & Fig. 6 (as annotated above).

[‘417, 1(c)] at least one home agent;

       242.    The Liu paper discloses at least one home agent, shown as the “Home-Agent” at

Location 1 in Figure 7. See Liu paper at 19-20 & Fig. 7 (as annotated above).

       243.    The Liu patent discloses at least one home agent as “Home Agent 72” in Figure 6.

See Liu patent at 2:15-21 & Fig. 6 (as annotated above).

[‘417, 1(d)] at least one foreign agent;

       244.    The Liu paper discloses at least one foreign agent, shown as the “Foreign-Agent”

at Location 2 in Figure 7. See Liu paper 19-20 & Fig. 7 (as annotated above). The Foreign-Agent

in the Liu paper meets the Court’s definition of foreign agent (“a network node on a visited network

that assists the mobile node in receiving communications”) because it is on a visited network and




                                                129
assists the mobile terminal (i.e., the “mobile node”) in the registration process, which allows the

mobile terminal to receive communications at its new and predicted location. See id.

       245.    The Liu patent discloses at least one foreign agent as “Foreign Agent 73” in Figure

6. See Liu patent at 7:51-57 & Fig. 6 (as annotated above). The Foreign Agent 73 in the Liu patent

meets the Court’s definition of foreign agent (“a network node on a visited network that assists the

mobile node in receiving communications”) because it is on a visited network and assists the

mobile terminal (i.e., the “mobile node”) in the registration process, which allows the mobile

terminal to receive communications at its new and predicted location. Id.; see also id. at 8:7-16.

[‘417, 1(e)] a ghost-foreign agent that advertises messages to one of the mobile nodes
indicating presence of the ghost-foreign agent on behalf of one of the foreign agents when the
mobile node is located in a geographical area where the foreign agent is not physically
present;

       246.    The Liu paper and Liu patent each disclose a ghost-foreign agent that advertises

messages to one of the mobile nodes indicating presence of the ghost-foreign agent on behalf of

one of the foreign agents when the mobile node is located in a geographical area where the foreign

agent is not physically present. In particular, both the Liu paper and Liu patent disclose an MF-

Agent, as shown in Figure 7 of the Liu paper and MF-agent 52 in Figure 6 of the Liu patent.

       247.    The MF-Agent of the Liu paper satisfies the Court’s definition of ghost-foreign

agent (“a virtual node corresponding to a foreign agent that can make a mobile node aware of the

corresponding foreign agent’s presence in a communication network proximate to the predicted

future location of the mobile node”) because it is a virtual node implemented as a software process

or processes, executing on a remote fixed host or router that includes a foreign agent and

communicates and pre-connects with local host resources. See Liu paper at 17, 20 & Fig. 7. The

virtual distributed system architecture of the Liu paper makes use of a location prediction function

that can be performed automatically by a mobile prediction algorithm (see id. at 16), and the MF-



                                                130
Agent is assigned to a location near the predicted future location of the mobile node. Id. at 17, 20

& Fig. 7.

       248.    Similarly, the MF-agent 52 of Liu patent satisfies the Court’s definition of ghost-

foreign agent (“a virtual node corresponding to a foreign agent that can make a mobile node aware

of the corresponding foreign agent’s presence in a communication network proximate to the

predicted future location of the mobile node”) because it is a virtual node implemented as a

software entity executing on a remote fixed host or mobile support router (MSR) that includes a

foreign agent and communicates and pre-connects with local host resources. See Liu patent at 6:53-

66, 8:7-16, & Fig. 6. The full mobility data network architecture of the Liu patent makes use of a

predictive mobility management function to predict the most likely destination of a mobile user

(see id. at 6:35-50), and the MF-Agent is assigned to a location near the predicted future location

of the mobile node. Id. at 6:53-66, 8:7-16 & Fig. 6.

       249.    The Liu paper further discloses an MF-Agent pre-assignment protocol in which the

MF-agent “advertises messages to one of the mobile nodes indicating [the] presence of the ghost-

foreign agent on behalf of one of the foreign agents,” as claimed in Claim 1. In this protocol, a P-

agent is a representative of the mobile user and requests the creation and/or assignment of an MF-

agent in a location at which the mobile terminal is expected to arrive. See Liu paper at 20. This

pre-assignment request results in the assignment or creation of an MF-agent at the expected new

location. Id. The created or assigned MF-agent asks to be registered with the foreign agent and

sends an MF_ASSIGNMENT_REPLY message back to the P-agent, which in turn passes the reply

message back to the mobile terminal. Id. The MF-Agent’s Reply message is an advertisement

message sent on behalf of the foreign agent indicating the presence of the ghost-foreign agent (M-




                                                131
Agent) on behalf of one of the foreign agents (shown as “Foreign-Agent” in Figure 7 (annotated

above)).

       250.    Likewise, the Liu patent further discloses an MF-agent pre-assignment protocol in

which the MF-agent “advertises messages to one of the mobile nodes indicating [the] presence of

the ghost-foreign agent on behalf of one of the foreign agents,” as claimed in Claim 1. In this

protocol, an M-agent is a representative of the mobile user and requests the creation and/or

assignment of an MF-agent in a location at which the mobile terminal is expected to arrive. See

Liu patent at 7:19-31. This pre-assignment request results in the assignment of an MF-agent at the

expected location. Id. at 7:37-46. The created or assigned MF-agent then registers itself with the

foreign agent and sends an MF-assignment reply back to the M-agent that is then sent back to the

mobile terminal. Id. at 7:51-57. The MF-agent’s reply is an advertisement message sent on behalf

of the foreign agent (shown as “Foreign Agent 73” in Figure 6 (annotated above)).

       251.    To the extent Mobility Workx and its expert contend that an “advertisement

message” must be unsolicited, i.e., not in response to a request to identify a foreign agent, the Liu

paper or the Liu patent in combination with Gwon I renders such an interpretation obvious. Gwon I

discloses a Neighbor Discovery process that allows a router acting as a foreign agent to “advertise”

its presence in a foreign network via an unsolicited Router Advertisement message. See Gwon I at

¶ 51; see also id. at ¶¶ 48-59. Gwon I teaches that “routers voluntarily transmit advertisement

packets to advertise their presences to mobile nodes passing by.” Id. at ¶ 58. Gwon I also discloses

that a mobility prediction analysis may be used “to trigger pre-hand-off processing of

authentication and security measures, to trigger advance handling of other aspects of the hand-off

process itself, or to trigger selection of a new network connection to optimize the quality of the

mobile node’s connection and/or communications.” Id. at ¶ 57.




                                                132
       252.    A person of ordinary skill in the art (POSITA) would have been motivated to

modify the Liu paper or Liu patent to allow MF-agent’s to indicate their presence to the mobile

node using unsolicited advertisement messages instead of identifying themselves in response to a

request from the mobile node because this is nothing more than applying a known technique to a

known device ready for improvement to yield predictable results.

       253.    It was well known to a POSITA before the effective filing date of the ’417 Patent

in July 2003 to allow existing router/agents to broadcast their presence using unsolicited

advertisement messages. As noted in Gwon I, such broadcasts facilitate the pre-assignment of a

mobile device before it reached the predicted next foreign network, decreasing the time required

to complete a handover with a foreign agent at a next network to which the mobile device was

travelling. Id. at ¶¶ 50-59. It would also have decreased the computational burden on the mobile

device by removing the need to request the assignment of a MF-agent, shifting this burden to the

MF-agent on a router in the foreign network, or within the P-agent (M-agent) within the coverage

area in which the mobile device currently resides.

       254.    Further, a POSITA would have recognized that the Liu paper and Liu patent were

published before the RFC 2461 and Mobile IP version 6 standards (cited in Gwon I), which

describe a standardized implementation of the Neighbor Discovery protocol that uses unsolicited

Router Advertisement messages. Between the time of the Liu paper and Liu patent were published

and filed, respectively, and the priority date of the ’417 Patent, the natural progression of the

industry led to providing routers/agents with ability to directly broadcast their presence. This

functionality was the widely adopted next step in mobile communications in foreign networks.

Therefore, combining the known Neighbor Discovery protocol illustrated in Gwon I with the MF-

agent pre-assignment protocol of the Liu paper and Liu patent is consistent with the actual




                                               133
historical evolution of the technology at the time, which resulted in a more efficient and simplistic

method to pre-allocate resources.

       255.    In view of this, the use of the Neighbor Discovery protocol in combination with the

Liu paper or Liu patent would have been obvious to one of skill in the art as of the priority date of

the ’417 Patent.

       256.    The Liu paper and Liu patent further discloses that the advertisement messages are

sent “when the mobile node is located in a geographical area where the foreign agent is not

physically present.” The Court construed the quoted phrase to mean “when the mobile node is

located outside of the region covered by the foreign agent.” Both the Liu paper and Liu patent

describe the ability to use MF-agents with a predictive mobility management scheme to support

service pre-connection and resource pre-arrangement. See, e.g., Liu paper at Abstract; Liu patent

at Abstract.

       257.    Both the Liu paper and Liu patent further disclose that the pre-assignment protocol

can take place when the mobile node is located outside of the region covered by the foreign agent.

For example, the Liu patent contemplates at least one scenario in which the time needed for the

mobile node to reach the new location is relatively long (for example, a mobile terminal moving

from New York City to Europe), in which case a POSITA would understand that the mobile node

would be outside the coverage area of the foreign agent. See Liu patent at 7:58-8:6. Similarly, the

Liu paper discusses changing the location of a mobile terminal and providing dynamical service

connections in a system consisting of several Mobile Support Routers (MSRs) serving different

geographical areas. See Liu paper at 15-16. In such a distributed system, a POSITA would

understand that the MSRs would be located in different coverage areas.

[‘417, 1(f)] a ghost-mobile node that creates replica IP messages on behalf of a mobile node,
the ghost-mobile node handling signaling required to allocate resources and initiate mobility



                                                134
on behalf of the mobile node, the ghost-mobile node triggering signals based on a predicted
physical location of such mobile node or distance with relation to the at least one foreign
agent.

        258.   The Liu paper and Liu patent each disclose “a ghost-mobile node that creates

replica IP messages on behalf of a mobile node, the ghost-mobile node handling signaling required

to allocate resources and initiate mobility on behalf of the mobile node, the ghost-mobile node

triggering signals based on a predicted physical location of such mobile node or distance with

relation to the at least one foreign agent.” The Court construed the phrase “a ghost-mobile node

that creates replica IP messages on behalf of a mobile node” to mean “a ghost-mobile node that

copies IP messages on behalf of a mobile node.”

        259.   Under the Court’s construction, the Liu paper discloses “a ghost-mobile node that

creates replica IP messages on behalf of a mobile node” because it discloses that a request to create

or assign an MF-agent at a predicted location is initiated by the mobile terminal and sent to the P-

agent. See Liu paper at 17. The M-agent then replicates the request by creating a newly addressed

request and sending it to the remote MF-agent manager at the predicted location.

               An MF-agent pre-assignment process involves the exchange of
               following 2 messages between the mobile terminal, its P-agent and
               the remote MDP-agent.

               1. MF_ASSIGNMENT_REQ:

               The mobile terminal sends an MF_ASSIGNMENT_REQ to its P-
               agent or active P-agent in the local network with the address of the
               new location. The P-agent registers the request and forwards it to
               the remote MDP-agent.

Id. at 20.

        260.   A POSITA would have understood that, when the Liu paper discloses forwarding

a request to a remote location on a different network it is creating a replica IP message on behalf

of a mobile node because the forwarding process results in a copying of the original message



                                                135
request. The initial request sent from the mobile terminal to the P-agent would be addressed to the

P-agent, where the P-agent would then copy the message of the request and add a new address

directing the request to the foreign network. Id. This newly addressed registration request would

then elicit a response from the appropriate MF-agent (via the MDP-agent) to facilitate pre-

registration of network resources. See id. In this way, similar to what is described in the preferred

embodiment of the ’417 Patent, the P-agent is a ghost mobile node that replicates a registration

request (i.e., an IP message) sent on behalf of the mobile node.

       261.    The copied registration request is an IP message because the mobile terminal, MSR,

and fixed servers communicate through a protocol that uses Mobile IP at layer 3. See Liu paper at

17 & Figs. 12, 13.




       262.    Similarly, under the Court’s construction, the Liu patent discloses “a ghost-mobile

node that creates replica IP messages on behalf of a mobile node” because it discloses that a request

to create or assign an MF-agent at a predicted location is initiated by the mobile terminal and sent

to the M-agent. See Liu patent at 7:22-38. The M-agent then replicates the request by creating a

newly addressed request and sending it to the remote MF-agent manager at the predicted location.



                                                136
               The M-agent 50 is a representative of the user 21 in the network and
               is responsible in part for creating, deleting and managing the MF-
               agents on behalf of mobile users. An M-agent 50 requests creation
               or assignment of MF-agents 52. As shown in FIG. 7 a mobile
               terminal 55 sends an MF-agent assignment request to its M-agent
               50, in the local network, with an address of a new location it is
               travelling to (701). The new location may be one that has been
               explicitly provided by the user 21, or it may be one predicted by the
               PMM functions 46. The assignment request is a request to establish
               (i.e., alternatively create or pre-assign) an MF-agent 52 at the
               location that the mobile terminal 55 will be travelling to and thus
               have any necessary services and data ready for the mobile terminal,
               when it arrives at the new location. The M-agent 50 then registers
               the request and forwards the request 65 to the remote MF-agent
               manager at the new location (702).

Id.

       263.    A POSITA would have understood that, when the Liu patent discloses forwarding

a request to a remote location on a different network, it is creating a replica IP message on behalf

of a mobile node because the forwarding process results in a copying of the original message

request. The initial request sent from the mobile terminal to the M-agent would be addressed to

the M-agent, where the M-agent would then copy the message of the request and add new address

directing the request to the foreign network. Id. This newly addressed registration request would

then elicit a response from the appropriate MF-agent to facilitate pre-registration of network

resources. In this way, the M-agent is a ghost mobile node that replicates a registration request

(i.e., an IP message) sent on behalf of the mobile terminal.

       264.    The copied registration request is an IP message because the mobile terminal, MSR,

and servers communicate through a protocol that uses Mobile IP at layer 3. See id. at 7:15-17 &

Fig. 21.

       265.    The Liu paper also discloses “the ghost-mobile node handling signaling required to

allocate resources and initiate mobility on behalf of the mobile node.” Specifically, the P-agent “is

a representative of the user in a network” and an “MF-agent can be assigned by a P-agent to a


                                                137
remote location (node) in the network to perform services, such as pre-connection and resources

pre-arrangement on behalf of the P-agent.” See Liu paper at 16, 18 & Fig. 6.

       266.    The Liu patent also discloses “the ghost-mobile node handling signaling required

to allocate resources and initiate mobility on behalf of the mobile node.” Specifically, P-agent

performs pre-assignment signaling “to send data or service information from the service area of

the home fixed host or router to the MF-agent at each of the remote fixed hosts or routers” on

behalf of the mobile node. See Liu patent at 2:29-33. The P-agent pre-assignment signaling allows

for “services and/or data [to] be pre-connected/pre-arranged at the mobile user’s destination.” Id.

at 2:33-35 & Fig. 5.

       267.    The Liu paper further discloses the “ghost-mobile node triggering signals based on

a predicted physical location of such mobile node or distance with relation to the at least one

foreign agent” because the P-agent sends the pre-assignment signaling based on the use of

Predictive mobility Management Functions (PMF), which includes a prediction of the physical

location of the mobile terminal and provides service and resource pre-arrangement for the mobile

terminal before it reaches its next destination:

               Predictive mobility Management Functions (PMF). The PMF
               consists of two parts: Location Prediction Functions and Mobile-
               Distributed Floating Agent Assignment functions (FAA), which
               assigns the agent to different locations according to the location
               prediction and provides service pre-connection and service/resource
               mobility. The location prediction can be performed automatically,
               by a mobile motion prediction algorithm, or manually, for example
               via a user’s calendar.

Liu paper at 16.

       268.    Likewise, the Liu patent further discloses the “ghost-mobile node triggering signals

based on a predicted physical location of such mobile node or distance with relation to the at least

one foreign agent” because the M-agent sends the pre-assignment signaling based on the use of



                                                   138
Predictive Mobility Management Functions (PMM), which includes a prediction of the physical

location of the mobile terminal:

               The M-agent 50 is a representative of the user 21 in the network and
               is responsible in part for creating, deleting and managing the MF-
               agents on behalf of mobile users. An M-agent 50 requests creation
               or assignment of MF-agents 52. As shown in FIG. 7 a mobile
               terminal 55 sends an MF-agent assignment request to its M-agent
               50, in the local network, with an address of a new location it is
               travelling to (701). The new location may be one that has been
               explicitly provided by the user 21, or it may be one predicted by the
               PMM functions 46. The assignment request is a request to establish
               (i.e., alternatively create or pre-assign) an MF-agent 52 at the
               location that the mobile terminal 55 will be travelling to and thus
               have any necessary services and data ready for the mobile terminal,
               when it arrives at the new location. The M-agent 50 then registers
               the request and forwards the request 65 to the remote MF-agent
               manager at the new location (702).

Liu patent at 7:22-38.

       269.    The Liu patent discloses that the Predictive Mobility Management scheme triggers

service and resource pre-arrangement for the mobile terminal before it reaches its next destination:

               An aggressive mobility management scheme, called predictive
               mobility management has been developed. A Predictive Mobility
               Management (PMM), as described previously, is used to predict the
               future location of a mobile user according to the user's movement
               history patterns. The combination of the mobile floating agent
               concepts with the predictive mobility management allow for service
               and resource pre-arrangement. The data or services are pre-
               connected and assigned at the new location before the user moves
               into the new location.

Id. at 19:4-14; see also id. at 13:63-16:19.

       270.    In addition, the Liu paper or the Liu patent in combination with Gwon I renders

obvious the “ghost-mobile node triggering signals based on a predicted physical location of such

mobile node or distance with relation to the at least one foreign agent.”

       271.    Gwon I discloses a “mobility prediction analysis [that] results in the determination

of a threshold value” that is selected to indicate when a mobile node has sufficiently moved relative


                                                139
to a network node. Gwon I at ¶ 57. The mobility prediction analysis “may be used to trigger pre-

hand-off processing of authentication and security measures” or to “trigger selection of a new

network connection to optimize the quality of the mobile node's connection and/or

communications.” Id.

       272.    Gwon I discloses three different methods of mobility prediction, including a

deterministic, stochastic, and adaptive approach. Id. at ¶ 60. Each approach is “generally sufficient

by itself to accurately provide a threshold value to trigger desired actions by the mobile node.” Id.;

see also ¶¶ 59-104.

       273.    A POSITA would have been motivated to substitute Liu’s mobility prediction

functions with the alternative mobility prediction methods disclosed in Gwon I to trigger signaling

since this is substituting one known element for another to obtain predictable results.

       274.    A POSITA would have understood that any available method of determining an

accurate predicted location would have been a suitable and obvious variation.

               5.      Analysis—Claim 4

[‘417, 4(a)] The system of claim 1, wherein the at least one ghost-mobile node is a proxy
element for the at least one foreign agent and the at least one mobile node,

       275.    The Liu paper discloses a P-agent as a proxy element between a mobile terminal

and foreign agent. See the discussion of limitation 1(f) discussing the P-agent acting on behalf of

the mobile terminal for registration with the foreign agent. As discussed above, the P-agent

initiates pre-registration procedures on behalf of the mobile node to connect with a foreign agent

in the foreign network. This prompts a response from the foreign agent containing registration

information that is sent back to the P-agent and then forwarded to the mobile device. Therefore,

the P-agent is functioning as a proxy for both the mobile node and the foreign agent.




                                                 140
       276.       Similarly, the Liu patent discloses an M-agent as a proxy element between a mobile

terminal and foreign agent. See the discussion of limitation 1(f) discussing the M-agent acting on

behalf of the mobile terminal for registration with the foreign agent. As discussed above, the M-

agent initiates pre-registration procedures on behalf of the mobile node to connect with a foreign

agent in the foreign network. This prompts a response from the foreign agent containing

registration information that is sent back to the M-agent and then forwarded to the mobile device.

Therefore, the M-agent is functioning as a proxy for both the mobile node and the foreign agent.

[‘417, 4(b)] the at least one ghost-mobile node triggering registration based on a distance to
a foreign agent by relaying security and shared secrets from a mobile node, and at least one
advertisement message from a foreign agent in a vicinity of the ghost-mobile node.

       277.       In my opinion, the ‘417 Patent fails to provide a written description of a system that

triggers registration … by “relaying” shared secrets from a mobile node to another node. That said,

the ‘417 Patent discloses a “shared key” in connection with the use the MD5 algorithm for security

and authentication using a public key cryptosystem. See ‘417 Patent at 9:18-36. As an alternative,

the ‘417 Patent also discloses the use of an asymmetric authentication protocol such as 802.1X.

Id. at 9:48-53.

       278.       The Liu paper or Liu patent in combination with Gwon I renders this limitation

obvious to the extent this limitation is supported by the disclosures referenced above.

       279.        Gwon I discloses triggering registration using security information and

authentication data based on a distance to a foreign agent. For example, in paragraph [0057],

Gwon I discloses that a mobility prediction analysis may be used to trigger pre-hand-off processing

of authentication and security measures, to trigger advance handling of other aspects of the hand-

off process itself, or to trigger selection of a new network connection to optimize the quality of the

mobile node’s connection and/or communications. Gwon I at [0057]. In paragraph [0054], Gwon I




                                                   141
incorporates by reference a number of well-known security and authentication measures, including

IETF 2402, which (like the ‘417 Patent) discloses the use of MD5 authentication algorithms and

security protocols during registration of the mobile node.

       280.    Gwon I also discloses a mobility prediction analysis that is based in part on

measuring a distance to each foreign agent using triangulation or GPS techniques. Id. at [0076],

see also [0059].

       281.    The combination of Liu and Gwon I also renders obvious sending at least one

advertisement message from a foreign agent in a vicinity of the ghost-mobile node. Liu discloses

a registration reply (advertisement message) from a foreign agent when the ghost-mobile node

reaches the foreign network that includes the foreign agent. See the discussion of element 1(f)

above. Gwon I discloses a distance-based triggering mechanism for foreign agent advertisements.

Id. at [0054]-[0083]. In an embodiment of Gwon I, a mobility prediction analysis triggers the

“advance handling of other aspects of the hand-off process itself” based on a distance to a node in

the network (i.e. foreign agent). Id. at [0057].

       282.    A POSITA would have found it obvious to combine the pre-registration signaling

and foreign agent advertising of Liu, with Gwon I’s Neighbor Discovery protocol and triggering

mechanism for these processes. Modifying the Liu system to trigger the disclosed registration and

advertisements based on a distance to a foreign agent would eliminate the need for a mobile device

to use solicitation processing abilities or location prediction methods for registration, thereby

increasing the processing speed of the mobile device and decreasing the overall computational

complexity of the system.

               6.      Analysis—Claim 7

[‘417, 7(a)] A method, in a mobile node, for speeding handover, comprising the steps of:




                                                   142
       283.    Both the Liu paper and Liu patent disclose a method, in a mobile node, for speeding

handover.

       284.    For example, the Liu paper describes a mobile virtual-distributed system for

wireless data access to network services and resources when a mobile terminal moves. In

particular, the Liu paper describes how connectivity from a home agent at a current location of the

mobile terminal is transitioned to a remote host or router located at a new location in a wireless

local area network or a cellular system as the mobile terminal changes location. See, e.g., Liu paper

at Abstract, 5-6, 17-20 & Fig. 7.

       285.    Likewise, the Liu patent describes the use of a mobile floating (MF)-agent protocol

in a mobile database system that accommodates the “mobile nature” of mobile users by offering

network service and resource mobility. This is accomplished through intelligent service pre-

connection, resource pre-allocation, and data-structure pre-arrangement. By deploying MF-Agents

to decouple network services (such as user authentication data, registration data, etc.) and

resources from the underlying network and moving them to follow their mobile users, the database

becomes virtually distributed and aware of the location of the users. See, e.g., Liu patent at

Abstract, 1:55-2:2, 5:55-61, 7:14-8:6, 16:44-16:61 & Figs. 6, 19, 21.

[‘417, 7(b)] updating, in a mobile node, a location in a ghost mobile node;

       286.    Both the Liu paper and Liu patent disclose updating, in a mobile node, a location

in a ghost mobile node, which the Court construed as “updating the ghost mobile node with a

location of the mobile node.”

       287.    The Liu paper and Liu patent each disclose a “ghost mobile node” embodied by the

P-agent or M-agent, respectively, as discussed above with respect to Claim Element 1(f) above.

       288.    The Liu paper further discloses that “[t]he mobile terminal sends an

MF_ASSIGNMENT_REQ message to its P-agent or acting P-agent in the local network with the


                                                143
address of the new location. The P-agent registers the request and forwards it to the remote MDP-

agent.” See Liu paper at 20.

         289.     Likewise, the Liu patent discloses:

                  As shown in FIG. 7 a mobile terminal 55 sends an MF-agent
                  assignment request to its M-agent 50, in the local network, with an
                  address of a new location it is travelling to (701). The new location
                  may be one that has been explicitly provided by the user 21, or it
                  may be one predicted by the PMM functions 46. The assignment
                  request is a request to establish (i.e., alternatively create or pre-
                  assign) an MF-agent 52 at the location that the mobile terminal 55
                  will be travelling to and thus have any necessary services and data
                  ready for the mobile terminal, when it arrives at the new location.
                  The M-agent 50 then registers the request and forwards the request
                  65 to the remote MF-agent manager at the new location (702).

Liu patent at 7:27-38; see also id. at 2:11-34, 3:8-18.

         290.     The Liu patent further incorporates by reference U.S. Patent Application No.

08/329,608, which issued as U.S. Patent No. 5,572,221 (“Marlevi”) on November 5, 1996. Marlevi

is thus prior art under at least 35 U.S.C. §§ 102(a), (b), and (e).22 The Liu patent states that “by

using predictive mobility management to predict where the user will be, as described in [Marlevi],

the MF-agent pre-connects services, pre-arranges the secondary cache and prefetches data from

the home user cache to be placed in the secondary cache.” Id. at 7:5-11.

         291.     Relatedly, Marlevi describes using a Mobile Motion Predictor algorithm to predict

the next location a mobile terminal will be travelling to, wherein the output of the algorithm is the

mobile terminal’s future state corresponding to the future serving cell at the next location of the

mobile terminal. See Marlevi at Fig. 16 & 5:57-6:2, 7:7-16, 7:29-42, 11:36-41, 15:57-65, 16:29-

35, 16:29-35, 16:36-37. For example, Marlevi discloses:




22
  I have been informed that, because Marlevi is incorporated by reference by the Liu patent, Marlevi is effectively
an extension of the disclosure of the Liu patent with respect to an invalidity analysis.



                                                        144
                   Using Applicants’ invention, a mobile terminal or the
                   communication network can predict the mobile’s itinerary and take
                   appropriate actions before the mobile reaches a new location. Such
                   predictions can also be used for dynamic channel allocation, mobile
                   terminal location, and call handoffs from channel to channel, either
                   intra-cell or inter-cell, inter-layer or intra-layer. The predictions can
                   be inputs to a locating algorithm, which generates a list of candidate
                   communication channels for handover or assignment of a
                   connection

Id. at 5:57-6:2.

        292.       Thus, both the Liu paper and Liu patent disclose that the ghost mobile node is

updated with a location of the mobile node.

[‘417, 7(c)] determining a distance, in the ghost mobile node in communication with the
mobile node, to a closest foreign agent with which the mobile node can complete a
handover;

        293.       Both the Liu paper and Liu patent disclose determining a distance, in the ghost

mobile node in communication with the mobile node, to a closest foreign agent with which the

mobile node can complete a handover.

        294.       For example, the Liu paper discloses that the P-agent sends the pre-assignment

signaling based on the use of Predictive mobility Management Functions (PMF), which includes

a prediction of the physical location of the mobile terminal and provides service and resource pre-

arrangement for the mobile terminal before it reaches its next destination:

                   Predictive mobility Management Functions (PMF). The PMF
                   consists of two parts: Location Prediction Functions and Mobile-
                   Distributed Floating Agent Assignment functions (FAA), which
                   assigns the agent to different locations according to the location
                   prediction and provides service pre-connection and service/resource
                   mobility. The location prediction can be performed automatically,
                   by a mobile motion prediction algorithm, or manually, for example
                   via a user’s calendar.

Liu paper at 16.




                                                     145
       295.    Likewise, the Liu patent discloses that the M-agent sends the pre-assignment

signaling based on the use of Predictive Mobility Management Functions (PMM), which includes

a prediction of the physical location of the mobile terminal:

               The M-agent 50 is a representative of the user 21 in the network and
               is responsible in part for creating, deleting and managing the MF-
               agents on behalf of mobile users. An M-agent 50 requests creation
               or assignment of MF-agents 52. As shown in FIG. 7 a mobile
               terminal 55 sends an MF-agent assignment request to its M-agent
               50, in the local network, with an address of a new location it is
               travelling to (701). The new location may be one that has been
               explicitly provided by the user 21, or it may be one predicted by the
               PMM functions 46. The assignment request is a request to establish
               (i.e., alternatively create or pre-assign) an MF-agent 52 at the
               location that the mobile terminal 55 will be travelling to and thus
               have any necessary services and data ready for the mobile terminal,
               when it arrives at the new location. The M-agent 50 then registers
               the request and forwards the request 65 to the remote MF-agent
               manager at the new location (702).

Liu patent at 7:22-38.

       296.    The Liu patent discloses that the Predictive Mobility Management scheme triggers

service and resource pre-arrangement for the mobile terminal before it reaches its next destination:

               An aggressive mobility management scheme, called predictive
               mobility management has been developed. A Predictive Mobility
               Management (PMM), as described previously, is used to predict the
               future location of a mobile user according to the user's movement
               history patterns. The combination of the mobile floating agent
               concepts with the predictive mobility management allow for service
               and resource pre-arrangement. The data or services are pre-
               connected and assigned at the new location before the user moves
               into the new location.

Id. at 19:4-14; see also id. at 13:63-16:19.

       297.    Furthermore, Marlevi extends the disclosure of the Liu patent by stating, for

example:

               Using Applicants’ invention, a mobile terminal or the
               communication network can predict the mobile’s itinerary and take
               appropriate actions before the mobile reaches a new location. Such


                                                146
                predictions can also be used for dynamic channel allocation, mobile
                terminal location, and call handoffs from channel to channel, either
                intra-cell or inter-cell, inter-layer or intra-layer. The predictions can
                be inputs to a locating algorithm, which generates a list of candidate
                communication channels for handover or assignment of a
                connection

Marlevi at 5:57-6:2; see also id. at Fig. 16 & 7:7-16, 7:29-42, 11:36-41, 15:29-33, 15:57-65, 16:29-

35, 16:36-37.

       298.     In addition, the Liu paper or the Liu patent in combination with Gwon I renders

obvious the “determining a distance, in the ghost mobile node in communication with the mobile

node, to a closest foreign agent with which the mobile node can complete a handover.”

       299.     Gwon I discloses a “mobility prediction analysis [that] results in the determination

of a threshold value” that is selected to indicate when a mobile node has sufficiently moved relative

to a network node. Gwon I at ¶ 57. The mobility prediction analysis “may be used to trigger pre-

hand-off processing of authentication and security measures” or to “trigger selection of a new

network connection to optimize the quality of the mobile node's connection and/or

communications.” Id.

       300.     Gwon I discloses three different methods of mobility prediction, including a

deterministic, stochastic, and adaptive approach. Id. at ¶ 60. Each approach is “generally sufficient

by itself to accurately provide a threshold value to trigger desired actions by the mobile node.” Id.;

see also ¶¶ 59-104.

       301.     A POSITA would have been motivated to substitute the mobility prediction

functions in the Liu paper or Liu patent with the alternative mobility prediction methods disclosed

in Gwon I to trigger signaling since this is substituting one known element for another to obtain

predictable results.




                                                  147
        302.     A POSITA would have understood that any available method of determining an

accurate predicted location would have been a suitable and obvious variation.

[‘417, 7(d)] submitting on behalf of the mobile node, from the ghost mobile node, a
registration to the foreign agent to which the mobile node is going to complete the
handover; and

        303.     Both the Liu paper and Liu patent disclose submitting on behalf of the mobile node,

from the ghost mobile node, a registration to the foreign agent to which the mobile node is going

to complete the handover.

        304.     For example, the Liu paper discloses that the P-agent (i.e., “ghost mobile node”)

receives a MF_ASSIGNMENT_REQ message from a mobile terminal (i.e., “mobile node”) and

forwards the message on behalf of the mobile terminal to the MDP-agent located at the remote

host or router (i.e., “foreign agent”) to which the mobile terminal will connect. See Liu paper at

19-20 & Figs. 7, 15.




Id. at Fig. 7.




                                                 148
          305.   Likewise, the Liu patent discloses that the M-Agent receives a MF-agent

assignment request message from a mobile terminal (i.e., “mobile node”) and forwards the

message on behalf of the mobile terminal to the MF-agent located at the remote host or router (i.e.,

“foreign agent”) to which the mobile terminal will connect. See Liu patent at 3:8-14, 7:19-50 &

Fig. 6.




Id. at Fig. 6.

[‘417, 7(e)] upon completing the handover, updating a registration in the mobile node.

          306.   It is my understanding that Plaintiff alleges that in the accused LTE network the

target eNB updates a registration in the mobile node by providing uplink allocation and timing

advance information to the UE, thereby satisfying this limitation. In my opinion, Plaintiff’s

allegations do not make sense because inter alia in the accused LTE network registration must

occur before handover is complete. Nevertheless, if Plaintiff’s infringement analysis is proper for

this limitation, then both the Liu paper and Liu patent disclose this limitation.

          307.   For example, the Liu paper discloses:




                                                 149
                 At the new location, the mobile terminal executes the following
                 registration process:

                 (1) The Mobile Terminal sends a Registration Request to the
                     prospective Foreign Agent to begin the registration process …

                 (2) The Foreign Agent replies to the request by checking if there is
                     an MF-agent registered for the user. If yes, the Foreign Agent
                     sends a reply message to the mobile terminal to conform the
                     disposition of its request and passes a link to the MF-agent.

                 ...

                 Upon connected to the mobile terminal, the MF-agent acts as a P-
                 agent (acting P-agent) and sends a MT_REG_INFO message back
                 to the acting P-agent at previous location to de-active it.

Liu paper at 20-21.




Id. at Fig. 7.

        308.     Likewise, the Liu patent discloses:

                 Referring now to FIG. 8, when the mobile terminal 55 reaches the
                 new location, it registers with the MF-agent 52 that has been created
                 or assigned for it there (801). This is accomplished by sending an
                 MF-agent registration request 68 to the F-Agent 73 at the new
                 location to begin the registration process. The F-agent 73 checks to


                                                 150
                 see if there is a corresponding MF-agent 52 for the mobile terminal
                 55 (802). If there is an MF-agent 52, the F-agent 73 confirms this
                 and activates the MF-agent 52 (804). The F-agent 73 then links the
                 mobile terminal 55 to the MF-agent 52 (805). In accordance with
                 another aspect of the invention, the MF-agent now performs as an
                 acting M-agent (AM-agent) for the mobile terminal 55, performing
                 the same function as an M-agent at the new location.

Liu patent at 8:7-20.




Id. at Fig. 6.

        309.

        B.       Shimizu Anticipates or Renders Obvious the Asserted Claims in View of the
                 3G UMTS Standard and RFC 2002

                 1.     Shimizu

        310.     The Shimizu et al. patent application, Pub. No. US 2002/0045450 A1 (“Shimizu”),

was published on April 18, 2002, from an application filed on July 9, 2001. It therefore qualifies

as prior art under 35 U.S.C. §§ 102(a) and (e) (pre-AIA). Shimizu was not cited or considered

during the prosecution of either the ’508 Patent or the ’417 Patent.

        311.     The Abstract of Shimizu provides:


                                                151
               In accordance with a handoff method, when a handoff of mobile
               terminal equipment from a previous foreign agent to a new foreign
               agent is detected, the mobile terminal equipment is doubly
               registered with either a home agent or a gateway foreign agent so
               that the mobile terminal equipment is associated with both the
               previous foreign agent and the new foreign agent. During the
               handoff, either the home agent or the gateway foreign agent
               determines whether or not an IP packet destined for the mobile
               terminal equipment is of real-time traffic, and then bicasts the IP
               packet to both the previous foreign agent and the new foreign agent
               if the IP packet is of real-time traffic, and buffers the IP packet
               otherwise. When the handoff is completed, the regional registration
               with either the home agent or the gateway foreign agent is updated
               so that the mobile terminal equipment is associated only with the
               new foreign agent. Either the home agent or the gateway foreign
               agent then transfers IP packets of non-real-time traffic buffered
               therein to the new foreign agent.

Shimizu at Abstract.

               2.      Analysis—Claim 1

[‘417, 1(a)] A system for communicating between a mobile node and a communication
network; the network having at least one communications network node that is
interconnected using a proxy mobile internet protocol (IP), comprising:

       312.    Shimizu discloses a system for communicating between a mobile node and a

communication network. See, e.g., Shimizu at Fig. 10.

       313.    For example, the Target RNC 81-2, alone or in combination with the base station

82-2, is a communications network node that is interconnected using a proxy mobile internet

protocol (IP). See, e.g., id. at ¶ 95 & Figs. 10 (annotated below), 11 & 14.




                                                152
       314.    Shimizu provides network services and resource distribution to a mobile device as

it moves by employing a proxy entity—RNC 81-1 alone or in combination with the base station

82-1—to interconnect the mobile device with the target RNC 81-2 via base station 82-2 to the

network using Mobile IP (a mobile internet protocol). See id. at ¶¶ 97-102 & Figs. 10, 11.

[‘417, 1(b)] at least one mobile node;

       315.    Shimizu discloses at least one mobile node as mobile terminal ME 83 in Figure 10.

Id. at ¶ 95 & Fig. 10 (annotated below).




[‘417, 1(c)] at least one home agent;



                                               153
       316.    Shimizu discloses a home agent. Id. at ¶ 9, 98-99 & Fig. 10 (element 3—HA in the

annotated figure below).




[‘417, 1(d)] at least one foreign agent;

       317.    The Target RNC 81-2, alone or in combination with the associated base station

82-2, comprises an element is a foreign agent. See, e.g., id. at ¶ 95 & Fig. 10 (annotated below)

(“…In FIG. 10, reference numerals 81, 81-1, and 81-2 denote radio network control units (RNC)

each of which has a function of serving as a foreign agent, and each of which gives and receives

an authority to control a cellular phone 83 as a handoff according to an SRNC relocation

procedure….”).




                                              154
The RNC 81-2 is on a visited network relative to the Home Agent 3 and it assists the mobile node

in receiving communications using the Mobile IP protocol. See, e.g., id. at ¶¶ 4-9, 95 & Fig. 10.

[‘417, 1(e)] a ghost-foreign agent that advertises messages to one of the mobile nodes
indicating presence of the ghost-foreign agent on behalf of one of the foreign agents when the
mobile node is located in a geographical area where the foreign agent is not physically
present;

       318.    It is my understanding that the Plaintiff alleges that the Source eNB in the accused

LTE network is a ghost-foreign agent that meets this limitation because, among other things, it:

(1) sends the mobile node an RRC connection reconfiguration request (after a handover decision

has been made), which allegedly includes target cell ID and Physical Cell ID information of the

foreign agent, and (2) sends System Information Block Types 4 & 5, which allegedly contain

neighboring cell information for the target eNB, to the mobile node. Plaintiff’s Infringement

Contentions do not explain why these alleged “advertisement messages” are sent to the mobile

node “when [it] is located in a geographic area where the foreign agent is not physically present”

(which has been construed to mean “when the mobile node is located outside the region covered

by the foreign agent”). In my opinion, these RRC and SIB messages are sent to, and received by,

the mobile node when it is within the coverage area of the target eNB (the alleged foreign agent).



                                               155
Nevertheless, if Plaintiff’s infringement analysis is proper for this limitation, then Shimizu

discloses a ghost-foreign agent meeting this limitation.

       319.    The SRNC 81-1, alone or in combination with the associated base station 82-1,

comprises an element that serves as a ghost-foreign agent associated with the foreign agent. See,

e.g., id. at ¶ 95 & Figs. 10 (annotated below), 11; see also id. at ¶¶ 97-102.




       320.    The SRNC 81-1 can announce its presence to the mobile node on behalf of the

Target RNC 81-2, for example, through the Request For Agent Advertisement (step 3 in Figure

11) and the Agent Advertisement (step 4 in Figure 11) messages. See, e.g., id. at ¶¶ 97-98 & Figs.

11 (steps 3 and 4—annotated below).




                                                 156
       321.    In addition, if Plaintiff’s infringement analysis is proper for this limitation, then

Shimizu anticipates this limitation or renders it obvious in view of the third generation (“3G”)

Universal Mobile Telecommunications Service (“UMTS”) standard’s serving SRNS relocation

procedures (Release 1999), published in or before September 2000, or subsequent prior art releases

(including Release 5) as referenced below.

       322.    In paragraph [0095], Shimizu indicates that it performs handoff according to an

SRNC relocation procedure in cellular phone network operating in accordance with the Radio

Access Network standard of 3GPP.

       323.    A POSITA would understand the reference to such a relocation procedure to

encompass the RRC protocol described in 3GPP TS 25.331 v3.1.0 (2000-01) and 25.331 V5.1.0

(2002-06), as well as the mobility management functionality, including SRNS (SRNC) relocation

procedures, described in 3GPP 23.060 v3.5.0 (2000-10) and 3GPP 23.060 v5.1.0 (2002-03).




                                               157
       324.    A POSITA would also consider it obvious to combine Shimizu with the teachings

in TS 23.060 and TS 25.331 from the 3GPP standard in view of the discussion of the Radio Access

Network standard of 3GPP in paragraph [0095] of Shimizu.

       325.    By way of example, similar to Plaintiff’s infringement contentions, in the network

communications system described in Shimizu, alone or in combination with the 3GPP standard

publications TS 23.060 and TS 25.331, the Source RNC (ghost foreign agent) sends the mobile

node a Physical Channel Reconfiguration (RRC) request (see step 7 in Figure 11 of Shimizu and

[0100]), which includes, among other things, the identity of the Target RNC, the S-RNTI, and the

new Routing Area Identification. See, e.g., 3GPP TS 23.060 v3.5.0 (2000-10) at § 6.9.2.2 (Fig. 42)

(annotated portion of this figure and step 7 shown below); see also GPP TS 23.060 v.5.1.0 (2002-

03) at § 6.9.2.2 (Fig. 42 and step 7).




                                               158
       326.    In addition, similar to Plaintiff’s Infringement Contentions, in the network

communications system described in Shimizu, alone or in combination with 3GPP TS 23.060 and

TS 25.331, the Source RNC, alone or in combination with the Node Bs (base stations) that it serves

in its Routing Area 1 (RA1) in the SRNS Relocation procedures described in 3GPP TS 23.060

(Release 1999 or subsequent releases, including Release 5), is (are) a ghost foreign-agent.


                                               159
       327.    For example, the Source RNC sends System Information Blocks (SIBs 11 & 12) to

the UE that contain a list of neighboring cells for the UE to monitor. See, e.g., 3GPP TS 25.331

v3.1.0 (2000-01), §§ 8.1.13, 8.4 (including subsections 8.4.1.6-8.4.1.9), 9.3.1.4-9.3.1.6, 9.3.2.6;

3GPP TS 25.331 v.5.1.0 (2002-06) at §§ 8.1.1.6.11-8.1.1.6.12, 8.4, 8.4.1.6-8.4.1.9, 8.6.7.3, 10.3.7.

       328.    By way of example, TS 25.331, Section 8.4 provides in relevant part:




                                                160
       329.    Sections 8.4.1.6 to 8.4.1.9 of TS 25.331 each indicate that the list of neighboring

cells is provided in the (1) “intra-frequency cell info” IE (information element) in “System

Information Block 12” (or “System Information Block 11”) and (2) the “inter-frequency cell info”

IE (information element) in “System Information Block 12” (or “System Information Block 11”).

See 3GPP TS 25.331 v3.1.0 (2000-01) at §§ 8.4.1.6-8.4.1.9; 3GPP TS 25.331 v.5.1.0 (2002-06) at

§§ 8.1.1.6.11-8.1.1.6.12, 8.4, 8.4.1.6-8.4.1.9, 8.6.7.3, 10.3.7.

       330.    I provide a more detailed discussion below concerning the invalidity of the Asserted

Claims in view of the 3G UMTS standard, which I incorporate here by reference.

[‘417, 1(f)] a ghost-mobile node that creates replica IP messages on behalf of a mobile node,
the ghost-mobile node handling signaling required to allocate resources and initiate mobility
on behalf of the mobile node, the ghost-mobile node triggering signals based on a predicted
physical location of such mobile node or distance with relation to the at least one foreign
agent.

       331.    Plaintiff’s Infringement Contentions allege that a Handover Request is the replica

IP message created by the ghost-mobile node (alleged to be the Source eNB) and that such

Handover Request instructs the Target eNB to allocate resources to the mobile node and initiates

the handover process on its behalf, but these contentions fail to explain how the Source eNB is

capable of registering with a foreign agent and allocating resources for the mobile node before the

it arrives in the physical area covered by the foreign agent. In my opinion, the Source eNB cannot

register with a foreign agent and allocate resources for the mobile node before the mobile node


                                                 161
arrives in the physical area covered by the foreign agent. Furthermore, it is my understanding that

Plaintiff points to certain “UE network/security capabilities” information elements in the

HANDOVER REQUEST sent by the Source eNB that are allegedly the same information elements

that the UE sends to the network in an ATTACH REQUEST as constituting “cop[ying] IP

messages on behalf of a mobile node,” per the Court’s claim construction. In my opinion, this

mapping cannot be correct at least because (i) the original ATTACH REQUEST is not an IP

message and (ii) having just one overlapping information element—which I do not agree is

demonstrated in Plaintiff’s Infringement Contentions—does not constitute “copying” or

“replicating” an IP message.

       332.    Nevertheless, if this infringement analysis is proper for this limitation, then

Shimizu discloses a ghost-mobile node agent meeting this limitation. For example, the SRNC 81-1,

alone or in combination with the associated base station 82-1, comprises an element that serves as

a ghost mobile node. See, e.g., Shimizu at ¶ 95 & Fig. 10 (annotated below).




       333.    The SRNC 81-1 creates replica IP messages on behalf of the ME in step 5 of Figure

11 when it receives an IP Regional Registration Request message from the ME 83 and redirects

the message to the target RNC 81-2. See, e.g., id. at ¶ 98 & Fig. 11 (step 5 annotated below). The



                                               162
redirected message is copy of the original message from the mobile node with a new address

(namely, the address of the target RNC 81-2 rather the address of the source RNC 81-1). The

dashed line in step 5 indicates that that the message is part of the Mobile IP procedure and therefore

constitutes in IP registration message.




        334.     As described in the Mobile IP specification (RFC 2002) referenced in paragraph

[0004] of Shimizu, a POSITA reading Shimizu would understand that the Registration Request is

an IP message. See, e.g., IETF RFC 2002 at § 3 (Registration).

        335.     Furthermore, the SRNC 81-1 sends a Request For Relocation Request message 1

that instructs the Target RNC 81-2 to allocate resources to the ME and initiates the handover

process. See, e.g., Shimizu at ¶¶ 97-98 & Fig. 11 (step 1), [0097], [0098].

        336.     The SRNC triggers the Request For Relocation after detecting a start of handover.

See, e.g., id. at ¶ 97.




                                                 163
       337.     Plaintiff’s Infringement Contentions further allege that the mobile node reports

measurements of neighboring cell signals back to the network, which are used to predict when the

mobile node will leave its current cell and enter a neighboring cell. Plaintiff explicitly points to

Events A3 and A4 in the Measurement Reports. Plaintiff’s Infringement Contentions fail to explain

how the triggering of signals is based on “a predicted physical location” of the mobile node, as

opposed to being based on measuring actual signal strengths for various cells at specified times.

In my opinion, the Source eNB does not trigger signals based on a predicted physical location of

the mobile node. Nevertheless, if this infringement analysis is proper for this limitation, then

Shimizu, alone or in combination with the prior art 3G UMTS standard, discloses a ghost-mobile

node agent meeting this limitation.

       338.     Like the LTE standard’s measurement reports identified in Plaintiff’s Infringement

Contentions, the measurement reports from the mobile node (MS) in the 3G UMTS standard

referenced in Shimizu contain events, such as a neighbor signal becoming better than a threshold,

or a certain amount better than the signal of the node’s current cell. These events indicate to the

network that a UE/MS is in a new cell (the alleged “predicted physical location”), and trigger a

handover to the new cell. See, e.g., 3GPP TS 23.060 v.3.5.0 (2000-10) at §§ 6.9.2.2.1 (Fig. 39 and

steps 13), 6.9.2.2.2 (Fig. 42 and steps 1-3); 3GPP TS 23.060 v.3.5.0 v.5.1.0 (2002-03) at § 6.9.2;

3GPP TS 25.331 v3.1.0 (2000-01) at §§ 10.2.7, 14.1, 14.1.2 (describes a number of intra-frequency

reporting events 1A-1F that may lead to a handover to a new cell, including events 1E and 1F,

which include a predetermined threshold), 14.2; 3GPP TS 25.331 v.5.1.0 (2002-06) at §§ 10.3.7,

14.1, 14.1.2.

       339.     By way of example, reporting event 1C in Section 14.1.2.3 provides:




                                                164
       340.     I provide a more detailed discussion below concerning the invalidity of the

Asserted Claims in view of the 3G UMTS standard, which I incorporate here by reference.

       341.    Therefore, to the extent this limitation is met in the LTE network, it is also met by

the network described in Shimizu alone or in combination with the 3G UMTS standard.

               3.      Analysis—Claim 4

[‘417, 4(a)] The system of claim 1, wherein the at least one ghost-mobile node is a proxy
element for the at least one foreign agent and the at least one mobile node,

       342.    The at least one ghost-mobile node (source RNC 81-1) is a proxy element for the

at least one foreign agent and the at least one mobile node.

       343.    For example, the SRNC acts a proxy for the ME because it transmits the Mobile IP

registration request message to the Target RNC 81-2 for subsequent transmission to the home

agent HA 3. See, e.g., Shimizu at ¶ 98. In addition, the SRNC acts as a proxy for the Target RNC


                                                165
by redirecting an agent advertisement message 4 to the mobile node and by sending a Request For

Reconstruction Of Radio Physical Channel message. See, e.g., id. at ¶¶ 98-100 & Fig. 11 (steps 7

and 11).

        344.    In addition, to the extent this limitation is satisfied in the accused LTE network

because the part of the HO command comes from the target eNB and is transparently forwarded

to the UE by the source eNB, then this limitation is met in the UMTS Serving SRNS relocation

procedures by Relocation Command message (step 6 in Section 6.9.2.2.1 and step 6 in Section

6.9.2.2.2) because the Source RNC (ghost-mobile node) is responsive to instructions transparently

forwarded by the SGSN or New SGSN from the Target RNC (foreign agent) to the Source RNC

(ghost foreign agent). See, e.g., 3GPP TS 23.060 v3.5.0 and v.5.1.0 at §§ 6.9.2.2.1 (Fig. 39 and

steps 4 - 6), 6.9.2.2.2 (Fig. 42 and steps 4-6).

        345.    In addition, to the extent this limitation is met by the Source eNB acting as a proxy

for the UE by setting up a new X2 interface towards the Target eNB, then the Source RNC sets up

a new Iur interface towards the Target RNC (foreign agent). See, e.g., 3GPP TS 23.060 v3.5.0 and

v5.1.0 at §§ 6.9.2.2.1 (Fig. 39 and step 7 & 8), 6.9.2.2.2 (Fig. 42 and step 9).

        346.    I provide a more detailed discussion below concerning the invalidity of the Asserted

Claims in view of the 3G UMTS standard, which I incorporate here by reference.

[‘417, 4(b)] the at least one ghost-mobile node triggering registration based on a distance to
a foreign agent by relaying security and shared secrets from a mobile node, and at least one
advertisement message from a foreign agent in a vicinity of the ghost-mobile node.

        347.    In my opinion, the ’417 Patent fails to provide a written description of a system that

“triggers registration … by ‘relaying’ shared secrets from a mobile node” to another node. That

said, the ’417 Patent discloses a “shared key” in connection with the use the MD5 algorithm for

security and authentication using a public key cryptosystem. See ‘417 Patent at 9:18-36. As an




                                                   166
alternative, the ’417 Patent also discloses the use of an asymmetric authentication protocol such

as 802.1X. Id. at 9:48-53.

       348.    To the extent these disclosures support this limitation, Shimizu alone or in

combination with the 3G UMTS standard and/or RFC 2002 also discloses this limitation. See

supra the citations for limitation [1G] above. In addition, the registration request messages in steps

5 and 6 of Figure 11 contain the same information that ME would send to the network upon initial

registration to the network using a registration request message sent directly to a home agent. See,

e.g., Shimizu at ¶ 98 & Fig. 11 (step 5 and 6); see also RFC 2002 at § 3 (Registration).

       349.    The registration message in Mobile IP (RFC 2002) relays “security and shared

secrets” from a mobile node to the extent this limitation is supported by the ‘417 Patent

specification. See RFC 2002 at §§ 3.2, 3.3, 3.5.1-3.5.4. In particular, Mobile IP registration

requests necessarily include an Extensions field, and all Extensions fields include the Security

Parameter Index (SPI). Id. at § 3.3. The SPI within any of the authentication Extensions defines

the security context which is used to compute the Authenticator value and which must be used by

the receiver to check that value. In particular, the SPI selects the authentication algorithm and

mode (Section 5.1) and secret (a shared key, or appropriate public/private key pair) used in

computing the Authenticator. RFC 2002 at § 3.5.1.

       350.    Furthermore, to the extent the Accused Network meets this limitation because the

LocationInfo information element is used to transfer location information available to the UE to

the eNB as alleged in the Plaintiff’s Infringement Contentions, then this limitation is also met in

Shimizu because the 3GPP system upon which Shimizu is based also transfers location information

from the UE to the Source RNC. See, e.g., 3GPP TS 23.060 v.3.5.0 and V5.1.0 at § 12.7.5:




                                                 167
       351.    Finally, Plaintiff’s Infringement Contentions addressed the last clause in this

limitation (“and at least one advertisement message from a foreign agent in a vicinity of the ghost-

mobile node”) by alleging that “a foreign agent in the vicinity of the source eNB advertises its

Target Cell Identifier (TCI – ECGI/CGI).” The Infringement Contentions lacked such a

contention.

       352.    To the extent that the Source eNB receiving a measurement report containing an

identifier for a target cell meets this limitation, then the SRNC’s receipt of similar measurement

reports containing cell identity information for target cells also meets this limitation. See, e.g.,

3GPP TS 25.331 v3.1.0 (2000-01) at §§ 8.1.13, 8.4 (including subsections 8.4.1.1-8.4.1.9),

10.2.7.6 (annotated below), 10.2.7.17, 10.2.7.20.




                                                168
               4.     Analysis—Claim 7

[‘417, 7(a)] A method, in a mobile node, for speeding handover, comprising the steps of:

       353.    Shimizu discloses a method, in a mobile node, for speeding handover. See, e.g.,

Shimizu at Fig. 10.

       354.    For example, Shimizu provides network services and resource distribution to a

mobile device as it moves by employing a proxy entity—RNC 81-1 alone or in combination with

the base station 82-1—to interconnect the mobile device with the target RNC 81-2 via base station

82-2 to the network using Mobile IP (a mobile internet protocol). See id. at ¶¶ 97-102 & Figs. 10,

11.




                                               169
[‘417, 7(b)] updating, in a mobile node, a location in a ghost mobile node;

       355.    The Court construed this limitation to mean “updating the ghost mobile node with

a location of the mobile node.”

       356.    It is my understanding that the Plaintiff alleges that the LocationInfo information

element in the accused LTE network defined in 3GPP TS 36.331 meets this limitation because it

is allegedly used to transfer location information available to the UE to the source eNB. Plaintiff’s

Infringement Contentions do not explain how the LocationInfo information element bears any

relation to the accused X2 or S1 handover processes. As acknowledged by Plaintiff’s own

Infringement Contentions, the LocationInfo information element is not relevant to the handover

decision, rather it is the signal strength measurements that trigger the accused handover processes.

Nevertheless, if Plaintiff’s infringement analysis is proper for this limitation, then Shimizu

anticipates this limitation or renders it obvious in view of the third generation (“3G”) Universal

Mobile Telecommunications Service (“UMTS”) standard’s location reporting procedures (Release

1999), published in or before September 2000, or subsequent prior art releases (including Release

5) as referenced below.




                                                170
       357.   In paragraph [0095], Shimizu indicates that it performs handoff according to an

SRNC relocation procedure in cellular phone network operating in accordance with the Radio

Access Network standard of 3GPP.

       358.   A POSITA would understand the reference to such a relocation procedure to

encompass the RRC protocol described in 3GPP TS 25.331 v3.1.0 (2000-01) and 25.331 V5.1.0

(2002-06), as well as the mobility management functionality, including SRNS (SRNC) relocation

procedures, described in 3GPP 23.060 v3.5.0 (2000-10) and 3GPP 23.060 v5.1.0 (2002-03).

       359.   A POSITA would also consider it obvious to combine Shimizu with the teachings

in TS 23.060 and TS 25.331 from the 3GPP standard in view of the discussion of the Radio Access

Network standard of 3GPP in paragraph [0095] of Shimizu.

       360.   Shimizu discloses a “ghost mobile node” as discussed above with respect to Claim

Element 1(f) above.

       361.   Further, similar to Plaintiff’s Infringement Contentions, in the network

communications system described in Shimizu, alone or in combination with the 3GPP standard

publications TS 23.060 and TS 25.331, the serving RNC (i.e., “ghost mobile node”) in connection

with the SGSN is updated with the location of the mobile station (i.e., “mobile node”) when the

mobile station moves into or out of a given service area. 3GPP TS 23.060 v.3.5.0 (2000-10) at

§ 12.7.5.




                                             171
       362.    I provide a more detailed discussion below concerning the invalidity of the Asserted

Claims in view of the 3G UMTS standard, which I incorporate here by reference.

[‘417, 7(c)] determining a distance, in the ghost mobile node in communication with the
mobile node, to a closest foreign agent with which the mobile node can complete a
handover;

       363.    Plaintiff’s Infringement Contentions allege that the signal strength measurement

reports from the mobile node contain events, such as Neighbor signal becoming better than a

threshold, or a certain amount better than the signal of the node’s current cell, and that these events

indicate to the network that a mobile node will be moving into a new cell. Plaintiff explicitly points

to Events A3 and A4 in the Measurement Reports. Plaintiff’s Infringement Contentions fail to

explain how these signal strength measurements constitute “determining a distance … to a closest

foreign agent.” In my opinion, signal strength measurements do not constitute determining a

distance; they are simply measurements of actual signal strengths for various cells at specified

times. Nevertheless, if this infringement analysis is proper for this limitation, then Shimizu, alone

or in combination with the prior art 3G UMTS standard, discloses this limitation.

       364.    Like the LTE standard’s measurement reports identified in Plaintiff’s Infringement

Contentions, the measurement reports from the mobile node (MS) in the 3G UMTS standard



                                                 172
referenced in Shimizu contain events, such as a neighbor signal becoming better than a threshold,

or a certain amount better than the signal of the node’s current cell. These events indicate to the

network that a UE/MS is in a new cell (the alleged “predicted physical location”), and trigger a

handover to the new cell. See, e.g., 3GPP TS 23.060 v.3.5.0 (2000-10) at §§ 6.9.2.2.1 (Fig. 39 and

steps 13), 6.9.2.2.2 (Fig. 42 and steps 1-3); 3GPP TS 23.060 v.3.5.0 v.5.1.0 (2002-03) at § 6.9.2;

3GPP TS 25.331 v3.1.0 (2000-01) at §§ 10.2.7, 14.1, 14.1.2 (describes a number of intra-frequency

reporting events 1A-1F that may lead to a handover to a new cell, including events 1E and 1F,

which include a predetermined threshold), 14.2; 3GPP TS 25.331 v.5.1.0 (2002-06) at §§ 10.3.7,

14.1, 14.1.2.

       365.     By way of example, reporting event 1C in Section 14.1.2.3 provides:




                                               173
       366.    It is further my understanding that the Plaintiff alleges that the LocationInfo

information element in the accused LTE network defined in 3GPP TS 36.331 meets this limitation

because it is allegedly used to transfer location information available to the UE to the source eNB.

Plaintiff’s Infringement Contentions do not explain how the LocationInfo information element

bears any relation to the accused X2 or S1 handover processes. As acknowledged by Plaintiff’s

own Infringement Contentions, the LocationInfo information element is not relevant to the

handover decision, rather it is the signal strength measurements that trigger the accused handover

processes. Nevertheless, if this infringement analysis is proper for this limitation, then Shimizu,

alone or in combination with the prior art 3G UMTS standard, discloses this limitation for the

reasons discussed above in Claim Element 7(b).

       367.    I provide a more detailed discussion below concerning the invalidity of the Asserted

Claims in view of the 3G UMTS standard, which I incorporate here by reference.

       368.    Therefore, to the extent this limitation is met in the LTE network, it is also met by

the network described in Shimizu alone or in combination with the 3G UMTS standard.

[‘417, 7(d)] submitting on behalf of the mobile node, from the ghost mobile node, a
registration to the foreign agent to which the mobile node is going to complete the
handover; and

       369.    Shimizu discloses submitting on behalf of the mobile node, from the ghost mobile

node, a registration to the foreign agent to which the mobile node is going to complete the

handover.

       370.    For example, Shimizu discloses that during the handover process, a mobile

equipment (ME) sends a Regional Registration Request for registration to its serving RNC (i.e.,

“ghost mobile node”), which in turn forwards that Request to the target RNC on behalf of the ME.

Specifically, Shimizu discloses:




                                                174
               Next, a handoff of the ME 83 in the mobile IP network will be
               explained. Hereafter, assume that the ME 83 is moving from the
               RNC 81-1 to the RNC 81-2 so that the ME will be accommodated
               by the RNC 81-2. At this time, an authority to control the ME 83 is
               transferred from the base station 82-1to the base station 82-
               2 connected to the RNC 81-2 according to an SRNC relocation
               procedure. FIG. 11 is a sequence diagram for explaining a handover
               of the ME 83 in the cellular phone network of FIG. 10.

               …

               The ME 83 receives the agent advertisement and then transmits a
               mobile IP regional registration message to the RNC 81-2 by way of
               the RNC 81-1, and the RNC 81-2 transfers the regional registration
               message to the HA 3. In the regional registration, the ME 83 makes
               a request of the HA 3 to perform simultaneous binding on IP packets
               of real-time traffic so that they are transferred to both the RNC 81-
               1 and the RNC 81-2, and to temporarily buffer IP packets of non-
               real-time traffic.




Id. at ¶¶ 96-96 & Fig. 11.

[‘417, 7(e)] upon completing the handover, updating a registration in the mobile node.

       371.    It is my understanding that Plaintiff alleges that in the accused LTE network the

target eNB updates a registration in the mobile node by providing uplink allocation and timing



                                               175
advance information to the UE, thereby satisfying this limitation. In my opinion, Plaintiff’s

allegations do not make sense because inter alia in the accused LTE network registration must

occur before handover is complete. Nevertheless, if Plaintiff’s infringement analysis is proper for

this limitation, then Shimizu, alone or in combination with the prior art 3G UMTS standard,

discloses this limitation.

        372.    For example, Shimizu discloses:

                When performing a handover, the RNC 81-1 makes a request of the
                ME 83to reconstruct a radio physical channel. When the
                ME 83 receives the reconstruction request, it changes the frequency
                and so on, and brings its timing channel in synchronization with a
                timing channel of other terminal equipment that is the party on the
                other end of the communication. After that, when the
                ME 83 reestablishes a radio link with the base station 82-2, it
                transmits a message indicating the completion of the reconstruction
                of the channel to the RNC 81-2 by way of the base station 82-2.
                When the RNC 81-2 receives the message, it transmits an agent
                advertisement to the ME 83 to notify the ME 83 that the handover
                has been completed. After the handover has been completed, the
                ME 83 transmits a mobile IP regional registration message
                including a request to release simultaneous binding and a request for
                batch-transfer of buffered IP packets to the RNC 81-2, and the
                RNC 81-2 then transfers the message to the HA 3.




                                                176
Shimizu at ¶ 100 & Fig. 11; see also id. at ¶ 114 & Fig. 13.

       373.    Furthermore, similar to Plaintiff’s Infringement Contentions, in the network

communications system described in Shimizu, alone or in combination with the 3GPP standard

publications TS 23.060 and TS 25.331, the target RNC updates a registration in the mobile station

by providing uplink allocation and timing information to the mobile station. For example, in the

serving SRNS relation procedure in the 3G UMTS standard:

               After having sent the Relocation Detect message, target SRNC
               responds to the MS by sending a RNTI Reallocation message. Both
               messages contain UE information elements and CN information
               elements. The UE information elements include among others new
               SRNC identity and S-RNTI. The CN information elements contain
               among others Location Area Identification and Routeing Area
               Identification. The procedure shall be coordinated in all Iu signalling
               connections existing for the MS.

               The target SRNC resets and restarts the RLC connections, and
               exchanges the PDCP sequence numbers (PDCP-SNU, PDCP-SND)


                                                177
                  between the target SRNC and the MS. PDCP-SND is the PDCP
                  sequence number for the next expected in-sequence downlink
                  packet to be received in acknowledged mode in the MS per radio
                  bearer, which requires lossless relocation. PDCP-SND confirms all
                  mobile-terminated packets successfully transferred before the start
                  of the relocation procedure.

3GPP TS 23.060 v.3.5.0 (2000-10) at §§ 6.9.2.2.1.




Id. at Fig. 39.




                                                 178
        374.    Similarly, with respect to the combined hard handover and SRNS relocation

procedure:

                Upon reception of the Relocation Command message from the PS
                domain, the source RNC shall start the data-forwarding timer. When
                the relocation preparation procedure is terminated successfully and
                the source SRNC is ready, then the source SRNC shall trigger the
                execution of relocation of SRNS by sending to the MS the RRC
                message provided in the Target RNC to source RNC transparent
                container, e.g., a Physical Channel Reconfiguration (UE
                Information Elements, CN Information Elements) message. UE
                Information Elements include among others new SRNC identity and
                S-RNTI. CN Information Elements contain among others Location
                Area Identification and Routeing Area Identification. Before the
                RRC message is sent (e.g., Physical Channel Reconfiguration)
                uplink and downlink data transfer in the source SRNC shall be
                suspended for RABs which requires loss-less relocation.

                …

                When the MS has reconfigured itself, it sends e.g., a Physical
                Channel Reconfiguration Complete message to the target SRNC.
                From now on the exchange of packets with the MS can start.

Id. at § 6.9.2.2.2.




                                               179
Id. at Fig. 42.

        375.      I provide a more detailed discussion below concerning the invalidity of the Asserted

Claims in view of the 3G UMTS standard, which I incorporate here by reference.



                                                  180
       376.    Therefore, to the extent this limitation is met in the LTE network, it is also met by

the network described in Shimizu alone or in combination with the 3G UMTS standard.

       C.      Under Plaintiff’s Interpretation of the Asserted Claims, the 3G UMTS
               Standard Anticipates or Render Obvious the Asserted Claims

       377.    As I understand Plaintiff’s Infringement Contentions, based on the limited

infringement analysis provided therein, it appears that Plaintiff contends, among other things, that:

(1) replica IP messages are created in the accused LTE network even though the information sent

by the UE upon initial attachment to the network is not sent in an IP message, and (2) the mobile

node is outside the coverage area of the target eNB at the time a handover decision is made. While

I disagree with these infringement positions, if they are correct then the Asserted Claims are invalid

based on the 3G UMTS standard’s Hard Handover procedures, alone or in combination with Bahl.

               1.      The 3G UMTS Standard’s Hard Handover and SRNS Relocation
                       Procedures

       378.    The 3G UMTS standard’s hard handover and SRNS relocation procedures (Release

1999 or Release 5) were published in or before June 2002, and other Release 1999 and Release 5

TS and TR documents were published in or before June 2002, and are thus prior art under at least

35 U.S.C. §§ 102(a) and (b). See, e.g., 3GPP TS 25.931 v3.1.0 (2000-09), § 7.11.1.1 (Hard

Handover via Iur (Dedicated Channel State)); 3GPP TR 25.931 v5.1.0 Release 5 (2002-06) §

7.11.1.1 (Hard Handover via Iur (DCH State)); 3GPP TS 23.060 v3.5.0 (2000-10), §§ 6.9.2.2.1,

6.9.2.2.2; 3GPP TS 23.060 v5.1.0 (2002-03), §§ 6.9.2.2.1, 6.9.2.2.2. The 3G UMTS standard’s

hard handover and SRNS relocation procedures (Release 1999 and Release 5) were not cited or

considered during the prosecution of the ’417 Patent.

       379.    In Plaintiff’s Infringement Contentions, aspects of Verizon’s LTE network are

accused, involving handovers using the X2 and S1 signaling interfaces. Substantially similar

handover procedures using substantially similar interfaces existed in the prior art 3G UMTS


                                                 181
standard. Furthermore, the 3G UMTS standardized network included components that functioned

in substantially the same way as the components accused in Verizon’s LTE Network. Specifically,

the eNodeB component in LTE networks evolved as a combination of the Node B and Radio

Network Controller (“RNC”) of the 3G UMTS standard. Similarly, the control functionality of the

Serving GPRS Support Node (“SGSN”) component of the 3G UMTS standard evolved into a

control only entity, the Mobility Management Entity (“MME”) component in 4G LTE networks,

while the SGSN user plane functionality evolved into the Serving Gateway (“S-GW”) component

in 4G LTE networks. And, finally, the functionality of the Gateway GPRS Support Node

(“GGSN”) component of the 3G UMTS standard evolved into a Packet Data Network Gateway

(“P-GW”) component in 4G LTE networks.

               2.     Bahl—U.S. Patent No. 6,385,454

       380.    U.S. Patent No. 6,385,454 (“Bahl”) issued on May 7, 2002, from an application

filed on Oct. 13, 1998. It therefore qualifies as prior art under 35 U.S.C. §§ 102(a) and (b) (pre-

AIA). Bahl was not cited or considered during the prosecution of the ’417 Patent.

               3.     Analysis—Claim 1

[‘417, 1(a)] A system for communicating between a mobile node and a communication
network; the network having at least one communications network node that is
interconnected using a proxy mobile internet protocol (IP), comprising:

       381.    The 3G UMTS standard and Bahl each disclose a system for communicating

between a mobile node and a communication network. See, e.g., 3GPP TS 25.931 v3.1.0 (2000-

09) at § 7.11.1.1 (Hard Handover via Iur (Dedicated Channel State)); 3GPP TR 25.931 v5.1.0

Release 5 (2002-06) at § 7.11.1.1 (Hard Handover via Iur (DCH State)).

       382.    The Infringement Contentions fail to explain how the accused LTE network is a

system for communicating between a mobile node and a communication network that has at least

one communications network node interconnected using a proxy mobile internet protocol (IP).


                                               182
Nevertheless, because of the substantial similarities between the accused LTE network and the

network described in the prior art 3G UMTS standard, to the extent this element exists in the

accused LTE network, it also exists in the network described in the prior art 3G UMTS standard.

        383.    Furthermore, as discussed above in Section VIII.E.3, the UMTS standard

contemplated the integration of Mobile IP. See, e.g., 3GPP TS 23.060 v.5.1.0 (3/2002) at § 5.7;

see also 3GPP TS 23.121 v3.6.0 (6/2002) at § 4.10 (Mobile IP for UMTS/GPRS End Users).

        384.    A POSITA would understand that the resource management scheme in cellular

networks disclosed in Bahl could be used in the 3G UMTS standardized network. See Bahl at 5:35-

37 (in which Bahl states that the invention is independent of the architecture of the underlying

wireless cellular communications system).

[‘417, 1(b)] at least one mobile node;

        385.    The 3G UMTS standard and Bahl each disclose at least one mobile node as a

mobile unit, mobile station (MS), or user equipment (UE) (annotated in red in the figure below).

See, e.g., 3G TS 25.331 v3.1.0 Release 1999 (2000-01), §§ 8.4 (including subsections); 3GPP TS

25.331 v5.1.0 Release 5 (2002-06) at § 8.4 (including subsections); see also 3GPP TS 25.401

v3.2.0 (2000-03), § 6; 3GPP TS 25.401 v5.2.0 Release 5 (2002-03) at § 6; see also 3GPP TR

25.931 v3.1.0 (2000-09), § 7.11.1.1 (Hard Handover via Iur (DCH State)); 3GPP TR 25.931 v5.1.0

Release 5 (2002-06) at § 7.11.1.1 (Hard Handover via Iur (DCH State)); Bahl at Abstract, 2:20-

36, 3:16-37, 4:7-48, 5:5-14, 5:25-33, 7:11-19, 7:56-8:40, 9:6-41, 11:37-48, 13:53-17:50, 18:5-35,

Figs. 1-4, Fig. 7b, Fig. 8, Fig. 11, Fig. 13, Fig. 17, Fig. 18.




                                                  183
3GPP TS 25.331, Fig. 6.

[‘417, 1(c)] at least one home agent;

       386.   For this element, Plaintiff’s Infringement Contentions confusingly refer to “a

Serving/PDN Gateway contained in the logical block MME / S-GW.” To the extent a Serving

Gateway (S-GW) is considered to be a home agent in the accused LTE network, then a SGSN in

the 3G UMTS standard is a home agent. To the extent the P-GW is considered to be a home agent

in the accused LTE network, then a GGSN in the 3G UMTS standard is a home agent. The UE is

assigned an IP address by the GGSN, which is the point of entry towards external networks. The

SGSN shown in the figure below forwards traffic to the UE (MS) through one or more RNC and

NodeBs.




                                             184
See Core Network Architecture in 3G Mobile Networks, https://orhanergun.net/2016/07/mobile-

broadband-ecosystem-ps-core-network-architecture/.

[‘417, 1(d)] at least one foreign agent;

       387.    To the extent that one evolved Node B (eNB) is a foreign agent in the accused LTE

network for the reasons set forth in the Infringement Contentions, then the Target RNC in

combination with the Target Node B it serves is a foreign agent because the 3G system operates

in a substantially similar manner to the 4G system. See, e.g., 3GPP TR 25.931 v3.1.0 (2000-09),

§ 7.11.1.1 (a portion of Fig. 27 at p. 46 is annotated below); see also 3GPP TR 25.931 Release 5

v5.1.0 (2002-06), § 7.11.1.1 (Fig. 27); 3GPP 23.060 v3.5.0 Release 1999 (2000-10) § 6.9.2.2.1

(Fig. 39 and related discussion), § 6.9.2.2.2 (Fig. 42 and related discussion); 3GPP 23.060 v5.1.0

Release 5 (2002-03) § 6.9.2.2.1 (Fig. 39 and related discussion) or in the Combined Hard

Handover and SRNS Relocation Procedure described in § 6.9.2.2.2 (Fig. 42 and related

discussion). The RNC and Node B are referred to as the Radio Network Subsystem (“RNS”) in

the 3G UMTS standard. The RNS corresponds direct to the eNB in the 4G LTE network.




                                               185
       388.    Likewise, to the extent an eNB in the accused LTE network is a foreign agent, then

Bahl discloses at least one foreign agent. For example, Bahl describes a next base station and base

station controller corresponding to a cell in the trajectory of the mobile device. See e.g., Bahl at

2:20-36, 3:61-4:6, 4:49-60, 5:5-14 & Figs. 1, 8, 9, 12, 14

[‘417, 1(e)] a ghost-foreign agent that advertises messages to one of the mobile nodes
indicating presence of the ghost-foreign agent on behalf of one of the foreign agents when the
mobile node is located in a geographical area where the foreign agent is not physically
present;

       389.    It is my understanding that the Plaintiff alleges that the Source eNB in the accused

LTE network is a ghost-foreign agent that meets this limitation because, among other things, it:

(1) sends the mobile node an RRC connection reconfiguration request (after a handover decision

has been made), which allegedly includes target cell ID and Physical Cell ID information of the

foreign agent, and (2) sends System Information Block Types 4 & 5, which allegedly contain

neighboring cell information for the target eNB, to the mobile node. Plaintiff’s Infringement

Contentions do not explain why these alleged “advertisement messages” are sent to the mobile

node “when [it] is located in a geographic area where the foreign agent is not physically present”

(which has been construed to mean “when the mobile node is located outside the region covered

by the foreign agent”). In my opinion, these RRC and SIB messages are sent to, and received by,

the mobile node when it is within the coverage area of the target eNB (the alleged foreign agent).




                                                186
       390.    Nevertheless, if this infringement analysis is proper for this limitation, then the

SRNC alone or in combination with the Source Node B it serves in the Hard Handover and SRNS

relocation procedures in 25.931 and 23.060 is a ghost-foreign agent. See, e.g., 3GPP TR 25.931

v3.1.0 (2000-09), §§ 7.11.1.1 (Fig. 27 (SRNC alone or in combination with the Source Node B))

at 46; 3GPP TR 25.931 Release 5 v5.1.0 (2002-06), § 7.11.1.1 (Fig. 27 (SRNC alone or in

combination with the Source Node B)); 3GPP 23.060 v3.1.0 Release 1999 (2000-10) § 6.9.2.2.1

(Fig. 39 and related discussion) or in the Combined Hard Handover and SRNS Relocation

Procedure described in § 6.9.2.2.2 (Fig. 42 and related discussion); 3GPP 23.060 v5.1.0 Release 5

(2002-03) § 6.9.2.2.1 (Fig. 39 and related discussion), 6.9.2.2.2 (Fig. 42 and related discussion).

       391.    By way of example, similar to Plaintiff’s Infringement Contentions, in the network

described in 3GPP standard publications, the SRNC (ghost foreign agent) sends an RRC message

(Physical Channel Reconfiguration) to the UE, which may include the primary common pilot

channel (“CPICH”) info associated with the target cell. See, e.g., 3GPP TS 25.331 v3.1.0 (2000-

01), § 8.2.6 (including subsections), § 10.1.17; 3G TS 25.331 v5.1.0 Release 5 (2002-06), § 8.2.6

(including subsections), § 10.1.17; 3GPP TR 25.931 v3.1.0 (2000-09), § 7.11.1.1 (Fig. 27, step 7);

3GPP TR 25.931 v5.1.0 (2002-06), § 7.11.1.1 (Fig. 27, step 7).

       392.    In addition, similar to Plaintiff’s Infringement Contentions, in the network

described in 3GPP standard publications, the System Information Blocks (SIBs 11 & 12) sent to

the UE contain a list of neighboring cells for the UE to monitor. See, e.g., 3GPP TS 25.331 v3.1.0

(2000-01), §§ 8.1.13, 8.4, 9.3.1.4, 9.3.1.5, 9.3.1.6, 9.3.2.6, 10.2.7.2, 10.2.7.13; see also 3GPP TS

25.331 v5.1.0 Release 5 (2002-06) at §§ 8.1.13, 8.4 (including §§ 8.4.1.1-8.4.1.9), 10.3.7.13,

10.3.7.33, B.3.1.6-B.3.1.8, B.3.2.6.




                                                187
        393.   By way of example, TS 25.331 (Release 1999), Section 8.4 provides in relevant

part:




        394.   Sections 8.4.1.6 to 8.4.1.9 of TS 25.331 (Release 1999) each indicate that the list

of neighboring cells is provided in the (1) “intra-frequency cell info” IE (information element) in

“System Information Block 12” (or “System Information Block 11”) and (2) the “inter-frequency


                                               188
cell info” IE (information element) in “System Information Block 12” (or “System Information

Block 11”). See 3GPP TS 25.331 v3.1.0 (2000-01), §§ 8.4.1.6-8.4.1.9, 10.2.7.2, 10.2.7.13; see also

3GPP TS 25.331 v5.1.0 (2002-06) at §§ 8.4.1.1-8.4.1.9, 10.3.7.2, 10.3.7.13 (reproduced below),

10.3.7.33.




       395.    Likewise, Bahl discloses a ghost-foreign agent that advertises messages to one of

the mobile nodes indicating presence of the ghost-foreign agent on behalf of one of the foreign

agents when the mobile node is located in a geographical area where the foreign agent is not

physically present. For example, Bahl describes a base station and controller (such as an RNC and

NodeB in the 3G UMTS network) that broadcasts on a beacon frequency to mobile devices in its

cell each base station and controller’s identification and topology information, including a set of



                                               189
virtual circuit identifier numbers for the base stations and controllers along the mobile’s predicted

route. See e.g., Bahl at 18:5-19, 18:37-55, Fig. 7B, 12:29-36. The mobile’s predicted route includes

virtual circuit identifier numbers for base stations and base station controllers along its global

predicted route, which are not neighboring cells and are outside the coverage area of the current

base station and controller. Id.

       396.    A POSITA would understand that Bahl’s invention could be implemented in a 3G

UMTS network and would be motivated combine Bahl with cellular networks, including the 3G

UMTS network, as suggested in Bahl in its Background of the Invention and Summary of the

Invention sections. See, e.g., Bahl at 1:14-4:6.

[‘417, 1(f)] a ghost-mobile node that creates replica IP messages on behalf of a mobile node,
the ghost-mobile node handling signaling required to allocate resources and initiate mobility
on behalf of the mobile node, the ghost-mobile node triggering signals based on a predicted
physical location of such mobile node or distance with relation to the at least one foreign
agent.

       397.    Plaintiff’s Infringement Contentions allege that a HANDOVER REQUEST in LTE

is a replica IP message created by the ghost-mobile node (alleged to be the Source eNB) and that

such HANDOVER REQUEST instructs the Target eNB to allocate resources to the mobile node

and initiates the handover process on its behalf, but these contentions fail to explain, for example,

how the Source eNB is capable of registering with a foreign agent and allocating resources for the

mobile node before the mobile node arrives in the physical area covered by the foreign agent. In

my opinion, the Source eNB cannot register and allocate resources for the mobile node before the

mobile node arrives in the physical area covered by the foreign agent. Furthermore, it is my

understanding that Plaintiff points to certain “UE network/security capabilities” information

elements in the HANDOVER REQUEST sent by the Source eNB that are allegedly the same

information elements that the UE sends to the network in an ATTACH REQUEST as constituting




                                                   190
“cop[ying] IP messages on behalf of a mobile node,” per the Court’s claim construction. In my

opinion, this mapping cannot be correct at least because (i) the original ATTACH REQUEST is

not an IP message and (ii) having just one overlapping information element—which I do not agree

is demonstrated in Plaintiff’s Infringement Contentions—does not constitute “copying” or

“replicating” an IP message.

       398.    Nevertheless, if Plaintiff’s infringement analysis is proper for this limitation, then

the 3G UMTS standard network discloses a ghost-mobile node meeting this limitation under

Plaintiff’s reasoning. In addition, as set forth in more detail below, Bahl discloses as system that

includes a ghost mobile node that can register and pre-allocate resources for the mobile node before

the mobile node arrives in the physical area covered by the foreign agent. Therefore, the

combination of the 3G UMTS standard network with Bahl discloses this limitation under a proper

interpretation of the Court’s claim construction.

       399.    Focusing first on the 3G UMTS standard network’s hard handover procedures, the

SRNC alone or in combination with the Source Node B in the hard handover procedure in Section

7.11.1.1 of TR 25.931 is a ghost mobile node because it creates replica IP messages on behalf of

a mobile node and is capable of registering with a foreign agent and allocating resources for the

mobile node before the mobile node arrives in the physical area covered by the foreign. The ghost

mobile node (SRNC) can initiate a registration by transmitting a registration request to the Target

RNC such that the Target RNC can then register and allocate resources for the mobile node.

       400.    For example, the SRNC sends a Radio Link Setup Request message to the Target

RNC. See, e.g., 3GPP TR 25.931 v3.1.0 (2000-09), § 7.11.1.1 (relevant portions of Fig. 27

illustrated below); see also 3GPP TR 25.931 Release 5 v5.1.0 (2002-06), § 7.11.1.1 (Fig. 27).




                                                191
         401.   The Radio Link Setup Request is an IP message because SCTP over IP may be used

to carry signaling messages over the Iur interface between the SRNC and the Target RNC. See

3GPP TS 25.422 v3.5.0 (2000-12) at § 5.2 (shown below); 3GPP TS 25.422 v5.0.0 (2002-03) at

§ 5.2:




                                              192
       402.    The Radio Link Setup Request message from the SRNC to the Target RNC includes

RB Identity information. See, e.g., 3GPP TS 25.423 v.3.2.0, § 9.1.3.2 (shown below); 3GPP TS

25.423 v.5.1.0, §§ 9.1.3.2, 9.2.3.15.




                                            193
       403.    The same RB Id is sent by the UE to the UTRAN in a physical uplink shared

channel (“PUSCH”) Capacity Request, which allows the UE to request capacity for one or more

uplink shared channels (“USCHs”). See 3GPP TS 25.331 v.3.1.0 §§ 8.2.8, 10.1.21 (shown below);

3GPP TS 25.331 v.5.1.0 §§ 8.2.8, 10.2.26, 10.3.7.67. Under Plaintiff’s application of the Court’s

claim construction, the Radio Link Setup Request message is a “copy” of the PUSCH Capacity

Request message the UE sends to the network, because these messages contain the “same”

information.




                                              194
       404.     In addition to the hard handover procedures in UMTS, the SRNS relocation

procedures defined in Section 6.9.2.2 of TS 23.060 also demonstrate this limitation. See 3GPP TS

23.060 v.3.1.0 at § 6.9.2.2 (and subsections); 3GPP TS 23.060 v.5.1.0 at § 6.9.2.2 (and

subsections).

       405.     In particular, the new SGSN constitutes a “ghost-mobile node that creates replica

IP messages on behalf of a mobile node, the ghost-mobile node handling signaling required to

allocate resources and initiate mobility on behalf of the mobile node” under Plaintiff’s reasoning.

The new SGSN transmits a “Relocation Request” message to the Target RNC such that Target

RNC can then register and allocate resources for the mobile node.




                                               195
196
       406.   The “Relocation Request” is an IP message because IP may be used to carry

signaling messages over the Iu-PS interface between the new SGSN and Target RNC. See, e.g.,

3GPP TS 25.412 Release 5 v5.0.0 (2002-03), §§ 5.3.1 and 5.3.4 (shown below).




                                            197
       407.    The “Relocation Request” sent by the new SGSN to the Target SGSN contains

“Permanent NAS UE Identity, … , Source RNC To Target RNC Transparent Container, RAB To

Be Setup.” 3GPP TS 23.060 v3.1.0 Release 1999 (2002-10), § 6.9.2.2.2; 3GPP TS 23.060 v5.1.0

Release 5 (2002-03), § 6.9.2.2.2 (see excerpt below).



                                              198
       408.    The Permanent NAS UE Identity consists of the IMSI. See 3GPP TS 25.413 v3.2.0

Release 1999 (2000-06); 3GPP TS 25.413 v5.0.0 Release 4 (2001-03) (UTRAN Iu Interface

RANAP Signalling).

       409.    The Source RNC To Target RNC Transparent Container includes a “RRC

Container” information element, which is defined as either “RRC initialisation information, source

RNC to target RNC” or “RRC initialisation information, source system to target RNC” as defined

in TS 25.331. Id. at § 9.2.1.18. The information in this “Transparent Container” originates from

the Source RNC and is transparently sent to the Target RNC via the SGSN. See, e.g., 3GPP TS

25.331 v5.1.0 Release 5 (2002-06), § 6.14.1.2 (shown below).




       410.    3GPP TS 25.331 v5.1.0, § 14.12.1 (excerpt shown below) describes the “RRC

Information to target RNC” included in the RRC Container.


                                               199
       411.    Alternatively, the source RNC, alone in combination with the old SGSN,

constitutes a “ghost-mobile node that creates replica IP messages on behalf of a mobile node, the

ghost-mobile node handling signaling required to allocate resources and initiate mobility on behalf

of the mobile node” under Plaintiff’s reasoning. The source RNC can initiate a registration by

transmitting a registration request (“Relocation Required” message) to the old SGSN, and the old

SGSN sends a “Forward Relocation Request” message to the new SGSN such that the new SGSN

and target RNC can then register and allocate resources for the mobile node.




                                               200
201
See 3GPP TS 23.060 v3.1.0 or v5.1.0, § 6.9.2.2.1, Figs. 37-39.

        412.    The “Forward Relocation Request” is an IP message because GTP over IP may be

used to carry signaling messages over the Gn interface between the old SGSN and new SGSN.




Id. at §§ 5.4 (Fig. 2), 5.6.3.7 (Fig. 13).

        413.    The “Forward Relocation Request” sent by the old SGSN to the new SGSN

contains “IMSI, Tunnel Endpoint Identifier Signalling, MM Context, PDP Context, Target

Identification, RAN transparent container, RANAP Cause” information elements.” Id. at




                                              202
§ 6.9.2.2.1. MM Context information includes various information elements, including IMSI,

security information, and MS Network Capability information.

            Field                                           Description                                A/Gb    Iu
                                                                                                       mode   mode
 IMSI                         IMSI is the main reference key.                                            X     X
 MM State                     Mobility management state, IDLE, STANDBY, READY,                           X     X
                              PMM-DETACHED, PMM-IDLE, or PMM-CONNECTED.
 P-TMSI                       Packet Temporary Mobile Subscriber Identity.                              X      X
 P-TMSI Signature             A signature used for identification checking purposes.                    X      X
 IMEI                         International Mobile Equipment Identity                                   X      X
 MSISDN                       The basic MSISDN of the MS.                                               X      X
 Routeing Area                Current routeing area.                                                    X      X
 Cell Identity                Current cell in READY state, last known cell in STANDBY or IDLE           X
                              state.
 Cell Identity Age            Time elapsed since the last LLC PDU was received from the MS              X
                              at the SGSN.
 Service Area Code            Last known SAC when initial UE message was received or                           X
                              Location Reporting procedure was executed.
 Service Area Code Age        Time elapsed since the last SAC was received at the 3G-SGSN.                     X
 VLR Number                   The VLR number of the MSC/VLR currently serving this MS.                  X      X
 New SGSN Address             The IP address of the new SGSN where buffered and not sent                X      X
                              N-PDUs should be forwarded to.
 Authentication Triplets      GSM Authentication and ciphering parameters.                              2)     2)
 Authentication Quintets      UMTS Authentication and ciphering parameters.                             1)     1)
 Kc                           Currently used A/Gb mode ciphering key.                                   X      2)
 CKSN                         Ciphering key sequence number of Kc.                                      X      2)
 Ciphering algorithm          Selected ciphering algorithm.                                             X      X
 CK                           Currently used Iu mode ciphering key.                                     1)     X
 IK                           Currently used Iu mode integrity key.                                     1)     X
 KSI                          Key Set Identifier.                                                       1)     X
 MS Radio Access Capability MS radio access capabilities.                                               X
 MS Network Capability        MS network capabilities.                                                  X      X
 DRX Parameters               Discontinuous reception parameters.                                       X      X
 MNRG                         Indicates whether activity from the MS shall be reported to the           X      X
                              HLR.
 NGAF                         Indicates whether activity from the MS shall be reported to the           X      X
                              MSC/VLR.
 PPF                          Indicates whether paging for PS and CS services can be initiated.         X      X
 Subscribed Charging          The charging characteristics for the MS, e.g. normal, prepaid, flat-      X      X
 Characteristics              rate, and/or hot billing subscription.
 Trace Reference              Identifies a record or a collection of records for a particular trace.    X      X
 Trace Type                   Indicates the type of trace.                                              X      X
 Trigger Id                   Identifies the entity that initiated the trace.                           X      X
 OMC Identity                 Identifies the OMC that shall receive the trace record(s).                X      X
 SMS Parameters               SMS-related parameters, e.g. operator-determined barring.                 X      X
 Recovery                     Indicates if HLR or VLR is performing database recovery.                  X      X
 Radio Priority SMS           The RLC/MAC radio priority level for uplink SMS transmission.             X
 GPRS-CSI                     Optional GPRS CAMEL subscription information, see 3GPP TS                 X      X
                              23.016
 ODB for PS parameters        Indicates that the status of the operator determined barring for          X      X
                              packet oriented services.
 Each MM context contains zero or more of the following PDP contexts:
 PDP Context Identifier       Index of the PDP context.                                                 X      X
 PDP State                    Packet data protocol state, INACTIVE or ACTIVE.                           X      X
 PDP Type                     PDP type, e.g. PPP or IP.                                                 X      X
 PDP Address                  PDP address, e.g. an IP address.                                          X      X
 APN Subscribed               The APN received from the HLR.                                            X      X




                                                        203
               Field                                    Description                              A/Gb    Iu
                                                                                                 mode   mode
 APN in Use                   The APN currently used. This APN shall be composed of the APN        X     X
                              Network Identifier and the APN Operator Identifier.
 NSAPI                        Network layer Service Access Point Identifier.                      X      X
 TI                           Transaction Identifier.                                             X      X
 TEID for Gn/Gp               Tunnel Endpoint Identifier for the Gn and Gp interfaces.            X      X
 TEID for Iu                  Tunnel Endpoint Identifier for the Iu interface.                           X
 GGSN Address in Use          The IP address of the GGSN currently used.                          X      X
 VPLMN Address Allowed        Specifies whether the MS is allowed to use the APN in the domain    X      X
                              of the HPLMN only, or additionally the APN in the domain of the
                              VPLMN.
 QoS Profile Subscribed       The quality of service profile subscribed.                          X      X
 QoS Profile Requested        The quality of service profile requested.                           X      X
 QoS Profile Negotiated       The quality of service profile negotiated.                          X      X
 Radio Priority               The RLC/MAC radio priority level for uplink user data               X
                              transmission.
 Packet Flow Id               Packet flow identifier.                                             X
 Aggregate BSS QoS Profile    The aggregate BSS quality of service profile negotiated for the     X
 Negotiated                   packet flow that this PDP context belongs to.
 Send N-PDU Number            SNDCP sequence number of the next downlink N-PDU to be sent         X
                              to the MS.
 Receive N-PDU Number         SNDCP sequence number of the next uplink N-PDU expected             X
                              from the MS.
 GTP-SND                      GTP-U sequence number of the next downlink N-PDU to be sent         X      X
                              to the MS.
 GTP-SNU                      GTP-U sequence number of the next uplink N-PDU to be sent to        X      X
                              the GGSN.
 PDCP-SND                     Sequence number of the next downlink in-sequence PDCP-PDU                  X
                              to be sent to the MS.
 PDCP-SNU                     Sequence number of the next uplink in-sequence PDCP-PDU                    X
                              expected from the MS.
 Charging Id                  Charging identifier, identifies charging records generated by       X      X
                              SGSN and GGSN.
 PDP Context Charging         The charging characteristics of this PDP context, e.g. normal,      X      X
 Characteristics              prepaid, flat-rate, and/or hot billing.
 RNC Address in Use           The IP address of the RNC/BSC currently used.                              X


Id. at § 13.2 (Table 6 for MM and PDP Context stored in SGSN); see also § 13.4 (Table 8 for MM

and PDP Context stored in MS).

        414.       The same IMSI information, security information (e.g., KSI), and MS Network

Capability information (e.g., Core Network Classmark) is sent by the UE to the network in an

initial ATTACH REQUEST to connect to an SGSN. Id. at §§ 6.5.2, 6.5.3. Under Plaintiff’s

application of the Court’s claim construction, the “Forward Relocation Request” message is a

“copy” of the ATTACH REQUEST message the UE sends to the network, because these messages

contain the “same” information.




                                                    204
       415.    In addition, to the extent this limitation is met in the accused LTE network because

the Source eNB (alleged ghost-mobile node) allegedly handles signaling required to allocate

resources and initiate mobility on behalf of the mobile node, then 3G UMTS standard hard

handover and SRNS relocation procedures also meets this limitation.

       416.    In the hard handover process in the 3G UMTS standard, a Radio Link Setup

Request is sent to Target RNC. This Request instructs the Target RNC and Node B to allocate

resources to the mobile node and initiates the handover process on the mobile node’s behalf, before

the mobile node is within the Target RNC’s coverage area (under Plaintiff’s apparent, but

unarticulated interpretation of “coverage area”). See, e.g., 3GPP TR 25.931 v3.1.0 (2000-09),

§ 7.11.1.1 (including Fig. 27, steps 2 and 3, which is illustrated directly below).




       417.    In the SRNS relocation procedures, the Relocation Request instructs the Target

RNC to allocate resources to the UE and initiates the relocation procedure on the UE’s behalf. See,

e.g., 3GPP TS 23.060 v3.5.0, Sections 6.9.2.2.1 (Fig. 39 and step 4), 6.9.2.2.2 (Fig. 42 and step 4);

3GPP TS 23.060 v5.1.0, Sections 6.9.2.2.1 (Fig. 39 and step 4), 6.9.2.2.2 (Fig. 42 and step 4).

       418.    Plaintiff’s Infringement Contentions further allege that the mobile node reports

measurements of neighboring cell signals back to the network, which are used to predict when the

mobile node will leave its current cell and enter a neighboring cell. Plaintiff explicitly points to

Events A3 and A4 in the Measurement Reports. Plaintiff’s Infringement Contentions fail to explain

how the triggering of signals is based on “a predicted physical location” of the mobile node, as

opposed to being based on measuring actual signal strengths for various cells at specified times.

In my opinion, the Source eNB does not trigger signals based on a predicted physical location of


                                                205
the mobile node. Nevertheless, if this infringement analysis is proper for this limitation, then 3G

UMTS standard, alone or in combination with Bahl, discloses a ghost-mobile node meeting this

limitation.

        419.    Like the LTE standard’s measurement reports identified in Plaintiff’s Infringement

Contentions, measurement reports are sent from the mobile node in the 3G UMTS standard that

contain events, such as a neighbor signal becoming better than a threshold, or a certain amount

better than the signal of the node’s current cell. These events indicate to the network that a UE/MS

will be moving into a new cell (the alleged “predicted physical location”), and trigger a handover

to the new cell. See, e.g., 3GPP TS 25.331 v3.1.0 (2000-01), §§ 10.2.7 (including subsections

10.2.7.1-10.2.7.44), 14.1 (describe a number of intra-frequency events 1A-1F that may lead to a

handover to a new cell), 14.2; 3GPP TS 25.331 v5.1.0, §§ 10.2.7 (including subsections 10.2.7.1-

10.2.7.44), 14.1 (describe a number of intra-frequency events 1A-1F that may lead to a handover

to a new cell), 14.2; see also 3GPP TS 25.331 v3.1.0 (2000-01), §§ 8.1.13, 8.4.1, 9.3.1.4, 9.3.1.5,

9.3.1.6, 9.3.2.6.

        420.    By way of example, reporting event 1C in Section 14.1.2.3 provides:




                                                206
       421.     Therefore, to the extent this limitation is met in the LTE network, it is also met by

the network described in the 3G UMTS standard.

       422.    Looking next to Bahl, it discloses a ghost-mobile node that creates replica IP

messages on behalf of a mobile node, the ghost-mobile node handling signaling required to allocate

resources and initiate mobility on behalf of the mobile node, the ghost-mobile node triggering

signals based on a predicted physical location of such mobile node or distance with relation to the

at least one foreign agent.

       423.    For example, Bahl describes mobile switching center functionality that may be

implemented as computer program modules stored on a base station controller or another network

device. See, e.g., Bahl at 10:61-68, 6:66-7:38.




                                                  207
       424.    Bahl further describes that the mobile switching center module sends a reservation

request on behalf of a mobile device to base stations or base transceiver stations in order to reserve

bandwidth in those base stations and base transceiver stations of cells along the projected route to

reduce latency. See e.g., Bahl at 4:49-61, also see generally id. at 4:49-61, 7:15-8:40, 9:66-11:35,

18:5-35, Figs. 5-6, 7B. Bahl further describes a prediction engine that uses a hierarchical location

prediction method that predicts the movement of a mobile device at 2 levels – local prediction and

global prediction. Id. at 11:36-48. Bahl further notes that one criteria that might be used in deciding

whether and when to pre-register to a particular cell along the mobile’s predicted route is the

distance of the cell from the mobile. See id. at 11:23-35.

       425.    If the improved mobility prediction and resource allocation scheme disclosed in

Bahl is incorporated in the 3G UMTS standard, then a POSITA would understand that the

prediction module could be incorporated into the UE, while the network manager software could

be incorporated into the SGSN and RNC components of the 3G UMTS network to effectuate the

network resource allocation scheme disclosed in Bahl.

       426.    When this combination is made, the combination discloses this limitation of claim

1, as described above.

               4.        Analysis—Claim 4

[‘417, 4(a)] The system of claim 1, wherein the at least one ghost-mobile node is a proxy
element for the at least one foreign agent and the at least one mobile node,

       427.    The at least one ghost-mobile node identified in my analysis above is a proxy

element for the at least one foreign agent and the at least one mobile node.

       428.    For example, to the extent that the ghost mobile node is deemed to be a proxy

element for the foreign agent in the accused LTE network because part of the handover command

comes from the target eNB and is transparently forwarded to the UE by the source eNB, then this



                                                 208
portion of this limitation is met in the hard handover procedures of the 3G UMTS standard by the

Radio Link Setup Response messages (steps 3 and 5 in Section 7.11.1.1 of TS 25.931) because the

SRNC (ghost-mobile node) transparently forwards information from the Target RNC and Target

Node B (foreign agent) to the UE. See, e.g., 3GPP TS 25.931 v3.1.0 (2000-09), § 7.11.1.1 (Fig.

27, Steps 3, 5, 7); 3GPP TS 25.931 v5.1.0 (2002-06), § 7.11.1.1 (Fig. 27, Steps 3, 5, 7).

       429.    Specifically, the Radio Link Setup Response messages sent from the Target RNC

to the SRNC contain, among other information, CN PS and CN CS Domain Identifiers (see 3GPP

TS 25.423 v3.2.0 (2000-06), Sections 9.1.4.1, 9.1.4.2, 9.2.1.12 and 9.2.1.11; 3GPP TS 25.423

v5.1.0 (2002-06), Sections 9.1.4.1, 9.1.4.2, 9.2.1.12 and 9.2.1.11), which include a PLMN Id

information element. The PLMN Id may then be forwarded to the UE in the RRC message Physical

Channel Reconfiguration. Compare 3GPP TS 25.423 v3.2.0 (2000-06), Sections 9.1.4.1 and

9.1.4.2 (or 3GPP TS 25.423 v3.2.0 (2000-06), Sections 9.1.4.1 and 9.1.4.2), with 3GPP TS 25.331

v3.1.0 (2000-01), § 10.1.17 (or 3GPP TS 25.331 v3.1.0 (2000-01), Sections 10.2.22 and 10.3.1.3).

       430.    In addition, to the extent Source eNB in the accused LTE network acts as a proxy

for the UE by setting up a new X2 interface towards the Target eNB, then the SRNC acts as a

proxy for the UE by setting up the Iur interface towards the Target RNC and Target Node B. See

3GPP TS 25.931 v3.1.0 (2000-09), § 7.11.1.1 (Fig. 27, Step 1); 3GPP TS 25.931 v5.1.0 (2002-

06), § 7.11.1.1 (Fig. 27, Step 1). Finally, to the extent the Source eNB acts a proxy for the MN and

manages connection mobility control on its behalf by sending a Handover Request to the Target

eNB, which includes UE context information containing the same information sent by the UE upon

initial attachment to the network, then the ghost-mobile nodes identified above act as a proxy for

the mobile node by performing the same function in the 3G UMTS standard’s hard handover and

SRNS relocation procedures. See, e.g., the citations for limitation 1[f] above.




                                                209
[‘417, 4(b)] the at least one ghost-mobile node triggering registration based on a distance to
a foreign agent by relaying security and shared secrets from a mobile node, and at least one
advertisement message from a foreign agent in a vicinity of the ghost-mobile node.

       431.    To the extent that the Source eNB receiving a measurement report containing an

identifier for a target cell triggers registration based on a distance to a foreign agent, then the

SRNC’s receipt of similar measurement reports containing cell identity information for target cells

also triggers registration based on a distance to a foreign agent. See, e.g., 3GPP TS 25.331 v3.1.0

(2000-01), Sections 8.1.13, 8.4 (including subsections 8.4.1.1-8.4.1.9), 10.2.7.6, 10.2.7.17,

10.2.7.20; 3GPP TS 25.331 v5.1.0 (2002-06), Sections 8.1.13, 8.4 (including subsections 8.4.1.1-

8.4.1.9), 10.2.7.6, 10.2.7.17, 10.2.7.20.

       432.    Furthermore, to the extent the accused LTE network triggers registration based on

a distance to a foreign agent because the LocationInfo information element is used to transfer

location information available to the UE to the eNB as alleged in the Infringement Contentions,

then it is met in the 3GPP UMTS standard because it transfers location information from the UE

to the Source RNC. See, e.g., 3GPP TS 23.060 v3.5.0 (2000-10), § 12.7.5 (shown below); 3GPP

TS 23.060 v5.1.0 (2002-03), § 12.7.5:




                                               210
See 3GPP TS 23.060 v.3.5.0 (2000-10) at 21-22.

       433.    In addition, to the extent the accused LTE network triggers registration by relaying

security and shared secrets from a mobile node by relaying UE context information to the Target

eNB, then this limitation is satisfied in the 3G UMTS standard because UE context information is

transferred that includes security information with shared secrets. See, e.g., 3GPP TS 25.423 v3.2.0

(2000-06), § 9.1.3 (Radio Link Setup Request—FDD and TDD message, including, but not limited

to, the UL scrambling code in the FDD message); 3GPP TS 25.423 v5.1.0 (2002-06), § 9.1.3

(Radio Link Setup Request—FDD and TDD message, including, but not limited to, the UL

scrambling code in the FDD message); 3GPP TS 25.331 v5.1.0 Release 5 (2002-06), § 6.14.1.2

(UE capability information is transferred that contains ciphering information); 3GPP TS 23.060

v3.1.0 Release 1999 (2002-10), § 6.9.2.2.1 and 3GPP TS 23.060 v5.1.0 Release 5 (2002-03),

§ 6.9.2.2.1 (the Forward Relocation Request includes security information security information

(e.g., KSI) that is sent by the UE to the network in an initial ATTACH REQUEST to connect to

an SGSN)..

       434.    Finally, Plaintiff’s Infringement Contentions addressed the last clause in this

limitation (“and at least one advertisement message from a foreign agent in a vicinity of the ghost-

mobile node”) by alleging that “a foreign agent in the vicinity of the source eNB advertises its

Target Cell Identifier (TCI – ECGI/CGI).” The Infringement Contentions lacked such a

contention. Nevertheless, consistent with plaintiff’s Original Infringement Contentions, the Target

RNC sends information in a Radio Link Setup Response message to the SRNC containing, among

other information, CN PS and CN CS Domain Identifiers (see 3GPP TS 25.423 v3.2.0 (2000-06),

Sections 9.1.4.1, 9.1.4.2, 9.2.1.12 and 9.2.1.11), which include a PLMN Id information element.

The PLMN Id may then be forwarded to the UE in the RRC message Physical Channel




                                                211
Reconfiguration as part of the process of “registering” the Target RNC (foreign agent) with the

UE. Compare 3GPP TS 25.423 v3.2.0 (2000-06), Sections 9.1.4.1 and 9.1.4.2 (or 3GPP TS 25.423

v3.2.0 (2000-06), Sections 9.1.4.1 and 9.1.4.2), with 3GPP TS 25.331 v3.1.0 (2000-01), § 10.1.17

(or 3GPP TS 25.331 v3.1.0 (2000-01), Sections 10.2.22 and 10.3.1.3).

               5.      Analysis—Claim 7

[‘417, 7(a)] A method, in a mobile node, for speeding handover, comprising the steps of:

       435.    The 3G UMTS standard and Bahl each disclose a method, in a mobile node, for

speeding handover. For example, the 3G UMTS standard discloses multiple methods for handing

over a mobile station from one base station to another. See, e.g., 3GPP TS 25.931 v3.1.0 (2000-

09) at § 7.11.1.1 (Hard Handover via Iur (Dedicated Channel State)); 3GPP TR 25.931 v5.1.0

Release 5 (2002-06) at § 7.11.1.1 (Hard Handover via Iur (DCH State)).

       436.    Furthermore, Bahl describes managing connections to mobile units in a wireless

communications system in order to achieve low-latency handoffs between base stations. See Bahl

at Abstract, 1:9-22, 1:35-49, 3:40-60 & Figs. 1, 12, 14. For example, Bahl discloses a “method for

managing resources in a wireless cellular communications system wherein both intra-cell and

inter-cell trajectory of the mobile unit are monitored and subsequently used to predict the path it

will take for the purposes of reserving bandwidth and setting up routes ahead of time, reducing

hand-off latencies, and relieving congestion in the cells along this predicted path.” See id. at 3:41-

48.

       437.    I incorporate my analysis above regarding Claims 1 and 4 above.

[‘417, 7(b)] updating, in a mobile node, a location in a ghost mobile node;

       438.    The Court construed this limitation to mean “updating the ghost mobile node with

a location of the mobile node.”




                                                 212
       439.    It is my understanding that the Plaintiff alleges that the LocationInfo information

element in the accused LTE network defined in 3GPP TS 36.331 meets this limitation because it

is allegedly used to transfer location information available to the UE to the source eNB. Plaintiff’s

Infringement Contentions do not explain how the LocationInfo information element bears any

relation to the accused X2 or S1 handover processes. As acknowledged by Plaintiff’s own

Infringement Contentions, the LocationInfo information element is not relevant to the handover

decision, rather it is the signal strength measurements that trigger the accused handover processes.

Nevertheless, if Plaintiff’s infringement analysis is proper for this limitation, then the 3G UMTS

standard’s location reporting procedures (Release 1999), published in or before September 2000,

or subsequent prior art releases (including Release 5), alone or in combination with Bahl,

anticipates and/or renders obvious this limitation as referenced below.

       440.    The 3G UMTS standard and Bahl, alone or in combination, disclose a “ghost

mobile node” as discussed above with respect to Claim Element 1(f) above.

       441.    The 3G UMTS relocation procedure is described in 3GPP TS 25.331 v3.1.0 (2000-

01) and 25.331 V5.1.0 (2002-06), and the mobility management functionality, including SRNS

(SRNC) relocation procedures, is described in 3GPP 23.060 v3.5.0 (2000-10) and 3GPP 23.060

v5.1.0 (2002-03).

       442.    Similar to Plaintiff’s Infringement Contentions, in the network communications

system described in the 3GPP standard publications TS 23.060 and TS 25.331, the serving RNC

(i.e., “ghost mobile node”) in connection with the SGSN is updated with the location of the mobile

station (i.e., “mobile node”) when the mobile station moves into or out of a given service area.

3GPP TS 23.060 v.3.5.0 (2000-10) at § 12.7.5.




                                                213
       443.    Likewise, Bahl evidences that “[l]ocation management or location tracking

incorporate[ing] a set of mechanisms with which the network can locate a particular mobile at any

given time” was well known in the art well before the priority date of the ’417 Patent. See Bahl at

2:37-52. Bahl further discloses a “method for managing resources in a wireless cellular

communications system wherein both intra-cell and inter-cell trajectory of the mobile unit are

monitored and subsequently used to predict the path it will take for the purposes of reserving

bandwidth and setting up routes ahead of time, reducing hand-off latencies, and relieving

congestion in the cells along this predicted path.” See id. at 3:41-60.

       444.    Bahl further discloses:

               As long as the mobile follows the assumed UMP, updating of the
               mobile's location is not necessary, since the BTS of the current cell
               has informed the BTS of the cells in the predicted path by way of
               the BSC and the MSC (see FIG. 1). Therefore, the mobile can
               continue to use the network services without conventional
               registration and location updating procedures when it transitions
               into a new cell or arrives at a new zone.

               In the special case when no UMP is found to match UAP,
               conventional methods for updating the location of the mobile are
               enabled to collect location information in keeping with conventional
               practice. As most mobile users are quite regular in their daily
               movement, however, the invention results in a significant reduction
               in signaling traffic due to location updating.


                                                214
Id. at 19:17-31.

[‘417, 7(c)] determining a distance, in the ghost mobile node in communication with the
mobile node, to a closest foreign agent with which the mobile node can complete a
handover;

       445.    Plaintiff’s Infringement Contentions allege that the signal strength measurement

reports from the mobile node contain events, such as Neighbor signal becoming better than a

threshold, or a certain amount better than the signal of the node’s current cell, and that these events

indicate to the network that a mobile node will be moving into a new cell. Plaintiff explicitly points

to Events A3 and A4 in the Measurement Reports. Plaintiff’s Infringement Contentions fail to

explain how these signal strength measurements constitute “determining a distance … to a closest

foreign agent.” In my opinion, signal strength measurements do not constitute determining a

distance; they are simply measurements of actual signal strengths for various cells at specified

times. Nevertheless, if this infringement analysis is proper for this limitation, then the prior art 3G

UMTS standard and Bahl, alone or in combination, disclose this limitation.

       446.    Like the LTE standard’s measurement reports identified in Plaintiff’s Infringement

Contentions, the measurement reports from the mobile node (MS) in the 3G UMTS standard

contain events, such as a neighbor signal becoming better than a threshold, or a certain amount

better than the signal of the node’s current cell. These events indicate to the network that a UE/MS

is in a new cell (the alleged “predicted physical location”), and trigger a handover to the new cell.

See, e.g., 3GPP TS 23.060 v.3.5.0 (2000-10) at §§ 6.9.2.2.1 (Fig. 39 and steps 13), 6.9.2.2.2 (Fig.

42 and steps 1-3); 3GPP TS 23.060 v.3.5.0 v.5.1.0 (2002-03) at § 6.9.2; 3GPP TS 25.331 v3.1.0

(2000-01) at §§ 10.2.7, 14.1, 14.1.2 (describes a number of intra-frequency reporting events 1A-

1F that may lead to a handover to a new cell, including events 1E and 1F, which include a

predetermined threshold), 14.2; 3GPP TS 25.331 v.5.1.0 (2002-06) at §§ 10.3.7, 14.1, 14.1.2.

       447.    By way of example, reporting event 1C in Section 14.1.2.3 provides:


                                                 215
        448.    It is further my understanding that the Plaintiff alleges that the LocationInfo

information element in the accused LTE network defined in 3GPP TS 36.331 meets this limitation

because it is allegedly used to transfer location information available to the UE to the source eNB.

Plaintiff’s Infringement Contentions do not explain how the LocationInfo information element

bears any relation to the accused X2 or S1 handover processes. As acknowledged by Plaintiff’s

own Infringement Contentions, the LocationInfo information element is not relevant to the

handover decision, rather it is the signal strength measurements that trigger the accused handover

processes. Nevertheless, if this infringement analysis is proper for this limitation, then the prior art

3G UMTS standard and Bahl, alone or in combination, disclose this limitation for the reasons

discussed above in Claim Element 7(b).




                                                  216
[‘417, 7(d)] submitting on behalf of the mobile node, from the ghost mobile node, a
registration to the foreign agent to which the mobile node is going to complete the
handover; and

       449.    The 3G UMTS standard and Bahl, alone or in combination, disclose submitting on

behalf of the mobile node, from the ghost mobile node, a registration to the foreign agent to which

the mobile node is going to complete the handover.

       450.    For example, in the hard handover process in the 3G UMTS standard, a Radio Link

Setup Request is sent to Target RNC. This Request instructs the Target RNC and Node B to

allocate resources to the mobile node and initiates the handover process on the mobile node’s

behalf, before the mobile node is within the Target RNC’s coverage area (under Plaintiff’s

apparent, but unarticulated interpretation of “coverage area”). See, e.g., 3GPP TR 25.931 v3.1.0

(2000-09), § 7.11.1.1 (including Fig. 27, steps 2 and 3, which is illustrated directly below).




       451.    Furthermore, in the SRNS relocation procedures in the 3G UMTS standard, the

Relocation Request instructs the Target RNC to allocate resources to the UE and initiates the

relocation procedure on the UE’s behalf. See, e.g., 3GPP TS 23.060 v3.5.0, Sections 6.9.2.2.1 (Fig.

39 and step 4), 6.9.2.2.2 (Fig. 42 and step 4); 3GPP TS 23.060 v5.1.0, Sections 6.9.2.2.1 (Fig. 39

and step 4), 6.9.2.2.2 (Fig. 42 and step 4).

       452.    Similarly, Bahl describes a mobile switching center that can be implemented as a

module on a base station controller or a network device. Bahl further describes that the mobile

switching center module sends a reservation request on behalf of a mobile device to base stations

or base transceiver stations in order to reserve bandwidth in those base stations or base

transceiver stations of cells along the projected route to reduce latency. Bahl additionally


                                                217
describes that the mobile switching center initiates the reservation request in response to

predicted route information to a base station. See, e.g., Bahl at 4:49-61, 7:15-19, 8:8-16, 9:66-

11:35, 18:5-35 & Fig. 6. For example, Bahl discloses:

                  One example of a method the MSC may employ to manage the
                  allocation of channel assignments in an effort to maintain the
                  connection is illustrated in the flow diagram of FIG. 6. The process
                  begins at step 115. At step 117, the MSC receives trajectory of
                  prediction information from the mobile unit in keeping with the
                  invention by way of one of the BTSs and the associated BSC. At
                  step 119, the MSC determines whether the prediction is a new
                  prediction or an update of a previous prediction. If the prediction is
                  an update the process branches to step 123, where the new
                  prediction replaces the old one. Otherwise, the process branches to
                  step 121, where the process sets up a reservation request for the
                  mobile unit in the cells identified by the UMP or the local prediction.

Id. at 11:9-22.

[‘417, 7(e)] upon completing the handover, updating a registration in the mobile node.

       453.       It is my understanding that Plaintiff alleges that in the accused LTE network the

target eNB updates a registration in the mobile node by providing uplink allocation and timing

advance information to the UE, thereby satisfying this limitation. In my opinion, Plaintiff’s

allegations do not make sense because inter alia in the accused LTE network registration must

occur before handover is complete. Nevertheless, if Plaintiff’s infringement analysis is proper for

this limitation, then the prior art 3G UMTS standard discloses this limitation.

       454.       Similar to Plaintiff’s Infringement Contentions, in the network communications

system described in the 3GPP standard publications TS 23.060 and TS 25.331, the target RNC

updates a registration in the mobile station by providing uplink allocation and timing information

to the mobile station. For example, in the serving SRNS relation procedure in the 3G UMTS

standard:

                  After having sent the Relocation Detect message, target SRNC
                  responds to the MS by sending a RNTI Reallocation message. Both


                                                   218
              messages contain UE information elements and CN information
              elements. The UE information elements include among others new
              SRNC identity and S-RNTI. The CN information elements contain
              among others Location Area Identification and Routeing Area
              Identification. The procedure shall be coordinated in all Iu signalling
              connections existing for the MS.

              The target SRNC resets and restarts the RLC connections, and
              exchanges the PDCP sequence numbers (PDCP-SNU, PDCP-SND)
              between the target SRNC and the MS. PDCP-SND is the PDCP
              sequence number for the next expected in-sequence downlink
              packet to be received in acknowledged mode in the MS per radio
              bearer, which requires lossless relocation. PDCP-SND confirms all
              mobile-terminated packets successfully transferred before the start
              of the relocation procedure.

3GPP TS 23.060 v.3.5.0 (2000-10) at §§ 6.9.2.2.1.




                                               219
Id. at Fig. 39.

        455.      Similarly, with respect to the combined hard handover and SRNS relocation

procedure:

                  Upon reception of the Relocation Command message from the PS
                  domain, the source RNC shall start the data-forwarding timer. When
                  the relocation preparation procedure is terminated successfully and
                  the source SRNC is ready, then the source SRNC shall trigger the
                  execution of relocation of SRNS by sending to the MS the RRC
                  message provided in the Target RNC to source RNC transparent
                  container, e.g., a Physical Channel Reconfiguration (UE


                                                 220
                Information Elements, CN Information Elements) message. UE
                Information Elements include among others new SRNC identity and
                S-RNTI. CN Information Elements contain among others Location
                Area Identification and Routeing Area Identification. Before the
                RRC message is sent (e.g., Physical Channel Reconfiguration)
                uplink and downlink data transfer in the source SRNC shall be
                suspended for RABs which requires loss-less relocation.

                …

                When the MS has reconfigured itself, it sends e.g., a Physical
                Channel Reconfiguration Complete message to the target SRNC.
                From now on the exchange of packets with the MS can start.

Id. at § 6.9.2.2.2.




                                              221
Id. at Fig. 42.

        456.      Therefore, to the extent this limitation is met in the LTE network, it is also met by

the network described in Shimizu alone or in combination with the 3G UMTS standard.



                                                  222
       D.      Under Plaintiff’s Interpretation of the Asserted Claims, Gwon Anticipates or
               Render Obvious the Asserted Claims

       457.    As I understand Plaintiff’s Infringement Contentions, based on the limited

infringement analysis provided therein, it appears that Plaintiff contends, among other things, that:

(1) replica IP messages are created in the accused LTE network even though the information sent

by the UE upon initial attachment to the network is not sent in an IP message, and (2) the mobile

node is outside the coverage area of the target eNB at the time a handover decision is made. While

I disagree with these infringement positions, if they are correct then the Asserted Claims are invalid

based Gwon I, alone or in combination with Gwon II.

               1.      Gwon

       458.    U.S. Patent Publication No. US 2002/0131386 A1 (“Gwon I”), was published on

September 19, 2002, from an application filed on January 26, 2001. It therefore qualifies as prior

art under 35 U.S.C. §§ 102(a) and (e) (pre-AIA). Gwon I was not cited or considered during the

prosecution of the ’417 Patent. Gwon I discloses that:

               The mobile node 135 may identify available local routers using the
               Neighbor Discovery methodology described in RFC 2461 and the
               IETF Mobile IP version 6 draft document (section 10.4). Thus, the
               mobile node 135 may broadcast Router Solicitation messages to
               determine if any local routers are available, or may wait to receive
               unsolicited multicast Router Advertisement messages from
               available routers. . . . In either event, the mobile node will have
               identified new local router R2 with which to establish its new
               network connection.

Gwon I at ¶ 53.

       459.    U.S. Patent Publication No. 2003/0016655 (“Gwon II”), was published on January

23, 2003, from an application filed on January 29, 2001. It therefore qualifies as prior art under 35

U.S.C. §§ 102(a) and (e) (pre-AIA). Gwon II incorporates Gwon I by reference. See Gwon II at

¶¶ 1, 61. Gwon II was considered during the prosecution of the ’508 Patent. Both Gwon I and



                                                 223
Gwon II disclosed methods for predicting the mobility of mobile nodes in wireless networks to

enable fast route pre-establishment and reduced packet latency.

              2.      Analysis—Claim 1

 [‘417, 1(a)] A system for communicating between a mobile node and a communication
network; the network having at least one communications network node that is
interconnected using a proxy mobile internet protocol (IP), comprising:

       460.   Gwon I discloses a system for communicating between a mobile node and a

communications network. Unless otherwise stated, references to “Gwon” are to Gwon I rather than

Gwon II in the discussion below. For example, Gwon discloses the communication of digital data

in third generation and beyond wireless, mobile-access, Internet protocol-based data networks,

Mobile IP, and wireless LANs. See, e.g., Gwon at Abstract, ¶¶ 2–25, ¶¶ 36–47, Figs. 1–2.

       461.   For example, the Abstract of Gwon provides:

              “Disclosed are methods for predicting the mobility of mobile nodes
              in third generation and beyond wireless, mobile access Internet
              protocol-based data networks embodying IETF Mobile IP support,
              as well as in wireless LANs. Conventional Mobile IP mobility
              detection is replaced with deterministic, stochastic, and/or adaptive
              methods to predict the mobility of a mobile node in the network
              employing network logic layer (L3) packet latency characteristics.
              The method is useful for providing pre-notification that a
              communication hand-off condition is imminent to enable fast route
              pre-establishment and reduced packet latency, and for optimizing
              quality of service by facilitating selection of best base station
              transceiver in overlapping cell environments, among other
              applications.”

       462.   Figure 1 of Gwon is reproduced below:




                                              224
       463.    Gwon discloses the network having at least one communications network node that

is interconnected using a proxy mobile internet protocol (IP). The IETF Mobile IP version 4 and

version 6 standards, including RFC 1573, 2002, 2401, 2402, 2406, 2460, 2461, and 2462, are

incorporated by reference in Gwon. See, e.g., id. at ¶¶ 7, 37–39, 49–53. More specifically, Gwon

states that “the mobile node (MN) 135 can employ the Neighbor Discovery methodology specified

in IETF RFC 2461, which is incorporated herein by reference….” Id. at ¶ 51.

       464.    The Neighbor Discovery protocol described in RFC 2461 can include a proxy that

can act on behalf of another node or router on the network. See, e.g., id. at ¶¶ 49–53, Fig. 1;

IETF RFC 2461 at 6, 65. For example, RFC 2461 indicates that a router may act as proxy for the

node: “proxy - a router that responds to Neighbor Discovery query messages on behalf of

another node. A router acting on behalf of a mobile node that has moved off-link could

potentially act as a proxy for the mobile node.” RFC 2461 at 6.




                                                225
       465.    In addition, RFC 2461 further provides that “a router MAY proxy for one or more

other nodes, that is, through Neighbor Advertisements indicate that it is willing to accept packets

not explicitly addressed to itself. For example, a router might accept packets on behalf of a mobile

node that has moved off-link.” Id. at 65.

[‘417, 1(b)] at least one mobile node;

       466.    Gwon discloses at least one mobile node. For example, Gwon discloses a plurality

of mobile nodes (MNs) connected to a network. See, e.g., Gwon at ¶ 43, ¶¶48–54, Figs. 1 (shown

above) and 2 (shown below).




[‘417, 1(c) & 1(d)] at least one home agent; at least one foreign agent;

       467.    Gwon discloses at least one home agent and at least one foreign agent. For example,

Gwon discloses a plurality of local routers (functioning as home agents and foreign agents) in an

IP-based network. See, e.g., Gwon at Abstract, ¶ 39, ¶¶ 41–43, ¶¶ 48–49, Figs. 1–2.

       468.    By way of example, Gwon states:

               Built on the core network 120 is a collection of servers/routers 130
               which comprise an IP mobile backbone 140. The servers/routers 130
               comprising the IP mobile backbone are themselves nodes of the core
               network 120 and are interconnected via the core network 120. The


                                                226
               servers/routers 130 function as home agents (HA) and foreign
               agents (FA) to interface mobile nodes 135 and mobile
               correspondent nodes 140 to the core network 120, as specified in
               IETF RFC 2002 (“Mobile IP Version 4”), which is incorporated
               herein by reference. Mobile nodes may comprise any number of
               different kinds of mobile, wireless communication devices
               including cellular handsets, cellular telephones, hand-held
               computers, personal information managers, wireless data terminals,
               and the like.

Gwon at ¶ 39 (emphasis added).

[‘417, 1(e)] a ghost-foreign agent that advertises messages to one of the mobile nodes
indicating presence of the ghost-foreign agent on behalf of one of the foreign agents when the
mobile node is located in a geographical area where the foreign agent is not physically
present;

       469.    Plaintiff’s Infringement Contentions do not explain why the accused

“advertisement messages” are sent to the mobile node “when [it] is located in a geographic area

where the foreign agent is not physically present” (which has been construed to mean “when the

mobile node is located outside the region covered by the foreign agent”). In my opinion, the RRC

and SIB messages (the alleged “advertisement messages”) are sent to, and received by, the mobile

node when it is within the coverage area of the target eNB (the alleged foreign agent).

Nevertheless, if this infringement analysis is proper for this limitation, then Gwon discloses a

ghost-foreign agent that advertises messages to a mobile node indicating the presence of the ghost-

foreign agent on behalf of one of the foreign agents when the mobile node is located in a

geographical area where the foreign agent is not physically present.

       470.    For example, Gwon describes a predictive mobility scheme in which local routers

acting as foreign agents are able to announce their presence to a mobile node using the Neighbor

Discovery methodology specified in the RFC 2461. Under Plaintiff’s apparent interpretation of the

Court’s claim construction, a mobile node registered to a first local router R1 can be made aware




                                               227
of the presence of a second local router R2 when the mobile node is located outside the region

covered by the second local router R2.

       471.    Specifically, the local router R2 acting as a foreign agent can announce its presence

to the mobile node using a Router Advertisement message and/or Neighbor Advertisement

message. In the Neighbor Discovery procedure, the local router R1 can act as a proxy for the local

router R2 (foreign agent) by making the mobile node aware of Neighbor Advertisement messages

or unsolicited Router Advertisement messages from the local router before a layer 2 connection is

made to the local router R2. See, e.g., id. at Abstract, ¶¶ 51-52, Figs. 1-2; RFC 2461 at 6, 11, 13,

65. For example, Gwon provide:

               Alternatively or additionally, the mobile node (MN) 135 can employ
               the Neighbor Discovery methodology specified in IETF RFC 2461,
               which is incorporated herein by reference, and which is
               recommended for Mobile IP version 6 mobile nodes in the IETF
               Mobile IP Version 6 draft document (section 10.4) previously
               identified and incorporated by reference. In this methodology, the
               mobile node 135 uses so-called Neighbor Unreachability Detection
               (1) to detect TCP acknowledgements of data packets sent to its local
               router R1, and/or (2) to receive Neighbor Advertisement messages
               from its local router R1 in response to Neighbor Solicitation
               messages from other mobile node devices in the area, and/or (3) to
               receive unsolicited Router Advertisement messages from its local
               router R1. The receipt of TCP acknowledgements indicates the
               mobile node's network connection via the local router R1 is still
               viable. The receipt of Neighbor Advertisement and/or Router
               Advertisement messages indicates the presence of other local
               routers which could provide network connections for the mobile
               node.

               At some point as mobile node 135 reaches intermediary location B
               and continues toward location C, its network connection via local
               router R1 begins to degrade. The degradation is typically detected
               as described in the preceding paragraphs based on a loss of signal
               strength or reduction in signal quality, and/or as the loss of TCP
               acknowledgements or the detected presence of other local routers.
               Conventionally, the internal programming of the mobile node
               device is such that once a preset threshold is reached, the mobile
               node 135 seeks to identify a new local router and to establish a new



                                                228
               network connection via that router to replace its degraded network
               connection via local router R1.

Gwon at ¶¶ 51-52.

       472.    Additionally or alternatively, to the extent Plaintiff’s infringement analysis is

correct, Gwon II discloses that a mobile node can receive advertisement messages from a ghost

foreign agent indicating the presence of a target foreign agent while the mobile node is located

outside the region covered by the target foreign agent. Gwon II clarifies that a mobile node can

receive advertisement messages indicating the presence of neighboring foreign agents (or local

routers) through its current local router before any layer 2 connection is made between the mobile

node and any neighboring foreign agent. For example, Gwon II states:

               Through the mobility prediction analysis 710, the mobile node 135
               can predict future latency of packets that the mobile node 135 would
               have to undergo in communication with each of nearby foreign
               agents 145. Based on the predicted packet latency, the mobile node
               135 selects one or more candidate foreign agents 145 to which it can
               hand off its network communications link. Thus, through the
               mobility prediction analysis 710, the mobile node 135 can
               determine a next foreign agent 145 sufficiently before actual
               hand-off is required.

               After the mobile node 135 determines one or more next foreign
               agents 145, it then carries out a service availability check to
               determine whether service is available from the next foreign agents
               145 … In mobile IP version 4 networks, the mobile node 135 can
               obtain such information by intercepting Mobile IP Agent
               Advertisement Messages broadcast by the next agents 145.
               Alternatively, the mobile node 135 may obtain the information
               actively by sending Agent Solicitation Messages. Agent
               Advertisement Messages and Agent Solicitation Messages are
               specified in the proposed Mobile IP version 4 document previously
               identified and incorporated herein by reference. In Mobile IP
               version 6 networks, the mobile node can obtain the requisite
               information about the next foreign agent 145 by way of the Neighbor
               Discovery procedures of IETF RFC 2461 or by using the Router
               Solicitation procedures specified in the Mobile IP version 6
               document identified previously and incorporated herein by
               reference.



                                               229
               Once the mobile node 135 has obtained the information necessary
               to communicate with the next foreign agent 145, it undertakes a pre-
               registration process 720 with the mobile node’s home agent (HA)
               145. … Thus, the mobile node prepares and sends a Registration
               Request to the next foreign agent 145. If the Layer 2 communication
               channel is already established, the Registration Request is directly
               sent from the mobile node 135 to the next agent 145. If the Layer 2
               communication channel is not yet established, the Registration
               Request is sent to the next foreign agent 145 through the current
               foreign agent 145.

Gwon II at ¶¶ 74-76 (emphasis added).

[‘417, 1(f)] a ghost-mobile node that creates replica IP messages on behalf of a mobile node,
the ghost-mobile node handling signaling required to allocate resources and initiate mobility
on behalf of the mobile node, the ghost-mobile node triggering signals based on a predicted
physical location of such mobile node or distance with relation to the at least one foreign
agent.

       473.    Plaintiff’s Infringement Contentions allege that a Handover Request is the replica

IP message created by the ghost-mobile node (alleged to be the Source eNB) and that such

Handover Request instructs the Target eNB to allocate resources to the mobile node and initiates

the handover process on its behalf, but these contentions fail to explain how the Source eNB is

capable of registering with a foreign agent and allocating resources for the mobile node before the

it arrives in the physical area covered by the foreign agent. In my opinion, the Source eNB cannot

register and allocate resources for the mobile node before the mobile node arrives in the physical

area covered by the foreign agent. Nevertheless, if this infringement analysis is proper for this

limitation, then Gwon I in combination with Gwon II discloses this limitation.

       474.    As an initial matter, it would have been obvious for a POSITA to combine Gwon I

and Gwon II because Gwon II incorporates by reference Gwon I’s entire specification as

disclosing a related mobility detection analysis. See Gwon II at ¶¶ 1, 61.

       475.    Gwon II disclose that the mobility prediction can be done on the mobile node’s

local agent or router, instead of on the mobile node itself. Id. at ¶ 59 (“Alternatively, however, the



                                                 230
mobility prediction can be performed in the processor facilities and stored programming of the

mobile node’s local agent 145 and communicated to the mobile node the same as any other data

in the network.”)

        476.   Gwon II further discloses that after the mobile node obtains the information needed

to communicate with the next foreign agent (i.e., the mobile node’s predicted next connection

point), a pre-registration process is carried out with the mobile node’s home agent that is the same

process the mobile node would otherwise follow to register with a new foreign agent under the

procedures set forth in the Mobile IP standard. Id. at ¶ 86 & Figs. 1, 2. Specifically, Gwon II

provides:

               Once the mobile node 135 has obtained the information necessary
               to communicate with the next foreign agent 145, it undertakes a pre-
               registration process 720 with the mobile node's home agent (HA)
               145. If necessary, the pre-registration process 720 is also carried out
               with a gateway router in the domain to which the next foreign agent
               145 belongs. The pre-registration process 720 is the same process
               the mobile node 135 would otherwise follow to register with a new
               foreign agent 145 during the hand-off procedure as specified in the
               Mobile IP version 4 and version 6 documents. Thus, the mobile node
               prepares and sends a Registration Request to the next foreign agent
               145. If the Layer 2 communication channel is already established,
               the Registration Request is directly sent from the mobile node 135
               to the next agent 145. If the Layer 2 communication channel is not
               yet established, the Registration Request is sent to the next foreign
               agent 145 through the current foreign agent 145.

Id. at ¶ 76.

        477.   When the Layer 2 communication channel is not yet established between the mobile

node and the next foreign agent, the Registration Request is a replica IP message that is sent from

the current foreign agent (local router R1 acting as a ghost-mobile node) on the mobile node’s

behalf to register, allocate resources, and initiate mobility for the mobile node. Id. The Registration

Request is replica IP message because it is the same Mobile IP registration message that would

otherwise be sent by the mobile node. Id.


                                                 231
        478.       Under Plaintiff’s apparent interpretation of the claims, this Registration Request

from the current router to the next router in the example provided above is sent before the mobile

node arrives in the physical area covered by the foreign agent because the mobile node lacks a

Layer 2 communication channel with the next foreign agent at the time the Registration Request

is sent. See id.

        479.       Additionally, Gwon II alone or in combination with Gwon I discloses that the

ghost-mobile node (local router R1) triggers the Registration Request signal based on a “predicted

physical location of the mobile node or distance with relation to the at least one foreign agent,”

under Plaintiff’s apparent interpretation of this phrase.

                   Through the mobility prediction analysis 710, the mobile node 135
                   can predict future latency of packets that the mobile node 135 would
                   have to undergo in communication with each of nearby foreign
                   agents 145. Based on the predicted packet latency, the mobile node
                   135 selects one or more candidate foreign agents 145 to which it can
                   hand off its network communications link. Thus, through the
                   mobility prediction analysis 710, the mobile node 135 can determine
                   a next foreign agent 145 sufficiently before actual hand-off is
                   required.

Id. at ¶ 74; see also Gwon I at ¶¶ 59-60, 76, 103.

        480.       Specifically, in the deterministic method of mobility prediction analysis described

in Gwon I, the hand-off is triggered using a Registration Request based the distance “d” between

the mobile node and the BTS connected to the foreign agent:

                   “Except d, which is the distance between the BTS and the mobile
                   node, all of the parameters of Equation (8) are system parameters
                   obtainable from either layer 2 or layer 3 programming of the mobile
                   node. Thus, in the deterministic method, d is determined by
                   measurement and is then applied to Equation (8) to solve for τ. There
                   are a number of potential ways to measure d. If a number of BTS
                   cells are present such that the mobile node is receiving beacon
                   signals from at least three BTS’, conventional triangulation
                   techniques based on relative beacon signal strength measurements
                   can be used to determine the mobile node's distance from each BTS.
                   Another way is to use GPS….


                                                   232
               The predicted future latency value τ may then be compared to a
               predetermined threshold value to trigger a desired action or used to
               optimize the mobile node's network connection as previously
               described. The same considerations relating to the measurement of
               distance and selection of the time index for predictions of latency τ
               expressed with respect to the deterministic method also apply to the
               stochastic method.

Gwon at ¶¶ 76, 84.

               3.      Analysis—Claim 4

[‘417, 4(a)] The system of claim 1, wherein the at least one ghost-mobile node is a proxy
element for the at least one foreign agent and the at least one mobile node,

       481.    The at least one ghost-mobile node (local router R1 or agent) is a proxy element for

the at least one foreign agent and the at least one mobile node.

       482.    For example, the local router R1 communicates advertisement messages to the

mobile node on behalf of other local routers. See the analysis for element 1[g] above.

       483.    Likewise, the local router R1 acts as a proxy for the mobile node when it sends a

Registration Request on the mobile nodes behalf. See the analysis for element 1[g] above.

[‘417, 4(b)] the at least one ghost-mobile node triggering registration based on a distance to
a foreign agent by relaying security and shared secrets from a mobile node, and at least one
advertisement message from a foreign agent in a vicinity of the ghost-mobile node.

       484.    In my opinion, the ’417 Patent fails to provide a written description of a system that

“triggers registration … by ‘relaying’ shared secrets from a mobile node” to another node. That

said, the ’417 Patent discloses a “shared key” in connection with the use the MD5 algorithm for

security and authentication using a public key cryptosystem. See ‘417 Patent at 9:18-36. As an

alternative, the ’417 Patent also discloses the use of an asymmetric authentication protocol such

as 802.1X. Id. at 9:48-53.

       485.    To the extent these disclosures support this limitation, Gwon also discloses this

limitation. As set forth above, the “ghost-mobile node” disclosed in Gwon I and Gwon II triggers



                                                233
registration based on a distance to a foreign agent, and at least one advertisement message from a

foreign agent in a vicinity of the ghost-mobile node. See the analysis for elements 1[f] and 1[g],

above.

         486.   In addition, Gwon I and Gwon II disclose a process that triggers registration by

relaying security and shared secrets from a mobile node during the registration process. For

example, Gwon I states:

                Mobile node authentication and security processes are also
                performed to ensure the mobile node 135 is in fact legitimate and to
                avoid problems like eavesdropping, active replay attacks, and other
                types of attacks and unauthorized access to confidential data.
                Security and authentication measures are described in detail in the
                IETF Mobile IP version 6 draft document, which has been
                incorporated herein by reference. Others are described in IETF RFC
                2401, 2402, and 2406, which are likewise incorporated herein by
                reference. The hand-off process and related authentication and
                security processes are described in detail in the proposed IETF
                Mobile IP standard documents previously identified and
                incorporated herein by reference, in IETF RFC 2462, which is also
                incorporated herein by reference, and in the other RFC's identified
                in this paragraph.

See, e.g., Gwon I at ¶ 54.

                4.     Analysis—Claim 7

[‘417, 7(a)] A method, in a mobile node, for speeding handover, comprising the steps of:

         487.   Gwon I discloses a method, in a mobile node, for speeding handover.

         488.   For example, Gwon I discloses:

                methods for predicting the mobility of mobile nodes in third
                generation and beyond wireless, mobile access Internet protocol-
                based data networks embodying IETF Mobile IP support, as well as
                in wireless LANs. Conventional Mobile IP mobility detection is
                replaced with deterministic, stochastic, and/or adaptive methods to
                predict the mobility of a mobile node in the network employing
                network logic layer (L3) packet latency characteristics. The method
                is useful for providing pre-notification that a communication hand-
                off condition is imminent to enable fast route pre-establishment and
                reduced packet latency, and for optimizing quality of service by


                                                 234
                facilitating selection of best base station transceiver in overlapping
                cell environments, among other applications.

Gwon I at Abstract.

        489.    Gwon I further states that:

                The present invention addresses both the packet latency and
                optimum network connection issues, among others, by providing
                methods for predicting mobile node mobility. Preferably, the
                methods of the invention will replace the current mobility detection
                methods of the proposed Mobile IP standards. Using the methods of
                the invention, the mobile node 135 is able to determine in advance
                when a network connection hand-off is imminent. Using this
                information, the mobile node can pre-establish a new network
                connection with a new router or agent, and pre-establish a new
                packet route with a correspondent node with which it is
                communicating, while retaining its previous network connection.
                Only when the new connection and route are established does the
                mobile node 135 sever its connection with the previous router or
                agent. This approach significantly decreases hand-off induced
                packet delays and loss. Moreover, using the information provided
                by the preferred prediction methods, the mobile node can select
                from among multiple available network connection nodes to
                optimize its network connection, thereby optimizing the quality of
                its network communications.

Id. at ¶ 55.

[‘417, 7(b)] updating, in a mobile node, a location in a ghost mobile node;

        490.    Gwon I discloses updating, in a mobile node, a location in a ghost mobile node,

which the Court construed as meaning “updating the ghost mobile node with a location of the

mobile node.”

        491.    As an initial matter, Gwon I discloses a “ghost mobile node” for the reasons

discussed above for Claim Element 1(f).

        492.    Furthermore, Gwon I describes a predictive mobility scheme in which the location

of a mobile node is continuously monitored and updated, performed by either the mobile node or




                                                 235
the base transceiver station (BTS). See Gwon at Abstract, ¶¶ 49-103 & Fig. 2. For example, Gwon I

discloses:

               As the mobile node (MN) 135 moves from starting location A to
               intermediary location B, its movement is detected by one or more of
               a number of known mechanisms. Typically, the movement is
               detected in the media access control (MAC) portion of the mobile
               node's network link layer (L2) programming. Specific
               implementations vary but one known method includes the use of
               Down/Testing/Up interface status, as set forth in IETF RFC 1573,
               which is incorporated herein by reference. Another employs the
               detection of beacon signal strength. Another involves evaluation of
               the quality of the signals received by the mobile node 135.

Id. at ¶ 50.

               In the preferred embodiment in the third generation network
               example being described, a mobility prediction analysis is
               periodically carried out with respect to a variable or characteristic
               related to mobility of the mobile node. The mobility prediction
               analysis is preferably carried out by the processor facilities of the
               mobile node 135 according to stored programming provided therein,
               such processor facilities and stored programming facilities being
               well-known. Alternatively, however, the mobility prediction can be
               performed in the processor facilities and stored programming of the
               mobile node’s local BTSS 145 and communicated to the mobile
               node the same as any other data in the network.

Id. at ¶ 56.

               The preferred mobility prediction analysis of the invention is
               generally sufficient by itself to accurately provide a threshold value
               to trigger desired actions by the mobile node. Nevertheless, if
               available, geographic mapping information such as that provided by
               GPS, may be used if available to supplement or confirm the results
               of the mobility prediction analysis.

Id. at ¶ 59.

               There are a number of potential ways to measure d. If a number of
               BTS cells are present such that the mobile node is receiving beacon
               signals from at least three BTS, conventional triangulation
               techniques based on relative beacon signal strength measurements
               can be used to determine the mobile node’s distance from each BTS.
               Another way is to use GPS.



                                                236
Id. at ¶ 76.

[‘417, 7(c)] determining a distance, in the ghost mobile node in communication with the
mobile node, to a closest foreign agent with which the mobile node can complete a
handover;

        493.      Gwon I discloses determining a distance, in the ghost mobile node in

communication with the mobile node, to a closest foreign agent with which the mobile node can

complete a handover.

        494.      For example, Gwon I discloses that “[i]n the preferred embodiment in the third

generation network example being described, a mobility prediction analysis is periodically carried

out with respect to a variable or characteristic related to mobility of the mobile node.” Gwon I at

¶ 56.

        495.      Gwon I further discloses that this mobility prediction analysis can be carried out

either in the mobile node or in the local router co-located or otherwise connected to a local base

transceiver station (i.e., “ghost mobile node”):

                  The mobility prediction analysis is preferably carried out by the
                  processor facilities of the mobile node 135 according to stored
                  programming provided therein, such processor facilities and stored
                  programming facilities being well-known. Alternatively, however,
                  the mobility prediction can be performed in the processor facilities
                  and stored programming of the mobile node’s local BTSS 145 and
                  communicated to the mobile node the same as any other data in the
                  network.

Id.; see also id. at ¶¶ 43-47 (“The mobile nodes communicate with the agents by way of base

transceiver station servers (BTSS’s) and base transceiver stations (BTS’s)).” Gwon I further

discloses that:

                  Preferably, the mobility prediction analysis results in the
                  determination of a threshold value, which is selected to indicate
                  when a mobile node has sufficiently moved relative to a fixed BTS
                  or other node that a desired action should be taken by the mobile
                  node. For example, when the predicted value of the variable related
                  to mobility exceeds a selected threshold value, the mobile node may


                                                   237
               initiate a new network connection and establish a new packet route
               with a correspondent node before actual hand-off is required.
               Alternatively or additionally, the mobility prediction analysis may
               be used to trigger pre-hand-off processing of authentication and
               security measures, to trigger advance handling of other aspects of
               the hand-off process itself, or to trigger selection of a new network
               connection to optimize the quality of the mobile node's connection
               and/or communications.

Id. at ¶ 57.

               Except d, which is the distance between the BTS and the mobile
               node, all of the parameters of Equation (8) are system parameters
               obtainable from either layer 2 or layer 3 programming of the mobile
               node. Thus, in the deterministic method, d is determined by
               measurement and is then applied to Equation (8) to solve for τ. There
               are a number of potential ways to measure d. If a number of BTS
               cells are present such that the mobile node is receiving beacon
               signals from at least three BTS', conventional triangulation
               techniques based on relative beacon signal strength measurements
               can be used to determine the mobile node's distance from each BTS.
               Another way is to use GPS.

Id. at ¶ 76.

        496.   I understand that Plaintiff’s Infringement Contentions allege that the signal strength

measurement reports from the mobile node contain events, such as Neighbor signal becoming

better than a threshold, or a certain amount better than the signal of the node’s current cell, and

that these events indicate to the network that a mobile node will be moving into a new cell. Plaintiff

explicitly points to Events A3 and A4 in the Measurement Reports. Plaintiff’s Infringement

Contentions fail to explain how these signal strength measurements constitute “determining a

distance … to a closest foreign agent.” In my opinion, signal strength measurements do not

constitute determining a distance; they are simply measurements of actual signal strengths for

various cells at specified times. Nevertheless, if this infringement analysis is proper for this

limitation, then Gwon I also discloses this limitation under Plaintiff’s interpretation.

        497.   For example, Gwon I discloses:



                                                 238
               The mobility prediction analysis is preferably carried out in the
               network layer 3 logical addressing and routing programming of the
               mobile node 135 or BTSS 145 with respect to an L3 variable related
               to mobility. A known conventional method for determining a
               handoff timing uses beacon strength measured in Layer 2 or the
               mobility access control (MAC) layer. Under this method, the mobile
               node 135 constantly monitors and evaluates signal strengths of
               beacon signals from the current BTS 150 and nearby BTS's 150 and
               carries out a handoff to a new BTS 150 that is transmitting the
               strongest beacon signal. Similarly, evaluation of connection to a
               current BTSS 145 and connectivity to nearby BTSS's 145 is carried
               out in the network layer 3 through exchanges of packets between the
               mobile node 135 and the BTSS's 145 as already described above.
               For instance, routers voluntarily transmit advertisement packets to
               advertise their presences to mobile nodes passing by. The
               advertisement packet may be considered a Layer 3 beacon
               analogous to a Layer 2 beacon for strength measurement. The
               mobility prediction analysis according to the present invention is
               carried out in the network layer 3, using these special packets.
               However, known network layer 2 methods such as beacon strength
               measurements carried out in the lower level layers may be used to
               supplement or confirm the layer 3 predictive results. Moreover, the
               predictive methods of the invention may also be applied to layer 2
               variables related to mobility to achieve similar results.

Id. at ¶ 58 (emphasis added).

[‘417, 7(d)] submitting on behalf of the mobile node, from the ghost mobile node, a
registration to the foreign agent to which the mobile node is going to complete the
handover; and

       498.    Gwon I and Gwon II, alone or in combination, disclose submitting on behalf of the

mobile node, from the ghost mobile node, a registration to the foreign agent to which the mobile

node is going to complete the handover.




                                              239
       499.    As illustrated in Figure 2 of Gwon I, a mobile node (MN) that is currently connected

to local router R1 (i.e., “ghost mobile node”) “will have identified new local router R2 with which

to establish its new network connection.” Gwon I at ¶ 53 & Fig. 2. “Once the new local router R2

is identified, the mobile node 135 hands-off its network connection from the prior router R1 to the

new router R2 by registering with the new router R2 and de-registering with the prior router R1.”

Id. at ¶ 54. The mobile node registers while still connected to local router R1, which forwards the

registration request on behalf of the mobile node. See id. at ¶ 55 (“[T]he mobile node is able to

determine in advance when a network connection hand-off is imminent … [T]he mobile node can

pre-establish a new network connection with a new router or agent, and pre-establish a new packet

route with a correspondent note with which it is communicating, while retaining its previous

network connection.”).

       500.    Gwon II, which incorporates Gwon I by reference, further discloses a method of

handover in which a mobile node or a its local agent (i.e., “ghost mobile node”) carries out a

mobility prediction analysis “to determine when it is imminent that the mobile node in



                                               240
communication with a correspondent node must hand-off its network communications link from a

current foreign agent (FA) to another foreign agent as it moves from a location A to a location B

in the network,” as illustrated in Figure 4 below. See Gwon II at ¶ 59 & Fig. 4; see also id. at ¶¶ 60-

61, 74.




          501.   Gwon II further discloses that, once the mobile node has obtained the information

necessary to communicate with the next foreign agent, it undertakes a pre-registration process in

which the mobile node sends a registration request to its current foreign agent (i.e., “ghost mobile

node”), which in turn forwards the registration request to the next foreign agent to which the

mobile node is going to handover:

                 Once the mobile node 135 has obtained the information necessary
                 to communicate with the next foreign agent 145, it undertakes a pre-
                 registration process 720 with the mobile node's home agent


                                                 241
               (HA) 145. If necessary, the pre-registration process 720 is also
               carried out with a gateway router in the domain to which the next
               foreign agent 145 belongs. The pre-registration process 720 is the
               same process the mobile node 135would otherwise follow to
               register with a new foreign agent 145 during the hand-off procedure
               as specified in the Mobile IP version 4 and version 6 documents.
               Thus, the mobile node prepares and sends a Registration Request to
               the next foreign agent 145. If the Layer 2 communication channel is
               already established, the Registration Request is directly sent from
               the mobile node 135 to the next agent 145. If the Layer 2
               communication channel is not yet established, the Registration
               Request is sent to the next foreign agent 145 through the current
               foreign agent 145.

Id. at ¶ 76 (emphasis added).

[‘417, 7(e)] upon completing the handover, updating a registration in the mobile node.

       502.    It is my understanding that Plaintiff alleges that in the accused LTE network the

target eNB updates a registration in the mobile node by providing uplink allocation and timing

advance information to the UE, thereby satisfying this limitation. In my opinion, Plaintiff’s

allegations do not make sense because inter alia in the accused LTE network registration must

occur before handover is complete. Nevertheless, if Plaintiff’s infringement analysis is proper for

this limitation, then Gwon I and Gwon II, alone or in combination, disclose this limitation.

       503.    For example, Gwon I discloses that when a mobile node hands-off its network

connection from the prior local router R1 to the new router R2, it registers with the new router and

de-registers with the prior router. Gwon I at ¶ 54. As part of the registration process:

               As part of the registration/de-registration process, the mobile node
               or new router R2 provides binding updates, i.e., sends a new “care
               of” IP address, to the mobile node's home router and to the
               correspondent node with which the mobile node is communicating.
               This enables packets to be routed to and from the mobile node via
               the new router R2 instead of the prior router R1. Mobile node
               authentication and security processes are also performed to ensure
               the mobile node 135 is in fact legitimate and to avoid problems like
               eavesdropping, active replay attacks, and other types of attacks and
               unauthorized access to confidential data.



                                                242
Id. “Only when the new connection and route are established does the mobile node sever its

connection with the previous router or agent.” Id. at ¶ 55.

       504.    Gwon II likewise discloses a method of handover in which “[c]ommunications

between the mobile node and the new neighboring node are pre-established and a new route

between the mobile node and its correspondent node is pre-established. Upon hand-off, the pre-

established route is ready to implement.” Gwon II at ¶ 27.

       505.    Once the mobile node has obtained the information necessary to communicate with

the next foreign agent, it undertakes a pre-registration process in which the mobile node sends a

registration request to its current foreign agent (i.e., “ghost mobile node”), which in turn forwards

the registration request to the next foreign agent to which the mobile node is going to handover.

Id. at ¶ 76. The registration request includes a request for the mobile node’s new “care-of” IP

address through the next foreign agent. Id. at ¶ 76. In response:

               The next foreign agent 145 communicates the Registration Request,
               along with the mobile node's new care of address, to the mobile
               node's home agent 145. If the home agent 145 approves the
               Registration Request, it sends a Registration Reply to the mobile
               node 135 via the current foreign agent or next foreign agent 145.
               This process acts as an acknowledgement (ACK) of the success of
               the pre-registration process.

Id.

               The Registration Request requests the home agent 145 to update its
               binding cache to bind the mobile node's new care-of IP address to
               its home IP address. The Registration Request also requests the
               home agent 145 to notify the correspondent node 140 of the new
               binding information so that it also can update its binding for the
               mobile node…. [O]nce a Registration Request, including a Binding
               Update Request, is processed and a Registration Reply including
               Binding Acknowledgement sent and received, the mobile
               node 135 is essentially ready to switch from the current foreign
               agent to the next foreign agent.




                                                243
Id. at ¶ 79. “[O]nce the Binding Update Acknowledgement is received, the mobile node switches

or hands-off its communication link with the network from the current foreign agent to the next

foreign agent.” Id. at ¶ 83.

XI.    CLAIMS 1, 3, AND 4 OF THE ’330 PATENT ARE INVALIDATED BY THE
       PRIOR ART

       A.      Mount Anticipates the Asserted Claims or Renders Them Obvious in View of
               NIST

               1.      Mount

       506.    Mount, U.S. Patent No. 6,272,337, issued on August 7, 2001, from an application

filed on May 17, 1999. It therefore qualifies as prior art under 35 U.S.C. §§ 102(a), (b), and (e)

(pre-AIA). Mount was not cited or considered during the prosecution of the ’330 Patent.

       507.    The Abstract of Mount provides:

               A method and apparatus testing a mobile communications system
               includes a test control system, real mobile units, and an attenuator
               matrix controllable by the test control system to vary strengths of
               signals transmitted by the mobile units for receipt by the mobile
               communications system. By varying the attenuation of the signals
               communicated between the mobile units and the mobile
               communications system, the mobile units may be made to appear to
               be moving to the mobile communications system. Movement
               patterns of the mobile units may be stored in the test control system
               to control attenuation in the attenuator matrix.

Mount at Abstract.

       508.    Mount and the ’330 Patent similarly seek to address the problem of emulating

movement of a mobile node in a wireless communication network:

                                           SUMMARY

                       In general, according to one embodiment, a simulation
               system for testing a mobile communications system includes a
               controller and a plurality of mobile units. A signal processing device
               is controllable by the controller to vary strengths of signals
               transmitted by the mobile units for receipt by the mobile
               communications system to simulate movement of the mobile units.


                                                244
               Some embodiments of the invention may include one or more of the
               following advantages. Varying strengths of transmitted signals of
               mobile units to simulate their movement allows greater flexibility in
               testing mobile communications systems. It may be possible to test a
               larger number of mobile units and to provide more movement
               patterns of the mobile units. Costs associated with testing may be
               reduced since simulation of mobile unit movement removes the
               need for having to actually physically move mobile units along
               desired paths during testing. Greater accuracy in test results may
               also be obtained by increasing the number of mobile units and
               movement patterns in a test of a mobile communications system.

Id. at 1:55-2:7; see also, e.g., ’330 Patent at 2:19-32, 2:59-3:3, 3:9-21, 3:27-38.

       Mount discloses a number of cells 18 each having a base transceiver station 28, real

mobile units 14, a traffic generator (TG) task 120, an air emulation system (AES) task 114, and

an attenuator matrix 16, as shown in Figures 1A and 2, reproduced below.




                                                 245
Mount at Figs. 1A and 2.

               2.      NIST Net

       509.    “NIST Net – A Linux-based Network Emulation Tool,” by Mark Carson and Darrin

Santay published July 2003. It therefore qualifies as prior art under 35 U.S.C. § 102(a) (pre-AIA).

       510.    The Abstract of NIST Net provides that it is “a tool to facilitate testing and

experimentation with network code through emulation. NIST Net enables experimenters to model

and effect arbitrary performance dynamics (packet delay, jitter, bandwidth limitations, congestion,

packet loss and duplication) on live IP packets passing through a commodity Linux-based PC

router.” NIST Net at Abstract.

       511.    NIST Net discloses that “[a] useful way to think of NIST Net is as a ‘network-in-

a-box’ (Figure 1) — a specialized router which emulates (statistically) the behavior of an entire

network in a single hop. NIST Net selectively applies network effects (such as delay, loss, jitter)

to traffic passing through it, based on user-supplied settings.” NIST Net at 112.




                                               246
       512.   The graphical user interface of NIST Net shown in Figure 3 shows the ability to

tune delay, bandwidth, packet drop, and packet duplication, for example.




                                              247
NIST Net at Figure 3.

               3.       ONE

       513.    “ONE: The Ohio Network Emulator,” by Mark Allman, Adam Caldwell, and

Shawn Ostermann, published August 18, 1997. It therefore qualifies as prior art under 35 U.S.C.

§§ 102(a) and (b) (pre-AIA).

       514.    The Abstract of ONE provides that “[s]tudying network protocols and distributed

applications in real networks can be difficult due to the need for complex topologies, hard to find

physical channels (e.g., satellite channels), and conditions beyond the control of a researcher (e.g.,

queue sizes). Network emulators can provide a controlled and reproducible environment for

network testing. This paper discusses ONE, a network emulator we have written and tested” ONE

at Abstract.

       515.    The ’330 Patent discloses that “[t]he Ohio Network Emulator (ONE) . . . is able to

emulate transmission, queuing, and propagation delay between two computers connected by a

router.” ’330 Patent at 2:2-8. ONE emulates a network topology as seen in Figure 1 and its

emulated network topology is shown below in Figure 2.




                                                 248
ONE at Figure 1.




ONE at Figure 2.

ONE explains that it “models the routers and intervening network by delaying packets arriving on

one network interface before forwarding them to the other network. ONE also provides congestion

loss according to its configuration. The delay a packet experiences is based on the packet size and

the configuration parameters given by the user.” ONE at 2.

               4.      Analysis—Claim 1

[‘330, 1(a)] A system for emulating mobile network communications comprising:

       516.    Mount discloses “[a] system for emulating mobile network communications.” For

example, the Abstract of Mount provides that it discloses “[a] method and apparatus testing a

mobile communications system includ[ing] a test control system, real mobile units, and an

attenuator matrix controllable by the test control system to vary strengths of signals transmitted by

the mobile units for receipt by the mobile communications system.” Mount at Abstract. Mount

goes on to explain that the motivation for the invention includes that “[d]uring development of

components (both hardware and software) of mobile switching centers in a mobile




                                                249
communications system, various types of tests may be performed to determine whether the

components are operating properly. Such tests may be performed using software simulation of

certain parts of a mobile communications system, which may include software emulation of mobile

units and base stations.” Mount at 1:29-36.

       517.    Mount goes on to explain that in one embodiment of the invention, there is such “a

simulation system for testing a mobile communications system” which “includes a controller and

a plurality of mobile units.” That “mobile communications system” may comprise, for example,

cellular and personal communications services (PCS) systems, among other types of wireless

communications systems. Mount at 2:45-41. As Mount explains, “[t]hus, a mobile simulation

system has been disclosed that includes real mobile units that are controllable by the mobile

simulation system to access, and communicate in, a mobile communications system that is under

test.” Mount at 9:3-6; see also Cls. 1, 14, 24. Such a mobile simulation system is shown below as

disclosed in Figures 1A and 2.




                                              250
[‘330, 1(b)] a plurality of fixedly-located wireless network nodes configured to variably
adjust wireless communication characteristics;

       518.   Mount discloses “a plurality of fixedly-located wireless network nodes configured

to variably adjust wireless communication characteristics.” The parties agreed that the term

“fixedly-located” means “set at a particular location,” and “wireless network nodes” means “an

element of a network that sends and receives signals wirelessly.” The Court construed the term

“configured to variably adjust wireless communication characteristics” as “configured such that




                                             251
the controller can cause the wireless network nodes to adjust wireless communication

characteristics of the wireless network nodes.”

       519.    For example, with reference to Figure 1A above, Mount discloses “a number of

cells 18 each having a base transceiver station 28.” Mount at 2:52-67. A POSITA would have

known that these base transceiver stations 28 would have been fixedly located such that they were

set at a particular location. For example, Mount states that “[d]uring initialization, the user

interface task 122 provides the number of cells, placement and location of cells, and cell types to

the AES task 114.” Mount at 8:9-12. The base transceiver stations 28 “may include a relatively

low-power, multichannel radio transceiver adapted to communicate with mobile units within a cell

by radio frequency (RF) or other types of wireless signals,” Mount at 2:52-67, and thus, the base

transceiver stations 28 “send[] and receive signals wirelessly.”

       520.    Finally, the base transceiver stations 28 of Mount are “configured to variably adjust

wireless communication characteristics” such that they are “configured such that the controller can

cause the wireless network nodes to adjust wireless communication characteristics of the wireless

network nodes.” The base station transceiver stations are coupled to a base system controller (BSC)

20, which in turn may be coupled to a mobile switching center 26 (MSC). Mount at 2:52-67. Both

the mobile units 14 and the base transceiver stations are coupled to an attenuator matrix 16, which

may be configured as an MxN matrix of attenuators, where M corresponds to the number of base

transceiver stations and N corresponds to the number of mobile units. Mount at 3:29-40. It is

through this attenuator matrix 16 that the base transceiver stations, BSCs, and MSCs adjust the

attenuation and wireless communication characteristics and “the MSC 22 senses the mobile

units 14 as moving when in fact they may be stationary. Thus, with the attenuator matrix 16,

apparent movement patterns of the mobile units 14 can be controlled by the mobile simulation




                                                  252
system 10.” Mount at 4:6-14. Mount discloses that “[i]n other embodiments, devices other than

attenuators may be used to vary strengths of signals transmitted by the mobile units 14. For

example, instead of the attenuator matrix 16, another type of signal processing device, which may

include amplifiers, attenuators, filters, or other types of circuits, may be coupled to the mobile

units.” Mount at 3:64-4:6.

[‘330, 1(c)] at least one mobile node configured to wirelessly communicate with selected
ones of said plurality of wireless network nodes;

       521.    Mount discloses “at least one mobile node configured to wirelessly communicate

with selected ones of said plurality of wireless network nodes.” The parties agreed that the term

“mobile node configured to wirelessly communicate” means “a device that sends and receives

signals wirelessly,” and “wireless network nodes” means “an element of a network that sends and

receives signals wirelessly.

       522.    For example, with reference to Figure 1A above, Mount discloses that “the mobile

simulation system 10 includes actual or real mobile units 14 (e.g., mobile telephones or other

mobile communications units) that are capable of requesting access to, and communicating in, the

mobile communications system 26.” These “real mobile units 14 provide the interface from the

mobile simulation system 10 into the mobile communications system 26.” Mount at 3:14-23.

       523.    As explained above with respect to the wireless network nodes, “[e]ach base

transceiver station 28 may include a relatively low-power, multichannel radio transceiver adapted

to communicate with mobile units within a cell by radio frequency (RF) or other types of wireless

signals.” Mount at 2:55-59. Because the base transceiver stations 28 communicate “by radio

frequency (RF) or other types of wireless signals,” the mobile nodes are configured to

communicate wirelessly with selected ones of the wireless network nodes.




                                               253
         524.   This is further illustrated in Figure 2, which “is a block diagram of the mobile

simulation system of Fig. 1A according to one embodiment of the invention.” Mount at 2:18-19.

Here, it can be seen that the mobile units 14 are connected to the MxN attenuator matrix 16 via

“mobile antennas.”




         525.   Figure 4 similarly supports that the mobile units 14 communicate wirelessly, where

it shows the mobile antenna of the mobile unit in contrast to the “speaker wire” and “microphone

wire.”




                                               254
       526.    Similarly, Figure 1B shows that the mobile units 14 communicate with the base

transceiver stations wirelessly via antennas. Figure 1B is shown below.




       527.    In Figure 1B, the mobile units 14 are coupled to the attenuator matrix 16 via wired

links 43, and then “[t]he other side of the attenuator array 45 is coupled to a second set of cell

ports 40, which are connected to antennas 47 for wireless communications with base transceiver

stations 28.” Mount at 3:41-63. It is my opinion that Mount satisfies the limitation of the mobile

units communicating wirelessly with the wireless network nodes, as the connection in certain

embodiments of Mount is wireless, as described above. However, even in the embodiment of

Figure 1B, it is my opinion that the mobile units communicate wirelessly with the base transceiver

stations as the eventual connection between the mobile units and the base transceiver stations is



                                               255
over an antenna, even though the connection between the mobile units and the attenuator matrix

16 may, in some cases, be wired. To the extent that Mobility argues that Mount does not disclose

this limitation, it is my opinion that it would have been obvious to a person of ordinary skill in the

art to adapt Mount to use a wireless connection.

       528.    I have reviewed Mobility’s infringement contentions, and I understand that

Mobility may contend that a wired connection between the mobile nodes and the wireless network

nodes infringes claim 1 of the ’330 Patent. For the reasons described above, it is my opinion that

Mount anticipates and/or renders obvious claim 1 under Mobility’s infringement theory as well..

[‘330, 1(d)] a network emulator communicatively linked to each of said plurality of wireless
network nodes, said network emulator configured to emulate attributes of a packet-based
wired communications network for simulating network conditions experienced by said at
least one mobile node in communicating with other nodes through the wired
communications network, the emulated attributes comprising at least one of tunable
packet-delay distribution, network congestion, bandwidth limitation, and packet re-
ordering and duplication; and

       529.    Mount discloses “a network emulator communicatively linked to each of said

plurality of wireless network nodes, said network emulator configured to emulate attributes of a

packet-based wired communications network for simulating network conditions experienced by

said at least one mobile node in communicating with other nodes through the wired

communications network, the emulated attributes comprising at least one of tunable packet-delay

distribution, network congestion, bandwidth limitation, and packet re-ordering and duplication.”

The parties agreed that the term “wireless network nodes” means “an element of a network that

sends and receives signals wirelessly,” and the term “a packet-based wired communications

network” means “a communications network in which packets of data are transmitted through

wires or cables.” The Court construed the term “communicatively linked” to mean “capable of

transmitting and receiving signals via an interface.”




                                                 256
       530.    First, it is my opinion that Mount discloses a network emulator. For example, within

the test control system 12 in Figure 1A above, Mount discloses a “traffic generator (TG) task 120”

that “‘simulates’ a mobile a mobile subscriber by directing a mobile unit 14 to make and answer

calls. Calls may be made according to test case scenarios provided by a user, which may describe

a traffic environment for testing. During traffic testing, the TG task 120 issues instructions to step

through normal stages of call setup, conversation, and call termination, according to test cases

provided to the TG task 120.” Mount at 6:1-8. Mount discloses that:

               After initialization, traffic may be started. As illustrated in FIG. 8,
               this may be started by the user interface task 122 issuing a
               Start_Traffic message to the TG task 120. In response, the TG task
               can then send a Start_Move message to the AES task 114 to request
               that the AES task 114 start the movement of mobile units 14.
               Depending on test cases entered by one or more operators, the TG
               task 120 may also issue various operations to be performed by the
               mobile units 14 by sending corresponding messages to SMITs 118.
               In one embodiment, one SMIT 118 may be provided for each
               mobile unit 14. For example, such messages may include the
               following: Originate_Call (to originate a call through the MSC 22);
               Answer_Call (to answer an incoming call, either from another
               mobile unit 14 or from some other source); and Tone_Send (to send
               a tone, such as that associated with pressing of a numeric key on the
               mobile unit 14).

Mount at 8:15-46.

       531.    Moreover, also within the test control system 12, Mount discloses an “air emulation

system (AES) task 114.” “The AES task 114 primarily manages movement of the mobile

units 14 to control positions of the mobile units 14. Thus, the AES task 114 can control moving

mobile units 14 along directed paths at varying speeds, for example. In addition, the AES

task 114 is able to emulate the air environment, including emulation of physical obstructions such

as buildings and other structures.” Mount at 6:9-17. Mount further states:

               The AES task 114 also provides messages containing connection
               information to the SMITs 118 in the test control system 12.
               Connection information may include the cell and sector that each


                                                 257
               mobile unit 14 is located in, services available, and so forth. The
               SMITs 118 transmit command messages to the mobile
               units 14 through respective QDRV tasks 116. The SMITs 118, in
               addition to the command messages, may also send vendor serial
               numbers of the mobile units 14. Such serial numbers may be
               dynamically assigned to the mobile units 14 so that different types
               of services may be associated with the mobile units (e.g., analog,
               digital, and so forth). Additionally, the serial number may be
               assigned so that a mobile unit 14 may be one identified to be
               roaming in the mobile communication system under test.

Mount at 8:15-46.

       532.    Next, Mount discloses that this network emulator is communicatively linked to

each of said plurality of wireless network nodes. For example, Mount discloses that, as seen in

Figure 2 above, “[a] parallel card 108 in the test control system 12 may provide ports that connect

to one or more control lines 30 to the attenuator matrix 16.” Mount at 5:16-19. And as explained

above regarding Element 1(b), the attenuator matrix 16 is communicatively linked to the base

transceiver stations or wireless network nodes.

       533.    Furthermore, Mount discloses that the network emulator is configured to emulate

attributes of a packet-based wired communications network for simulating network conditions

experienced by said at least one mobile node in communicating with other nodes through the wired

communications network, the emulated attributes comprising at least one of tunable packet-delay

distribution, network congestion, bandwidth limitation, and packet re-ordering and duplication. As

described above, the TG task 120 “simulates a mobile subscriber by directing a mobile unit 14 to

make and answer calls. Calls may be made according to test case scenarios provided by a user,

which may describe a traffic environment for testing.” Mount at 6:1-8. Similarly, Mount discloses

an AES task 114 that “primarily manages movement of the mobile units 14 to control positions of

the mobile units 14. Thus, the AES task 114 can control moving mobile units 14 along directed

paths at varying speeds, for example. In addition, the AES task 114 is able to emulate the air



                                                  258
environment, including emulation of physical obstructions such as buildings and other structures.”

Mount at 6:9-17. Further, Mount discloses that its system simulates congestion by “increasing the

number of mobile units 14 in the mobile simulation system 10, [whereby] the performance

threshold of the mobile communications systems 26 (including the MSC 22 and BSC 20) can be

tested, including its ability to handle large number of access requests and maximum capacity for

concurrent calls.” Mount at 4:63-5:1. A POSITA would have understood that this simulation is

“packet-based,” as Mount discloses that it simulates a CDMA or TDMA network, both of which

are packet-based. Mount at 3:52-55.

       534.    A POSITA would have known that emulating calls, a traffic environment,

movement of the mobile units at varying speeds, and emulation of the air environment, including

emulation of physical obstructions such as buildings and other structures are all attributes of a

packet-based wired communications network for simulating network conditions experienced by

said at least one mobile node in communicating with other nodes through the wired

communications network. Further, a POSITA would have known that this emulation comprises at

least one of tunable packet-delay distribution, network congestion, bandwidth limitation, and

packet re-ordering and duplication. A POSITA would have known, and it is my opinion, that

emulation of calls, a traffic environment, and movement of the mobile units at varying speeds

would comprise emulation of at least one of tunable packet-delay distribution, network congestion,

bandwidth limitation, and packet re-ordering and duplication. For example, “a traffic

environment” necessarily involves emulation of tunable packet-delay distribution, network

congestion, bandwidth limitation, and packet re-ordering and duplication simply by the very nature

of emulating traffic. If multiple packets are being passed across the network as traffic, there will

necessarily be a limitation on bandwidth, for example.




                                                259
       535.    To the extent that Mobility contends that Mount does not disclose any portion of

this limitation, it would have been obvious to a person of ordinary skill in the art at the time of the

alleged invention to adapt the disclosures in Mount to include this limitation. Moreover, it would

have been obvious to a person of ordinary skill in the art to combine the teachings of Mount with

the teachings of NIST Net, for the reasons explained more fully below.

       536.    A POSITA would have been motivated to modify Mount to include the teachings

and emulator of NIST Net because both of these references relate to systems for emulating mobile

communications networks. Both Mount and NIST Net disclose known and interchangeable uses

of an emulator equipment, and a POSITA would have understood that combining a known prior

art emulator, disclosed in NIST Net, with the simulation system of Mount would yield predictable

and beneficial results.

       537.    Similarly, the ’330 Patent itself discusses the NIST Net emulator and provides it as

an example of an optimal emulator for satisfying limitation [‘330, 1(d)].’330 Patent at 5:60-6:2

(“For example, the emulator 110 can be implemented using a computer system executing the

National Institute of Standards and Technology (NIST) emulator.”).

       538.    A POSITA would have understood that Mount and NIST Net would have been

easily combinable. For example, NIST Net explains that it allows “external hooks into its module

as well. External statistics generation code may supply values for NIST Net's generation of

network effects. . . . Alternatively, external handlers may work in concert with NIST Net or take

over packet processing entirely.” NIST Net at 115-116. Thus, a POSITA would have understood

that it would have been easy to adapt the emulator of NIST Net to work in the system of Mount.

       539.    Moreover, NIST Net explains that it was easily and widely accessible as

“[t]housands of people throughout the world ha[d] successfully installed and used the emulator for




                                                 260
a wide variety of projects, even those with no prior experience with Linux. It has proven

particularly useful in academic settings for class laboratories and student research projects.” NIST

Net at 112. In particular, NIST Net explains that in 2003, “[s]ince its initial release, NIST Net

ha[d] been obtained by nearly twenty thousand people around the world, and has been used for a

wide variety of testing purposes, including for voice over IP, mobile network emulation, adaptive

video transmissions, satellite and underseas radio link emulation, and interactive network gaming.”

NIST Net at 125. Further, NIST Net explains that its code, documentation, and calibration results

“are all public domain and are available through its web site.” NIST Net at 125.

       540.    Because the NIST Net emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence

explained in NIST Net, it is my opinion that a POSITA would have found it obvious to combine

the method and apparatus for testing a mobile communications system of Mount with the emulator

of NIST Net.

       541.    As disclosed in the ’330 Patent itself and as disclosed in NIST Net, the NIST Net

emulator is “a tool to facilitate testing and experimentation with network code through emulation.

NIST Net enables experimenters to model and effect arbitrary performance dynamics (packet

delay, jitter, bandwidth limitations, congestion, packet loss and duplication) on live IP packets

passing through a commodity Linux-based PC router.” NIST Net at Abstract; see also ’330 Patent

at 5:60-6:2.

       542.    NIST Net similarly explains that “it provides the ability to emulate common

network effects such as packet loss, duplication or delay; router congestion; and bandwidth

limitations. It is designed to offer sufficient capabilities and performance to reproduce a wide range

of network behaviors (forwarding rates of up to 1 Gbps, satellite-like delays or longer, asymmetric




                                                 261
characteristics), while requiring only commodity PC hardware and operating systems.” NIST Net

at 111.

          543.   NIST Net explains that “[a] useful way to think of NIST Net is as a "network-in-a-

box" (Figure 1) — a specialized router which emulates (statistically) the behavior of an entire

network in a single hop. NIST Net selectively applies network effects (such as delay, loss, jitter)

to traffic passing through it, based on user-supplied settings.” NIST Net at 112. Specifically, the

“set of network effects NIST Net can impose includes: packet delay, both fixed and variable

(jitter); packet reordering; packet loss, both random and congestion-dependent; packet duplication;

and bandwidth limitations.” NIST Net at 112. NIST Net goes on to explain in detail how its packet

delay, packet loss, packet duplication, packet reordering, congestion, and bandwidth limitations

are calculated. NIST Net at 113-114, 118-119, 123-124.

          544.   The NIST Net graphical user interface showing the ability to adjust these various

parameters is shown at Figure 3 below.




          545.   Thus, NIST Net discloses emulating attributes of a packet-based wired

communications network including at least one of tunable packet-delay distribution, network

congestion, bandwidth limitation, and packet re-ordering and duplication.



                                                262
       546.    To the extent that Mobility contends that Mount does not disclose any portion of

this limitation, it would have been obvious to a person of ordinary skill in the art at the time of the

alleged invention to adapt the disclosures in Mount to include this limitation. Moreover, it would

have been obvious to a person of ordinary skill in the art to combine the teachings of Mount with

the teachings of ONE, for the reasons explained more fully below.

       547.    A POSITA would have been motivated to modify Mount to include the teachings

and emulator of ONE because both of these references relate to systems for emulating mobile

communications networks. Both Mount and ONE disclose known and interchangeable uses of an

emulator equipment, and a POSITA would have understood that combining a known prior art

emulator, disclosed in ONE, with the simulation system of Mount would yield predictable and

beneficial results. A POSITA would have understood that Mount and ONE would have been easily

combinable. For example, ONE explains that it provides its emulated environment “to a wide

variety of hardware and software systems.” ONE at 6. Thus, a POSITA would have understood

that it would have been easy to adapt the emulator of ONE to work in the system of Mount.

       548.    Similarly, the ’330 Patent itself discusses the ONE emulator and provides that it

can “emulate transmission, queuing, and propagation delay between two computers interconnected

by a router.” ’330 Patent at 2:2-9.

       549.    Because the ONE emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence

explained in ONE, it is my opinion that a POSITA would have found it obvious to combine the

method and apparatus for testing a mobile communications system of Mount with the emulator of

ONE.




                                                 263
       550.    As disclosed in the ’330 Patent itself and as disclosed in ONE, the ONE emulator

“models the routers and intervening network by delaying packets arriving on one network interface

before forwarding them to the other network. ONE also provides congestion loss according to its

configuration. The delay a packet experiences is based on the packet size and the configuration

parameters given by the user. The following three components of packet delay are modeled.” ONE

at 2; see also ’330 Patent at 2:2-9.

       551.    ONE explains that it is able to model “three components of packet delay,” including

“transmission delay,” which is “the amount of time it takes a network node to transmit a packet

onto a given channel;” “queuing delay,” which “occurs when a packet arrives at a router which is

already busy transmitting another packet;” and “propagation delay,” which is “the time it takes a

packet to travel from one node to another along a physical channel.” ONE at 2-3. “The sum of the

above component delays is the amount of time ONE holds a packet before forwarding it.” ONE at

3.

       552.    Packet delay is configurable based on “two user configurable parameters:”

linespeed and propagation. ONE at 3-4. Packets are queued for transmission based on the

following two user-configurable settings: qsize, which is “the size for the given interface,” and

memunit, which is “the internal buffer size (memory allocation granularity) used to store packets

in the queue.” ONE at 3-4.

       553.    A POSITA would have understood that because ONE discloses providing

congestion loss as well as setting delay with user-configurable parameters, ONE discloses

emulating attributes of a packet-based wired communications network including at least one of




                                               264
tunable packet-delay distribution, network congestion, bandwidth limitation, and packet re-

ordering and duplication.23

[‘330, 1(e)] a controller communicatively linked to each of said plurality of wireless
network nodes, said controller configured to control the wireless communication
characteristics of each of said plurality of wireless network nodes to simulate, without
changing operating parameters of said at least one mobile node, different wireless
communication conditions experienced by said at least one mobile node in actual operation.

         554.     Mount discloses “a controller communicatively linked to each of said plurality of

wireless network nodes, said controller configured to control the wireless communication

characteristics of each of said plurality of wireless network nodes to simulate, without changing

operating parameters of said at least one mobile node, different wireless communication conditions

experienced by said at least one mobile node in actual operation.” The parties agreed that the term

“wireless network nodes” means “an element of a network that sends and receives signals

wirelessly.” The Court construed the term “communicatively linked” to mean “capable of

transmitting and receiving signals via an interface.”

         555.     First, Mount discloses a controller communicatively linked to each of said plurality

of wireless network nodes. For example, Mount discloses “[a] parallel I/O circuit 49 (which may

include some type of controller)” that “is adapted to receive control signals from the test control

system 12” in Figure 1B. Mount at 3:59-63. As explained above, the test control system 12 includes

the AES task 114, which “primarily manages movement of the mobile units 14 to control positions

of the mobile units 14.” The “AES task 114 can control moving mobile units 14 along directed

paths at varying speeds, for example.” Mount at 6:9-17. The AES task 114 sends control signals

to the parallel I/O circuit 49, and the I/O circuit 49 is similarly communicatively linked to the


23
   To the extent that Mobility contends that Verizon infringes this limitation through its standards compliance
testing, see ’330 Infringement Contentions at 22, standards that pre-date the ’330 Patent disclose this limitation for
all of the reasons explained above in Section VIII.B. and in the Amended Invalidity Contentions, see Exs.C-12 and
C-13, which I hereby incorporate by reference.



                                                         265
attenuator array 45. The attenuator array 45 is, as explained above, communicatively linked to the

base transceiver stations 28 via antennas 47.

       556.    Next, Mount discloses controller configured to control the wireless communication

characteristics of each of said plurality of wireless network nodes to simulate, without changing

operating parameters of said at least one mobile node, different wireless communication conditions

experienced by said at least one mobile node in actual operation. I understand that the Court

construed the term “without changing operating parameters of said at least one mobile node” to be

given its plain meaning. Claim Construction Order at 30. I understand that the parties agreed, and

the Court did not disagree, during claim construction that the term “operating parameters”

encompasses at least transmit power level. Id. I also understand that the specification of the ’330

Patent explains numerous times that “attenuation provided by at least one of the attenuators” and

controlled by the controller “can be increased,” “while simultaneously decreasing attenuation

provided by another one of the attenuators,” thus simulating movement away from and toward the

wireless network nodes. ’330 Patent at 2:63-66. The ’330 Patent similarly explains that the

simulation of movement of the wireless network nodes is performed via adjusting the wireless

network nodes’ transmit power level without the need to change the transmit power level (or

physically move) the mobile node. ’330 Patent at 2:25-28, 2:59-28, 3:10-21, 4:37-41, 5:17-25,

6:46-67.

       557.    I also understand that this limitation is discussed in the file history of the ’330

Patent. In response to an anticipation rejection based on U.S. Patent No. 6,735,448

(“Krishnamurthy”), the applicant argued that Krishnamurthy did not anticipate this limitation

because the mobile nodes in Krishnamurthy change their “own operating parameters, namely

[their] own ‘transmit power level.’”’330 File History, Response to Office Action dated Jan. 8,




                                                266
2007, at 10. I also understand that the applicant pointed to the portion of the specification reciting

that “[t]he mobile node 125 need not be a moveable or roaming component as the system 100 is

configured to simulate motion of the mobile node 125 . . . despite the mobile node 125 being

stationary in nature” to support the disclosure for this limitation. ’330 File History, Response to

Office Action dated Jan. 8, 2007, at 9 (citing paragraph [0023], lines 1-8 of Specification).

       558.    Mount similarly discloses a controller that adjusts the transmit power level of the

wireless network nodes to simulate movement of the mobile nodes without adjusting the operating

parameters of the mobile nodes. For example, Mount discloses that its attenuator matrix “var[ies]

strengths of signals transmitted by the mobile units for receipt by the mobile communications

system” and that “[b]y varying the attenuation of the signals communicated between the mobile

units and the mobile communications system, the mobile units may be made to appear to be

moving to the mobile communications system.” Mount at Abstract. Like the ’330 Patent, Mount

explains that simulating movement of the mobile units through varying attenuation of the signals

transmitted by the mobile units reduces costs, “since simulation of mobile unit movement removes

the need for having to actually physically move mobile units along desired paths during testing,”

and also providing the possibility to “test a larger number of mobile units and to provide more

movement patterns of the mobile units.” Mount at 1:55-2:4.

       559.    Mount discloses that it “manipulat[es] the attenuation values of the RF links

(through the attenuator matrix 16) between the mobile units 14 and base transceiver stations 28,”

such that “the MSC 22 senses the mobile units 14 as moving when in fact they may be stationary.”

Mount at 4:6-14; see also id. at 6:36-45, 7:41-49. The attenuator matrix may also simulate

obstructions such as buildings by varying the attenuation. Mount at 4:6-14.




                                                 267
       560.    Mount further states that “[e]ach connection between a cell port 40 and a mobile

port 42 contains its own attenuator. In the example illustrated in the FIG. 5, which shows a 3x6

matrix, 18 connections (and thus 18 attenuators) exist between the cell ports 40 and mobile ports

42 in the matrix 16.” Mount at 7:36-40. One of ordinary skill in the art would understand that the

attenuators are bidirectional radio frequency components, and Figure 5 makes clear that the

attenuators are used for both signaling from the cell to particular mobile, and from the mobile to

the cell in the return path. Mount further confirms this bidirectional understanding by discussing

further components between a mobile and a cell which are also bidirectional and connected to the

same signal paths as the attenuators. See Mount at 7:54-60. Thus, both the transmitted signal from

a cell received by a mobile device, as well as the signal transmitted from a mobile device to a cell

would be effected, mimicking radio frequency path loss associated with propagation distance.

       561.    Although Mount discloses an attenuator matrix to vary the strength of the signals

transmitted by the mobile units, Mount discloses that “devices other than attenuators may be used

to vary strengths of signals transmitted by the mobile units 14. For example, instead of the

attenuator matrix 16, another type of signal processing device, which may include amplifiers,

attenuators, filters, or other types of circuits, may be coupled to the mobile units. In addition, the

signal processing device may be an analog or digital device. In some embodiments, the signal

processing device may also be implemented in software.” Mount at 3:64-4:5.


               5.      Analysis—Claim 3

[‘330, 3(a)] The system of claim 1, wherein said wireless communication characteristics
include a signal reception sensitivity.

       562.    Mount discloses “[t]he system of claim 1, wherein said wireless communication

characteristics include a signal reception sensitivity.”




                                                 268
       563.    As explained above regarding Element 1(e), Mount discloses “[a] parallel I/O

circuit 49 (which may include some type of controller)” that is connected to the attenuator matrix

and “is adapted to receive control signals from the test control system 12” in Figure 1B, including

the AES task 114. Mount at 3:59-63. Mount discloses, and a POSITA would have understood, that

the AES task, the attenuator matrix, and the parallel I/O circuit, as explained above regarding

Element 1(e), adjust the transmit power level and/or signal reception sensitivity of the wireless

network nodes, to simulate movement of the mobile nodes without adjusting the operating

parameters of the mobile nodes. I hereby incorporate by reference my analysis above regarding

Element 1(e). As discussed, the attenuators disclosed by Mount associated with Figure 5 are

bidirectional, and therefore effect the sensitivity of the cell detecting signal from a particular

mobile device. Mount therefore discloses effecting the sensitivity of the cell for a given mobile.


               6.        Analysis—Claim 4

[‘330, 4(a)] The system of claim 1, wherein said wireless communication characteristic
includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and bit
error rate (BER).

       564.    Mount discloses “[t]he system of claim 1, wherein said wireless communication

characteristic includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and

bit error rate (BER).”

       565.    As explained above regarding Element 1(e), Mount discloses “[a] parallel I/O

circuit 49 (which may include some type of controller)” that is connected to the attenuator matrix

and “is adapted to receive control signals from the test control system 12” in Figure 1B, including

the AES task 114. Mount at 3:59-63. Mount discloses, and a POSITA would have understood, that

the AES task, the attenuator matrix, and the parallel I/O circuit, as explained above regarding

Element 1(e), adjust the transmit power level, including the signal transmission strength, signal-



                                                 269
to-noise ratio (SNR), and/or bit error rate, of the wireless network nodes, to simulate movement

of the mobile nodes without adjusting the operating parameters of the mobile nodes. I hereby

incorporate by reference my analysis above regarding Element 1(e).


       B.      AirAccess Anticipates the Asserted Claims or Renders Them Obvious in
               View of NIST or ONE

               1.      AirAccess

       566.    Spirent AirAccess C2K CDMA Network Emulator Operations Manual

(“AirAccess”) published in 2001. It therefore qualifies as prior art under 35 U.S.C. §§ 102(a) and

(b) (pre-AIA). AirAccess was not cited or considered during the prosecution of the ’330 Patent.

       567.    The Overview of AirAccess provides:

               The AirAccess C2K CDMA Network Emulator is a scaleable
               performance analysis solution for CDMA terminal manufacturers
               and service providers. AirAccess combines powerful application
               software with a high-speed protocol processing engine to provide
               complete emulation of a multicell CDMA network.

AirAccess at 1.1.

       568.    AirAccess and the ’330 Patent similarly seek to address the problem of emulating

movement of a mobile node in a wireless communication network. For example, AirAccess

discloses that, in its system, “[t]he movement of the mobile station relative to the [base stations]

is simulated by adjusting the transmit power for each sector.” AirAccess at 5.4; see also, e.g., ’330

Patent at 2:19-32, 2:59-3:3, 3:9-21, 3:27-38.

       AirAccess discloses base transceiver stations (BTSs), base station controllers (BSCs), and

a wireless terminal (unit under test) operating within a cellular communications network, as

shown in Figure 2-1, reproduced below. AirAccess at Fig. 2-1. AirAccess also discloses a

channel simulation unit that “provides emulation of up to six CDMA sectors. Each of these

sectors can provide a full complement of code channels. The TAS3450 can interface directly


                                                270
with the UUT via either a digital baseband interface or an analog baseband interface, or

indirectly via the TAS5200 RF Converter.” AirAccess at 2.2.1.




               2.     NIST Net

       569.    I hereby incorporate by reference my description of NIST Net given in Section

XI.A.2.

               3.     ONE

       570.    I hereby incorporate by reference my description of ONE given in Section XI.A.3.

               4.     Analysis—Claim 1

[‘330, 1(a)] A system for emulating mobile network communications comprising:

       571.    AirAccess discloses “[a] system for emulating mobile network communications.”

For example, the Overview of AirAccess provides that it discloses “a scaleable performance

analysis solution for CDMA terminal manufacturers and service providers. AirAccess combines



                                               271
powerful application software with a high-speed protocol processing engine to provide complete

emulation of a multicell CDMA network.” AirAccess at 1.1. AirAccess explains that it “provides

dynamic emulation that is not found in one-box radio test sets or the program-driven conformance

test systems currently available” and that it “provides thorough testing of 2G and 3G CDMA

mobile devices in a laboratory setting.” AirAccess at 1.1.1, 1.1.2.

       572.    AirAccess goes on to explain that “AirAccess eliminates the need to recreate the

complex network depicted above by providing the equivalent functionality in a lab-based solution.

AirAccess hardware supplies the ability to create the radio environment necessary for mobile

testing, while also providing software emulation of the protocols and standards needed to verify a

mobile’s ability to interoperate within a CDMA network.” AirAccess at 1.2.2.


[‘330, 1(b)] a plurality of fixedly-located wireless network nodes configured to variably
adjust wireless communication characteristics;

       573.    AirAccess discloses “a plurality of fixedly-located wireless network nodes

configured to variably adjust wireless communication characteristics.” The parties agreed that the

term “fixedly-located” means “set at a particular location” and “wireless network nodes” means

“an element of a network that sends and receives signals wirelessly.” The Court construed the term

“configured to variably adjust wireless communication characteristics” as “configured such that

the controller can cause the wireless network nodes to adjust wireless communication

characteristics of the wireless network nodes.”

       574.    For example, with reference to Figure 2-1 above, AirAccess discloses base

transceiver stations (BTSs), base station controllers (BSCs), and a mobile station operating within

a cellular communications network. AirAccess Figure 2-1. A POSITA would have known that




                                                  272
these base transceiver stations would have been fixedly located such that they were set at a

particular location.

       575.    AirAccess discloses that the “[a] single TAS3450 provides emulation of up to six

CDMA sectors. Each of these sectors can provide a full complement of code channels. The

TAS3450 can interface directly with the UUT via either a digital baseband interface or an analog

baseband interface, or indirectly via the TAS5200 RF Converter.” AirAccess at 2.2.1. In fact,

AirAccess states that the mobile station’s connection to AirAccess via the TAS5200 RF Converter

is the “[d]efault.” AirAccess at 3.2. Because the base transceiver stations are communicatively

linked to the TAS3450 and the TAS3450 communicates wirelessly with the mobile stations under

test, the base transceiver stations therefore “send[] and receive signals wirelessly” to the mobile

units under test. See AirAccess Figure 3-3.

       576.    Finally, the base transceiver stations of AirAccess are “configured to variably

adjust wireless communication characteristics” such that they are “configured such that the

controller can cause the wireless network nodes to adjust wireless communication characteristics

of the wireless network nodes.” As explained below regarding Element 1(e), AirAccess discloses

a controller communicatively linked to both the base station controller that adjusts the transmit

power level of the wireless network nodes to simulate movement of the mobile nodes without

adjusting the operating parameters of the mobile nodes. For example, AirAccess discloses that

“[t]he TAS5200 RF Converter, as shown in Figure 2-4, provides the conversion to and from dual

RF carriers. … The TAS5200 is a versatile RF converter that provides coverage from 400 to 2700

MHz. This includes all ten band classes defined by IMT-2000. It is available in a dual RF carrier

model. The frequency and attenuation of the two RF carriers are configured independently.”




                                               273
AirAccess at 2.2.3. When the TAS5200 RF Converter is used, it is possible to access the option to

“[s]et RF power range” in the BSC icon.” AirAccess at 4.3.2.

       577.    Without the TAS5200 RF Converter, “[t]he movement of the mobile station relative

to the BTSs is simulated by adjusting the transmit power for each sector. This is most easily

accomplished using the Gain controls on the Test Configuration window . . . . Alternatively, the

transmit power can be adjusted by opening the Configure BTS dialog box and entering a new

value.” AirAccess at 5.4. It is possible to adjust various parameters within the BTS icon, such as

“[s]et sector power” and “[s]et relative code channel gains,” for example. AirAccess at 4.3.1.

       578.    Because AirAccess discloses simulating movement of the mobile station via

attenuation, adjusting sector power, and/or adjusting gain controls, AirAccess discloses adjusting

transmit power level or other operating parameters to simulate movement of the mobile units.

Because AirAccess discloses simulating movement of the mobile station via attenuation, adjusting

sector power, and/or adjusting gain controls, AirAccess discloses that the wireless network nodes

are “configured to variably adjust wireless communication characteristics.”


[‘330, 1(c)] at least one mobile node configured to wirelessly communicate with selected
ones of said plurality of wireless network nodes;

       579.    AirAccess discloses “at least one mobile node configured to wirelessly

communicate with selected ones of said plurality of wireless network nodes.” The parties agreed

that the term “mobile node configured to wirelessly communicate” means “a device that sends and

receives signals wirelessly,” and “wireless network nodes” means “an element of a network that

sends and receives signals wirelessly.

       580.    AirAccess discloses that “[t]he CDMA network that a mobile station is required to

operate in is a very complex structure consisting of many components. This includes entities such




                                               274
as multiple base stations, multiple base station controllers, a mobile switching center and servers

for applications like authentication, SMS, OTA and data. An example CDMA network is shown

in Figure 1-1,” below. AirAccess at 1.2.1. As can be seen below, Figure 1-1 shows a “wireless

terminal” or the “unit under test.”




       581.    AirAccess discloses that it “eliminates the need to recreate the complex network

depicted above by providing the equivalent functionality in a lab-based solution. AirAccess

hardware supplies the ability to create the radio environment necessary for mobile testing, while

also providing software emulation of the protocols and standards needed to verify a mobile’s

ability to interoperate within a CDMA network.” AirAccess at 1.2.2 (emphasis added).

       582.    With reference to Figure 2-1 above, AirAccess discloses base transceiver stations

(BTSs), base station controllers (BSCs), and a wireless terminal (unit under test) operating within

a cellular communications network. AirAccess at Figure 2-1. As explained above with respect to

the wireless network nodes, AirAccess discloses that the mobile station’s connection to AirAccess


                                               275
via the TAS5200 RF Converter is the “[d]efault.” AirAccess at 3.2 AirAccess further discloses,

for example, that the following four telservices may be selected: wireless paging teleservice (CPT-

95), wireless messaging teleservice (CMT-95), voice mail notification (VMN-95), and wireless

application protocol (WAP).” AirAccess at 7.2.1. Finally, AirAccess shows that the front panel of

the TAS3450 shows an “[a]ir [i]nterface,” connected via IF/RF, as shown in Figure 2-3 below.




        583.   It is my opinion that AirAccess satisfies the limitation of the mobile units

communicating wirelessly with the wireless network nodes, as described above. To the extent that

Mobility argues that AirAccess does not disclose this limitation, it is my opinion that it would have

been obvious to a person of ordinary skill in the art to adapt AirAccess to use a wireless connection.

        584.   I have reviewed Mobility’s infringement contentions, and I understand that

Mobility may contend that a wired connection between the mobile nodes and the wireless network

nodes infringes claim 1 of the ’330 Patent. For the reasons described above, it is my opinion that

AirAccess anticipates and/or renders obvious claim 1 under Mobility’s infringement theory as

well.



                                                 276
[‘330, 1(d)] a network emulator communicatively linked to each of said plurality of wireless
network nodes, said network emulator configured to emulate attributes of a packet-based
wired communications network for simulating network conditions experienced by said at
least one mobile node in communicating with other nodes through the wired
communications network, the emulated attributes comprising at least one of tunable
packet-delay distribution, network congestion, bandwidth limitation, and packet re-
ordering and duplication; and

       585.    AirAccess discloses “a network emulator communicatively linked to each of said

plurality of wireless network nodes, said network emulator configured to emulate attributes of a

packet-based wired communications network for simulating network conditions experienced by

said at least one mobile node in communicating with other nodes through the wired

communications network, the emulated attributes comprising at least one of tunable packet-delay

distribution, network congestion, bandwidth limitation, and packet re-ordering and duplication.”

The parties agreed that the term “wireless network nodes” means “an element of a network that

sends and receives signals wirelessly” and the term “a packet-based wired communications

network” means “a communications network in which packets of data are transmitted through

wires or cables.” The Court construed the term “communicatively linked” to mean “capable of

transmitting and receiving signals via an interface.”

       586.    First, it is my opinion that AirAccess discloses a network emulator that is

configured to emulate attributes of a packet-based wired communications network for simulating

network conditions experienced by said at least one mobile node in communicating with other

nodes through the wired communications network, the emulated attributes comprising at least one

of tunable packet-delay distribution, network congestion, bandwidth limitation, and packet re-

ordering and duplication. With reference to Figure 1-1 below, AirAccess discloses a network

emulator designed to emulate base station controllers and base station transceivers such that the

emulator is communicatively linked to the wireless network nodes.



                                                277
       587.    This emulator emulate attributes of a packet-based wired communications network

for simulating network conditions experienced by said at least one mobile node in communicating

with other nodes through the wired communications network, the emulated attributes comprising

at least one of tunable packet-delay distribution, network congestion, bandwidth limitation, and

packet re-ordering and duplication. For example, AirAccess discloses that a “FFPC allows the

mobile station under test to control the forward link fundamental traffic code channel relative

power level at the rate of 800 times per second. Similar to 2G reverse link power control where

the base station punctures 800 power control bits per second in the data sent to the mobile station,

when FFPC is used, the mobile will send 800 power control bits to the base station via the Reverse

Pilot Channel. AirAccess will adjust the relative power level of the fundamental traffic channel it

transmits (within specified limits) based on the bits received from the mobile station. The limits

of the power level are specified on a per BTS basis within AirAccess.” AirAccess at 4.10.

AirAccess also discloses that the AirAccess GUI can adjust “[p]aging and [f]orward [t]raffic


                                                278
[c]hannel message insertion.” AirAccess at 2.2.1. The AirAccess is also able to “[e]nable or disable

packet data call PPP Authentication” and “packet data service test capabilities,” including

emulation of a Packet Data Service Node (PDSN). AirAccess at 4.3.3, 6.1. Finally, AirAccess

discloses that “[t]o emulate channel models or inject noise and interference, optionally the

TAS4500 FLEX5 RF Channel Emulator, the TAS4600A Noise and Interference Emulator and/or

the TAS5600C Universal Interference Emulator can be inserted between the TAS5200 front-panel

connections and the mobile . . . .” AirAccess at 2.4.4.

       588.    Next, AirAccess discloses that this network emulator is communicatively linked to

each of said plurality of wireless network nodes. The network emulator TAS3450 emulates the

attributes of a wired packet-based communications network as well as the base station transceivers,

and thus, the two are communicatively linked.

       589.    A POSITA would have known that emulating calls and a traffic environment,

including emulation of a Packet Data Service Node (PDSN), would include emulating attributes

of a packet-based wired communications network for simulating network conditions experienced

by said at least one mobile node in communicating with other nodes through the wired

communications network. Further, a POSITA would have known that this emulation comprises at

least one of tunable packet-delay distribution, network congestion, bandwidth limitation, and

packet re-ordering and duplication. A POSITA would have known, and it is my opinion, that

emulating calls and a traffic environment, including emulation of a Packet Data Service Node

(PDSN), would comprise emulation of at least one of tunable packet-delay distribution, network

congestion, bandwidth limitation, and packet re-ordering and duplication. For example, a traffic

environment necessarily involves emulation of tunable packet-delay distribution, network

congestion, bandwidth limitation, and packet re-ordering and duplication simply by the very nature




                                                279
of emulating traffic. If multiple packets are being passed across the network as traffic, there will

necessarily be a limitation on bandwidth, for example.

       590.    To the extent that Mobility contends that AirAccess does not disclose any portion

of this limitation, it would have been obvious to a person of ordinary skill in the art at the time of

the alleged invention to adapt the disclosures in AirAccess to include this limitation. Moreover, it

would have been obvious to a person of ordinary skill in the art to combine the teachings of

AirAccess with the teachings of NIST Net, for the reasons explained more fully below.

       591.    A POSITA would have been motivated to modify AirAccess to include the

teachings and emulator of NIST Net because both of these references relate to systems for

emulating mobile communications networks. Both AirAccess and NIST Net disclose known and

interchangeable uses of emulator equipment, and a POSITA would have understood that

combining a known prior art emulator, disclosed in NIST Net, with the simulation system of

AirAccess would yield predictable and beneficial results.

       592.    Similarly, the ’330 Patent itself discusses the NIST Net emulator and provides it as

an example of an optimal emulator for satisfying limitation [‘330, 1(d)].’330 Patent at 5:60-6:2

(“For example, the emulator 110 can be implemented using a computer system executing the

National Institute of Standards and Technology (NIST) emulator.”).

       593.    A POSITA would have understood that AirAccess and NIST Net would have been

easily combinable. For example, NIST Net explains that it allows “external hooks into its module

as well. External statistics generation code may supply values for NIST Net's generation of

network effects. . . . Alternatively, external handlers may work in concert with NIST Net or take

over packet processing entirely.” NIST Net at 115-116. Thus, a POSITA would have understood

that it would have been easy to adapt the emulator of NIST Net to work in the system of AirAccess.




                                                 280
       594.    Moreover, NIST Net explains that it was easily and widely accessible as

“[t]housands of people throughout the world ha[d] successfully installed and used the emulator for

a wide variety of projects, even those with no prior experience with Linux. It has proven

particularly useful in academic settings for class laboratories and student research projects.” NIST

Net at 112. In particular, NIST Net explains that in 2003, “[s]ince its initial release, NIST Net

ha[d] been obtained by nearly twenty thousand people around the world, and has been used for a

wide variety of testing purposes, including for voice over IP, mobile network emulation, adaptive

video transmissions, satellite and underseas radio link emulation, and interactive network gaming.”

NIST Net at 125. Further, NIST Net explains that its code, documentation, and calibration results

“are all public domain and are available through its web site.” NIST Net at 125.

       595.    Because the NIST Net emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence

explained in NIST Net, it is my opinion that a POSITA would have found it obvious to combine

the method and apparatus for testing a mobile communications system of AirAccess with the

emulator of NIST Net.

       596.    As disclosed in the ’330 Patent itself and as disclosed in NIST Net, the NIST Net

emulator is “a tool to facilitate testing and experimentation with network code through emulation.

NIST Net enables experimenters to model and effect arbitrary performance dynamics (packet

delay, jitter, bandwidth limitations, congestion, packet loss and duplication) on live IP packets

passing through a commodity Linux-based PC router.” NIST Net at Abstract; see also ’330 Patent

at 5:60-6:2.

       597.    NIST Net similarly explains that “it provides the ability to emulate common

network effects such as packet loss, duplication or delay; router congestion; and bandwidth




                                                281
limitations. It is designed to offer sufficient capabilities and performance to reproduce a wide range

of network behaviors (forwarding rates of up to 1 Gbps, satellite-like delays or longer, asymmetric

characteristics), while requiring only commodity PC hardware and operating systems.” NIST Net

at 111.

          598.   NIST Net explains that “[a] useful way to think of NIST Net is as a "network-in-a-

box" (Figure 1) — a specialized router which emulates (statistically) the behavior of an entire

network in a single hop. NIST Net selectively applies network effects (such as delay, loss, jitter)

to traffic passing through it, based on user-supplied settings.” NIST Net at 112. Specifically, the

“set of network effects NIST Net can impose includes: packet delay, both fixed and variable

(jitter); packet reordering; packet loss, both random and congestion-dependent; packet duplication;

and bandwidth limitations.” NIST Net at 112. NIST Net goes on to explain in detail how its packet

delay, packet loss, packet duplication, packet reordering, congestion, and bandwidth limitations

are calculated. NIST Net at 113-114, 118-119, 123-124.

          599.   The NIST Net graphical user interface showing the ability to adjust these various

parameters is shown at Figure 3 below.




                                                 282
       600.    Thus, NIST Net discloses emulating attributes of a packet-based wired

communications network including at least one of tunable packet-delay distribution, network

congestion, bandwidth limitation, and packet re-ordering and duplication.

       601.    To the extent that Mobility contends that AirAccess does not disclose any portion

of this limitation, it would have been obvious to a person of ordinary skill in the art at the time of

the alleged invention to adapt the disclosures in AirAccess to include this limitation. Moreover, it

would have been obvious to a person of ordinary skill in the art to combine the teachings of

AirAccess with the teachings of ONE, for the reasons explained more fully below.

       602.    A POSITA would have been motivated to modify AirAccess to include the

teachings and emulator of ONE because both of these references relate to systems for emulating

mobile communications networks. Both AirAccess and ONE disclose known and interchangeable

uses of an emulator equipment, and a POSITA would have understood that combining a known

prior art emulator, disclosed in ONE, with the simulation system of AirAccess would yield

predictable and beneficial results. A POSITA would have understood that AirAccess and ONE

would have been easily combinable. For example, ONE explains that it provides its emulated

environment “to a wide variety of hardware and software systems.” ONE at 6. Thus, a POSITA

would have understood that it would have been easy to adapt the emulator of ONE to work in the

system of AirAccess.

       603.    Similarly, the ’330 Patent itself discusses the ONE emulator and provides that it

can “emulate transmission, queuing, and propagation delay between two computers interconnected

by a router.” ’330 Patent at 2:2-9.

       604.    Because the ONE emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence




                                                 283
explained in ONE, it is my opinion that a POSITA would have found it obvious to combine the

method and apparatus for testing a mobile communications system of AirAccess with the emulator

of ONE.

       605.    As disclosed in the ’330 Patent itself and as disclosed in ONE, the ONE emulator

“models the routers and intervening network by delaying packets arriving on one network interface

before forwarding them to the other network. ONE also provides congestion loss according to its

configuration. The delay a packet experiences is based on the packet size and the configuration

parameters given by the user. The following three components of packet delay are modeled.” ONE

at 2; see also ’330 Patent at 2:2-9.

       606.    ONE explains that it is able to model “three components of packet delay,” including

“transmission delay,” which is “the amount of time it takes a network node to transmit a packet

onto a given channel;” “queuing delay,” which “occurs when a packet arrives at a router which is

already busy transmitting another packet;” and “propagation delay,” which is “the time it takes a

packet to travel from one node to another along a physical channel.” ONE at 2-3. “The sum of the

above component delays is the amount of time ONE holds a packet before forwarding it.” ONE at

3.

       607.    Packet delay is configurable based on “two user configurable parameters:”

linespeed and propagation. ONE at 3-4. Packets are queued for transmission based on the

following two user-configurable settings: qsize, which is “the size for the given interface,” and

memunit, which is “the internal buffer size (memory allocation granularity) used to store packets

in the queue.” ONE at 3-4.

       608.    A POSITA would have understood that because ONE discloses providing

congestion loss as well as setting delay with user-configurable parameters, ONE discloses




                                               284
emulating attributes of a packet-based wired communications network including at least one of

tunable packet-delay distribution, network congestion, bandwidth limitation, and packet re-

ordering and duplication.24

[‘330, 1(e)] a controller communicatively linked to each of said plurality of wireless
network nodes, said controller configured to control the wireless communication
characteristics of each of said plurality of wireless network nodes to simulate, without
changing operating parameters of said at least one mobile node, different wireless
communication conditions experienced by said at least one mobile node in actual operation.

         609.     AirAccess discloses “a controller communicatively linked to each of said plurality

of wireless network nodes, said controller configured to control the wireless communication

characteristics of each of said plurality of wireless network nodes to simulate, without changing

operating parameters of said at least one mobile node, different wireless communication conditions

experienced by said at least one mobile node in actual operation.” The parties agreed that the term

“wireless network nodes” means “an element of a network that sends and receives signals

wirelessly.” The Court construed the term “communicatively linked” to mean “capable of

transmitting and receiving signals via an interface.”

         610.     First, AirAccess discloses a controller communicatively linked to each of said

plurality of wireless network nodes. For example, AirAccess discloses that a “TAS5200 RF

Converter, . . . , [that] provides the conversion to and from dual RF carriers. . . . The TAS5200 is

a versatile RF converter that provides coverage from 400 to 2700 MHz. This includes all ten band

classes defined by IMT-2000. It is available in a dual RF carrier model. The frequency and

attenuation of the two RF carriers are configured independently.” AirAccess at 2.2.3. When using

the TAS5200 RF Converter, it is possible to “[s]et RF power range” through “[t]he BSC icon(s) in


24
   To the extent that Mobility contends that Verizon infringes this limitation through its standards compliance
testing, see ’330 Infringement Contentions at 22, standards that pre-date the ’330 Patent disclose this limitation for
all of the reasons explained above in Section VIII.B. and in the Amended Invalidity Contentions, see Exs.C-12 and
C-13, which I hereby incorporate by reference.



                                                         285
the Test Configuration window.” AirAccess at 4.3.2. Thus, AirAccess discloses an RF carrier

communicatively linked to the BSCs, which, in turn, is communicatively linked to the base

transceiver stations, see AirAccess at 4.3.2, which controls simulation of attenuation between the

base transceiver stations and mobile units, for example.

       611.    Moreover, AirAccess provides that “movement of the mobile station relative to the

BTSs” may be “simulated by adjusting the transmit power for each sector” without using the

TAS5200 RF Converter. AirAccess at 5.4. “This is most easily accomplished using the Gain

controls on the Test Configuration window (see Figure 4-2). Alternatively, the transmit power can

be adjusted by opening the Configure BTS dialog box and entering a new value.” AirAccess at

5.4. This can be seen through Figures 4-3 and 4-4 below.




                                               286
       612.    Because movement of the mobile station is controlled via adjusting the

communication characteristics of the BTS, the controller of AirAccess is communicatively linked

to the plurality of wireless network nodes.

       613.    Next, AirAccess discloses that the controller is configured to control the wireless

communication characteristics of each of said plurality of wireless network nodes to simulate,

without changing operating parameters of said at least one mobile node, different wireless

communication conditions experienced by said at least one mobile node in actual operation. I

understand that the Court construed the term “without changing operating parameters of said at

least one mobile node” to be given its plain meaning. Claim Construction Order at 30. I understand

that the parties agreed, and the Court did not disagree, during claim construction that the term

“operating parameters” encompasses at least transmit power level. Id. I also understand that the

specification of the ’330 Patent explains numerous times that “attenuation provided by at least one

of the attenuators” and controlled by the controller “can be increased,” “while simultaneously

decreasing attenuation provided by another one of the attenuators,” thus simulating movement

away from and toward the wireless network nodes. ’330 Patent at 2:63-66. The ’330 Patent


                                               287
similarly explains that the simulation of movement of the wireless network nodes is performed via

adjusting the wireless network nodes’ transmit power level without the need to change the transmit

power level (or physically move) the mobile node. ’330 Patent at 2:25-28, 2:59-28, 3:10-21, 4:37-

41, 5:17-25, 6:46-67.

       614.    I also understand that this limitation is discussed in the file history of the ’330

Patent. In response to an anticipation rejection based on U.S. Patent No. 6,735,448

(“Krishnamurthy”), the applicant argued that Krishnamurthy did not anticipate this limitation

because the mobile nodes in Krishnamurthy change their “own operating parameters, namely

[their] own ‘transmit power level.’” ’330 File History, Response to Office Action dated Jan. 8,

2007, at 10. I also understand that the applicant pointed to the portion of the specification reciting

that “[t]he mobile node 125 need not be a moveable or roaming component as the system 100 is

configured to simulate motion of the mobile node 125 . . . despite the mobile node 125 being

stationary in nature” to support the disclosure for this limitation. ’330 File History, Response to

Office Action dated Jan. 8, 2007, at 9 (citing paragraph [0023], lines 1-8 of Specification).

       615.    AirAccess similarly discloses a controller that adjusts the transmit power level of

the wireless network nodes to simulate movement of the mobile nodes without adjusting the

operating parameters of the mobile nodes. For example, AirAccess discloses that “[t]he TAS5200

RF Converter, as shown in Figure 2-4, provides the conversion to and from dual RF carriers. …

The TAS5200 is a versatile RF converter that provides coverage from 400 to 2700 MHz. This

includes all ten band classes defined by IMT-2000. It is available in a dual RF carrier model. The

frequency and attenuation of the two RF carriers are configured independently.” AirAccess at

2.2.3. When the TAS5200 RF Converter is used, it is possible to access the option to “[s]et RF

power range” in the BSC icon.” AirAccess at 4.3.2.




                                                 288
       616.    Without the TAS5200 RF Converter, “[t]he movement of the mobile station relative

to the BTSs is simulated by adjusting the transmit power for each sector. This is most easily

accomplished using the Gain controls on the Test Configuration window . . . . Alternatively, the

transmit power can be adjusted by opening the Configure BTS dialog box and entering a new

value.” AirAccess at 5.4. It is possible to adjust various parameters within the BTS icon, such as

“[s]et sector power” and “[s]et relative code channel gains,” for example. AirAccess at 4.3.1.

       617.    Because AirAccess discloses simulating movement of the mobile station via

attenuation, adjusting sector power, and/or adjusting gain controls, AirAccess discloses adjusting

transmit power level or other operating parameters to simulate movement of the mobile units. A

POSITA would have understood that this simulation would have been performed without changing

the operating parameters of the mobile units, as AirAccess discloses that the mobile units are

“under test.” AirAccess at 1.2.2., 8.1 Generally, when performing tests on mobile units to

determine their operating capabilities in a wireless communications network, the parameters of the

mobile units are not changed so as to not introduce any additional variables into the testing

environment.


               5.      Analysis—Claim 3

[‘330, 3(a)] The system of claim 1, wherein said wireless communication characteristics
include a signal reception sensitivity.

       618.    AirAccess discloses “[t]he system of claim 1, wherein said wireless communication

characteristics include a signal reception sensitivity.”

       619.    As explained above in regarding Element 1(e), AirAccess discloses simulating

movement of the mobile station via attenuation, adjusting sector power, and/or adjusting gain

controls. AirAccess at 2.2.3, 4.3.1, 5.4. AirAccess discloses, and a POSITA would have

understood, that the controller of AirAccess adjusts the transmit power level and/or signal


                                                 289
reception sensitivity of the wireless network nodes, to simulate movement of the mobile nodes

without adjusting the operating parameters of the mobile nodes. I hereby incorporate by reference

my analysis above regarding Element 1(e).


               6.        Analysis—Claim 4

[‘330, 4(a)] The system of claim 1, wherein said wireless communication characteristic
includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and bit
error rate (BER).

       620.    AirAccess discloses “[t]he system of claim 1, wherein said wireless communication

characteristic includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and

bit error rate (BER).”

       621.    As explained above regarding Element 1(e), AirAccess discloses simulating

movement of the mobile station via attenuation, adjusting sector power, and/or adjusting gain

controls. AirAccess at 2.2.3, 4.3.1, 5.4. AirAccess discloses, and a POSITA would have

understood, that the controller of AirAccess adjusts the transmit power level, including the signal

transmission strength, signal-to-noise ratio (SNR), and/or bit error rate, of the wireless network

nodes, to simulate movement of the mobile nodes without adjusting the operating parameters of

the mobile nodes. I hereby incorporate by reference my analysis above in regarding Element 1(e).

       622.    AirAccess further discloses that “Figure 4-7 shows the Forward Link Power

Control configuration tab. Within this tab, the forward link power control settings are configured.

When the TAS5200 is used for RF conversion, a 25 dB RF Power Range window for the forward

link is specified in this section. This Power Range window defines the minimum and maximum

RF levels that can be achieved from the combined forward links of all of the BTSs associated with

the BSC being configured. This section also provides the ability to enable Fast Forward Power

Control (FFPC) by specifying the Forward Power Control (FPC) mode as ‘000’. When FFPC is



                                                 290
enabled, additional power control parameters are configurable. These include Target FER, Initial

Eb/Nt Setpoint, and Eb/Nt Setpoint Range. The mobile station under test uses these parameters to

determine how to power control the forward link transmission from AirAccess.” Air Access at

4.3.2.


         C.     Rimoni Anticipates the Asserted Claims or Renders Them Obvious in View
                of NIST

                1.     Rimoni

         623.   Rimoni, U.S. Patent Application Publication No. US 2002/0183054, was filed on

April 8, 2002 and published on December 5, 2002. It therefore qualifies as prior art under 35 U.S.C.

§§ 102(a) and (e) (pre-AIA). Rimoni was not cited or considered during the prosecution of the

’330 Patent.

         624.   The Abstract of Rimoni provides:

                Apparatus for testing one or more mobiles, each mobile being
                adapted to transmit and receive respective signals compatible with a
                cellular communications network. The apparatus includes station
                simulation circuitry which is adapted to simulate a plurality of base
                station controllers (BSCs) operative simultaneously in the cellular
                communications network. The apparatus also includes mobile
                interface circuitry which is coupled to transfer the respective signals
                between the station simulation circuitry and the one or more
                mobiles.

Rimoni at Abstract.

         625.   Rimoni and the ’330 Patent similarly seek to address the problem of emulating

movement of a mobile node in a wireless communication network. For example, Rimoni discloses

“simulating the one or more communication channels includes simulating one or more of effects

selected from a group consisting of noise, fading, attenuation, delay, Doppler shift, and reflection

in channel simulation circuitry.” Rimoni at [0042]; see also, e.g., ’330 Patent at 2:19-32, 2:59-3:3,

3:9-21, 3:27-38.


                                                 291
       Rimoni discloses base transceiver stations (BTSs) 21, base station controllers (BSCs) 23,

and mobile units 35 operating within a cellular communications network 25, as shown in Figure

1, reproduced below. Rimoni at [0057]; Fig. 1. Rimoni also discloses a channel simulation unit

30 that “is implemented to simulate one or more cellular network channels for conveying signals

between simulator 28 and one or more units-under test (UUT) 36.” Rimoni at [0058].




              2.      NIST Net

       626.   I hereby incorporate by reference my description of NIST Net given in Section

XI.A.2.




                                              292
               3.      ONE

       627.    I hereby incorporate by reference my description of ONE given in Section XI.A.3.

               4.      Analysis—Claim 1

[‘330, 1(a)] A system for emulating mobile network communications comprising:

       628.    Rimoni discloses “[a] system for emulating mobile network communications.” For

example, the Abstract of Rimoni provides that it discloses an “[a]pparatus for testing one or more

mobiles, each mobile being adapted to transmit and receive respective signals compatible with a

cellular communications network. The apparatus includes station simulation circuitry which is

adapted to simulate a plurality of base station controllers (BSCs) operative simultaneously in the

cellular communications network. The apparatus also includes mobile interface circuitry which is

coupled to transfer the respective signals between the station simulation circuitry and the one or

more mobiles.” Rimoni at Abstract. As shown in Figure 1, the apparatus of Rimoni includes mobile

units 35 “operating within a cellular communications network 25” as well as a [s]imulator 28 [that]

generates signals which simulate the activity of the one or more BSCs, and so acts as a base station

simulation system.” Rimoni at [0058].

       629.    Rimoni goes on to explain that “[t]he present invention relates generally to testing

systems, and specifically to testing cellular communications networks” and that “[i]t is an object

of some aspects of the present invention to provide an improved method and apparatus for testing

a cellular mobile.” Rimoni at [0003], [0011].

[‘330, 1(b)] a plurality of fixedly-located wireless network nodes configured to variably
adjust wireless communication characteristics;

       630.    Rimoni discloses “a plurality of fixedly-located wireless network nodes configured

to variably adjust wireless communication characteristics.” The parties agreed that the term

“fixedly-located” means “set at a particular location” and “wireless network nodes” means “an



                                                293
element of a network that sends and receives signals wirelessly.” The Court construed the term

“configured to variably adjust wireless communication characteristics” as “configured such that

the controller can cause the wireless network nodes to adjust wireless communication

characteristics of the wireless network nodes.”

       631.    For example, with reference to Figure 1 above, Rimoni discloses base transceiver

stations (BTSs) 21, base station controllers (BSCs) 23, and mobile units 35 operating within a

cellular communications network 25. Rimoni at [0057]; Fig. 1. Rimoni further discloses a

“[t]esting system 20 [that] simulates communications between” the BTSs 21, BSCs 23, and “one

or more generally similar mobile units 35 operating within a cellular communications

network 25.” Rimoni at [0057].

       632.    A POSITA would have known that these base transceiver stations 21 would have

been fixedly located such that they were set at a particular location. Rimoni discloses that the units

under test 36 “most preferably comprise one or more mobiles 37 which have been designed to

receive and transmit signals compatible with signals produced by the one or more BTSs 21.”

Rimoni at [0059]. Preferably, those signals are CDMA signals. Rimoni at [0059]. Rimoni

furthermore discloses that “the simulator operates as an interface between” the BTSs and the

mobile being tested. The simulator “performs digital-to-digital and digital-to-RF conversions, so

as to simulate RF communication between the one or more base stations and each of the mobiles

under test via the allocated channels, and to incorporate ‘real-world’ signal effects into the

channels.” Rimoni at [0013]; [0096]. Thus, the base transceiver stations 28 “send[] and receive

signals wirelessly” to the mobile units under test.

       633.    Finally, the base transceiver stations 21 of Rimoni are “configured to variably

adjust wireless communication characteristics” such that they are “configured such that the




                                                  294
controller can cause the wireless network nodes to adjust wireless communication characteristics

of the wireless network nodes.” As explained below regarding Element 1(e), Rimoni discloses a

controller 24 communicatively linked to both the base station simulator 28 (which, in turn, is

communicatively linked to the base transceiver stations 21, Rimoni at [0058]) and the channel

simulation unit 30, which controls simulation of attenuation between the base transceiver stations

and mobile units, for example. Rimoni at [0060], [0023]. Within the channel simulation unit 30,

Rimoni discloses “one or more digital circuit boards (DCBs), wherein the one or more DCBs are

adapted to simulate one or more of effects selected from a group consisting of noise, fading,

attenuation, delay, Doppler shift, and reflection.” Rimoni at [0023]; see also id. at [0042]. The

DCB 132 simulates these effects “based on a model of expected motion of a specific UUT 36 (such

as traveling in an automobile) and expected environment considerations, such as reflections from

buildings in a path between the UUT and the base station or stations with which it is in

communication.” Rimoni at [0096]. Because the DCBs “simulate one or more of effects selected

from a group consisting of noise, fading, attenuation, delay, Doppler shift, and reflection” to

“model . . . expected motion of a specific” unit under test, Rimoni discloses that the wireless

network nodes are “configured to variably adjust wireless communication characteristics.”

[‘330, 1(c)] at least one mobile node configured to wirelessly communicate with selected
ones of said plurality of wireless network nodes;

       634.    Rimoni discloses “at least one mobile node configured to wirelessly communicate

with selected ones of said plurality of wireless network nodes.” The parties agreed that the term

“mobile node configured to wirelessly communicate” means “a device that sends and receives

signals wirelessly” and “wireless network nodes” means “an element of a network that sends and

receives signals wirelessly.




                                               295
       635.    For example, with reference to Figure 1 above, Rimoni discloses base transceiver

stations (BTSs) 21, base station controllers (BSCs) 23, and mobile units 35 operating within a

cellular communications network 25. Rimoni at [0057]. Rimoni discloses that the coupling

between channel simulation unit 30 and the unit under test is “preferably by wireless coupling.”

Rimoni at [0059].

       636.    As explained above with respect to the wireless network nodes, Rimoni discloses

that the units under test 36 “most preferably comprise one or more mobiles 37 which have been

designed to receive and transmit signals compatible with signals produced by the one or more

BTSs 21.” Rimoni at [0059]. Preferably, those signals are CDMA signals. Rimoni at [0059].

Rimoni furthermore discloses that “the simulator operates as an interface between” the BTSs and

the mobile being tested. The simulator “performs digital-to-digital and digital-to-RF conversions,

so as to simulate RF communication between the one or more base stations and each of the mobiles

under test via the allocated channels, and to incorporate “real-world” signal effects into the

channels.” Rimoni at [0013]; [0096].” Thus, Rimoni discloses that the mobile nodes are configured

to communicate wirelessly with selected ones of the wireless network nodes.

       637.    It is my opinion that Rimoni satisfies the limitation of the mobile units

communicating wirelessly with the wireless network nodes, as described above. To the extent that

Mobility argues that Rimoni does not disclose this limitation, it is my opinion that it would have

been obvious to a person of ordinary skill in the art to adapt Rimoni to use a wireless connection.

       638.    I have reviewed Mobility’s infringement contentions, and I understand that

Mobility may contend that a wired connection between the mobile nodes and the wireless network

nodes infringes claim 1 of the ’330 Patent. For the reasons described above, it is my opinion that

Rimoni anticipates and/or renders obvious claim 1 under Mobility’s infringement theory as well.




                                               296
[‘330, 1(d)] a network emulator communicatively linked to each of said plurality of wireless
network nodes, said network emulator configured to emulate attributes of a packet-based
wired communications network for simulating network conditions experienced by said at
least one mobile node in communicating with other nodes through the wired
communications network, the emulated attributes comprising at least one of tunable
packet-delay distribution, network congestion, bandwidth limitation, and packet re-
ordering and duplication; and

       639.    Rimoni discloses “a network emulator communicatively linked to each of said

plurality of wireless network nodes, said network emulator configured to emulate attributes of a

packet-based wired communications network for simulating network conditions experienced by

said at least one mobile node in communicating with other nodes through the wired

communications network, the emulated attributes comprising at least one of tunable packet-delay

distribution, network congestion, bandwidth limitation, and packet re-ordering and duplication.”

The parties agreed that the term “wireless network nodes” means “an element of a network that

sends and receives signals wirelessly” and the term “a packet-based wired communications

network” means “a communications network in which packets of data are transmitted through

wires or cables.” The Court construed the term “communicatively linked” to mean “capable of

transmitting and receiving signals via an interface.”

       640.    First, it is my opinion that Rimoni discloses a network emulator that is configured

to emulate attributes of a packet-based wired communications network for simulating network

conditions experienced by said at least one mobile node in communicating with other nodes

through the wired communications network, the emulated attributes comprising at least one of

tunable packet-delay distribution, network congestion, bandwidth limitation, and packet re-

ordering and duplication. For example, Rimoni discloses a base station simulator 28, including a

signaling channel management section 78. Rimoni at [0079]. Signal channeling management 78

includes several components, including, for example, a “call resource manager component 96”



                                                297
which “manages the allocation, configuration, control, and de-allocation of resources used by

dedicated channels of a specific BSC defined by each user 27 in base station section 52.” Rimoni

at [0086]. Signal channeling management 78 also includes both a forward dedicated processing

component 100 and reverse dedicated processing component 102. Rimoni at [0089], [0090]. The

forward dedicated processing 100 sends data to the forward traffic element 104, and the data, in

turn, is sent to channel simulation unit 30. Rimoni at [0092]. Moreover, each traffic element 104

handles forward traffic channels by most preferably assigning each traffic channel attributes as

shown in Tables VI and VII.” Rimoni at [0092]. The user 27 defines “channels used within each

sector by assigning each paging channel attributes as shown in Tables I and II,” such as half or

full-rate transmission, and a maximum frame period used by the channel. Rimoni at [0071].

          641.   During a test call, “BSC 23 transfers to a paging state 156, wherein a general page

message 172, comprising a specification of a type of service, typically voice service, required by

BSC 23, is sent from BSC 23 to the specific mobile called by the land-based telephone.” Rimoni

at [0100]. “If the mobile is able to answer the general page message, it sends a page response

message 174 to the BSC. When BSC 23 receives page response 174, the BSC transfers to a

resource verification/allocation state 158. In state 158 BSC 23 checks that resources in the form of

traffic channels are available for the call, allocates the resources, and sends an extended channel

assignment message 176 to the mobile.” Rimoni at [0100].

          642.   Next, Rimoni discloses that this network emulator is communicatively linked to

each of said plurality of wireless network nodes. For example, Rimoni discloses that the base

station simulator 28 is communicatively linked to the base transceiver stations 21. Rimoni at

[0058].




                                                 298
       643.    A POSITA would have known that emulating calls and a traffic environment,

including allocating resources and assigning channel attributes such as the rate of transmission,

are attributes of a packet-based wired communications network for simulating network conditions

experienced by said at least one mobile node in communicating with other nodes through the wired

communications network. Further, a POSITA would have known that this emulation comprises at

least one of tunable packet-delay distribution, network congestion, bandwidth limitation, and

packet re-ordering and duplication. A POSITA would have known, and it is my opinion, that

emulating calls and a traffic environment, including allocating resources and assigning channel

attributes such as the rate of transmission, would comprise emulation of at least one of tunable

packet-delay distribution, network congestion, bandwidth limitation, and packet re-ordering and

duplication. For example, a traffic environment necessarily involves emulation of tunable packet-

delay distribution, network congestion, bandwidth limitation, and packet re-ordering and

duplication simply by the very nature of emulating traffic. If multiple packets are being passed

across the network as traffic, there will necessarily be a limitation on bandwidth, for example.

       644.    To the extent that Mobility contends that Rimoni does not disclose any portion of

this limitation, it would have been obvious to a person of ordinary skill in the art at the time of the

alleged invention to adapt the disclosures in Rimoni to include this limitation. Moreover, it would

have been obvious to a person of ordinary skill in the art to combine the teachings of Rimoni with

the teachings of NIST Net, for the reasons explained more fully below.

       645.    A POSITA would have been motivated to modify Rimoni to include the teachings

and emulator of NIST Net because both of these references relate to systems for emulating mobile

communications networks. Both Rimoni and NIST Net disclose known and interchangeable uses

of emulator equipment, and a POSITA would have understood that combining a known prior art




                                                 299
emulator, disclosed in NIST Net, with the simulation system of Rimoni would yield predictable

and beneficial results.

       646.    Similarly, the ’330 Patent itself discusses the NIST Net emulator and provides it as

an example of an optimal emulator for satisfying limitation [‘330, 1(d)].’330 Patent at 5:60-6:2

(“For example, the emulator 110 can be implemented using a computer system executing the

National Institute of Standards and Technology (NIST) emulator.”).

       647.    A POSITA would have understood that Rimoni and NIST Net would have been

easily combinable. For example, Rimoni discloses that “[t]he control unit can also be coupled to

off-the-shelf test equipment 148, for evaluating the performance of unit 30” and that “each user 27

is able to generate one or more behavior executable files, according to one or more test scenarios

that the user requires run on UUTs 36.” Rimoni at [0098], [0101]. Further for example, NIST Net

explains that it allows “external hooks into its module as well. External statistics generation code

may supply values for NIST Net's generation of network effects. . . . Alternatively, external

handlers may work in concert with NIST Net or take over packet processing entirely.” NIST Net

at 115-116. Thus, a POSITA would have understood that it would have been easy to adapt the

emulator of NIST Net to work in the system of Rimoni.

       648.    Moreover, NIST Net explains that it was easily and widely accessible as

“[t]housands of people throughout the world ha[d] successfully installed and used the emulator for

a wide variety of projects, even those with no prior experience with Linux. It has proven

particularly useful in academic settings for class laboratories and student research projects.” NIST

Net at 112. In particular, NIST Net explains that in 2003, “[s]ince its initial release, NIST Net

ha[d] been obtained by nearly twenty thousand people around the world, and has been used for a

wide variety of testing purposes, including for voice over IP, mobile network emulation, adaptive




                                                300
video transmissions, satellite and underseas radio link emulation, and interactive network gaming.”

NIST Net at 125. Further, NIST Net explains that its code, documentation, and calibration results

“are all public domain and are available through its web site.” NIST Net at 125.

          649.   Because the NIST Net emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence

explained in NIST Net, it is my opinion that a POSITA would have found it obvious to combine

the method and apparatus for testing a mobile communications system of Rimoni with the emulator

of NIST Net.

          650.   As disclosed in the ’330 Patent itself and as disclosed in NIST Net, the NIST Net

emulator is “a tool to facilitate testing and experimentation with network code through emulation.

NIST Net enables experimenters to model and effect arbitrary performance dynamics (packet

delay, jitter, bandwidth limitations, congestion, packet loss and duplication) on live IP packets

passing through a commodity Linux-based PC router.” NIST Net at Abstract; see also ’330 Patent

at 5:60-6:2.

          651.   NIST Net similarly explains that “it provides the ability to emulate common

network effects such as packet loss, duplication or delay; router congestion; and bandwidth

limitations. It is designed to offer sufficient capabilities and performance to reproduce a wide range

of network behaviors (forwarding rates of up to 1 Gbps, satellite-like delays or longer, asymmetric

characteristics), while requiring only commodity PC hardware and operating systems.” NIST Net

at 111.

          652.   NIST Net explains that “[a] useful way to think of NIST Net is as a "network-in-a-

box" (Figure 1) — a specialized router which emulates (statistically) the behavior of an entire

network in a single hop. NIST Net selectively applies network effects (such as delay, loss, jitter)




                                                 301
to traffic passing through it, based on user-supplied settings.” NIST Net at 112. Specifically, the

“set of network effects NIST Net can impose includes: packet delay, both fixed and variable

(jitter); packet reordering; packet loss, both random and congestion-dependent; packet duplication;

and bandwidth limitations.” NIST Net at 112. NIST Net goes on to explain in detail how its packet

delay, packet loss, packet duplication, packet reordering, congestion, and bandwidth limitations

are calculated. NIST Net at 113-114, 118-119, 123-124.

       653.    The NIST Net graphical user interface showing the ability to adjust these various

parameters is shown at Figure 3 below.




       654.    Thus, NIST Net discloses emulating attributes of a packet-based wired

communications network including at least one of tunable packet-delay distribution, network

congestion, bandwidth limitation, and packet re-ordering and duplication.

       655.    To the extent that Mobility contends that Rimoni does not disclose any portion of

this limitation, it would have been obvious to a person of ordinary skill in the art at the time of the

alleged invention to adapt the disclosures in Rimoni to include this limitation. Moreover, it would

have been obvious to a person of ordinary skill in the art to combine the teachings of Rimoni with

the teachings of ONE, for the reasons explained more fully below.




                                                 302
       656.    A POSITA would have been motivated to modify Rimoni to include the teachings

and emulator of ONE because both of these references relate to systems for emulating mobile

communications networks. Both Rimoni and ONE disclose known and interchangeable uses of an

emulator equipment, and a POSITA would have understood that combining a known prior art

emulator, disclosed in ONE, with the simulation system of Rimoni would yield predictable and

beneficial results. A POSITA would have understood that Rimoni and ONE would have been

easily combinable. For example, ONE explains that it provides its emulated environment “to a

wide variety of hardware and software systems.” ONE at 6. Thus, a POSITA would have

understood that it would have been easy to adapt the emulator of ONE to work in the system of

Rimoni.

       657.    Similarly, the ’330 Patent itself discusses the ONE emulator and provides that it

can “emulate transmission, queuing, and propagation delay between two computers interconnected

by a router.” ’330 Patent at 2:2-9.

       658.    Because the ONE emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence

explained in ONE, it is my opinion that a POSITA would have found it obvious to combine the

method and apparatus for testing a mobile communications system of Rimoni with the emulator

of ONE.

       659.    As disclosed in the ’330 Patent itself and as disclosed in ONE, the ONE emulator

“models the routers and intervening network by delaying packets arriving on one network interface

before forwarding them to the other network. ONE also provides congestion loss according to its

configuration. The delay a packet experiences is based on the packet size and the configuration




                                              303
parameters given by the user. The following three components of packet delay are modeled.” ONE

at 2; see also ’330 Patent at 2:2-9.

         660.     ONE explains that it is able to model “three components of packet delay,” including

“transmission delay,” which is “the amount of time it takes a network node to transmit a packet

onto a given channel;” “queuing delay,” which “occurs when a packet arrives at a router which is

already busy transmitting another packet;” and “propagation delay,” which is “the time it takes a

packet to travel from one node to another along a physical channel.” ONE at 2-3. “The sum of the

above component delays is the amount of time ONE holds a packet before forwarding it.” ONE at

3.

         661.     Packet delay is configurable based on “two user configurable parameters:”

linespeed and propagation. ONE at 3-4. Packets are queued for transmission based on the

following two user-configurable settings: qsize, which is “the size for the given interface,” and

memunit, which is “the internal buffer size (memory allocation granularity) used to store packets

in the queue.” ONE at 3-4.

         662.     A POSITA would have understood that because ONE discloses providing

congestion loss as well as setting delay with user-configurable parameters, ONE discloses

emulating attributes of a packet-based wired communications network including at least one of

tunable packet-delay distribution, network congestion, bandwidth limitation, and packet re-

ordering and duplication.25

[‘330, 1(e)] a controller communicatively linked to each of said plurality of wireless
network nodes, said controller configured to control the wireless communication
characteristics of each of said plurality of wireless network nodes to simulate, without


25
   To the extent that Mobility contends that Verizon infringes this limitation through its standards compliance
testing, see ’330 Infringement Contentions at 22, standards that pre-date the ’330 Patent disclose this limitation for
all of the reasons explained above in Section VIII.B. and in the Amended Invalidity Contentions, see Exs.C-12 and
C-13, which I hereby incorporate by reference.



                                                         304
changing operating parameters of said at least one mobile node, different wireless
communication conditions experienced by said at least one mobile node in actual operation.

       663.    Rimoni discloses “a controller communicatively linked to each of said plurality of

wireless network nodes, said controller configured to control the wireless communication

characteristics of each of said plurality of wireless network nodes to simulate, without changing

operating parameters of said at least one mobile node, different wireless communication conditions

experienced by said at least one mobile node in actual operation.” The parties agreed that the term

“wireless network nodes” means “an element of a network that sends and receives signals

wirelessly.” The Court construed the term “communicatively linked” to mean “capable of

transmitting and receiving signals via an interface.”

       664.    First, Rimoni discloses a controller communicatively linked to each of said plurality

of wireless network nodes. For example, Rimoni discloses that “[s]ystem 20 further comprises a

controller 24 which controls operations of simulator 28 and unit 30, and which is preferably

implemented as an industry-standard personal computer. Controller 24 is coupled to unit 30, to

system simulator 28, and to a database 22 wherein are stored parameters, test messages, and test

signals used by the controller in performing tests” on the mobile units under test. Rimoni at [0060].

Thus, Rimoni discloses a controller 24 communicatively linked to both the base station simulator

28 (which, in turn, is communicatively linked to the base transceiver stations 21, Rimoni at [0058])

and the channel simulation unit 30, which controls simulation of attenuation between the base

transceiver stations and mobile units, for example. Rimoni at [0060], [0023]. This connection can

be seen in Figure 1 below.




                                                305
       665.    Next, Rimoni discloses that the controller is configured to control the wireless

communication characteristics of each of said plurality of wireless network nodes to simulate,

without changing operating parameters of said at least one mobile node, different wireless

communication conditions experienced by said at least one mobile node in actual operation. I

understand that the Court construed the term “without changing operating parameters of said at

least one mobile node” to be given its plain meaning. Claim Construction Order at 30. I understand

that the parties agreed, and the Court did not disagree, during claim construction that the term

“operating parameters” encompasses at least transmit power level. Id. I also understand that the

specification of the ’330 Patent explains numerous times that “attenuation provided by at least one



                                               306
of the attenuators” and controlled by the controller “can be increased,” “while simultaneously

decreasing attenuation provided by another one of the attenuators,” thus simulating movement

away from and toward the wireless network nodes. ’330 Patent at 2:63-66. The ’330 Patent

similarly explains that the simulation of movement of the wireless network nodes is performed via

adjusting the wireless network nodes’ transmit power level without the need to change the transmit

power level (or physically move) the mobile node. ’330 Patent at 2:25-28, 2:59-28, 3:10-21, 4:37-

41, 5:17-25, 6:46-67.

       666.    I also understand that this limitation is discussed in the file history of the ’330

Patent. In response to an anticipation rejection based on U.S. Patent No. 6,735,448

(“Krishnamurthy”), the applicant argued that Krishnamurthy did not anticipate this limitation

because the mobile nodes in Krishnamurthy change their “own operating parameters, namely

[their] own ‘transmit power level.’” ’330 File History, Response to Office Action dated Jan. 8,

2007, at 10. I also understand that the applicant pointed to the portion of the specification reciting

that “[t]he mobile node 125 need not be a moveable or roaming component as the system 100 is

configured to simulate motion of the mobile node 125 . . . despite the mobile node 125 being

stationary in nature” to support the disclosure for this limitation. ’330 File History, Response to

Office Action dated Jan. 8, 2007, at 9 (citing paragraph [0023], lines 1-8 of Specification).

       667.    Rimoni similarly discloses a controller that adjusts the transmit power level of the

wireless network nodes to simulate movement of the mobile nodes without adjusting the operating

parameters of the mobile nodes. For example, Rimoni discloses that “[t]he simulation performed

by the core simulator comprises allocation of channels, with appropriate channel parameters, for

communication between the BTSs/BSCs and the mobiles, and provides a digital output. A second

element of the simulator operates as an interface between the first element and the mobiles being




                                                 307
tested. The second element performs digital-to-digital and digital-to-RF conversions, so as to

simulate RF communication between the one or more base stations and each of the mobiles under

test via the allocated channels, and to incorporate “real-world” signal effects into the channels.

Operating parameters of each of the elements of the network simulator can be configured and

controlled independently by an operator.” Rimoni at [0013]. Specifically, “the channel simulation

circuitry includes one or more digital circuit boards (DCBs), wherein the one or more DCBs are

adapted to simulate one or more of effects selected from a group consisting of noise, fading,

attenuation, delay, Doppler shift, and reflection.” Rimoni at [0023]; see also id. at [0042]. Within

the channel simulation unit 30, the DCB 132 simulates these effects “based on a model of expected

motion of a specific UUT 36 (such as traveling in an automobile) and expected environment

considerations, such as reflections from buildings in a path between the UUT and the base station

or stations with which it is in communication.” Rimoni at [0096].

       668.    Because Rimoni discloses simulating effects such as noise, fading, attenuation

delay, Doppler shift, and reflection, “based on a model of expected motion of a specific” unit under

test, Rimoni discloses adjusting transmit power level or other operating parameters to simulate

movement of the mobile units. A POSITA would have understood that this simulation would have

been performed without changing the operating parameters of the mobile units, as Rimoni

discloses that the mobile units are “under test.” Generally, when performing tests on mobile units

to determine their operating capabilities in a wireless communications network, the parameters of

the mobile units are not changed so as to not introduce any additional variables into the testing

environment.


               5.      Analysis—Claim 3

[‘330, 3(a)] The system of claim 1, wherein said wireless communication characteristics
include a signal reception sensitivity.


                                                308
       669.    Rimoni discloses “[t]he system of claim 1, wherein said wireless communication

characteristics include a signal reception sensitivity.”

       670.    As explained above regarding Element 1(e), Rimoni discloses, a DCB “adapted to

simulate one or more of effects selected from a group consisting of noise, fading, attenuation,

delay, Doppler shift, and reflection” “based on a model of expected motion of a specific UUT 36

(such as traveling in an automobile) and expected environment considerations, such as reflections

from buildings in a path between the UUT and the base station or stations with which it is in

communication.” Rimoni at [0023], [0042], [0096]. Rimoni discloses, and a POSITA would have

understood, that the DCBs adjust the transmit power level and/or signal reception sensitivity of

the wireless network nodes, to simulate movement of the mobile nodes without adjusting the

operating parameters of the mobile nodes. I hereby incorporate by reference my analysis above

regarding Element 1(e).


               6.        Analysis—Claim 4

[‘330, 4(a)] The system of claim 1, wherein said wireless communication characteristic
includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and bit
error rate (BER).

       671.    Rimoni discloses “[t]he system of claim 1, wherein said wireless communication

characteristic includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and

bit error rate (BER).”

       672.    As explained above regarding Element 1(e), Rimoni discloses, a DCB “adapted to

simulate one or more of effects selected from a group consisting of noise, fading, attenuation,

delay, Doppler shift, and reflection” “based on a model of expected motion of a specific UUT 36

(such as traveling in an automobile) and expected environment considerations, such as reflections

from buildings in a path between the UUT and the base station or stations with which it is in


                                                 309
communication.” Rimoni at [0023], [0042], [0096]. Rimoni discloses, and a POSITA would have

understood, that the DCBs adjust the transmit power level, including the signal transmission

strength, signal-to-noise ratio (SNR), and/or bit error rate, of the wireless network nodes, to

simulate movement of the mobile nodes without adjusting the operating parameters of the mobile

nodes. I hereby incorporate by reference my analysis above regarding Element 1(e).


        D.       Cho Anticipates the Asserted Claims or Renders Them Obvious in View of
                 NIST or ONE

                 1.     Cho

        673.     Cho, Korean Patent Application Publication No. KR2001-0048715, was published

on June 15, 2001. It therefore qualifies as prior art under 35 U.S.C. §§ 102(a) and (b) (pre-AIA).

Cho was not cited or considered during the prosecution of the ’330 Patent.

        674.     I understand that, to Defendant’s knowledge, Plaintiff has not produced a copy of

Cho in this litigation, although Cho, and a human translation thereof was relied upon in prior

litigation. Although I have relied upon a machine-translated version of Cho in this Report, I reserve

the right to rely upon a human-translated version of Cho, including the version relied upon in the

earlier litigation.

        675.     The Abstract of Cho provides:

                 The present invention relates to the method of emulating radio
                 channels for the code division multiple access mobile
                 communication system performance analysis which efficiently
                 analyzes the performance of the mobile communication system of
                 the code division multiple access base in the laboratory environment
                 and apparatus thereof.

                 The radio channel simulated testing device for such code division
                 multiple access mobile communication system performance analysis
                 comprises the forward fading emulator receiving the forward
                 direction signal transmitted from the base station and is generated the
                 fading signal according to the parametric value, the forward direction
                 carrier to noise generator which is generated the noises signal in order


                                                  310
               to obtain the interference effect by the mobile station or the different
               base station, the forward direction radio variation attenuator which
               reflects the path loss effect to the mobile station after it adds the fading
               signal outputted in the forward fading emulator and the noises signal
               outputted in the forward direction carrier to noise generator and forms
               the forward channel, the reverse fading emulator receiving the
               backward signal transmitted from the mobile station and is generated
               the fading signal according to the parametric value, the reversible
               interference generator which is generated the noises signal in order
               to obtain the interference effect by the mobile station or the different
               base station, the fading signal outputted in the reverse fading
               emulator, and the backward direction radio variation attenuator
               which reflects the path loss effect to the base station after it adds the
               noises signal outputted in the reversible interference generator and
               forms the reverse channel.

Cho at Abstract.

       676.    Cho and the ’330 Patent similarly seek to address the problem of emulating

movement of a mobile node in a wireless communication network. For example, Cho discloses an

attenuator “which attenuates the signal so that it prevent that the electricity of being large of being

connected to the program attenuator controlling the relative size of the per link attenuation formed

between the base station and mobile station and emulates the path loss changed according to the

position of the mobile station.” Cho at 5; see also, e.g., ’330 Patent at 2:19-32, 2:59-3:3, 3:9-21,

3:27-38.

       677.    Cho discloses fading emulators 112, a carrier to noise generator 121, attenuators

130, 131, and 132, a controller 140, base stations BTS0 and BTS1 and a mobile station MS, as

shown in Figure 1 below. Cho at 13, Fig. 1.




                                                  311
              2.      NIST Net

       678.   I hereby incorporate by reference my description of NIST Net given in Section

XI.A.2.

              3.      ONE

       679.   I hereby incorporate by reference my description of ONE given in Section XI.A.3.

              4.      Analysis—Claim 1

[‘330, 1(a)] A system for emulating mobile network communications comprising:

       680.   Cho discloses that its invention “relates to the method of emulating radio channels

for the code division multiple access mobile communication system performance analysis which

efficiently analyzes the performance of the mobile communication system of the code division

multiple access bse in the laboratory environment.” Cho at Abstract.




                                              312
       681.    Cho explains the importance of testing mobile units prior to deployment in the

network by explaining that “[a]s to the IMT-2000 system development of the code division multiple

access (CDMA) base providing the multimedia service, it is the critical matter in which the

performance test is certainly performed before the commercialization.” Cho at 3. To test

performance, “the radio channel environment which is similar to the real operation environment

has to be built.” Cho at 8. “Then, if since the field test is not passed through and the performance

test is performed in the laboratory environment the performance is easily repetitively verified in the

system development step and point or the disadvantage of being insufficient can be discovered at

its early stage the performance improvement and improvement are facilitated.” Cho at 3. For this

reason, Cho explains that its goal is to provide the “testing method which is devised it satisfies the

necessity and it cannot pass through the field test and can test the performance of the CDMA

system in the laboratory environment and apparatus thereof of the prior art as described above.”

Cho at 4. Cho further explains that it discloses a “method of emulating radio channels for analyzing

the soft handoff call channel performance between the base stations of 2 of the code division multiple

access mobile communication system and one mobile station.” Cho at 6.

       682.    That is, Cho emulates “the path loss, generated in the radio link the noises and

interference, and the fading environment[, which] are played in the wired environment with test

analysis.” Cho at 4.

[‘330, 1(b)] a plurality of fixedly-located wireless network nodes configured to variably
adjust wireless communication characteristics;

       683.    Cho discloses “a plurality of fixedly-located wireless network nodes configured to

variably adjust wireless communication characteristics.” The parties agreed that the term “fixedly-

located” means “set at a particular location” and “wireless network nodes” means “an element of

a network that sends and receives signals wirelessly.” The Court construed the term “configured



                                                 313
to variably adjust wireless communication characteristics” as “configured such that the controller

can cause the wireless network nodes to adjust wireless communication characteristics of the

wireless network nodes.”

       684.    For example, with reference to Figure 1 above, Cho discloses fading emulators 112,

a carrier to noise generator 121, attenuators 130, 131, and 132, a controller 140, base stations BTS0

and BTS1 and a mobile station MS. Cho at 13; Fig. 1. Cho further discloses a “method of emulating

radio channels for analyzing the normal call channel performance between the base station of the

code division multiple access mobile communication system and the mobile station.” Cho at 5.

       685.    A POSITA would have known that these base transceiver stations 21 would have

been fixedly located such that they were set at a particular location. Cho discloses a “wireless

channel” in which additive white Gaussian noise is applied “and the path loss which the base

station according to the position of the mobile station and mobile station goes is freely controlled.”

Cho at 8. The channel that the mobile node operates on is a “radio channel” and “the various radio

environment showing up as the noises, which is 3 kinds element determining the performance of

the radio channel the path loss, and the combination of fading is easily controlled with

configuration.” Cho at 8. Cho discloses that “[t]his radio channel simulated testing device is

connected to the transmission-reception port of one mobile station (MS) and two base station

(BTS0, BTS1). When the performance is tested about the normal call, the radio channel is built

between the first base station (BTS0) and mobile station (MS) or the second base station (BTS1)

and mobile station (MS).” Cho at 9-10. Thus, the base stations send and receive signals wirelessly.

       686.    I have reviewed Mobility’s infringement contentions, and I understand that

Mobility may contend that a wired connection between the mobile nodes and the wireless network

nodes infringes the claim 1 of the ’330 patent. Under Mobility’s infringement theory, it is my




                                                 314
opinion that Cho anticipates claim 1 in certain embodiments where the connection between the

mobile unit and the base station may be wired.

        687.    Finally, the base stations of Cho are “configured to variably adjust wireless

communication characteristics” such that they are “configured such that the controller can cause

the wireless network nodes to adjust wireless communication characteristics of the wireless

network nodes.” As explained below regarding Element 1(e), Cho discloses a controller 140

communicatively linked to both the base stations, the fading emulators, and the attenuators, which

control simulation of attenuation between the base stations and mobile station. Cho at 4-5, 8. The

attenuators “attenuate[] the signal . . . controlling the relative size of the per link attenuation formed

between the base station and mobile station and emulates the path loss changed according to the

position of the mobile station” Cho at 5. Because the system models path loss and fading to model

the position of the mobile station under test, Cho discloses that the wireless network nodes are

“configured to variably adjust wireless communication characteristics.” Cho at Abstract, 5.

[‘330, 1(c)] at least one mobile node configured to wirelessly communicate with selected
ones of said plurality of wireless network nodes;

        688.    Cho discloses “at least one mobile node configured to wirelessly communicate with

selected ones of said plurality of wireless network nodes.” The parties agreed that the term “mobile

node configured to wirelessly communicate” means “a device that sends and receives signals

wirelessly” and “wireless network nodes” means “an element of a network that sends and receives

signals wirelessly.

        689.    For example, with reference to Figure 1 above, Cho discloses fading emulators 112,

a carrier to noise generator 121, attenuators 130, 131, and 132, a controller 140, base stations BTS0

and BTS1 and a mobile station MS. Cho at 13, Fig. 1.




                                                  315
       690.    Cho also discloses a “wireless channel” in which additive white Gaussian noise is

applied “and the path loss which the base station according to the position of the mobile station

and mobile station goes is freely controlled.” Cho at 8. The channel that the mobile node operates

on is a “radio channel” and “the various radio environment showing up as the noises, which is 3

kinds element determining the performance of the radio channel the path loss, and the combination

of fading is easily controlled with configuration.” Cho at 8. Cho discloses that “[t]his radio channel

simulated testing device is connected to the transmission-reception port of one mobile station (MS)

and two base station (BTS0, BTS1). When the performance is tested about the normal call, the

radio channel is built between the first base station (BTS0) and mobile station (MS) or the second

base station (BTS1) and mobile station (MS).” Cho at 9-10.

       691.    It is my opinion that Cho satisfies the limitation of the mobile units communicating

wirelessly with the wireless network nodes, as described above. To the extent that Mobility argues

that Cho does not disclose this limitation, it is my opinion that it would have been obvious to a

person of ordinary skill in the art to adapt Cho to use a wireless connection.

       692.    I have reviewed Mobility’s infringement contentions, and I understand that

Mobility may contend that a wired connection between the mobile nodes and the wireless network

nodes infringes claim 1 of the ’330 Patent. For the reasons described above, it is my opinion that

Cho anticipates and/or renders obvious claim 1 under Mobility’s infringement theory as well.


[‘330, 1(d)] a network emulator communicatively linked to each of said plurality of wireless
network nodes, said network emulator configured to emulate attributes of a packet-based
wired communications network for simulating network conditions experienced by said at
least one mobile node in communicating with other nodes through the wired
communications network, the emulated attributes comprising at least one of tunable
packet-delay distribution, network congestion, bandwidth limitation, and packet re-
ordering and duplication; and




                                                 316
       693.    Cho discloses “a network emulator communicatively linked to each of said plurality

of wireless network nodes, said network emulator configured to emulate attributes of a packet-

based wired communications network for simulating network conditions experienced by said at

least one mobile node in communicating with other nodes through the wired communications

network, the emulated attributes comprising at least one of tunable packet-delay distribution,

network congestion, bandwidth limitation, and packet re-ordering and duplication.” The parties

agreed that the term “wireless network nodes” means “an element of a network that sends and

receives signals wirelessly” and the term “a packet-based wired communications network” means

“a communications network in which packets of data are transmitted through wires or cables.” The

Court construed the term “communicatively linked” to mean “capable of transmitting and

receiving signals via an interface.”

       694.    First, it is my opinion that Cho discloses a network emulator that is configured to

emulate attributes of a packet-based wired communications network for simulating network

conditions experienced by said at least one mobile node in communicating with other nodes

through the wired communications network, the emulated attributes comprising at least one of

tunable packet-delay distribution, network congestion, bandwidth limitation, and packet re-

ordering and duplication. For example, Cho discloses a carrier to noise generator 121 which “is

generated the noises signal in order to obtain the interference effect by the mobile station or the

different base station”. Cho at Abstract, 13, Figure 1. The carrier to noise generator “test[s] the

influence of the interference according to the traffic change within the monitoring cell or the same

cell the noises is outputted to the wireless channel to the arbitrary absolute quantity or while the

signal-noise ratio is regularly maintained in order to replace the electric power control function in

the functional test including the power control in the code division access mobile communication




                                                317
system the noises changed on a real time basis is outputted.” Cho at 5. Because Cho discloses that

it simulates a CDMA network, a POSITA would have known that it simulates a packet-based wired

communications network. Cho at 3.

       695.    Next, Cho discloses that this network emulator is communicatively linked to each

of said plurality of wireless network nodes. For example, Cho discloses that the “interference signal

[s] independently generated through the carrier to noise generator (430) and interference

intermediator (I REP2) is added with the fading signal passing through the attenuator (P ATT6).”

Cho at 11. The signal from “the first base station (BTS1) is received and the channel outputs the

fading signal to the method for being the same in the second fading emulator (FE 2-2) of the fading

emulator part (410) and it is electric power diminished in the program attenuator (P ATT6).” Cho

at 11. Thus, because the signal from the first base station passes through the program attenuator, to

which the carrier to noise generator adds interference, the network emulator is communicatively

linked to each of said plurality of wireless network nodes.

       696.    A POSITA would have known that emulating calls and a traffic environment,

including “test[ing] the influence of the interference according to the traffic change within the

monitoring cell,” are attributes of a packet-based wired communications network for simulating

network conditions experienced by said at least one mobile node in communicating with other

nodes through the wired communications network. Further, a POSITA would have known that this

emulation comprises at least one of tunable packet-delay distribution, network congestion,

bandwidth limitation, and packet re-ordering and duplication. A POSITA would have known, and

it is my opinion, that emulating calls and a traffic environment, including “test[ing] the influence

of the interference according to the traffic change within the monitoring cell,” would comprise

emulation of at least one of tunable packet-delay distribution, network congestion, bandwidth




                                                318
limitation, and packet re-ordering and duplication. For example, a traffic environment necessarily

involves emulation of tunable packet-delay distribution, network congestion, bandwidth

limitation, and packet re-ordering and duplication simply by the very nature of emulating traffic.

If multiple packets are being passed across the network as traffic, there will necessarily be a

limitation on bandwidth, for example.

        697.    To the extent that Mobility contends that Cho does not disclose any portion of this

limitation, it would have been obvious to a person of ordinary skill in the art at the time of the

alleged invention to adapt the disclosures in Cho to include this limitation. Moreover, it would

have been obvious to a person of ordinary skill in the art to combine the teachings of Cho with the

teachings of NIST Net, for the reasons explained more fully below.

        698.    A POSITA would have been motivated to modify Cho to include the teachings and

emulator of NIST Net because both of these references relate to systems for emulating mobile

communications networks. Both Cho and NIST Net disclose known and interchangeable uses of

emulator equipment, and a POSITA would have understood that combining a known prior art

emulator, disclosed in NIST Net, with the simulation system of Cho would yield predictable and

beneficial results.

        699.    Similarly, the ’330 Patent itself discusses the NIST Net emulator and provides it as

an example of an optimal emulator for satisfying limitation [‘330, 1(d)].’330 Patent at 5:60-6:2

(“For example, the emulator 110 can be implemented using a computer system executing the

National Institute of Standards and Technology (NIST) emulator.”).

        700.    A POSITA would have understood that Cho and NIST Net would have been easily

combinable. For example, NIST Net explains that it allows “external hooks into its module as well.

External statistics generation code may supply values for NIST Net's generation of network effects.




                                                319
. . . Alternatively, external handlers may work in concert with NIST Net or take over packet

processing entirely.” NIST Net at 115-116. Thus, a POSITA would have understood that it would

have been easy to adapt the emulator of NIST Net to work in the system of Cho.

       701.    Moreover, NIST Net explains that it was easily and widely accessible as

“[t]housands of people throughout the world ha[d] successfully installed and used the emulator for

a wide variety of projects, even those with no prior experience with Linux. It has proven

particularly useful in academic settings for class laboratories and student research projects.” NIST

Net at 112. In particular, NIST Net explains that in 2003, “[s]ince its initial release, NIST Net

ha[d] been obtained by nearly twenty thousand people around the world, and has been used for a

wide variety of testing purposes, including for voice over IP, mobile network emulation, adaptive

video transmissions, satellite and underseas radio link emulation, and interactive network gaming.”

NIST Net at 125. Further, NIST Net explains that its code, documentation, and calibration results

“are all public domain and are available through its web site.” NIST Net at 125.

       702.    Because the NIST Net emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence

explained in NIST Net, it is my opinion that a POSITA would have found it obvious to combine

the method and apparatus for testing a mobile communications system of Cho with the emulator

of NIST Net.

       703.    As disclosed in the ’330 Patent itself and as disclosed in NIST Net, the NIST Net

emulator is “a tool to facilitate testing and experimentation with network code through emulation.

NIST Net enables experimenters to model and effect arbitrary performance dynamics (packet

delay, jitter, bandwidth limitations, congestion, packet loss and duplication) on live IP packets




                                                320
passing through a commodity Linux-based PC router.” NIST Net at Abstract; see also ’330 Patent

at 5:60-6:2.

          704.   NIST Net similarly explains that “it provides the ability to emulate common

network effects such as packet loss, duplication or delay; router congestion; and bandwidth

limitations. It is designed to offer sufficient capabilities and performance to reproduce a wide range

of network behaviors (forwarding rates of up to 1 Gbps, satellite-like delays or longer, asymmetric

characteristics), while requiring only commodity PC hardware and operating systems.” NIST Net

at 111.

          705.   NIST Net explains that “[a] useful way to think of NIST Net is as a "network-in-a-

box" (Figure 1) — a specialized router which emulates (statistically) the behavior of an entire

network in a single hop. NIST Net selectively applies network effects (such as delay, loss, jitter)

to traffic passing through it, based on user-supplied settings.” NIST Net at 112. Specifically, the

“set of network effects NIST Net can impose includes: packet delay, both fixed and variable

(jitter); packet reordering; packet loss, both random and congestion-dependent; packet duplication;

and bandwidth limitations.” NIST Net at 112. NIST Net goes on to explain in detail how its packet

delay, packet loss, packet duplication, packet reordering, congestion, and bandwidth limitations

are calculated. NIST Net at 113-114, 118-119, 123-124.

          706.   The NIST Net graphical user interface showing the ability to adjust these various

parameters is shown at Figure 3 below.




                                                 321
       707.    Thus, NIST Net discloses emulating attributes of a packet-based wired

communications network including at least one of tunable packet-delay distribution, network

congestion, bandwidth limitation, and packet re-ordering and duplication.

       708.    To the extent that Mobility contends that Cho does not disclose any portion of this

limitation, it would have been obvious to a person of ordinary skill in the art at the time of the

alleged invention to adapt the disclosures in Cho to include this limitation. Moreover, it would

have been obvious to a person of ordinary skill in the art to combine the teachings of Cho with the

teachings of ONE, for the reasons explained more fully below.

       709.    A POSITA would have been motivated to modify Cho to include the teachings and

emulator of ONE because both of these references relate to systems for emulating mobile

communications networks. Both Cho and ONE disclose known and interchangeable uses of an

emulator equipment, and a POSITA would have understood that combining a known prior art

emulator, disclosed in ONE, with the simulation system of Cho would yield predictable and

beneficial results. A POSITA would have understood that Cho and ONE would have been easily

combinable. For example, ONE explains that it provides its emulated environment “to a wide




                                               322
variety of hardware and software systems.” ONE at 6. Thus, a POSITA would have understood

that it would have been easy to adapt the emulator of ONE to work in the system of Cho.

       710.    Similarly, the ’330 Patent itself discusses the ONE emulator and provides that it

can “emulate transmission, queuing, and propagation delay between two computers interconnected

by a router.” ’330 Patent at 2:2-9.

       711.    Because the ONE emulator was a well-known, easily-accessible, and easily-

adaptable emulator at the time, as evidenced at least by the ’330 Patent itself and the evidence

explained in ONE, it is my opinion that a POSITA would have found it obvious to combine the

method and apparatus for testing a mobile communications system of Cho with the emulator of

ONE.

       712.    As disclosed in the ’330 Patent itself and as disclosed in ONE, the ONE emulator

“models the routers and intervening network by delaying packets arriving on one network interface

before forwarding them to the other network. ONE also provides congestion loss according to its

configuration. The delay a packet experiences is based on the packet size and the configuration

parameters given by the user. The following three components of packet delay are modeled.” ONE

at 2; see also ’330 Patent at 2:2-9.

       713.    ONE explains that it is able to model “three components of packet delay,” including

“transmission delay,” which is “the amount of time it takes a network node to transmit a packet

onto a given channel;” “queuing delay,” which “occurs when a packet arrives at a router which is

already busy transmitting another packet;” and “propagation delay,” which is “the time it takes a

packet to travel from one node to another along a physical channel.” ONE at 2-3. “The sum of the

above component delays is the amount of time ONE holds a packet before forwarding it.” ONE at

3.




                                               323
         714.     Packet delay is configurable based on “two user configurable parameters:”

linespeed and propagation. ONE at 3-4. Packets are queued for transmission based on the

following two user-configurable settings: qsize, which is “the size for the given interface,” and

memunit, which is “the internal buffer size (memory allocation granularity) used to store packets

in the queue.” ONE at 3-4.

         715.     A POSITA would have understood that because ONE discloses providing

congestion loss as well as setting delay with user-configurable parameters, ONE discloses

emulating attributes of a packet-based wired communications network including at least one of

tunable packet-delay distribution, network congestion, bandwidth limitation, and packet re-

ordering and duplication.26

 [‘330, 1(e)] a controller communicatively linked to each of said plurality of wireless
network nodes, said controller configured to control the wireless communication
characteristics of each of said plurality of wireless network nodes to simulate, without
changing operating parameters of said at least one mobile node, different wireless
communication conditions experienced by said at least one mobile node in actual operation.

         716.     Cho discloses “a controller communicatively linked to each of said plurality of

wireless network nodes, said controller configured to control the wireless communication

characteristics of each of said plurality of wireless network nodes to simulate, without changing

operating parameters of said at least one mobile node, different wireless communication conditions

experienced by said at least one mobile node in actual operation.” The parties agreed that the term

“wireless network nodes” means “an element of a network that sends and receives signals

wirelessly.” The Court construed the term “communicatively linked” to mean “capable of

transmitting and receiving signals via an interface.”


26
   To the extent that Mobility contends that Verizon infringes this limitation through its standards compliance
testing, see ’330 Infringement Contentions at 22, standards that pre-date the ’330 Patent disclose this limitation for
all of the reasons explained above in Section VIII.B. and in the Amended Invalidity Contentions, see Exs.C-12 and
C-13, which I hereby incorporate by reference.



                                                         324
       717.    First, Cho discloses a controller communicatively linked to each of said plurality

of wireless network nodes. Cho discloses a controller 140 communicatively linked to the base

stations BTS0 and BTS1, the fading emulators 111 and 122, and the attenuators 130, 131, and 132,

which control simulation of attenuation between the base stations and mobile station. Cho at 4-5,

8. For example, Cho discloses a “control unit which is better further includes the keypad, and the

controller. As to the keypad, it controls the attenuation of the program attenuator and the radio

variation attenuator inputs the attenuation of the fixed attenuator.” Cho at 5. Thus, Cho discloses a

controller 140 communicatively linked to the base stations, the fading emulators, and the

attenuators, which control simulation of attenuation between the base stations and mobile station.

Cho at 4-5, 8. This connection can be seen in Figure 1 below.




       718.    Next, Cho discloses that the controller is configured to control the wireless

communication characteristics of each of said plurality of wireless network nodes to simulate,



                                                325
without changing operating parameters of said at least one mobile node, different wireless

communication conditions experienced by said at least one mobile node in actual operation. I

understand that the Court construed the term “without changing operating parameters of said at

least one mobile node” to be given its plain meaning. Dkt. 74 at 30. I understand that the parties

agreed, and the Court did not disagree, during claim construction that the term “operating

parameters” encompasses at least transmit power level. Dkt. 74 at 30. I also understand that the

specification of the ’330 patent explains numerous times that “attenuation provided by at least one

of the attenuators” and controlled by the controller “can be increased,” “while simultaneously

decreasing attenuation provided by another one of the attenuators,” thus simulating movement

away from and toward the wireless network nodes. ’330 patent at 2:63-66. The ’330 patent

similarly explains that the simulation of movement of the wireless network nodes is performed via

adjusting the wireless network nodes’ transmit power level without the need to change the transmit

power level (or physically move) the mobile node. ’330 Patent at 2:25-28, 2:59-28, 3:10-21, 4:37-

41, 5:17-25, 6:46-67.

       719.    I also understand that this limitation is discussed in the file history of the ’330

Patent. In response to an anticipation rejection based on U.S. Patent No. 6,735,448

(“Krishnamurthy”), the applicant argued that Krishnamurthy did not anticipate this limitation

because the mobile nodes in Krishnamurthy change their “own operating parameters, namely

[their] own ‘transmit power level.’” ’330 File History, Response to Office Action dated Jan. 8,

2007, at 10. I also understand that the applicant pointed to the portion of the specification reciting

that “[t]he mobile node 125 need not be a moveable or roaming component as the system 100 is

configured to simulate motion of the mobile node 125 . . . despite the mobile node 125 being




                                                 326
stationary in nature” to support the disclosure for this limitation. ’330 File History, Response to

Office Action dated Jan. 8, 2007, at 9 (citing paragraph [0023], lines 1-8 of Specification).

       720.    Cho similarly discloses a controller that adjusts the transmit power level of the

wireless network nodes to simulate movement of the mobile nodes without adjusting the operating

parameters of the mobile nodes. For example, Cho explains that “[t]he typical phenomenon that

the signal passing can undergo the radio channel is the path loss, and fading and noises. While the

path loss refers to that the signal strength reduces by the process where the signal departing from

the transmitter reaches even the receiver among air with the collision with the particles this path

loss is determined according to the distance between the receiver and the transmitter. While the

attenuation respectively different through the multi-path between the receiver and the transmitter

and the signals undergoing the delay are merged in the receiver fading refers to the phenomenon

that atypically rapidly changes within the time when the signal size (Amplitude) and phase are

short. Fading is affected of the serving frequency, the transition speed of the mobile terminal etc.”

Cho at 3-4. The invention of Cho is, therefore, to test the mobile station under the conditions of

“path loss, generated in the radio link the noises and interference, and the fading environment are

played in the wired environment with test analysis.” Cho at 4. “[T]he program attenuator

controlling the relative size of the per link attenuation formed between the base station and mobile

station and emulates the path loss changed according to the position of the mobile station and

exceeding the input range in the interlock test with the dissimilar equipment including the

measuring instrument while being connected to the program attenuator is applied.” Cho at 5; see

also Cho at 9, 11.

       721.    Because Cho discloses simulating effects such as path loss and fading, based on the

positions of the mobile station, Cho discloses adjusting transmit power level or other operating




                                                327
parameters to simulate movement of the mobile units. A POSITA would have understood that this

simulation would have been performed without changing the operating parameters of the mobile

units, as Cho discloses that the mobile units are under test. Generally, when performing tests on

mobile units to determine their operating capabilities in a wireless communications network, the

parameters of the mobile units are not changed so as to not introduce any additional variables into

the testing environment.


               5.      Analysis—Claim 3

[‘330, 3(a)] The system of claim 1, wherein said wireless communication characteristics
include a signal reception sensitivity.

       722.    Cho discloses “[t]he system of claim 1, wherein said wireless communication

characteristics include a signal reception sensitivity.”

       723.    As explained above regarding Element 1(e), because Cho discloses simulating

effects such as path loss and fading, based on the positions of the mobile station, Cho discloses

adjusting transmit power level or other operating parameters to simulate movement of the mobile

units. Cho at 3-4. Cho discloses, and a POSITA would have understood, that the attenuators adjust

the transmit power level and/or signal reception sensitivity of the wireless network nodes, to

simulate movement of the mobile nodes without adjusting the operating parameters of the mobile

nodes. I hereby incorporate by reference my analysis above regarding Element 1(e).


               6.      Analysis—Claim 4

[‘330, 4(a)] The system of claim 1, wherein said wireless communication characteristic
includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and bit
error rate (BER).




                                                 328
       724.    Cho discloses “[t]he system of claim 1, wherein said wireless communication

characteristic includes at least one of signal transmission strength, signal-to-noise ratio (SNR), and

bit error rate (BER).”

       725.    As explained above regarding Element 1(e), because Cho discloses simulating

effects such as path loss and fading, based on the positions of the mobile station, Cho discloses

adjusting transmit power level or other operating parameters to simulate movement of the mobile

units. Cho at 3-4. Cho discloses, and a POSITA would have understood, that the attenuators adjust

the transmit power level, including the signal transmission strength, signal-to-noise ratio (SNR),

and/or bit error rate, of the wireless network nodes, to simulate movement of the mobile nodes

without adjusting the operating parameters of the mobile nodes. I hereby incorporate by reference

my analysis above regarding Element 1(e).

XII.   INVALIDITY OPINIONS BASED ON § 112

       A.      “wireless communication conditions” (’330 Patent, Claims 1, 3, 4)

       726.    The ’330 Patent does not describe to a person of ordinary skill in the art how to

make and use a “controller configured to control the wireless communication characteristics of

each of said plurality of wireless network nodes to simulate . . . different wireless communication

conditions experienced by said at least one mobile node in actual operation.”

       727.    Although the specification and the claims of the ’330 Patent explain that “wireless

communication characteristics” may include, for example, signal reception sensitivity, signal

transmission strength, signal-to-noise ratio (SNR), and bit error rate, ’330 Patent at Claims 3, 4,

2:40-42, the specification does not include any description of what may comprise the “wireless

communication conditions experienced by said at least one mobile node in actual operation.”

Indeed, the term “wireless communication conditions” is only used within the claims. A person of

ordinary skill in the art would have known that there are many wireless communication conditions


                                                 329
that a mobile node may experience depending on the type of network in which it is operating, the

various network equipment and parameters, and the air environment, for example. Without any

guidance in the specification as to the type of conditions to be simulated, a person of ordinary skill

in the art would not have known that the patentee was in possession of the invention and/or how

to make or carry out the claimed invention without undue experimentation.

        728.    Accordingly, it is my opinion that this element fails to meet the written description

and enablement requirements of 35 U.S.C. § 112.

XIII. SECONDARY CONSIDERATIONS OF NON-OBVIOUSNESS

        729.    I have been informed that certain secondary considerations may be examined to

determine whether a certain invention would have been obvious to one of ordinary skill in the art.

Below, I address the factual basis upon which, in my opinion, these secondary considerations

likewise lead to a conclusion that the asserted claims would have been obvious to a POSITA. I

also address below Plaintiff’s assertion that the claimed inventions of the asserted claims provide

performance benefits for an LTE network.

        730.    I am informed that in responses to Interrogatory Nos. 11 and 14 on this issue,

Plaintiff has stated:

                [T]he inventions in question have: been incorporated into the LTE
                wireless communications standards, adopted by mobile network
                operators, like Verizon, largely replaced Verizon’s legacy data and
                voice network, experienced substantial commercial success,
                exceeded expectations (e.g., Verizon’s voice-over LTE), and
                enabled Verizon to move most of its voice traffic to its LTE network.
                See, e.g., https://www.cnet.com/news/verizon-readies-lauch-of-
                nationwide-voice-over-lte-service/ ; see also Response to
                Interrogatory No. 14, incorporated here by reference. VoIP was
                being used in the early 2000s but was not implemented in cellular
                networks until much later because of a number of factors, including
                handover delay and network delay. The inventions of the asserted
                claims helped solve both of those problems in a manner that
                provided substantial gains in performance. See also the expert report
                produced in this case.


                                                 330
Plaintiff’s Responses and Objections to Plaintiff’s [sic] First Set of Interrogatories to Defendant
[sic] at 28 (June 10, 2019).

               [T]he claimed subject matter provides advantages and benefits in the
               performance of Verizon’s LTE network. Plaintiff has requested
               Verizon’s internal assessments and evaluations of the improvements
               delivered by Verizon’s adoption of the claimed subject matter. Such
               information is not publicly available. Generally speaking, LTE
               handoff procedures according to the claimed subject matter improve
               network performance by reducing the number of dropped data
               packets, decreasing the number of lost data packets, decreasing
               latency, by reducing the number of unsuccessful handovers, and by
               decreasing the amount of time necessary for such handovers.
               Further, improvement in VoLTE and VoLTE performance is
               noticeable by subscribers and thus valuable to Verizon, which
               advertises and markets the performance of the Verizon LTE
               network.

               In addition, just some of the additional benefits the Patents in suit
               offer are:

                      Efficient testing of new phones, instead of testing a new
                       firmware or new phone models for weeks, it can be tested in
                       hours with reproducible effects.
                      Full elimination of manual drive testing. Testing could take
                       8-12 weeks of very inaccurate testing.
                      LTE handover requires a hard-handover, hence CBRS LTE,
                       LTE-licensed, and LTE-private, require a technology that
                       creates a handover at all layers, physical layer and IP-layer
                       interfaces in one step.
                      The ‘417 Patent enables that scenario, making it now
                       possible to shut down a GSM or CDMA network, freeing
                       bands for others, and doing voice and multimedia
                       simultaneously in the same packet-based network, phasing
                       out all circuit switched equipment.
                      This reduces cost of ownership, cost of operations, making
                       the network more efficient, and enables SON (Self-
                       Organizing Networks) and other more advanced software
                       technologies to interact with Heterogeneous Nodes and
                       technologies more efficiently.

Plaintiff’s Responses and Objections to Plaintiff’s [sic] First Set of Interrogatories to Defendant
[sic] at 31-32 (June 10, 2019).




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       731.     To the extent that Plaintiff later identifies any other alleged evidence of alleged

secondary considerations of non-obviousness, I reserve the right to supplement my opinions.

       732.    Commercial success. Plaintiff has alleged that the purported invention enjoyed

commercial success as explained above with respect to Plaintiff’s response to Verizon’s

Interrogatory Nos. 11 and 14. This alleged evidence of commercial success does not change my

opinions regarding obviousness of the Asserted Patents.

       733.    ’417 Patent. In my opinion, the commercial success of the accused LTE network

and the improvement in performance are not due to the alleged invention of the Asserted Claims

of the ’417 Patent. There is no so-called nexus between the commercial success and the alleged

invention.

       734.    As described in more detail above in the invalidity analysis of the ’417 Patent for

the 3G UMTS standard’s hard handover and SRNS relocation handover procedures, the prior art

3G UMTS handover procedures were substantially similar to the accused LTE handover

procedures.

       735.    In the 3G handover procedures, entities other than the mobile node registered and

allocated resources on the mobile node’s behalf as it moved from one cell to the next. Plaintiff has

not explained how any particular aspect of the Asserted Claims of the ’417 Patent led to the

improvements and commercial success described above.

       736.    In my opinion, the improvements in LTE network’s over 3G UMTS networks were

primarily due to the following changes, which are unrelated to the alleged invention:

              LTE simplified the radio architecture using only base stations, called eNodeBs,
               (eNBs) rather than base stations using both NodeBs (NB) and RNCs. In LTE, the
               eNB performs the functions of both UMTS NodeBs and UMTS RNCs – such as
               registering for and allocating the radio resources. The alleged invention did not
               propose this change in system architecture;




                                                332
              LTE uses a different modulation technique than the 3G UMTS network, i.e.,
               OFDMA (orthogonal frequency-division multiple access) rather than WCDMA
               (Wideband Code Division Multiple Access), which significantly improves the
               speed and throughput of the network. The alleged invention did not propose this
               change in system architecture;

              LTE supports “flexible system bandwidth” using frequencies between 1.4 and
               20MHz, while 3G UMTS uses fixed carrier bandwidth at 5MHz, which
               significantly improves the speed and throughput of the network. The alleged
               invention did not propose this change in system architecture;

              LTE is a packet-switched only system using the internet protocol on certain
               interfaces, while UMTS supported voice over the circuit-switched. The alleged
               invention did not propose this change in system architecture; and

              LTE uses different core domain nodes, like the MME, SGW, and PGW, rather
               than the SGSN and GGSN nodes in the 3G UMTS standard network. The alleged
               invention did not propose this change in system architecture. One motivation for
               this change was to separate the node which performed control related activities
               (control plane) from those performed processing of the calls (data packets)
               themselves (user plane) in order to save cost and provide higher scalability and
               flexibility of the network. For example, the SGSN was effectively split into the
               MME and the SGW of the evolved packet core (EPC).

       737.    To provide additional detail related to the performance benefits of LTE, unrelated

to the handover process, the following table of requirements is provided:




                                               333
Sesia at 8 (Table 1.1).

       738.    Some of the technologies that were adopted for use with LTE, in order to meet the

above requirements, include the following:




                                              334
Holma at 244 (Table 9.20).

       739.    Plaintiff has not explained the nexus or connection between the claimed invention

of the ’417 Patent and the improvements/commercial success it points to in LTE networks.

       740.    To the extent Plaintiff and its experts (at some point in the future) allege that the

claimed nexus is that the ghost-mobile node creates replica IP messages, I would disagree that

creating replica IP messages leads to the benefits ascribed to invention in the LTE network.

       741.    More specifically, nothing about using IP messaging over the X2 interface is what

allows for the improvements in the LTE network mentioned by Plaintiff. As explained above in

the 3G UMTS invalidity analysis for the ’417 Patent, the Iur interface between RNCs in the 3G

UMTS network already used IP messaging.

       742.    Similarly, in Release 5 of the 3G UMTS standard, the Iub Interface Protocol

employed IP messaging. See, e.g., 3GPP TS 25.430 v5.1.0 (UTRAN Iub interface) (6/2002) § 5.2

& Fig. 7:




                                               335
See also 3GPP TR 25.933 Release 5 V5.1.0 (2002-06) (IP transport in UTRAN):




                                           336
       743.    Therefore, the idea of using IP in the transport layer was not new in standardized

cellular networks and is not what enabled VoLTE or other improvements in LTE networks.

Instead, the changes in other aspects of the network mentioned above permitted a packet-switched

system to be used for voice signals, rather than a circuit-switched system.

       744.    It is also worth noting that the control and user plane connections between the user

and the eNodeB in the LTE network are not IP-based messages, and therefore there is no

replication of any “IP message” that would otherwise be sent by a mobile node.

       745.    For example, the figures below depict the control and user planes protocol stacks

used between the nodes in an LTE network, from which it can be seen that IP messages are not

exchanged between the UE (mobile node) and the eNodeB (alleged ghost-mobile node):




                                               337
Sesia at 33 (Figs. 2.5-2.6).

       746.    To the extent Plaintiff and its experts (at some point in the future) allege that the

nexus is that the ghost-mobile node can pre-register a mobile node and allocate resources based

on a predicted physical location of the mobile node, I would disagree because the procedures that

Plaintiff points to allege that this functionality exists in the LTE network is nearly identical to

functionality that already exited in the 3G UMTS standard network.




                                               338
        747.    ’330 Patent. With respect to the ’330 Patent, Plaintiff has only alleged the

following alleged benefits: “[S]ome of the additional benefits of the Patents in suit . . . are: Efficient

testing of new phones, instead of testing a new firmware or new phone models for weeks, it can

be tested in hours with reproducible effects;” and “[f]ull elimination of manual drive testing.

Testing could take 8-12 weeks of very inaccurate testing.” Plaintiff’s Responses and Objections to

Plaintiff’s [sic] First Set of Interrogatories to Defendant [sic] at 32 (June 10, 2019). This alleged

evidence of benefits of the ’330 Patent does not change my opinions regarding obviousness of the

Asserted Patents.

        748.    First, Plaintiff has provided no support that the ’330 Patent offers “[e]fficient testing

of new phones, instead of testing a new firmware or new phone models for weeks, it can be tested

in hours with reproducible effects.” Plaintiff has further provided no support that use of the ’330

Patent results in “[f]ull elimination of manual drive testing” which “could take 8-12 weeks of very

inaccurate testing.” There is no evidence for me to meaningfully evaluate these allegations of

benefits or commercial success, so they do not change my opinions regarding obviousness of the

Asserted Patents.

        749.    In my opinion, the commercial success of the accused testing system are not due to

the alleged invention of the Asserted Claims of the ’330 Patent. There is no so-called nexus

between the commercial success and the alleged invention.

        750.    As described in more detail above in the background section and invalidity analysis

of the ’330 Patent, the prior art testing procedures were substantially similar to the alleged

invention of the ’330 Patent.

        751.    Teaching away. Plaintiff has not alleged (and has not cited any facts supporting an

allegation) that the purported invention taught away from the technical direction followed by those




                                                  339
skilled in the art. Consequently, this secondary consideration does not change my opinions

regarding obviousness of the Asserted Patents.

       752.    Long-felt but unsatisfied need. Plaintiff has not alleged (and has not cited any

facts supporting an allegation) a long-felt but unsatisfied need for the invention while the needed

implementing arts and elements had long been available. Consequently, this secondary

consideration does not change my opinions regarding obviousness of the Asserted Patents.

       753.    Unexpected results. Plaintiff has not alleged (and has not cited any facts

supporting an allegation) that the purported invention achieves results that are unexpected to those

skilled in the art. Consequently, this secondary consideration does not change my opinions

regarding obviousness of the Asserted Patents.

       754.    Rapid replacement. Plaintiff has not alleged (and has not cited any facts

supporting an allegation) that the purported invention rapidly replaced the prior-art devices in the

industry. Consequently, this secondary consideration does not change my opinions regarding

obviousness of the Asserted Patents.

       755.    Copying. Plaintiff has not alleged (and has not cited any facts supporting an

allegation) that there was prompt copying of the invention by competitors as distinguished from

their independent development. Consequently, this secondary consideration does not change my

opinions regarding obviousness of the Asserted Patents.

       756.    Unsuccessful attempts. Plaintiff has not alleged (and has not cited any facts

supporting an allegation) that there were unsuccessful attempts by those skilled in the art to make

the invention. Consequently, this secondary consideration does not change my opinions regarding

obviousness of the Asserted Patents.




                                                 340
       757.    Acquiescence by the industry. Plaintiff has not alleged (and has not cited any facts

supporting an allegation) that there was acquiescence by the industry to the patent’s validity by

honoring the patent through not infringing the patent. Consequently, this secondary consideration

does not change my opinions regarding obviousness of the Asserted Patents.

       758.    Skepticism or disbelief. Plaintiff has not alleged (and has not cited any facts

supporting an allegation) that there was skepticism or disbelief in or incredulity on the part of those

skilled in the art that the patentee’s approach worked. Consequently, this secondary consideration

does not change my opinions regarding obviousness of the Asserted Patents.

       759.    Recognition by peers. Plaintiff has not alleged (and has not cited any facts

supporting an allegation) that there was recognition by peers of the purported invention’s

advancement over the art by technically competent peers (e.g., awards, articles, etc.).

Consequently, this secondary consideration does not change my opinions regarding obviousness

of the Asserted Patents.

XIV. OTHER COMMENTS

       760.    My opinions are subject to change based on additional opinions that Plaintiff’s

experts may present and information I may receive in the future or additional work I may perform.

With this in mind, based on the analysis I have conducted and for the reasons set forth above, I

have preliminarily reached the conclusions and opinions in this Report.

       761.    In connection with my anticipated testimony in this action, I may use as exhibits

various documents produced in this case that refer or relate to the matters discussed in this Report.

I have not yet selected the particular exhibits that might be used. In addition, I may create or assist

in the creation of certain demonstrative evidence to assist me in testifying, and I reserve the right

to do so to further support the positions in this Report.




                                                 341
       762.    At trial, and as discussed above, I may rely on visual aids and may rely on analogies

concerning elements of the Asserted Patents, the Accused Products, the prior art referenced in this

Report, or any related technologies.




                                               342
       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



       Executed this 20th day of June, 2019, in          Indialantic, FL          .



                                                  _______________________________________
                                                           James A. Proctor, Jr.
